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                          Exhibit B




         All Pleadings and Orders in the
                   State Court Action
                Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 2 of 297
                                                      Electronically Issued
                                                      4/27/2020 10:20 AM



           1      SUMM
                  DENNIs L. KBNrrEDY
           2    Nevada Bar No. 1462
                  PAUL C. WILLIAMS
           3 Nevada Bar No. 12524
             BAILEY ❖ KENNEDY
           4 8984 Spanish Ridge Avenue
             Las Vegas, Nevada 89148-1302
           5 Telephone: 702.562.8820
             Facsimile: 702.562.8821
           6 DKennedy@BaileyKennedy.com
             PWilliams@BaileyKennedy.com
           7
                  Attorneys for Plaintiff Christopher Bruun
           8
                                                             DISTRICT COURT
           9
                                                     CLARK COUNTY, NEVADA
          10
          11    CHRISTOPHER BRUUN, individually, and on                 Case No. A-20-814178-C
                behalf of all others similarly situated,                Dept. No.
A ~5      12
                                                Plaintiff,               SUMMONS
     `°   13
                                vs.                                     RED ROBIN GOURMET BURGERS,
❖ ~zN 14                                                                wc.
~ ~wWg~         RED ROBIN GOURMET BURGERS, INC., a
~~~       15'   Delaware corporatiop; and RED ROBIN
Pa              INTERNATIONAL, INC., a Nevada corporation,
          16
                                                Defendants.
          17
           : ITHE STATE OF NEVADA SENDS GREETINGS TO THE ABOVE-NAMED DEFENDANT: I

          19 1I   NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
          20 WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN 20 DAYS. READ
          21    THE INFORMATION BELOW.
          22 TO THE DEFENDANT: A civil Complaint has been filed by the plaintiff against you for the relief
          23 set forth in the Complaint.
          24         1. If you intend to defend this lawsuit, within 20 days after this Summons is served on you,
          25 exclusive of the day of service, you must do the following:
          26                a. File with the Clerk of this Court, whose address is shown below, a formal written
          27                    response to the Complaint in accordance with the rules of the Court, with the
          28                    appropriate filing fee:
                      Date Served: 14~w7>Q
                                                                Page 1 of 2
                      Tin~e Serv~d: , `~ ~


                        ~~~j~~                     Case Numbec A,20-814178-C
      Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 3 of 297




 1'               b. Serve a copy of your response upon the attorney whose name and address is shown

2                    below.

 3        2. Unless you respond, your default will be entered upon application of the plaintiff, and
 4    failure to so respond will result in a judgment of default against you for the relief deinanded in the

 5    Complaint, which could result in the taking of money or property or other relief requested in the

 6     Complaint.
 7        3. If you intend to seek the advice of an attorney in this matter, you should do so promptly so
 8    that your response may be filed on time.

 9.       4. The State of Nevada, its political subdivisions, agencies, officers, employees, board

10 inembers, commission members and legislators each have 45 days after service of this Suinmons

11     witliin whicli to file an Answer or other responsive pleading to the Complaint.

12

13 I Issued at the direction of:                            STEVEN D. GRIERSON
                                                            CLERK OF !,Ji~l'T
14

15        /s/ Dennis L. Kennedy
       DENNIs L. KENNEDY
16 Nevada Bar No. 1462                                                                             _4l2xtt2020
                                                            By:
       PAUL C. WILLIAMS                                            DTP,ITY CI:IR.I<:                  Date
17 Nevada Bar No. 12524                                            R?;'
                                                                      -ional. -.I>>ss';cz Center
       BAILEY❖KENNEDY                                              200 L-wis. ^~venue
18     8984 Spanish Ridge Avenue                                   Las Vegas, Nevada 89155
   Las Vegas, Nevada 89148-1302                                       Demond Palmer
19 Telephone: 702.5 62.8820
   Facsimile: 702.562.8821
20 DKennedy@BaileyKennedy.com
   PWilliams@BalleyKennedv.com
21
   Attof-neys for Plaintiff Christopher Br-ziun
22

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                   Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 4 of 297
    11   I

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                                                                                                Steven D. Grierson
             1                                        DISTRYCT COURT                            CLER OF THE CO
                                                   CLARI~COUNTY, NEVAIIA                       ~~ , r
             2

             3''    Christopher Bruun, Plaintiff(s)                     Case No.: A-20-814178-C
,
             4      vs.
                    Red Robin Gourmet Burgers, Inc.,                    Department 9
             5      Defendant(s)

             6
                                                      NOTICE ClF H.EARING
             7

             8
                          Please be advised that the Plaintiffs Motion for Class Certification and Appointment
             9
                    of Class Counsel. in the above-entitled matter is set for hearing as follows:
         10           I3ate:         June 08, 2020
         1.1          Tiine:         Chambers
         12           I,ocation:     RJC Courtroom 1.1B
                                     Regional Justice Center
         13                          200 I.ewis Ave.
                                     Las Vega,s, NV 89101,
         14
         15         NOTE: Under. NEFCR 9(d), if a party is not receiving electronic service through tlae
                    Eighth Jaadicial I)istrict Court Electronic Filing Systerna, the inovant requesting a
         16
                    hearing must serve this notice on the party by traditional gneans.
         17
         18                                           STEVEN D. GRIERSON,. CEO/Clerk of the Court

         19
                                               By: /s/ Ondina Amos
         20                                         Deputy Clerk of the Court '
         21
                                                  CERTIFICATE Ol{, SERVICE
         22
                    I hereby certify that pursuant to Rule 9(b) of the Nevada Electronic Filing and Conversion
         23         Rules a copy of this Notice of Hearing was electronically served to all registered users on
                    this case in the Eighth Judicial District Court Electronic Filing System.
         24
         25
                                               By: /s/ Ondina Amos
         26                                          Deputy Clerlc of the Court

         27
         28




                                                      Case Number: A-20-814178-C
     Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 5 of 297

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                                                                                   Steven D. Grierson
                                                                                   CLERK OF THE CO
 1    COlVIP (CIV)
      DENNIs L. KENNEDY                                                                              .o
 2    Nevada Bar No. 1462
      PAUL C. WILLIAMs
 3    Nevada Bar No. 12524
      BAILEY ❖ KENNEDY                                                       CASE NO: A-20-814178~C
 4    8984 Spanish Ridge Avenue
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 5    Telephone: 702.5 62. 8 820
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 6    DKennedy@BaileyKennedy.com
      PWilliams@BaileyKennedy.com
 7
      Attorneys for Plazntiff ChristopheN Brasun
 8
                                                 DISTRICT COURT
 9
                                         CLARK COUNTY, NEVADA
10

11   CHRISTOPHER BRUUN, individually, and on                 Case No.
     behalf of all others similarly situated,                Dept. No.
12
                                    Plaintiff,               CLASS ACTION COlVIPLAINT
13
                     vs.                                     Exempt from Arbitration (NAR 3(A) —
14
   RED ROBIN GOURMET BURGERS, INC., a                        Class Action; Equitable Relief Sought)
15 Delaware corporation; and RED ROBIN
   INTERNATIONAL, INC., a Nevada corporation,                Jury Trial Demanded
16
                               Defendants.
17
 :           Plaintiff Christopher Bruun ("Plaintiff") brings this action individually, and on behalf of all
19 others similarly situated, by and through counsel, against Defendants Red Robin Gourmet Burgers,

20 Inc. and Red Robin International, Inc. (collectively, "Defendants"), and hereby alleges as follows:

21                                               INTRODUCTION
22           1.      Defendants operate the casual dining restaurant chain known under the trade naine
23 Red Robin Gourn7et Burgers and Brews ("Red Robin Restaurants").
24           2.      Red Robin Restaurants falsely represent the number of ounces of Stella Artois beer
25 served in their Stella Artois chalices, tliereby overcharging their customers for each glass of beer.
26                                                  PARTIES
27           3.      Plaintiff Christopher Bruun is a natural person and resident and citizen of Colorado.
28

                                                    Page 1 of 12


                                        Case Number: A-20-814178-C
              Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 6 of 297
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        1             4.       Defendant Red Robin Gourmet Burgers, Inc. ("RRGBI") is a Delaware corporation

        2     with a principal place of business located at Greenwood Village, Colorado.

        3 1           5.       Defenda.nt Red Robin International, Inc. ("RRII") is a Nevada corporation and

        4     wholly-owned subsidiary of RRGBI. RRII's principal place of business is in Greenwood Village,

        5 Colorado.

        6                                          ,IURISDICTION AND VENUE
        7             6.       This Court has general personal jurisdiction over RRII because it is a Nevada

        8     corporation.

        9             7. .     This Court also has general personal jurisdiction over RRGBI because it controls the I

    10 actions of RRII.

    11                8.       Further, Defendants have intentionally availed themselves of this jurisdiction

    12 because they regularly conduct business in Nevada and have availed themselves of Nevada laws by

    13 operating restaurants in this jurisdiction where the complained-of conduct has occurred.

    14                 9.      This Court has subj ect matter jurisdiction over this action because Defendants

    15 operate restaurants in this jurisdiction where the coinplained-of conduct has occurred.

    16                 10.     Venue is proper in this District because Defendants operate restaurants in this

    17 District where the complained-of conduct has occurred.

    18                                               FACTUAL BACKGROUND
    19                 11.     RRGBI, through RRII, operates and franchises Red Robin Restaurants throughout

    20 the United States. At the end of 2019, there were 556 Red Robin Restaurants in 44 states in the

    21'       United States and one Canadian province.l Out of these 556. Red Robin Restaurants, 454 were

    22 Company owned and 102 were operated by franchisees.2

    23                 12.     In addition to their many hamburger offerings, Red Robin Restaurants offer and sell

    24 a variety of drinks, including local and imported beers.
    25                 13.     Stella Artois ("Stella") is a brand of imported beer from Belgium.

    26
               1See https•//sec report/Document/0001171759-20-000008/ (RRGBI's 10-K Report filed Feb. 25, 2020, at Part I, Item
    27
               1, Business Overview) (last accessed Apr. 7, 2020).
    28 '- Id.

                                                                Page 2 of 12 ;
     Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 7 of 297




 1             14.      The menu at Red Robin Restaurants lists for sale Stella beer in varying amounts of
 2 I ounces, one of which being 16 ounces of Stella beer. The Red Robin Restaurants' menu lists the 16

 3    ounce Stella beer as having 190 calories.
 4             15.      The Red Robin Restaurants' Nutritional Guide lists nutritional information for Stella
 5    beer in varying sizes, including 16 ounces of Stella beer.3 This Nutritional Guide lists the 16 ounce
 6    Stella beer as having 190 calories.
 7             16.      Red Robin Restaurants serve Stella beer in specially crafted chalices that have the
 8 I Stella Artois logo and a gold rim ("Stella chalice"). Each Stella chalice has a"fill line" etclied into

 9    the glass, which is labelled pursuant to the Metric systein in centiliters. This_"fill line" is located
10 some distance below the top rim of the chalice, and there is no marking on the chalice to indicate

11    the amount of liquid that the chalice holds in the space above the 33 centiliter "fill line" up to the
12 riin of the chalice.
13             17.      Defendants market and sell "16 ounces" of Stella beer in their Red Robin
14 I Restaurants in a Stella chalice that has a"fill line" of 33 centiliters. All of the Stella chalices that

15 have a"fill :line" of 33 centiliters are uniformly designed and manufactured to the same voluine

16 specificatioris, and they all hold the same volume of liquid in them.

17             18.      All of the Stella chalices that have a"fill line" of 33 centiliters hold a maximum
18    amount of 14 ounces of liquid in them when they are filled to the top rim of the chalice with liquid.
19             19.      Unbeknownst to Plaintiff and Class members, when they order, purchase, and
20 receive a"16 ounce" Stella beer at a Red Robin Restaurant, they are not receiving what they

21    ordered and paid for, as it is not feasible for them to calculate the amount of liquid that the Stella
22 chalice holds in the space above the 33 centiliter "fill line" up to the rim of the chalice.
23             20.      Pursuant to the franchise agreement, the franchisees operate the Red Robin
24 Restaurants under business formats, methods, procedures, designs, layouts, standards, and
25 specifications created and distributed by Defendants. Defendants developed and proscribed
26 mandatory specifications, standards, operating procedures, and rules for all of the Red Robin

27

28    3   See https://www.redrobin.com/paaes/nutrition/ (last visited Apr. 6, 2020).


                                                         ; Page 3 of 12
          Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 8 of 297
LL




      1 Restaurants—including the restaurants owned by franchisees—and Defendants direct, monitor, and

      2   control the operation of all Red Robin Restaurants.
      3           21.    Defendants' foregoing uniform standards and guidelines required all Red Robin
      4   Restaurants to (a) have the saine menu representing that Stella beer is sold in a 16 ounce vohune,

      5   and (b) serve the "16 ounce" Stella beer in the saine Stella chalices that have a"fill line" of 33
      6   centiliters.
      7           22.    Thus, all Red Robin Restaurants are overcharging their custoiners, including

      8   Plaintiff and Class mernbers, for Stella beer by representing that they are selling 16 ounces of Stella

     .9 beer, when in fact they are providing their customers, including Plaintiff and Class members, with,
     10 at most, 14 ounces of beer.

     11                                  FACTS RELEVANT TO PLAINTIFF

     12           23.    Plaintiff dined at Red Robin Restaurants at various times in 2019 and 2020, during

     13 which Plaintiff ordered a 16 ounce Stella beer, as represented by Defendants.

     14           24.    Plaintiff was served his "16 ounce" Stella beers in a Stella chalice that was etched

     15 with a"fill line" of 33 centiliters.

     16           25.    Defendants charged, and Plaintiff paid, for 16 ounces of Stella beer.

     17           26.    However, Plaintiff received, at most, 14 ounces of Stella beer.
      :                                         CLASS ALLEGATIONS
     19           27.    Class Definition: Plaintiff brings this action pursuant to NRCP 23, on behalf of a

     20 nationwide class of similarly situated individuals and entities (the "Class"), defined as follows:

     21                  All individuals in the United States who, during the applicable statute

     22                  of limitations, dined in a Red Robin Gourmet Burgers and Brews

     23                  restaurant and paid for 16 ounces of Stella Artois beer that was served

     24                  in a Stella chalice with a maximum capacity of 14 ounces. Excluded
     25                   from the Class are: (1) Defendants' current and former employees,

     26                  officers, and directors; (2) the Judge to whom this case is assigned and

     27                  the Judge's immediate family; (3) any person who executes and files a

     28                  timely request for exclusion from the Class; (4) any persons who have

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 1                      had their claims in this matter finally adjudicated and/or otherwise

 2                      released; and (5) the legal representatives, successors and assigns of any

 3                      such excluded person.

 4             28.      Numerosity and Ascertainability: Upon information and belief, the Class is

 5     comprised of thousands of individuals, and is so numerous that joinder of all members is

 6     impracticable. For example, Red Robin Restaurants' total revenue for 2019 was $1.2 billion.4

 7     While the exact number of Class members is presently unknown and can only be ascertained

 8     through discovery, Class members can be identified through Defendants' records, Class meinbers'

 9     records, or by other means..

10             29.      Commonality and Predominance: There are several questions of law and fact

11     common to the claims of the Plaintiff and members of the Class which predominate over any

12 individual issues, including:

13                      (a)      Whether Defendants made misrepresentations and omissions with respect to

14                               the number of ounces of Stella beer they serve when a customer orders a 16

15 :                             ounce Stella beer;       :

16                      (b)      Whether Defendants eiigaged in unfair and deceptive conduct as described

17                               herein;

18                      (c)      Whether Defendants breached contracts with their customers when they

19                               offered for sale 16 ounces of Stella beer, but only provided their customers

20                               with, at most, 14 ounces of beer;

21                      (d)      Whether Defendants were unjustly enriched when they charged their

22                               customers for 16 ounces of Stella beer, but only provided their customers
23                               with, at most, 14 ounces of beer; and
24                      (e)      Whether Defendants are liable for the damages suffered by Plaintiff and
25                               Class members.
26

27
        4  See https://sec.report/Document/0001171759-20-000008/ (RRGBI's 10-K Report filed Feb. 25, 2020, at Part lI, Item
28      6, Selected Financial Data) (last accessed Apr. 7, 2020).

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             Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 10 of 297




         1           30.     Typicality: Plaintiff's claims are typical of the claims of the Class. All claims are
         2   based on the same legal and factual issues. Plaintiff and each of the Class members were customers
         3   of Red Robin Restaurants. Defendants' conduct was uniforin to Plaintiff and all Class members.
         4           31.     Adequacy of Representation: Plaintiff will fairly and adequately represent and

         5    protect the interests of the Class, and has retained counsel coinpetent and experienced in complex
         6    class actions. Plaintiff has no interests antagonistic to those of the Class, and Defendants have no

         7    defenses unique to Plaintiff.
         8           32.     Superiority: A class action is superior to other available methods for the fair and

         9    efficient adjudication of this controversy. The expense and burden of individual litigation would

        10 make it impracticable or impossible for proposed members of the Class to prosecute their claims

        11    individually. The trial and the litigation of Plaintiff's and Class members' claims are manageable.
A ~N
   ~    12                                                  COUNT I

        13                                            Breach of Contract

❖ yzN   14           33.     Plaintiff repeats and realleges the above allegations as though fully set forth herein.

        15           34.     Plaintiff brings this Count individually, and on behalf of the Class.

        16           35.     Defendants offered 16 ounces of Stella beer for sale to customers dining in their Red

        17 Robin Restaurants.

        18           36.     Plaintiff and Class members dined.at Red Robin Restaurants, accepted Defendants'

        19    offer, and ordered and purchased 16 ounces of Stella beer.

        20           37.     Defendants breached their contract with Plaintiff and Class members when they

        21    provided Stella beer to Plaintiff and Class members in Stella chalices that can hold, at most, 14

        22    ounces of liquid.
        23           38.     As a result of Defendants' breaches, Plaintiff and Class Members have sustained

        24    damages in an amount in excess of $15,000.
        25                                                 COUNT II

        26                    Breach of the Implied Covenant of Good Faith and Fair Dealing

        27           39.     Plaintiff repeats and realleges the above allegations as though fully set forth herein.

        28           40.     Plaintiff brings this Count individually, and on behalf of the Class.

                                                           Page 6 of 12
             Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 11 of 297
                                                                                                               ri



         1           41.     Defendants offered 16 ounces of Stella beer for sale to customers dining in their Red

         2    Robin Restaurants.

         3           42.     Plaintiff and Class members dined at Red Robin Restaurants, accepted Defendants'
         4    offer, and ordered and purchased 16 ounces of Stella beer.
         5           43.     As a result of the contract, Defendants owed Plaintiff and Class Members a duty of
         6    good faith and fair dealing.

         7           44.     Defendants breached the implied covenant of good faith and fair dealing with
         8 Plaintiff and Class members when they provided Stella beer to Plaintiff and Class members in

         9    Stella chalices that can hold, at most, 14 ounces of liquid—depriving Plaintiff and Class Members

        10 of their justified expectations.

        11           45.     As a result of Defendants' breaches, Plaintiff and Class Members have sustained
~   N

        12    damages in an amount in excess of $15,000.

        13                                                 COUNT III
❖ ~zN 14                   Violation of the Consumer Fraud and Deceptive' Trade Practices Acts

        15                         of the Various States Where Defendants have Restaurants              :
    ~
~
        16           46.     Plaintiff repeats and realleges the above allegations as though fully set forth herein.
        17           47.     Plaintiff brings this Count individually, and on behalf of the Class, for violations of

        18    the respective statutory consumer protection laws, as follows:

        19                   (a)     The Alabama Deceptive Trade Practices Act, Ala.Code 1975, § 8-19-1,

        20                           et seq.;
        21                   (b)     The Alaska Unfair Trade Practices and Consumer Protection Act,
        22                           AS § 45.50.471, et seq.;

        23                   (c)     The Arizona Consumer Fraud Act, A.R.S §§ 44-1521, et seq.;
        24                   (d)      The Arkansas Deceptive Trade Practices Act, Ark.Code §§ 4-88-101, etseq.;
        25                   (e)      The California Unfair Competition Law, Ca1.Bus. & Prof. Code §§ 17200,
        26                           et seq. and 17500, et seq.;

        27                   (f)      The California Consumers Legal Remedies Act, Civil Code §§ 1750, et seq.;
        28                   (g)      The Colorado Consumer Protection Act, C.R.S.A. § 6-1-101, et seq.;

                                                            Page 7 of 12
                  Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 12 of 297




              1              (h)     The Connecticut Unfair Trade Practices Act, C.G.S.A. § 42-110a, et seq.;

             2               (i)     The Delaware Consumer Fraud Act, 6 Del. C. § 2511, et seq.;

              3              (j)     The Florida Deceptive and Unfair Trade Practices Act, FSA § 501.201,

              4                      et seq.;

              5              (k)     The Georgia Fair Business Practices Act, OCGA § 10-1-390, et seq.;

              6               (1)    The Idaho Consumer Protection Act, I.C. § 48-601, et seq.;

              7               (m)    The Ohio Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

              8                      501/1, et seq.;

              9.              (n)    The Indiana Deceptive Consuiner Sales Act, IN ST § 24-5-0.5-2, et seq.;

             10               (o)    The Iowa Private Right of Action for Consumer Frauds Act, Iowa Code Ann.

             1I                      § 714H.1, et seq.;

    P5       12               (p)    The.Kansas Consumer Protection Act, K.S.A. § 50-623, et seq.;
W
     R
             13               (q)    The Kentucky Consumer Protection Act, KRS 367.110, et seq.;

4• x z N     14               (r)    The Louisiana Unfair Trade Practices and Consumer Protection Law,
         n

             15               :      LSA-R.S. 51:1401, et seq.;                                    :
p
 p~
             16               (s)    The Maine Unfair Trade Practices Act, 5 M.R.S.A. § 205-A, et seq.;

             17               (t)    The Maryland Consumer Protection Act, MD Code, Commercial Law,

             18                      § 13-301, et seq.;

             19               (u)    The Massachusetts Regulation of Business Practices for Consumers

             20                      Protection Act, M.G.L.A. 93A, et seq.;

             21               (v)    The Michigan Consumer Protection Act, M.C.L.A. 445.901, et seq.;

             22               (w)    The Minnesota Prevention of Consumer Fraud Act, Minn. Stat. § 325F.68,

             23                      et seq.;

             24               (x)    The Missouri Merchandising Practices Act, V.A.M.S. § 407.010, et seq.;

             25               (y)    The Montana Unfair Trade Practices and Consumer Protection Act of 1973,

             26                      Mont. Code Ann. § 30-14-101, et seq.;

             27               (z)    The Nebraska Consumer Protection Act, Neb.Rev.St. §§ 59-1601, et seq.;

             28               (aa)   The Nevada Deceptive Trade Practices Act, NRS 598.0903, et seq.;

                                                          Page 8 of 12
              Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 13 of 297




          1               (bb)   The New Hampshire Regulation of Business Practices for Consumer
          2                      Protection, N.H.Rev.Stat. § 358-A:1, et seq.;
          3               (cc)   The New Jersey Constuner Fraud Act, N.J.S.A. 56:8, et seq.;
          4               (dd)   The New Mexico Unfair Practices Act, N.M.S.A. §§ 57-12-1, et seq.;
          5               (ee)   The New York Consumer Protection from Deceptive Acts and Practices,
          6                      N.Y. GBL (McKinney) § 349, et seq.;
          7               (ff)   The North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen
          8                      Stat. § 75-1.1, et seq.;

          9               (gg)   The Ohio Consumer Sales Practices Act, R.C. 1345.01, et seq.;
         10               (hh)   The Oklahoma Consumer Protection Act, 15 O.S.2001, §§ 751, et seq.;
         11               (ii)   The Oregon Unlawful Trade Practices Act, ORS 646.605, et seq.;
>1   N
         12               (jj)   The Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73
         13                      P.S. § 201 1, et seq.;

❖ ~zN~   14               (kk)   The Rhode Island Deceptive Trade Practices Act, G.L.1956 § 6-13.1-5.2(B),
W
         15                      et seq.;

         16               (11)   The South Carolina Unfair Trade Practices Act, SC Code 1976; §§ 39-5-10,
         17                      et seq.;

         18               (mm) The South Dakota Deceptive Trade Practices and Consumer Protection Act,
         19                      SDCL § 37-24-1, et seq.;
         20               (nn)   The Tennessee Consumer Protection Act, T.C.A. § 47-18-101, et seq.;
         21               (oo)   The Texas Deceptive Trade Practices-Consumer Protection Act, V.T.C.A.,
         22                      Bus. & C. § 17.41, et seq.;
         23               (pp)   The Utah Consumer Sales Practices Act, UT ST § 13-11-1, et seq.;
         24               (qq)   The Virginia Consumer Protection Act of 1977, VA ST § 59.1-196, et seq.;
         25               (rr)   The Washington Consumer Protection Act, RCWA 19.86.010, et seq.; and
         26               (ss)   The Wisconsin Deceptive Trade Practices Act, WIS.STAT. § 100, et seq.
         27
         28

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        Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 14 of 297
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    1           48.     Defendants engaged in unfair and deceptive acts or practices when they represented
    2   I and sold 16 ounces of Stella beer at their Red Robin Restaurants in Stella chalices that have a
    3    maximum capacity of 14 ounces.
    4           49.     Defendants represented to Plaintiff and Class members that they were purchasing 16
    5    ounces of Stella beer, but instead provided, at most, 14 ounces of beer to Plaintiff and Class
    6    inembers.
    7           50.     Defendants' representations were false because the Stella chalice in which the "16

    8    ounce" Stella beer was served could only hold a maxiinum ainount of 14 ounces.

    9           51.     Defendants oinitted the material fact that the. Stella chalice in which they served the

10 "16 ounce" Stella beer could not hold more than 14 ounces of liquid.

11              52.     Defendants intended for Plaintiff and the members of the Class to rely upon their

12 inisrepresentations and omissions, and Plaintiff and Class members did, in fact, reasonably rely

13 , upon these misrepresentations and omissions. At the tiine Plaintiff and Class members purchased

14 and received the "16 ounce" Stella beer from Defendants, there was no feasible basis for them to

15       determfne that the Stella chalice only held a maximum of 14 ounces of liquid.

16              53.     Had Plaintiffs and Class members known that Defendants were selling "16 ounces"

17 of Stella beer in chalices that could only hold 14 ounces of liquid, they would not have purchased

~~       the "16 ounce" Stella beer, or they would have paid less for it.

19              54.     The above-described deceptive and unfair acts and practices were used or employed

20 in the conduct of trade or commerce.

21              55.     The above-described deceptive and unfair acts offend public policy and cause

22 substantial injury to consumers.
23              56.     Defendants' conduct implicates consumer protection concems as their practices

24 affect the public generally.
25              57.     As a result of Defendants' conduct, Plaintiff and Class Members have sustained

26 damages in an amount in excess of $15,000.

27              58.     Plaintiff and Class members have suffered damages as a direct and proximate result

28 of Defendants' unfair and unconscionable commercial practices. These substantial injuries

                                                     Page 10 of 12
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 1 outweigh any benefit to consumers or competition that may result from Defendants' unfair

 2    practices.
 3                                                 COUNT IV
 4                               Unjust Enrichment — Pled in the Alternative
 5           59.     Plaintiff repeats and realleges the above allegations as though fully set forth herein.
 6           60.     Plaintiff brings this Count individually, and on behalf of the Class.
 7           61.     Plaintiff brings this Count in the alternative to Counts I(Breach of Contract) and
 8    Count II (Breach of the Implied Covenant of Good Faith and Fair Dealing).

 9           62.     As a result of.Defendants' practice of charging Plaintiff and the Class for 16 ounces
10 of Stella beer but providing them with less than 16 ounces, as alleged in detail supra, Defendants

11    unjustly retained a benefit (i.e., the amount of overpayinent) to the detriment of Plaintiff and the
12 Class.

13           63.     Defendants' retention of this benefit violates the fundainental principles of justice,
14 ;equity, and good conscience.

15            64.    Defendants accepted this unjust benefit, and it would be inequitable for Defendants
16 to retain the benefit of those monies, as Plaintiff and Class members paid the money as a result of

17 Defendants' deceptive and unfair practices.

18            65.    Defendants have obtained money to which they are not entitled, and interest on that
19 money, and under these circumstances equity and good conscience require that Defendants return

20 the money with interest to Plaintiff and the Class.

21            66.    As a result of Defendants' conduct. Plaintiff and Class Members have sustained
22 damages in an amount in excess of $15,000.
23                                          PRAYER FOR RELIEF
24            WHEREFORE, Plaintiff Christopher Bruun, individually, and on behalf of all others
25 similarly situated, prays for an Order as follows:
26                   A.      An order certifying this action to be a proper class action pursuant to Nevada
27            Rule of Civil Procedure 23, finding Plaintiff is a proper representative of the Class, and
28            appointing the undersigned counsel and his law firm as Class Counsel.

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          1                 B.       For temporary, preliniinary, and permanent injunctive relief enjoining

          2          Defendants from representing that there are 16 ounces of Stella beer sold in the Stella

          3          chalice that is etched with a"fill line" of 33 centiliters;

          4                  C.      For judgment for damages in excess of $15,000;

          5                  D.      For judgment for punitive damages according to proof;

          6                  E.      For an award of reasonable attorney's fees and costs;

          7                  F.      For an award of interest provided by law; and

           8                 G.      For such other and further relief that the Court may deein just and proper.

           9                                             JURY DEMAND

          10         Plaintiff demands a trial by jury on all counts so triable.

          11         DATED this 27th day of April, 2020.
~    N
          12                                                         BAILEY❖ KENNEDY

          13                                                         By: /s/ Dennis L. Kennedy
                                                                         DENNIS L. KENNEDY
          14                                                             PAi7L C. WILLIAMS
                                                    ;                Attorneys for Plaintiff Christopher Bruun
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Reception

From:                          efilingmail@tylerhost.net
Sent:                          Monday, April 27, 2020 10:23 AM
To:                            BKfederaldownloads
Subject:                       Courtesy Notification for Case: A-20-814178-C; Christopher Bruun, Plaintiff(s)vs.Red
                               Robin Gourmet Burgers, Inc., Defendant(s); Envelope Number: 5978267




                                                                Courtesy NotifiCation
                                                                               Envelope Number: 5978267
                                                                             Case Number: A-20-814178-C
                                                                  Case Style: Christopher Bruun, Plaintiff(s)
                                                                                                          vs.
                                                             Red Robin Gourmet Burgers; Inc., Defendant(s)

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                                                 Filinci Details
Case Number                      A-20-814178-C
i                                Christopher Bruun, Plaintiff(s)
! Case Style            ;        vs.
~                                Red Robin Gourmet Burgers, Inc.; Defendant(s)
Date/Time Submitted              4/27/2020 10:19 AM PST
Filing Type                      EFile
~Filing Description              Class Action Complaint
iActivity Requested              Complaint - COMP (CIV)
, Filed By                       Sharon Murnane
Filing Attorney                  Dennis Kennedy
            Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 18 of 297

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             Attorneys_fof•. Plaintiff Christophei• Br-lcun
        8
                                                             DISTRICT COURT
        9
                                                      CLARK COUNTY, NEVADA
       10

       11    CHRISTOPHER BRUUN, individually, and on                      Case No. A-20-814178-C
             behalf of all others similarly situated,
       12                                                                 Dept. No. IX
                                                Plaintiff,
       13                                                                 PLAINTIFF'S MOTION FOR CLASS
   ~
                              V J.                                        CERTIFICATION AND APPOINTMENT OF
❖ ~zN
    ~
      14                                                                  CLASS COUNSEL
             RED ROBIN GOURMET BURGERS, INC., a
       15    Delaware corporation; and RED ROBIN
             INTERNATIONAL, INC., a Nevada corporation,                   Hearin6 Reguested
       16
                                                Defendants.
       17

       18            Pursuant to Nevada Rules of Civil Procedure 23(a) and 23(c)(3), Plaintiff Cliristopher Bruun

       19 ("Plaintiff') moves to certify a class action against Defendants Red Robin Gourinet Burgers, Inc.

       20 ("RRGBI") and Red Robin International, Inc. ("RRII") (jointly, "Defendants" or "Red Robin") and

       21    appoint the undersigned counsel from Bailey❖Kennedy, LLP ("Bailey❖Kennedy") and Thomas A.

       22 Zinunerman, Jr., from Zimmerman Law Offices, P.C. ("Zimmerman Law")1, as Class Counsel.
       23
       24

       25
       26

       27
             ' Mr. Zimmerman's Verified Application for Association of Cotmsel Under Supreme Court Rule 42 will be submitted
       28    to the State Bar of Nevada. Upon receipt of the State Bar of Nevada's statement, Plaintiff will inove to associate Mr.
             Zimmerman as co-counsel.

                                                 ;               Page 1 of13


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            1               This motion is supported by the papers and pleadings on file, the accompanying

            2        Memorandum of Points and Authorities, the exhibits attached thereto, and any oral argument heard

            3        by the Court.

            4               DATED this 27`h day of April, 2020.

            5                                                             BAILEY❖ KENNEDY

            6                                                             By: /s/ Dennis L. Kennedy
                                                                              DENNIS L. KENNEDY
            7                                                                 PAUL C. WILLIAMS
                                                                          A ttorneysfor Plaintiff Christopher Bruun
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     1                            MEMORANDUM OF POINTS AND AUTHORITIES
     2                                             I.     INTRODUCTION
     3              Plaintiff Christopher Bruun brings this class action against Defendants Red Robin Gourmet
     4      Burgers, Inc. and Red Robin International, Inc. for Red Robin's practice of serving, at most, 14
     5       ounces of Stella Artois beer when customers order a 16-ounce Stella Artois beer. Red Robin offers
     6       on its menu Stella Artois in 16-ounce portions, yet the customized Stella Artois chalice in which

     7      Red Robin serves the supposed 16-ounce Stella Artois beer can only contain at most 14 ounces of

        8   beer.                        '

     9.             Plaintiff and .the other class meinbers did not receive what they paid for, and were.deceived
    10 I into thinking they were receiving a larger quantity of beer than they actually received. Plaintiff

    11      seeks to recover the difference between what Plaintiff bargained for, and what he actually received,

    12 and to recover for Red Robin's breach of contract, breach of the covenant of good faith and fair

    13 dealing, violation of the consumer fraud and deceptive trade practices acts of the states where Red

    14 Robin has restaurants, and unjust enrichment.

    15                                       II.        STATEMENT OF FACTS
    16              Red Robin operates and franchises Red Robin Restaurants throughout the United States. At

    17 I the end of 2019, there were 556 Red Robin Restaurants in 44 states in the United States. (Class

    18 Action Complaint ("Compl.") 111.) The menu at Red Robin's restaurants offer Stella Artois beer

    19 in various sizes, one of which is 16 ounces. (Id. ¶ 14.) The menu and Nutritional Guide both state

    20 that 16 ounces of Stella Artois beer have 190 calories. (Id. ¶¶ 14-15.)

    21              Red Robin's representations are false and misleading. All of the Stella Artois chalices in

    22 which Red Robin serves its purported 16-ounce, 190-calorie Stella Artois beer have a"fill-line" of
    23 33 centiliters and cannot hold more than 14 ounces of beer. (Id. ¶¶ 16-17.) Plaintiff dined at Red
    24 Robin numerous times in 2019 and 2020, and ordered 16 ounces of Stella Artois. (Id. ¶ 23.)
    25 Plaintiff paid for 16 ounces of Stella Artois beer each time he ordered a Stella Artois, but only

    26 received, at the most, 14 ounces of Stella Artois beer each time. (Id. ¶¶ 25-26.)

    27
    .:
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                                                           Page 3 of 13        .i
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       1                               III. PROPOSED CLASS DEEINITION

       2           Plaintiff seeks certification of the following nationwide class pursuant to NRCP 23:

       3                  All individuals in the United States who, during the applicable statute

       4                  of limitations, dined in a Red Robin Gourmet Burgers and Brews
       5                  restaurant and paid for 16 ounces of Stella Artois beer that was served
       6                  in a Stella chalice witli a maximum capacity of 14 ounces. Excluded

       7                  from the Class are: (1) Defendants' current and foriner employees,

       8                  officers, and directors; (2) the Judge to whom this case is assigned and

       9                  the Judge's immediate family; (3) any person who executes and files a
      10                  tiinely request for exclusion from the Class; (4) any persons who have

      11                  had their claims in this matter fmally adjudicated and/or otherwise

      12                  released; and (5) the legal representatives, successors and assigns of any
      13                  such excluded person.
      14                                           IV. ARGUIVIENT
a~W   15           A.      Standard of Decision.                                 :

      16           The Nevada Rules of Civil Procedure 'provide that "[a]s soon as practicable after the

      17 commencement of an action brought as a class action, the court inust determine by order whether it

      18    is to be so maintained." NRCP 23(d)(1). The Court's "order may be conditional, and may be

      19 altered or amended before the decision on the merits." Id.

      20           As the Nevada Supreme Court has explained, "class actions'promote efficiency and justice

      21    in the legal system by reducing the possibilities that courts will be asked to adjudicate many
      22 separate suits arising from a single wrong and that individuals will be unable to obtain any redress
      23 for wrongs otherwise irremediable because the individual claims are too small or the claimants too
      24 widely dispersed." Shuette v. Beazer Homes Holdings Corp., 121 Nev. 837, 846, 124 P.3d 530, 537
      25 (2005).
      26           In that context, NRCP 23(a) provides that a class action may be maintained only if: "(1) the
      27 class is so numerous that joinder of all members is impracticable; (2) there are questions of law or

      28 fact common to the class; (3) the claims or defenses of the representative parties are typical of the

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            1    claims or defenses of the class; and (4) the representative parties will fairly and adequately protect
            2    the interests of the class." In addition to satisfying the four NRCP 23(a) prerequisites, a party
            3 inoving to certify a class must demonstrate that the proposed class fits into one of the three

            4    categories enuinerated in NRCP 23(c). Shuette, 121 Nev. at 849-50, 124 P.3d at 539 (2005).2 As
            5    detailed below, PlaintifP seeks certification under NRCP 23(c)(3).
            6            "A party seeking class certification must affirmatively deinonstrate his compliance with the
            7 Rule—that is, he must be prepared to prove that there are in fact sufficiently numerous parties,

            8    common questions of law or fact, etc." See Wal-Mart Stores; Inc. v. Dulzes, 564 U.S.338, 350,
            9. (2011).3 While a court must engage in a rigorous analysis of the Rule 23 factors, a plaintiff's

           10 "evidentiary showing need not be extensive." Kavat, Inc. v. Omnipak Corp., 246 F.R.D. 642, 646

           11 (W.D. Wash. 2007) (citing Blackie v. Barrack, 524 F.2d 891, 901 (9th Cir. 1975)).

W~m        12            Moreover, the "class determination generally involves considerations that are enmeshed in
~     a    13 the factual and legal issues comprising the plaintiff's cause of action." Dukes, 564 U.S. at 351.
    fl ~
❖ N z o 14 Thus, while it is "sometimes ... necessary for the court to probe behind the pleadings before
                                 .                           .                           .                            .
           15    coming to rest:on the certification question," such analysis is limited to the issues surrounding

           16    certification that "overlap with the merits of the plaintiff's uiiderlying claim." Id. at'351; see also
           17   id. at 351 n.6, (noting that a court's analysis of the merits is limited to that which is necessary to

           18    determine certification); Ellis v. Costco Wholesale Corp., 657 F.3d 970, 983 (9th Cir. 2011) ("The

           19    district court is required to examine the merits of the underlying claiin in this context, only

           20 inasmuch as it must determine whether common questions exist; not to determine whether class

           21    members could actually prevail on the merits of their clairns.").
           22            B.          The Proposed Class SatisBes the NRCP 23(a) Prerecguisites.
           23                        1.    Tlae Proposetl Class is Numerous.
           24            The numerosity prerequisite is satisfied if "the class is so numerous that joinder of all
           25 members is impracticable." NRCP 23(a)(1). While there is no minimum number of class members, i
           26   Z
                    As a result of the Marcli 1, 2019, amendments to the Nevada Riiles of Civil Procedure, the three disjunctive conditions
           27   for class certification were moved from NRCP 23 (b) to NRCP 23(c).
                3 Tlie Nevada Supreme Court often relies upon federal cases interpreting Federal Rule of Civil Procedure 23 in
           28   analyzing NRCP 23. See, e.g., Slruelte, 121 Nev. at 847 n.l l, n.12, n.13, n.14, 124 P.3d at 538, n.l l, n.12, n.13, n.14.

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                                                                                                              a




 1    "a putative class of forty or more generally will be found numerous." Shuette, 121 Nev. at 847, 124

 2    P.3d at 537.

 3           The Class is likely coinprised of thousands of individuals. (Compl. ¶ 28.) Numerosity is

 4    established by the fact that Red Robin has found it cost-effective to use specially crafted chalices

 5    with Stella Artois logos on them to serve Stella Artois at its 556 restaurants. (Id. ¶ 16.) Moreover,

 6    Red Robins reports total revenue for 2019 of $1.2 billion. (Id.)

 7                   2.       There are Cominon Questions of Law aizd Fact.

 8           The commonality prerequisite requires that "there are questions of law or fact common to

 9. the class." NRCP 23(a)(2). "Questions are.common to the class when their answers as to.one class
10 inember hold true for all class inembers." Shuette, 121 Nev. at 848, 124 P.3d at 538.

11    "Commonality does not require that all questions of law and fact must be identical, but that an issue

      of law or fact exists that inheres in the complaints of all the class members." Id. Indeed, .

      commonality "may be satisfied by a single common question of law or fact." Id.
             There are several questions of law and fact cominon to the claims of the Plaintiff and

      inembers of the Class which predominate over any individual issues, including:

             (a)     Whether Defendants made misrepresentations and omissions with respect to the

17                   number of ounces of Stella beer they serve when a customer orders a 16-ounce Stella

 :                    beer;

19           (b)      Whether Defendants engaged in unfair and deceptive conduct as described herein;

20           (c)      Whether Defendants breached contracts with their customers when they offered for

21                    sale 16 ounces of Stella beer, but only provided their customers with, at most, 14

22                    ounces of beer;
23            (d)     Whether Defendants were unjustly enriched when they charged their customers for

24                    16 ounces of Stella beer, but only provided their customers with, at most, 14 ounces

25                    of beer; and
26            (e)     Whether Defendants are liable for the damages suffered by Plaintiff and Class

27                    members.

28 I (Compl. ¶ 29.)

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     1                          3.     Plaintiff's Claims are Typical of the PYoposed Class Members His Claifns
                                       Arise from the Same Practice and Course of Conduct that Give Rise to the
     2..                               Claims of the Other Class members.

     3                The typicality prerequisite is met if "the claims or defenses of the representative parties are

     4 typical of the claims or defenses of the class." NRCP 23(a)(3). Typicality is present where "each

     5 class member's claim arises from the same course of events and each class member makes similar

     6 legal arguxnents to prove the defendant's liability." Shuette, 121 Nev. at 848-49, 124 P.3d at 538-

     7 39. The "representatives' claims need not be identical, and class action certification will not be

     8 prevented by mere factual variations among class members' underlying individual claims." Id. at

     9 849, 124 P.3d at 539.

    10                Here, Plaintiff's and the other Class members' claims all arise out of Red Robin's uniform

    11 and standard practice at all Red Robin restaurants that results in overcharging for Stella Artois beer.

    12          (See Compl.   ¶¶ 20-21.) Red Robin serves Stella Artois in specially-crafted chalices that are a

    13 standard shape and size, and uniformly misrepresents their size as 16 ounces when they actually can

    14 contain, at most, 14 ounces of beer.. (Id. ¶¶ 14-18.)

    15                          4.     Plainiiff and His Counsel will Fairly and Adequately Represent the Class

    16                In order to satisfy, the fourth prerequisite, a party seeking certification must demonstrate that

    17 "the representative parties will fairly and adequately protect the interests of the class." NRCP

    18 23(a)(4). This "inquiry serves to uncover conflicts of interest between named parties and the class

    19 they seek to represent." Shuette, 121 Nev. at 849, 124 P.3d at 539 (internal quotation marks

    20 omitted). To satisfy the fourth factor, class members must "possess the same interest and suffer the

    21 same injury as other class members." Id. (intemal quotation marks omitted). '

    22                Plaintiff is an adequate Class Representative and will fairly and adequately protect the

    23 interests of the Class. There are no potential conflicts present, and Plaintiff suffered the same
    24 overcharge injury as the other Class members.

    25                Plaintiff's counsel is qualified to serve as Class Counsel. "Rule 23(a)(4) requires that

    26 plaintiffs demonstrate that class counsel is qualified, experienced, and generally able to conduct the

    27 litigation." Marisol A. v. Giuliani, 126 F.3d 372, 378 (2d Cir. 1997) (internal quotation marks and

    28 citation omitted).

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 1           Here, Bailey❖ Kennedy and Zimmerman Law are experienced in class actions, complex
 2    litigation, and consumer law. Bailey❖ Kennedy and Zimmerman Law have represented clients in
 3    numerous complex litigation matters and previously served. as class counsel in other matters. (Ex.
 4    1, Kennedy Decl. ¶ 5; Ex. 3, Zimmerman Decl. ¶ 3.) Specifically, Dennis L. Kennedy and Thoinas
 5    A. Zimmerman, Jr. have substantial experience in class actions and complex litigation cases,
 6    including consumer law matters. (See generally See generally Ex. 2, Curriculum Vitae of Dennis L.
 7    Kennedy; and Ex. 4, Finn Biography of Zimmerman Law.)
 8           Further, both Bailey❖Kennedy and Zimmerman Law are knowledgeable in consumer law,
 9    including deceptive trade practices law. (Ex. 1, Kennedy Decl. ¶. 5; Ex. 3, Zimmerman Decl. ¶ 4.)
10           Finally, Bailey❖ Kennedy and Zimmerman Law both have the necessary resources to

      zealously represent the Class members, and are prepared to invest the time and resources necessary
      to adequately serve as Class Counsel. (Ex. l, Kennedy Decl. ¶ 6; Ex. 3, Zimmerman Decl. ¶ 5.)
13           In sum, because Plaintiff is an adequate Class Representative and has chosen qualified and
14 experienced counsel, this Court should permit Plaintiff to act as the Class Representative and allow

15 his selected counsel to represent the~ Class members. See I'n re Cavanaugh, 306 F:3d 726, 734 (9th

16 Cir. 2002) ("The choice of counsel has traditionally been left to the parties; whether they sue in

17 their individual capacities or as class representatives.").

18           C.     The Prouosed Class Satisfies the Reauirements of NRCP 23(c)(3).
19           As discussed above, in addition to satisfying the four NRCP 23(a) prerequisites (i.e.,
20 I I numerosity, commonality, typicality, and adequacy of representation), a party moving to certify a

21 .class must demonstrate that the proposed class fits into one of the three categories enumerated in

22 I NRCP 23(c). Shuette, 121 Nev. at 849-50, 124 P.3d at 539. - Here, Plaintiff seeks certification
23 I under NRCP 23(c)(3):
24           Class certification is appropriate under NRCP 23(c)(3) where "the court fmds questions of
25 I law or fact common to the members of the class predominate over any questions affecting only
26 I individual members, and that a class action is superior to other available methods for the fair and

27 I efficient adjudication of the controversy."

28

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        1                  1.      Common Questions Predominate Over Any Individual Questions.
        2           The predominance prong of NRCP 23(c)(3) "tests whether proposed classes are sufficiently
        3   cohesive to warrant adjudication by representation." Shuette, 121 Nev. at 850, 124 P.3d at 540
        4   (intemal quotation marks omitted). "The questions of law or fact at issue in this analysis are those
        5   that qualify each class member's case as a genuine controversy; therefore, the questions that class
        6   members have in common must be significant to the substantive legal analysis of the members'
        7    claims." Id. (internal quotation marks omitted). Indeed, the predominance inquiry under NRCP
        8 23(c)(3) is similar to the analysis.of the commonality and typicality requirements of NRCP 23(a),

        9   but "it is more demanding." Id.
    10              Stated succinctly, class certification is appropriate where the "importance of common v

    11       questions ... predominate over the importance of questions peculiar to individual class members."

    12 Id. at 851, 124 P.3d at 540. "For example, common questions predominate over individual

    13 questions if they significantly and directly impact each class member's effort to establish liability

    14 and entitlement to relief, and their resolution can be achieved through generalized proof." Id.

    15 (internal quotation marks omitted).                          :

    16              The common issues in this case predominate over any individual issues: Each Class

    17 mexnber was subject to the same misrepresentations and omissions relatirig to the amount of Stella

    18 Artois beer they ordered, and they all received the same shortfall in the quantity of beer they

    19 received. The special chalices containing the Stella Artois beer they ordered were standard in size,

    20 and the value of the product in each chalice received by Class members was identical. Questions

    21       conceming Red Robin's misrepresentations and failures to deliver what was promised and

    22 bargained for predominate in this action.
    23                     2.      A Class Action is the Superior Method of Adjudicating the Common
                                   Claims of the Class Mesnbers.
    24

    25              The superiority prong of NRCP 23(c)(3) "questions whether a class action is the superior

    26 method for adjudicating the claims, thereby promoting the interests of efficiency, consistency, and

    27 ensuring that class inembers actually obtain relief." Shuette, 121;Nev. at 851-52, 124 P.3d at 540.

    28 "A proper class action prevents identical issues from being litigated over and over[,] thus avoiding

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 1     duplicative proceedings and inconsistent results." Id. at 852, 124 P.3d at 540-41 (alteration in

 2     original) (internal quotation marks omitted). Importantly, a class action is often the superior

 3     method of adjudication where it "helps class members obtain relief when they might be unable or
 4 unwilling to intlividually litigate an action for financial reasons ...." Id. at 852, 124 P.3d at 541

 5 (emphasis added).
 6            In determining superiority, courts evaluate: "(A) the interest of ineinbers of the class in

 71 individually controlling the prosecution or defense of separate actions; (B) the extent and nature of

 N.    any litigation concerning the controversy already commenced by or against members of the class;

       (C) the desirability or undesirability of concentrating the litigation of the claims in the particular
10 forum; and (D) the difficulties likely to be encountered in the manageinent of a class action."

11     NRCP 23(c)(3); accond Shuette, 121 Nev. at 852, 124 P.3d at 541. "Further, the court must

12 determine whether other adjudication methods would allow for efficient resolution without
13 compromising any parties' claims or defenses." Shuette, 121 Nev. at 852, 124 P.3d at 541.

14            As detailed below, each of the superiority factors weighs in favor of class certification.

15                            a.      The Class Members do not have an Interest in Controlling the
                                      Prosecution of Separate Actions Because Each Class Member's
16                                    Damages are Small.
17            The first superiority factor is "the interest of inembers of the class in individually controlling I

18 the prosecution or defense of separate actions." NRCP 23(c)(3)(A). Where "damages suffered by

19 each putative class member are not large, [the first] factor weighs in favor of certifying a class

20 action." Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1190 (9th Cir. 2001), opinion

21     amended on denial of reh'g, 273 F.3d 1266 (9th Cir. 2001).. For example, courts have found that
22 potential damage awards of $1,500 are "insufficient to incentive individual actions." Kristensen v.
23     Credit Payment Services, 12 F. Supp. 3d 1292, 1303 (D. Nev. 2014).
24             This factor favors class certification because the individual claims of each Class member
25 I concern a shortfall of a small amount of beer in each glass of Stella Artois served by Red Robin.
26 I While, in the aggregate, the amount of damages is very high, the injuries suffered by each of the

27 I Class members is too small to justify individual actions.



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    1                          b.      No Other Known Litigation Exists Between any Class Member,and
                                       Defendants; thus Class Resolution Serves Judicial Economy_
    2


    3           The second superiority factor instructs consideration of "the extent and nature of any

    4 litigation concerning the controversy already commenced by or against members of the class."

    5 NRCP 23(c)(3)(B). When the court is unaware of any other pending litigation, the factor weighs in

    6 favor of certification. See Kristensen, 12 F. Supp. 3d at 1308; see also Agne v. Papa John's Intern.,

    7 Inc., 286 F.R.D. 559, 571 (W.D. Wash. 2012). Plaintiff is not aware of any other litigation
    8 between a Class member and Defendants arising out of the issues in this case. Because there appear

    9 to be no similar lawsuits, class.resolution is a superior method of adjudicating the instant claims.

10 See Kristensen, 12 F. Supp. 3d at 1308; Agne, 286 F.R.D. at 571.                                         n

11                             Q.      Nevada is a Desirable Forum to Concentrate Litigation.

12              The third superiority factor requires a court to consider "the desirability or undesirability of

13       concentrating the litigation of the. claims in the particular forum." NRCP 23(c)(3). Where a

14 defendant is present in a jurisdiction and there "appears no .reason why concentrating.the litigation

15 iri [that jurisdiction] would be undesirable," the third factor supports class certification. See

16 Protectmarriage.com v. Bowen, 262 F.R.D. 504,509 (E.D. Cal. 2009).

17              Here, Defendants are present and at home in Nevada. RRII is a Nevada corporation, and

18 Defendants have several Red Robin Restaurants in Nevada. Thus, the third superiority factor favors

19 class certification.

20                             d.      There are no Significant Difficulties in Management of the Proposed
                                       Class.
21

22              The fourth superiority factor requires a court to consider "the difficulties likely to be

23       encountered in the management of a class action." NRCP 23(c)(3)(D). "When the complexities of

24 class action treatment outweigh the benefits of considering common issues in one trial, class action

25 treatment is not the superior method of adjudication." Zinser, 253 F.3d at 1192. "If each class

26 member has to litigate numerous and substantial separate issues to establish his or her right to

27 recover individually, a class actioii is not superior." Id.

28

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 1            This case is an ideal class action, conceming uniform practices, standard representations and
 2    product packaging, and small individual damages claims. No difficulties or complexities are added
 3    to the case by certifying the Class. The same evidence that Plaintiff will use to prove his claims
 4    will prove the claims of the other Class members. Accordingly, the fourth superiority factor
 5    illustrates the superiority of a class action.
 6                            e.      No Other Adequate Adjudication Methods Exist.
 7            In assessing superiority, the Nevada Supreme Court has stated that a"court must determine
 8    whether other adjudication inethods would allow for efficient resolution without compromising any
 9    parties' claims or defenses," such as through joinder or consolidation. Shuette, 121. Nev. at 852,
10 124 P.3d at 541. Here, there are no other adequate adjudication methods. This is an exemplary

11    class action—a very large group of individuals with claims that are too small to incentive any other
12 form of adjudication.

13                                             V. - CONCLUSION
14            Based on the foregoing; the Court should grant Plaintiff's Motion for Class Certification,
15 appoint Plaintiff as the Class Representative, and appoint Bailey❖Kennedy and Zimmerman Law

16 Offices, P.C. as Class Counsel.

17            DATED this 27' day of April, 2020.
18                                                             BAILEY❖KENNEDY

19                                                             By: /s/ Dennis L. Kennedy
                                                                  DENNIS L. KENNEDY
20                                                                PAUL C. WILLIAMS
                                                               Attorneys for Plaintiff Christopher Bruun
21
22

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              1                                       CERTIFICATE OF SERVICE

             2             I certify that I ain an employee of BAILEY❖ KENNEDY and that on the 27th day of April,

             3      2020, service of the foregoing was made by mandatory electronic service through the Eighth Judici

             4      District Court's electronic filing system and/or by depositing a true and correct copy in the U.S.

              5     Mail, first class postage prepaid, and addressed to the following at their last known address:

              6
                           Red Robin Gourmet Burgers, Inc. c/o Corporation Service Company
             7             251 Little Falls Drive
                           Wilmington, DE 19808
              8

             9             Red Robin International, Inc. c/o Corporation Service Company
                           112 North Curry Street
            10             Carson City, NV 89703
            11
~    N

            12
                                                                        /s/ Sharon Murnane
                                                                   Employee of BAILEY❖KENNEDY
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             Exhibit 1




             Exhibi . t 1
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        1                              DECLARATION OF DENNIS L. KENNEDY
        2           I, Dennis L. Kennedy, declare as follows:
        3           1.      I am over the age of eighteen and a resident of Clark County, Nevada.

        4           2.      I am competent to testify to the facts stated herein, which are based on personal

        5   knowledge unless otherwise indicated, and if called upon to testify, I could and would testify

        6   I competently to the following.

        7           3.      I am a partner in the law firin of Bailey❖Kennedy, LLP ("Bailey❖Kennedy"), co-

        8    counsel for Plaintiff Christopher Bruun ("Plaintiff') in the matter entitled Bruun v. Red Robin

        9    Gourmet Burgers, Inc., Case No. A-20-814178-C (the "Matter"), which is.pending before the Eighth

       10 Judicial District Court of the State of Nevada.

       11           4.      I submit this declaration in support of Plaintiff's Motion for Class Certification and

       12 Appointment of Class Counsel (the "Motion"), which seeks to certify a class action against
       13 Defendants Red Robin Gourmet Burgers, Inc. ("RRGBI") and Red Robin International, Inc.

       14 ("RRII") (jointly, "Defendants") and appoint class counsel from Bailey❖Kennedy and Zimmerman

       15 Law.                     :

       16           5.      I have substantial experience in class actions, compleic litigation cases, including

       17 consumer law and deceptive trade practices matters. A true and correct copy of my Curriculum

       18 Vitae is attached to the Motion for Certification as Exhibit 2.

       19           6.      Bailey❖ Kennedy has sufficient resources and time necessary to adequately serve as

       20 I class counsel and zealously represent the interests of the putative class.

       21           7.      Bailey•:-Kennedy is not aware of any other litigation between a putative class

       22 member and any of the Defendants regarding similar claims alleged by Plaintiff.
       23           I declare under penalty of perjury that the foregoing is true and correct.

       24           Executed on this 27' day of April, 2020.

       25
       26                                                            DENNIS Y KENNEDY
       27
- --- —28


                                                           Page 1 of 1
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             Exhibit 2




             Exhibit 2
     Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 34 of 297




                                  DENNIS L. KENNEDY
                                  CURRICULUM VITAE

    EDUCATION

        •       B.A. Econoinics, University of Washington (1972)
        •       J.D., University of Washington School of Law (1975)
        •       Board of Editors, Washington Law Review

    PROFESSIONAL ASSOCIATIONS

         •      State Bar of Nevada
         •      American Bar Association (Sections of Litigation
                       and Professional Responsibility)
         •      American College of Trial Lawyers
         •      American Bar Association Standing Committee on
                Lawyers' Professional Responsibility

    EMPLOYMENT

         •      Lionel Sawyer & Collins (1975 - 1/6/2006)
         •      Bailey❖Kennedy (1/9/2006 - present)

    OTHER POSITIONS

         •      Adjunct Professor, UNLV/William S. Boyd School of Law; Health Care Law
                (2001, 2003, 2005); Nevada Civil Practice (2006, 2007, 2008, 2015, 2016)
         •      Chairman, Board of Trustees, Nathan Adelson Hospice (1995 - present)
         •      Coach/Advisor to A Tech High School Moot Court Team, winner of 2019 Nevada
                Moot Court Championship

    PUBLICATIONS

         •      Co-Author, Nevada Civil Practice Manual (5`h ed., 2001)(2003-2013 suppleinents)

         •      Co-Editor (with Professor Jeffrey Stempel), Nevada Civil Practice Manual (5tt' ed.)
                (2003-2013 supplements)

         •      Solo and Small Firm Ethics Traps, Clark County Bar Association
                COMMUNIQUE (December 2013)

         •      Some Things That Can Hurt You If You Don't Pay Attention, Clark County Bar
                Association COMMUNIQUE (November 2015)




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SUPREME COURT AND BAR COMMITTEES

    •    State Bar of Nevada Disciplinary Committee (1989-1997). Chairman, Southern
         District (1993-1995)

    •    Member of State Bar Committee on Ethics and Professional Responsibility
         (December 2001 - December 2009; Chairman 2003-2007)

    •    Member of State Bar Committee on the Revisions to the Nevada Rules of
         Professional Conduct (the "Ethics 2000 Committee") (2003-2004)

    •    State Bar Professionalism Task Force (2004-present); Chairman, CLE
         Subcomniittee (2009-2010). (Task force recently developed a mentoring program
         designed to assist newly admitted lawyers in the transition into the profession.)

    •    Nevada Supreme Court Bench-Bar Committee (SCR 14) (2005-present)
         (General function of the Committee is to consult with the Supreme Court on
         issues affecting the practice of litigation, including proposed amendments to the
         Nevada Rules of Civil and Appellate Procedure.)

    •    Member of Nevada Supreine Court Article 6 Commission (2007-2011)
         (Commission's projects were (i) the proposed intermediate court of appeals, (ii)
         changes in judicial selection process and (iii) changes in judicial campaign fund
         raising,and disclosure). Final:report of Commission issued June 2011

    •    Member of Nevada Supreme Court Committee on Public Access to Lawyer
         Discipline (1994). Committee report resulted in amendments to SCR 121

    •    Member of Nevada Supreme Court Cominittee on Judicial Ethics and Election
         Practices (1995). Committee report resulted in the adoption of the Rules
         Governing the Standing Committee on Judicial Ethics and Election Practices
         (1997)

    •    Member of Nevada Supreme Court Committee to Study the Aniendment of
         NRCP 68 (offers of judgment) (2008-present)

    •    Nevada Supreme Court Judicial Education Requirements Study Committee
         (2015) (Committee was charged with studying the subject of judicial education
         and making a recommendation to the Nevada Supreme Court. Final report
         submitted April 2016)

    •    Submission of inemoranda and giving of oral presentation to Nevada Supreme
         Court regarding proposed amendment to Nevada R.P.C. 8.4 regarding lawyers'
         ownership of marijuana/cannabis enterprises. ADKT No. 0495
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   •     Submission of inemorandum to State Bar and State Bar Committee on Ethics and
         Professional Responsibility regarding lawyers' ownership/participation in the
         business of purchasing and selling medical liens. (October 2016)

   •     Submission of inemorandum to Nevada Supreme Court regarding proposed
         amendment to Nevada RPC 8.4 regarding lawyer misconduct. ADKT 526

                           RATINGS AND RANKINGS

   •     Martindale Hubbell "A" "V" rating.

   •     Benchmark Litigation Stars: 2018 — Commercial and Anti-Trust Litigation

   •     Mountain States "Super Lawyer" 2019; Top 10 — for Nevada, Utah,lVlontana,
         Idaho and Wyoming

   •     Mountain States "Super Lawyer" 2018; Top 10 — ranked second overall — for
         Nevada, Utah, Montana, Idaho and Wyoming

   •     Mountain States "Super Lawyer" 2017; Top 10 — ranked third overall — for
         Nevada, Utah, Montana, Idaho and Wyoming

   •     Mountain States "Super Lawyer" 2016; Top 10 - ranked second overall — for
         Nevada, Utah, Montana, Idaho and Wyoming.                           :

   •     Mountain States "Super I:awyer" 2015; Top 10 = ranked third overall — for
         Nevada, Utah, Montana, Idaho and Wyoming.

   •     Mountain States "Super Lawyer" 2005-present (top 75 lawyers in Nevada, Utah,
         Montana, Idaho and Wyoming).

   •     Chambers U.S.A. - one of the top 5 commercial litigators in Nevada (2005-
         present).

   •     Best Lawyers In America - Commercial Litigation, Appellate Practice, and Ethics
         and Professional Responsibility Law (199 1 -present).

   •     Best Lawyers' 2012 and 2014 Las Vegas Health Care Lawyer of the Year.

                        REPORTED CASES (1985-present)

    •    Lakeside Cominunity Hospital v. Levenson, 101 Nev. 777, 710 P.2d 727 (1985).

    •    Herbst v. Humana Health Ins. of Nevada, 105 Nev. 586, 781 P.2d 762 (1989).

    •    In re Discipline of Stuhff, 108 Nev. 629, 837 P.2d 853 (1992).


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    •    In re Discipline of Sinp-er, 109 Nev. 1117, 865 P.2d 315 (1993).

    •    Forsyth v. Humana, Inc., 827 F. Supp. 1498 (D. Nev. 1993), aff d in part and
         rev'd in part by Forsyth v. Humana, Inc., 99 F.3d 1504 (9`h Cir. 1996); superseded
         on rehearing by Forsyth v. Humana, Inc., 114 F.3d 1467 (9" Cir. 1997); affirmed
         by Humana, Inc: v. Fors t~h 525 U.S. 299 (1999).

    •    Snoeck v. Brussa, 153 F.3d 984 (9th Cir. 1998).

    •    State of Nevada v. Reliable Health Care, 115 Nev. 253, 983 P.2d 414 (1999).

    •    Baker v. District Court, 116 Nev. 527, 999 P.2d 1020 (2000).

    •    Nguyen v. State, 116 Nev. 1171, 14 P.3d 515 (2000) (amicus brief for Nevada
         Resort Assn.).

    •    Brown v. District Court, 116 Nev. 1200, 14 P.3d 1266 (2000).

    •    Badillo v. American Brands, 117 Nev. 34, 16 P.3d 435 (2001).

    •    Badillo v. American Brands, 202 F.R.D. 261 (D. Nev. 2001).

    •    Michel v. Bare, 230 F. Supp. 2d 1147 (D. Nev. 2002).

    •    Maduka v. Sunrise Hospital, 375 F.3d 909 (9th Cir. 2004).

    •    Poulos v. Caesar's World, Inc., 379 F.3d 654 (9th Cir. 2004).

    •    International Game Technoloay, Inc. v. Second Judicial District Court, 122 Nev.
         Adv. Op. 13, 127 P.3d 1088 (2006).

    •    Leroy's Horse and Sports Place v. Racusin, 2001 WL 1345974 (9th Cir.
         November 1, 2001) (reversing district court judgment re damages and attorney's
         fees and remanding for jury trial); Leroy's Horse and Sports Place v. Racusin,
         CV-S-950-00927 (D. Nev. July 8, 2003) (jury verdict of $2,310,000); Hartunian
         v. Racusin, 2005 WL 79089 (9`h Cir. January 14, 2005) (reversing district court
         order refusing to award pre judgment interest on $2,310,000 jury verdict and
         remanding for determination of interest amount); Racusin v. American Wagering,
         Inc., 465 F.3d 1048 (9th Cir. 2006), withdrawn on rehearing 493 F.3d 1067 (2007)
         (reversing BAP decision subordinating debt and affirming client's status as
         creditor entitled to payment of $2,310,000 judgment).

    •    Nanopierce Technologies, Inc. v. Depository Trust Clearing_Corp., 123 Nev.
         362,168 P.3d 73 (September 20, 2007) (brief and oral argument on behalf of
         amicus curiae North American Securities Administrators Assn.).


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   •     State of Nevada v. District Court (RJR Tobacco), 125 Nev. 37, 44, 199 P.3d 828
         (January 29, 2009).

   •     Betsinger v. D.R. Horton, Inc., 126 Nev. 162, 232 P. 3d 433 (May 27, 2010).

   •     Orion Portfolio Services 2, LLC v. Clark County, ex rel. Universily Medical
         Center, 126 Nev. Adv. Op. No. 39,245 P. 3d 529 (October 14, 2010).

   •     U-Haul Intemational, Inc. v. Albright, 626 F. 3d 498 (9`t' Cir. 2010).

   •     Bahena v. Goodyear Tire & Rubber Co., 126 Nev. Adv. Op. 57,245 P.M. 1182
         (2010) (brief on behalf of amicus curiae United States Chamber of Commerce).

   •     Stultz v. Bellagio, LLC, Nevada Supreme Court Case No. 56164 (October 29,
         2011).

    •    Walters v. Eighth Jud. Dist. Ct. ex rel. Cnty., of Clark, 127 Nev. Adv. Op. No. 66,
         263 P.3d 231 (2011).

    •    In re City Center Construction and Lien Master Litigation, Nevada Supreme
         Court Case No. 57186 (October 19, 2011).

    •:   Richman v. Distiict Court, Nevada Supteme Court Case No. 60676 (May 31,
         2013).

    •    Golden Gaming, Inc. v. Corrigan Management, Inc., Nevada Supreme Court Case
         Nos. 61696 and 62200 (March 26, 2015).

    •    Keisic v. Valley Health System, LLC, et al., Nevada Supreme Court Case No.
         64445 (December 29, 2015).

    •    Simmons v. Briones, 133 Nev. Adv. Op. No. 9, 390 P.3d 641 (March 2, 2017).

    •    Wasmund v. Aria Resort & Casino Holdings, Nevada Court of Appeals Case No.
         69147 (March 6, 2017).

    •    Ford Motor Co. v. Treio, 133 Nev. Adv. Op. 68, 402 P. 3d 649 (September 27,
         2017) (for amicus Nat'1 Assn. of Manufacturers).

    •    Public Employees' Retirement Sys. v. Gitter, 133 Nev. Adv. Op. 18, 393 P.3d 673
         (Apri127, 2017).

    •    Valley Health System v. Estate of Jane Doe; Hall Prangle & Schoonveld v.
         District Court, 134 Nev. Adv. Op. 76, 427 P.3d 1021 (Septeinber 27, 2018).

    •    Michelle Flores v. Las Vegas-Clark County Library District, 134 Nev. Adv. Op.
         101, 432 P.3d 173 (December 13, 2018).

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    •    JMB Capital Partners Master Fund, L.P. v. District Court, Nevada Supreme Court
         Case No. 78008 (March 21, 2019).

    •    Las Vegas Review Journal v. City of Henderson, Nevada Supreme Court Case
         No. 73287 (May 24, 2019).

    •    City-of Henderson v. Las Vegas Review Journal, Nevada Supreme Court Case
         No. 75407 (October 17, 2019).

         ETHICS/PROFESSIONAL RESPONSIBILITY REPRESENTATION

    •    Defense of non-Nevada lawyer on charges of unauthorized practice (and related
         offenses) before State Bar Disciplinary Panel (1998-1999). (Name of counsel and
         law firm are confidential.)

    •    Representation of candidate for district court in defense of complaint regarding
         campaign advertisements before Standing Committee on Judicial Ethics and
         Campaign Practices. (1998). Name of candidate is confidential.

    •    Representation of attomey in appeal of disqualification order (SCR 160). Brown
         v. Eighth Judicial District Court, 116 Nev. 1200, 14 P.3d 1266 (2000).

    •    Represenxation of attorney before fee dispute panel in matter involving recovery
                                                                                        .
         of quantum meruit fee in the absence of written fee agreement in contingent fee
         case. West v. Mvers. No. 02-128.

    •    Representation of inembers of Nevada Commission on Judicial Discipline in
         defense of action challenging constitutionality of the Coinmission's rules and
         activities. Snoeck v. Brussa, 153 F.3d 984 (9th Cir. 1998).

    •    Representation of Members of Nevada Commission on Judicial Discipline in
         defense of RICO and Civil Rights claims. Mosley v. Gang, et al., Case No. CV-
         S-00-0976-JLQ(LRL).

    •    Representation of State Bar of Nevada in defense of action brouglit by out-of-state
         law firm challenging the constitutionality of SCR 199 firm name provision.
         Lewis & Roca v. Bare, Case No. CV-S-99-0757-JBR (RLH).

    •    Representation of law firm in challenge to constitutionality of Supreme Court
         Rule prohibiting use of trade name by lawyers. Michel v. Bare, 230 F. Supp. 2d
         1147 (D. Nev. 2002) (declaring SCR 199(1) unconstitutional).

    •    Representation of candidate for district court in defense of complaint regarding
         allegedly untrue and defamatory statements made concerning opponent before
         Standing Committee on Judicial,Ethics and Campaign Practices. (2002). Name
         of candidate is confidential.
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   •     Representation of Nevada Commission on Judicial Discipline in defense of §
         1983 civil rights claim. Luckett v. Hardcastle, et al., Case No. CV-S-05-0726
         RLH-RJJ. (Complaint dismissed).

   •     Representation of attorney in defense of lawsuit alleging negligence and
         malpractice. Malignagp-i v. Goldberg, Case No. A 508763, District Court, Clark
         County, Nevada (case dismissed).

   •     Representation of law firm in opposirig disqualification motion. P-rovenza v.
         Yamaha Motor Co., Case No. A446708, District Court, Clark County, Nevada.

   •     Representation of law firin in opposing disqualification motion. Roth v. BMW,
         Case No. A453810, District Court, Clark County.

   •     Representation of non-Nevada lawyer regarding allegations of lack of candor
         toward tribunal (SCR 172) (2006). (Name of counsel and law firm are
         confidential.)

   •     Representation of law firm in opposing disqualification motion. Daniell v. Peake
         Development, Case No. A508494, District Court, Clark County.

   •     Representation of attorney in defense of State Bar proceeding regarding violations
         of NRPC:1.8 (business transactions with client) and NRPC 1.7 (conflict of
         interest). Name of attorney confidential (SCR 121).

   •     Representation of attomey in defense of claims for misappropriation of
         confidential information. Friedman v. Friedman, Case No. D07-376354D,
         District Court, Clark County, Nevada.

   •     Representation of attorneys in defense of claims alleging violations of NRPC 4.2
         arising out of contacts with putative class members prior to class certification.
         Del Webb Communities, Inc. v. The Eighth Judicial District Court of the State of
         Nevada in and for the County of Clark, and The Hon. Timothy C. Williams,
         District Judge, and Real Parties in Interest, Case No. 49423, Nevada Supreine
         Court.

   •     Representation of attorney in defense of State Bar proceeding regarding violations
         of NRPC 1.5 (fees) and NRPC 4.2 (contact with represented person). Case
         dismissed. Name of lawyer is confidential. (SCR 121).

   •     Representation of entity owned by attorney in defense of NRPC 1.8 claim. In re
         Receivership of Southwest Exchange, Case No. A535439, District Court, Clark
         County, Nevada. Case settled.
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    •    Representation of attorney in defense of malpractice/breach of fiduciary duty
         claim. Sorrell v. Snell & Wihner, Case No. 08-CV-00761-RCJ-LRL, U.S.
         District Court, Nevada. Case settled.

    •    Representation of attorney in appeal of judgment refusing to enforce contingency
         fee agreement's term regarding attomey's entitlement to particular fee in the
         event of his termination. Golightly v. Gassner, Case No. 50212, Nevada Supreme
         Court. Case decided.

    •    Representation of party in defense of claim for attorney's fees arising out of
         alleged "frivolous" litigation. Club 93, Inc. v. County of Elko, CV-C-08-163,
         Fourth Judicial District Court, Elko, Nevada. Case settled.

    •    Representation of client against attomey in claim for refund of alleged "non-
         refundable" retainer. Sperbera v. Hunterton, Case No. 08-149 (State Bar Fee
         Dispute Proceeding). Case decided.

    •    Representation of attorney in action against former partner and others for
         wrongful expulsion from law firm. Powell v. Powell Naqvi, Case No. 08-566761,
         Eighth Judicial District Court. Case settled.

    •    Representation of clients in seeking review of U.S. Magistrate Judge's order
         imposing monetary sanctions upon parties, individual lawyers, and law firm.
     :   Dennis Montgomery, Montgomery Family Trust v. eTreppid Technologies,
         L.L.C.: Warren Trepp, Department of Defense of the United States of America:
         and Does 1 through 10, and Related Cases, Case No. 3:065-CV-00145-PMP-
         VPC, U.S. District Court, District of Nevada. Matter settled.

    •    Representation of suspended attorney in proceedings seeking reinstatement to
         Nevada Bar. (In re Richard Pipkins). Representation terminated.

    •    Representation of attomey and law firm in opposing disqualification motion.
         Edwin K. Slaughter, et al. v. Uponor, Inc., et al., Case No. 2:08-CV-01223-RCJ-
         GWF, U.S. District Court, District of Nevada. Case dismissed.

    •    Representation of non-Nevada lawyer on State Bar inquiry into charges of
         unauthorized practice. (2009-2010). Matter concluded without action by State
         Bar. Name of lawyer is confidential.

    •    Representation of attorneys in defense of State Bar disciplinary proceeding
         alleging fee-splitting with non-lawyer and other inatters. State Bar v. Eglet (Case
         No. SG-10-0874) and Adams (Case No. SG-12-0803). Both proceedings
         disinissed.

    •    Representation of attorney in fee dispute arbitration. Davidson v. Gentile, Case
         No. 10-085, Nevada State Bar Fee Dispute Committee. Matter decided.
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    •    Representation of attorney in defense of State Bar disciplinary proceeding. State
         Bar of Nevada v. Anthony Lopez, Bar No. 08-175 (and numerous related and
         consolidated cases). Matters settled.

    •    Representation of judicial candidate in action challenging constitutionality of
         Nevada Code of Judicial Conduct Canon 4, Rule 4.1(A)(11). Kishner v. Nevada
         Standing Committee on Judicial Ethics and Election Practices, Case No. 2:10-cv-
         01858-RLH-RJJ, U.S. District Court, Nevada. Matter decided.

    •    Representation of attorney in matter where attomey disclosed confidential
         information relating to the representation of a client to prevent the commission of
         a criminal and fraudulent act by the client. Nevada RPC 1.6(b)(2) and (3).
         Attorney's name is confidential. Case settled.

    •    Representation of former clients in action against law fnm and attorney. Frias
         Holding Co. v. Greenberg Trauri , Case No. A-10-630319-C, Eighth Judicial
         District Court, Clark County, Nevada. Engagement concluded.

    •    Representation of former client against law firm in defense of fee collection
         proceeding and in prosecution of inalpractice counterclaim. Lionel Saw.er &
         Collins v. DeWald, State Bar Fee Dispute Committee Matter No. 10-108. Case
         dismissed.

    •    Representation of law firm and lawyers in dispute with insurer over coverage for
         claims of professional negligerice. Pacifica v. Goold Patterson, et al., Case No.
         A557726 (and related cases), Eighth Judicial District Court, Clarlc County,
         Nevada. Matter settled.

    •    Representation of attorneys in defense of five consolidated disciplinary
         complaints arising out of consumer bankruptcy representation. Nevada RPC 1.3,
         1.4, 5.3 and 8.1. State Bar v. Haines and Krieger, Case Nos.10-121-2842; 10-
         134-2842; 10-137-2557; SG10-0023; and SG10-0044. Matters decided.

    •    Representation of law firm and lawyers in defense of lawsuit alleging violations
         of Nevada RPC 1.8. Richman v. Haines & Krieger, LLC, et al., Case No. A-11-
         643004-C, Eighth Judicial District Court, Clark County, Nevada; Case No. 60676,
         Nevada Supreme Court (May 31, 2013). Matter settled.

    •    Representation of lawyers in defense of 46 consolidated bar grievances and
         complaints arisirig out of consumer bankruptcies and residential loan
         inodifications. State Bar v. George Haines and David Krieger, Grievance No.
         SG11-1800 (and related matters). Matters settled.

    •    Representation of attomeys in challenge (by mandamus) to order of
         disqualification. In re City Center Construction and Lien Master Litigation:
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         MGM Mirage Design Group v. District Court, Nevada Supreme Court Case No.
         57186 (October 19, 2011).

    •    Representation of Trust Beneficiaries in motion to disqualify counsel for trustee.
         In Re Cook Trusts, Case No. P-11-071394-T. Eighth Judicial District Court,
         Clark County, Nevada. Matter decided.

    •    Representation of former client in defense of fee collection suit by law firm and
         prosecution of inalpractice counterclaim. Lionel Sawyer & Collins v. DeWald,
         Case No. 79 194 Y 00090 11 nolg (AAA). Engagement concluded.

    •    Representation of not-for-profit entity in State Bar proceeding alleging
         unauthorized practice by assisting homeowners in dealings with mortgage lenders.
         (Name of client is confidential). Engagement concluded.

    •    Representation of Stokes & Stokes, Ltd. in the defense of various bar grievances.
         Case settled.

    •    Representation of parties in action seeking to overturn arbitrators' decision on
         grounds of fraud and partiality. Parker v. Carlson, et al., Case No. A571921,
         Eighth Judicial District County, Nevada. Matter settled.

    •    Representation (special counsel) of Allstate Insurance Co. on privilege and work
         product issues arising from interviews of former clients of an attorney. Allstate
         Insurance Co., v. Balle, et al., Case No. 2:10-CV-02205-KJD-RJJ, United States
         District Court, District of Nevada. Matter concluded.

    •    Representation of attorney and law firm in defense of allegations of unauthorized
         practice (Rule 5.5) and failure to register as a multi jurisdictional law firm (Rule
         7.5A). Waite v.Clark County Collection Service, Case No.2:11-cv-01741-LRH-
         VCF, United States District court, District of Nevada. Matter decided

    •    Representation of attorney in defense of State Bar disciplinary proceeding as to
         alleged violations of RPC 1.7 (current client conflict), RPC 5.4 (professional
         independence/fee splitting with non-lawyers), and RPC 8.4 (misconduct involving
         dishonesty and fraud). State Bar v. Noel Gage, Case No. 08-053-1890.
         Disciplinary case concluded with settlement. Settlement approved by the Nevada
         Supreme Court. Client reinstated as member of State Bar.

    •     Representation of bar applicant before State Bar Moral Character and Fitness
          Committee on charges relating to alcohol abuse, plagiarism and financial
          responsibility. In re Melanie Feldhauser-Thomas. Matter concluded.

    •     Representation of law firin and its clients in opposing motion to disqualify law
          firm for acquisition and use of allegedly privileged documents. In re C.E. Cook



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           Family Trust, Consolidated Case No. P-11-071394-T, District Court, Clark
           County, Nevada. Matter concluded.

   •       Representation of attorney in defense of State Bar disciplinary proceedings as to
           alleged violation of trust account rules. State Bar v. Joseph Scalia, Case Nos.
           SG11-1737, SG12-0903. Engagement concluded.

   •       Representation of former client of law firm in dispute with law finn arising out of
           law firm's conflict of interest in defending fonner client and another defendant at
           trial, where former client was found liable and other defendant was not. Names of
           client and law finn are confidential. Matter settled.

   •       Representation of attorney in appeal of letter of private reprimand resulting from
           attomey's conduct in federal court litigation. In re Steven Gibson, Case No. SG-
           12-0104. Matter decided.

   •       Representation of law firm in dispute with second law finn over payinent of fees
           alleged to be due under fee sharing agreement. Gage Law Finn v. Feinberg
           Mayfield Kaneda & Litt, LLP d/b/a Fenton Grant Mavfield Kaneda & Litt, LLP
           f/k/a Feinberiz Grant Mayfield Kaneda & Litt, Case No. A-14-697336-B, District
           Court, Clark County, Nevada. Matter settled.

   •       Representation of defendant entity sued by plaintiff's counsel with whom
           defendant entity had prior relationship, in proceedings regarding disqualification
           of plaintiff's counsel. Matter is confidential. :

   •       Representation of departed lawyer in dispute with fonner finn regarding client
           files and compensation. Matter is confidential.

   •       Representation of law firm in dispute with departed lawyer regarding
           compensation. Matter is confidential.

   •       Representation of fonner attorneys' client in action against attorneys for
           malpractice and breach of fiduciary duty. McKenna v. Chesnoff, et al., Case No.
           2-14-cv-1773-JAD-CWH pending in the United States District Court, District of
           Nevada. Case pending.

   •       Representation of law firm and attomey in defense of claims for breach of duty
           and aiding and abetting breach of fiduciary duty. Hugh S. Proctor, et al. v. CPF
           Recovery Ways, LLC, et al., Case No. 2:14—cv-01693-RFB-PAL pending in the
           United States District Court, District of Nevada. Case settled.

    •      Representation of attomey in disciplinary proceedings resulting from attorney's
           conviction of a crime. State Bar of Nevada v. Chandan Manansinah, No. CR13-
           1850 (2015). Matter pending

   •      Representation of attorney in defense of allegations of unauthorized practice of
  _— --_law. - Matter_is-confidential.
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    •    Representation of two partners of law firm in connection with their resignation
         from that firm and formation of a new firm. Matter is confidential.

    •    Representation of non-party for purpose of asserting accountant-client privilege in
         case where non-party's confidential information was at risk of disclosure. Core-
         Vent Bio Engineering, Inc. v. Polo Nevada Investments, Case No. A644240,
         Eighth Judicial District Court, Clark County, Nevada. Matter concluded.

    •    Representation of attorney regarding potential disciplinary complaint arising out
         of litigation fmancing and transactions involving medical liens. Name of attorney
         is confidential.

    •    Representation of client in matter following tlie striking of client's answer and
         imposition of sanctions for discovery violations and miscoriduct of prior counsel
         (Rule 3.3). Valley Health System, LLC, et al. v. Jane Doe, 134 Nev. Adv. Op.
         No. 76, 427 P.3d 1021 (Sept. 27, 2018).

    •    Representation of law firin (Hall Prangle & Schoonveld, LLC) and attorney
         contesting the imposition of sanctions for lack of candor to the court. (Nevada
         RPC 3.3). 134 Nev. Adv. Op. No. 76, 427 P.3d 1021 (Sept. 27, 2018).

    •    Representation of managing partner of Las Vegas office of national law firm in
         connection with his departure from that firm and the forination of a new law firm.
         Names of attorney and law firrim are confidential.                          :

    •    Representation of Adain Kutner in the defense of a State Bar disciplinary
         proceeding alleging violations of various rules of professional conduct. State Bar
         v. Kutner, Case Nos. OBC15-0309, OBC15-0604, OBC15-1291,OBC16-0041,
         OBC16-0613. Matter decided.

    •    Representation of partner in law firm in matter regarding partner's duties when
         law firm is engaging in conduct believed by the partner to violate the rules of
         professional conduct. Name of partner and law firm are confidential.

    •    Representation of law firm and lawyers in sanctions and contempt proceedings
         arising from lawyers' alleged trial inisconduct. Names of lawyers are
         confidential.

    •    Representation of attorney in the defense of related State Bar proceedings
         involving client referrals. Name of attorney is confidential.

    •    Representation of a gaming licensee in a dispute with its former attorneys over
         malpractice and excessive fees. Names of parties are confidential. Matter
         resolved.

    •    Representation of secured creditor moving to disqualify law firin representing
         debtor-in-possession because of conflicting representation of guarantor. In re


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            Sterling Entertainment Group LV, LLC, Case No. BK-S-17-13662-abl, United
            States Bankruptcy Court, District of Nevada. Motion granted.

            Representation of Boyack Orme & Anthony in opposing motion seeking sanctions
            for misconduct during voire dire. Thompson v. Playland International, et al., Case
            No. A-14-697688-C, District Court, Clark County, Nevada. Motion decided by
            District Court. Nevada Supreme Court Case No. 75522 (April 25, 2019) (issuing
            writ of mandamus vacating District Court imposition of sanctions). Client
            appeared pro per in Supreme Court.

   •        Representation of Lewis Brisbois Bisgaard & Sinith in opposing motion seeking
            case terminating sanctions for alleged discovery abuse. Gonzales v. Navarro, et
            al., Case No. A-15-728994-C, District Court, Clark Count, Nevada. Case settled.

   •        Representation of Pete Eliades in (i) opposing motion seeking judgment for
            attorneys' fees, and (ii) asserting countermotion ordering the forfeiture of fees by
            reason of law firm's conflict of interest. Cooper Levenson v. Eliades, Case No.
            A-16-732467-C, District Court, Clark County, Nevada. Motions decided. Trial
            pending.

   •        Representation of Wilson, Elser, Moskowitz, Edelman & Dicker, LLP in
            opposing motion seeking sanctions. Lauren Pitts v. Costco Wholesale
            Corporation, Case No. A-16-731492-C, District Court, Clark County, Nevada.
            Matter resolved.

   •        Representation of client in dispute with former attorney over propriety (and
            refund) of alleged "nonrefundable" retainer where attorney was terminated before
            any substantive work was done. Name of client is confidential.

   •        Representation of James W. Vahey, M.D. against former attorney (and others) in
            action for malpractice and breach of fiduciary duty. Vahey v. Musso, et al., Case
            No. A-14-695460-C, District Court, Clark County, Nevada. Matter settled.

   •        Representation of goveminental entity in defense of action by newspaper
            contesting the refusal to produce "public records" on the ground that such records
            were protected from disclosure by attomey-client and deliberative process
            privileges. Las Vegas Review Journal v. City of Henderson, Nevada Supreme
            Court Case No. 73287 (decided May 24, 2019).

   •         Representation of Hanson Bridgett, LLC in opposing motion to disqualify that
             firm for alleged conflict with former client (RPC 1.9) Coyote Springs Land
             Development v. Las Vegas Valley Water District, et al., Case No. A-18-778039-
             C, District Court, Clark County, Nevada. Matter resolved. Case dismissed.

   •      Retained by (non-party) former general counsel of defendant to advise as to
          matters of privilege, work product and confidentiality likely to arise at his
          deposition — taken in an action where the plaintiff alleged fraud and related
       -- wrongdoing by the defendant. Name of client is confldential.

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    •    Representation of client seeking disqualification of former attorneys now seeking
         to represent adverse parties in cross-claims. In re Fontainebleau Lien Litiaation,
         Case No. A-17-765074-B. Matter decided. Nevada Supreme Court, Case No.
         78008 (March 2019).

    •    Representation of client in dispute with former counsel wlio personally filed an
         amicus brief adverse to the interest of his former client in a matter where he had
         personally represented the fonner client. Matter resolved. Names of client and
         attorney are confidential.

    •    Representation of Wynn Resorts Ltd. in a motion to disqualify its fonner counsel
         in a matter where the former counsel is appearing adverse to it. Stephen A. Wynn
         v. Wells, et al., Case No. A-18-784184-B, District Court, Clark County, Nevada.
         Matter resolved.

    •    Representation of Blue Martini (client) in matter involving unauthorized acts by
         attorneys purporting to act on client's behalf. Tomora Reichardt v. Blue Martini
         Las Vegas, LLC, d/b/a Blue Martini Lounge,et al., Case No. A-10-608169-C,
         District Court, Clark County, Nevada. Matter resolved.

    •    Representation of attomey in defense of State Bar proceeding alleging the
         perpetration of fraud on the court. State Bar of Nevada v. Noe, Case No. OBC-
         19-0605.

    •    Representation of Paul D. Powell and The Powell Law Firm in litigation against
         the State Bar of Nevada seeking to have Nevada Rule of Professional Conduct
         7.2(i) declared unconstitutional.

    •    Represeritation of City of Henderson in dispute with Las Vegas Review Joumal
         over attomey's fees in public records case. City of Henderson v. Las Vegas
         Review Journal, Nevada Supreme Court Case No. 75407 (October 17, 2019).

    •    Representation of govenunental entity in dispute with fonner employee-attomey
         over permissible post-employment activities of fonner employee-attorney.
         Names of client and fonner employee attomey are confidential.

    •    Representation of Stacey and Steven Lewis in dispute with former counsel
         (Brownstein Hyatt law firm) over attomey's fees. CML-NV Grand Day, LLC v.
         Grand Day, LLC, et al., Case No. A-11-655054-B, District Court, Clarlc County,
         Nevada. Matter resolved.

    •    Representation of Jaines W. Vahey, M.D. in inalpractice case against Black &
         Lobello and Tisha Black in James W. Vahev, M.D., et al., v. Black & Lobello, et
         al., Case No. A-18-768351-C, District Court, Clark County, Nevada. Matter
         pending.




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   •       Representation of Matthew Callister in the defense of the State Bar grievances
           regarding diligence and fees in Grievance File No. OBC-19-1132/Delia Henson
           and Grievance File No. OBC-19-1102/Demedrick.Jefferson. Matters pending.

        RETENTION AS EXPERT: ETHICS/PROFESSIONAL RESPONSIBILITY

   •       Retained by bar applicant to give expert testimony before State Bar Moral
           Character and Fitness Committee regarding duty of confidentiality arising out of
           applicant's seeking employment with law firm representing adverse party.
           Testimony given. (2004) (Name of bar applicant is confidential).

   •       Retained by Cherry & Bailus to give expert testimony before State Bar Fee
           Dispute committee on issues regarding attorneys' withdrawal/termination of
           representation. Testimony. given.

   •       Retained by Dominic Gentile to give expert testimony in U.S. Bankruptcy Court,
           Orange County, Califomia, on attorney's obligations to client upon withdrawal
           and attorney's duty to withdraw. Offer of proof; no testimony given. In re Ken
           Mizuno- The Bankruptcy Estate of Ken Mizuno v. Ken Mizuno, Dorninic P.
           Gentile, Terrance G. Reed, et. al., Case No. SA94-14429LR, Adv. No. AD95-
           01043, United States Bankruptcy Court, Central District of Califomia.

           Retained by Law Offices of Stan Hunterton to testify in State Court case on issues
           conceming attorney's obligations in billing client for fees and charging for costs
           and expenses. Repoit prepared. No testimony given. Shinehouse & Duesing, a
           Nevada partnership and Rumph & Peyton a Nevada Pai-tnership v R D Prabhu
           an individual, Case No. A379297, District Court, Clark County, Nevada. Case
           dismissed and re-filed as Shinehouse & Duesing v. Prabhu, Case No. A456661,
           District Court, Clark County, Nevada. Case dismissed.

            Retained by Law Offices of Gary Logan to testify as to lawyer's duties to jointly
            represented clients. Testimony given. Nault v. Mainor, Case No. A401657,
            District Court, Clark County, Nevada, Mainor v. Nault, 120 Nev. Adv. Op. 84,
            101 P.3d 308 (2004).

            Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to duties
            of attorney (competence) and scope of representation. Report prepared. Case
            dismissed. Ilbert Mednicoff, an individual and CCN, Inc., a Nevada corporation
            v GeorVe F. Hohnan an individual, Robert L. Bolick, an individual, Stewart A.
            Gollmer, an individual Gary Fields, an individual, Law Offices of Robert L.
            Bolick Ltd a Professional corporation and Does 1 through 100, inclusive, Case
            No. A377374, District Court, Clark County, Nevada.

    •       Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to duties
            of law firm to supervise work of associate attorney. Report prepared. Case
            dismissed. Anthony Gupnon an incompetent person, by and through his
            Guardian ad Litem Barbara Guymon- Barbara Guymon v. Cory J. Hilton; Hilton

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         & Kahle; Villani, Hilton & Kahle; Villani, Gardner & Hilton; Perry & Spann;
         Pico & Mitchell, Ltd.; and Does 1 to 10, inclusive, Case No. 00-A-422013-C,
         District Court, Clark County, Nevada.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to
         lawyer's conduct in trial and settlement of case. Report prepared. Case
         dismissed. Mark J. Brown v. Alan Catley (and related cross actions), Case No.
         A381988, District Court, Clark County, Nevada.

         Retained by State Bar to testify in disciplinary proceeding as to lawyer's duties
         under SCR 170 (prohibition on filing frivolous litigation). State Bar v. Mirch,
         Case No. 3-34-20. Report prepared. Testimony given. In The Matter of
         Discipline of Kevin Mirch, Case No. 49212, Nevada Supreme Court,- April 10,
         2008 (attorney disbarred).

    •    Retained by Holland & Hart to testify as to duties owed by lawyer who engages in
         business transactions with clients. Rivers v. Romano, et al., Case No. A483701,
         District Court, Clark County, Nevada. Report prepared. Testimony given. Case
         dismissed.

    •     Retained by attomey to testify regarding duties under SCR 152 (scope of
          representation), SCR 153 (diligence) and SCR 166 (declining or terminating
          representation), State Bar v. Goldberg, No. 04-013-1536. Testimony given. Case
        : dismissed.

    •    Retained by Cristalli & Saggese to testify as to issues regarding formation of
         attorney-client relationship, scope of representation, and breach of duties arising
         therefrom. Johnson v. Smith, Case No. 512364. Report prepared. Case
         dismissed.                                                                         `

    •    Retained by Snell & Wilmer to testify regarding duties and responsibilities of
         attorney providing opinion in real estate sale transaction. Sundance West LLC, et
         al. v. Orix Capital Markets, LLC, Case No. CV-04-01995, Second Judicial
         District Court, Washoe County, Nevada. Report prepared. Case dismissed.

    •    Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
         issues pertaining to insurer's "captive" law firm, including disclosure and client
         consent requirements. Artisan Tile & Plumbing, Inc., a Nevada corporation,
         formerly known as Davila Jimenez, Inc. doing business as Pueblo Landscape
         Company, Inc. v. Assurance Company of America, a New York Corporation;
         Bennion Clayson Marias & Haire fka Bennion & Clayson; Does 1 through 10,
         inclusive, Case No. A503744, District Court, Clark County, Nevada.

         Retained by Menter & Witkin to testify regarding (i) attorney's acceptance of
         defense of insured subject to insurer's litigation guidelines; (ii) conflicts arising
         from attomey's representation of four co-defendants in construction defect


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         litigation; (iii) duty of insurer to provide independent counsel; and (iv) whether
         attorney's conduct met standard of care. National Fire & Marine Insurance
         Company v. Roger Gurr and Elsie Gurr (and counterclaim), Case No. 3:05-CV-
         0658-BES-VPC, United States District Court, District of Nevada. Report
         prepared. Case settled.

   •     Retained by Alverson, Taylor, Mortensen & Sanders to testify regarding
         attorney's conduct in determining proper defendants in litigation. Lesky v.
         Callister, Case No. 527875, District Court, Clark County, Nevada. Report
         prepared. Case dismissed.

   •     Retained by Gordon & Silver to testify regarding conduct of attorney and law
         firm in business transaction with client. Richards v. Allison, MacKenzie, et al.,
         Case No. 03-01781A, First Judicial District Court, Carson City, Nevada. Report
         prepared. Case dismissed.

    •    Retained by Deaner Scann Malan & Larsen to testify regarding an alleged conflict
         of interest arising from law firm's prior work and status of lawyer as shareholder
         in party to case. D& J Properties v. Siena Office Park 2, Case No. A537781,
         District Court, Clark County, Nevada. Report prepared. Testiinony Given.
         Matter decided.

    •    Retained by Solomon Dwiggins & Freer to testify regarding the conduct of a
         lawyer and his law firm in the handling of an estate where the lawyer acted as
         trustee of various trusts and retained his own law firm to represent him. Lesebera
         v. Woods, Case No. P59334, District Court, Clark County, Nevada. Report
         prepared. Deposition testimony given. Trial testimony given. Case settled.

         Retained by Menter & Witkin to testify regarding (i) duties of Nevada lawyer
         residing out of state and maintaining office in Nevada (SCR 42.1); and (ii) duties
         of multi jurisdictional law firm maintaining office in Nevada (NRPC 7.5A).
         Roger and Elsie Gurr v. National Fire & Marine Insurance Company, Reiser &
         Associates, and Does 1 through 40, Case No. 07-CV-615-HDM-VPC, in the
         United States District Court, Reno. Report prepared. Case settled.

         Retained by Lewis Brisbois Bisgaard & Smith to testify regarding restitution of
         fees paid to law firm who is later disqualified due to conflict of interest. American
         Heavy Moving and Rigging, Inc. v. Lewis Brisbois Bisgaard & Smith, LLP, State
         Bar Fee Dispute Case No. 07-055 (State Bar Fee Dispute Panel). Rebuttal report
         prepared. Testimony given. Case decided.

         Retained by Michael Warhola to testify regarding waiver of attorney-client
         privilege by inadvertent disclosures of e-mail from client. Seidman v. Dilloo,
         Case No. D260143, District Court, Clark County, Nevada. Report prepared.




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         Retained by attorney as consulting expert regarding opposing counsel's violations
         of NRPC 1.2(d) and 8.4(d) by rendering legal aid and advice to fugitive client to
         enable him to prosecute and defend litigation in Nevada. Joseph A. Bravo, David
         Z. Chesnoff, and Eckley M. Keach, Capital Growth Limited, Inc., Punta Arena De
         La Ventana, S.A. de C.V., Boca De La Salina, SA De C.V. v. Capital Growth,
         LLC, and Kerry Rogers, and All Related Actions, Case No. A536644, A542755,
         A535548, District Court, Clark County, Nevada. Report prepared. Underlying
         case dismissed. Bar Grievance filed. Screening panel testimony given. Matter
         decided.

         Retained by attorney as consulting expert to advise whether opposing counsel's
         conduct (harassment of witness) violated NRPC 8.4(d). Julia Brady, et al v.
         Kerry Rogers, et al., Case No. A572440, District Court, Clark County, Nevada.
         Report prepared. Underlying case dismissed.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
         duties and responsibilities of a lawyer who is counsel of record in pending
         litigation, whose client retains other counsel and then ceases coinmunicating with
         the lawyer. Geier v. Denue, et al., Case No. A525183, Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Marquis & Aurbach (later replaced by Lionel Sawyer & Collins) to
         testify regarding duties of lawyer who prepares a trust document, is appointed
         trustee upon client's death, and then retains his own law firm to represent the
         trust: In the Matter of the Total Amendinent and Restatement of the William
         Eversole Family Trust Originally Dated Apri16, 1996, Case No. P-XX-XXXXXXX-T,
         Eighth Judicial District Court, Clark County, Nevada. Report prepared. Case
         settled.

    •    Retained by law firm to advise as to firm's duties when potential conflict arises
         between clients jointly represented by firm in defense of litigation. NRPC 1.7.
         (Name of firm and identities of clients are confidential).

    •    Retained by Thorndal Armstrong Delk Balkenbush & Eisinger to testify regarding
         the scope of duties owed by a lawyer who has been retained to render only limited
         services. Brewer v. State ofNevada, et al., Case No. 554064, Eighth Judicial
         District Court, Clark County, Nevada. Report prepared. Matter settled.

    •    Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
         the duties owed to a ininority shareholder by a lawyer who represents a closely
         held corporation. Jackson v. Ira Levine, et al., Case No. A538983, Eighth Judicial
         District Court, Clark County, Nevada. Report prepared. Trial testimony given.
         Case decided.

    •    Retained by Schiff Hardin, LLP to testify as to reasonableness of attorneys' fees.
         DTPI Holdings, LLP v. Forrest Binkley & Brown Capital Partners, LLP, Case


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         No. 2:07-CV-00690-BES-RJJ, U.S. District Court, District ofNevada. Report
         prepared. Case decided.

   •     Retained by Doyle Berman Murdy, P.C. to opine on attorney's conduct in
         representing several parties in related transactions. XMASCO, LLC v. Wellborn
         & Associates, P.C., et al., Case No. A566261, Eighth Judicial District Court,
         Clark County, Nevada. Case dismissed.

   •     Retained by Wolf, Riflcin, Shapiro, Schulman & Rabkin, LLP, to testify as to
         attorney's duties regarding safekeeping and distribution of client's funds. Azine,
         et al. v. Johnson, et al., Case No. A587009, Eighth Judicial District Court, Clark
         County, Nevada. Case settled.

   •     Retained by Lewis Brisbois Bisgaard & Sinith to testify as to_law firm's duties in
         preparing and communicating with client regarding drafts of transactional
         documents. Padilla v. Smith, Case No. A569307, Eighth Judicial District Court,
         Clark County, Nevada. Report prepared. Case settled.

   •     Retained by Solomon Dwiggins & Freer to testify regarding attorney's conduct in
         representing trustors and beneficiaries of a trust. Buck v. Hoffman, Case No.
         CV09-00324, Second Judicial District Court, Washoe County, Nevada. Report
         prepared. Deposition taken. Case settled.

   •     Retained~by Lewis Brisbois Bisgaard & Smith to testify regarding attorney's
         conduct in representing closely held corporation. RPC 1.13. Rita Quam Farriily
         Trust, et al. v. OPA Management, LLC, et al., Case No.' A568829, Clark County
         District Court. Report prepared. Case concluded on summary judgment in favor
         of attomey. Amended Coinplaint filed,. Additional report prepared. Matter
         settled.

   •     Retained as special counsel to brief and argue defendants' rights and obligations
         (vis-a-vis, non-settling plaintiffs) regarding possibly privileged or confidential
         documents received by defendants from some plaintiffs as a part of a settlement.
         Klaas v. Vestin MortRaRe, Case No. A528385, Clark County District Court
         (matter decided).

   •     Retained by Glaser, Weil, Fink, Jacobs, Howard & Shapiro, LLP to testify as to
         lawyer's obligations upon receipt from a third party of documents and
         infonnation which appear to have been misappropriated from adverse party.
         Merits Incentives, LLC v. Eighth Jud. Dist. Ct. ex rel. Cnty. of Clark, 127 Nev.
         Adv. Op. 63, 262 P.3d 720 (2011).

   •     Retained by Thorndal, Armstrong, Delk, Balkenbush & Eisinger to testify
         regarding attorney's conduct (diligence and competence) in representing client in
         complex mechanic's lien litigation. Maui One Excavatin.P v. Mead & Pezzillo, et



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         al., Case No. A539801, Clark County District Court. Report prepared. Case
         settled.

    •    Retained by Robertson & Vick, LLP to testify as to reasonableness of attomeys'
         fees. Voggenthaler, et al. v. Marvland Square, et al., Case No. 2:08-CV-01618
         RCJ (GWF), U.S. District Court, District for Nevada. Report,prepared. Matter
         decided.

    •    Retained by Travelers Companies, Inc. to opine on issues relating to the
         unauthorized practice of law (Nevada RPC 5.5 and SCR 49.10). Opinion
         prepared.

    •    Retained by Chamberlain Hrdlicka White Williams & Martin to opine on several
         Nevada RPC 8.3 issues in Valdez v. Cox Communications, et al., Case No. 2:09-
         CV-1797-PMP-RJJ in the U.S. District Court, District of Nevada. (Oral opinion
         delivered.)

    •    Retained by Mark Zaloras and the Law Offices of Peter Goldstein to opine on
         several malpractice, billing and fee issues. Gaxiola-Lim v. Michel, Case No. A-
         10-613812-C, Clark County District Court. Preliminary report prepared. Matter
         settled.

    •    Retained by the Cashill Law Firm to opine on attorney's entitlement to a fee for
         work done on behalf of an incompetent client. Merle Layton :Trust, Case No.
         PR98-00336. Second Judicial District' Court, Washoe County, Nevada. Report
         prepared.

    •    Retained by Marquis Aurbach Coffing to testify as to attorney's conduct in
         representation of clients and matters relating to negotiation of release from
         malpractice liability. Gugino v. Nevada Contractors Ins. Co., et al., Case No. A-
         11-637935-B, Clark County District Court. Report prepared. Trial testimony
         given. Matter decided.

    0    Retained by Vernon L. Bailey, Esq. to testify as to attomeys' conduct in
         representation of clients and matters relating to legal malpractice, breach of
         fiduciary duty and negligence: Inca Investments, Inc.; Platina. Inc. v. Kevin R.
         Hansen, Esq.; Wilde Hansen, LLP; Gregory L. Wilde, Esq.; Richard S. Ehlers,
         E~c
           s ., Case No. A-09-604391-C, Clark County District Court. Report prepared.
         Deposition taken. Case settled.

          Retained by Laxalt & Nomura to testify as to attomeys' obligations to 'and
          conduct affecting opposing party in litigation. Pompei v. Hawes, et al., Case No.
          A-11-642012-C, Clark County, District Court. Report prepared. Deposition
          taken. Matter settled.




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              •       Retained by Randolph Goldberg to testify as to attorney's conduct regarding
                      various issues. State Bar v. Goldbera, Case Nos. 09-049-1536; 09-102-1536; and
                      09-235-1536. Report prepared. Matter resolved.

              •       Retained by multi jurisdictional law firm to render advice on compliance with
                      Nevada registration and practice requirements (Nev. R.P.C. 7.5A).

              •       Retained by Christian, Kravitz, Dichter, Johnson & Sluga, LLC to testify
                      regarding attomeys' obligations when terminating employment with a law firm
                      and starting a new firm. Burr v. Dodds, Case No. A-11-650060-B, Clark County
                      District Court. Matter settled.

              •       Retained by Hong & Hong to testify as to duties of attorneys (competence) in
                      conduct of litigation. Wacht v. Peel & Brimley, Case No. A646410, Clark .
                      County District Court. Report prepared. Matter decided.

              •       Retained by attorney to render opinion on duties regarding disposition of disputed
                      funds held by attorney. (Nev. R.P.C. 1.15) (Attorney's name is confidential.)

              •       Retained by Greenspoon Marder, P.A. to render opinion on attorney's duty to
                      obtain clients' informed consent before settling or dismissing claims. Pittinan v.
                      Westgate Planet Hollywood Las Vegas, LLC, Case No. 2:09-CV-00878-PMP-
                      GWF, United States District Court, District of Nevada. Report prepared. Matter
                      decided.

              •       Retained by Simon & Berman to render opinion on conduct of lawyer and law
                      firm in representing client in litigation (diligence, competence and
                      communications)., Chandler v. Black & LoBello, et al., Case No. A-11-643955,
                      refiled as Case No. A-12-660252, Clark County District Court. Matter settled.

              •       Retained by Lewis Brisbois Bisgaard & Smith LLP to render opinion on conduct
                      of attorney in matters pertaining to failed investment. Softwind Capital, LLC v.
                      Global Project Solutions, LLC, et al., Case No. 2:11-CV-02057-JCM-GWF,
                      United States District Court. Case settled.

              •       Retained by Lewis Brisbois Bisgaard & Sinith LLP to render opinion on conduct
                      of attomey regarding loans made to client (Nevada RPC 1.8). Albert D. Massi v.
                      Donald and Mary Nobis, Case No. A672579 in the District Court, Clark County,
                      Nevada. Case settled.

              •       Retained by law finn as consulting expert to render opinion regarding attorney's
                      duty to report misconduct by opposing counsel. Nevada RPC 8.3(a). Name of
                      law firm and subject attorney are confidential.

              •       Retained by Lewis Roca Rothgerber to render opinion on whether the common
                      religious affiliation of the judge and one party's counsel requires the judge to
--   --           -   recuse himself Lynan v. Health Plan of Nevada, Case No. A583772 and Mag.ana

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          v. Health Plan of Nevada, Case No. A583816, District Court, Clark County,
          Nevada. Report prepared. Matter decided.

    •     Retained by Littler Mendelson to render opinion as to the propriety of self-dealing
          and other activities by company's in-house counsel. Randazza v. Excelsior Media
          Corp., JAMS Case No. 1260002283. Report prepared. Arbitration testimony
          given. Case decided.

    •     Retained by Judy M. Sheldrew, Esq. to render an opinion on the propriety of
          several attomeys' conduct in dealing with client having diminished capacity
          Andrews v. Rowe, et al., Case No. 12-PB-0075 in the Ninth Judicial District
          Court, Douglas County, Nevada. Report prepared. Case settled.

    •     Retained by Christine A. Zack to opine on issues of unauthorized and multi-
          jurisdictional practice of law. In re: Fundamental Long Term Care, Inc., Case
          No. 8-11-BK-22258-MGW, District of Florida. Matter settled.

    •     Retained by Wilson, Elser, Moskowitz, Edelman & Dicker, LLP, to opine on
          issues regarding the conduct of class counsel in dealing with class representative.
          Goldsmith v. Sill, et al., Case No. 2-12-CV-0090-LDG-CWH in the U.S. District
          Court, District of Nevada. Report prepared. Case pending.

    •     Retained by Lewis Brisbois Bisgaard & Smith LLP to opine on issues regarding
          conduct of counsel with respect to claims alleged in David Siebrasse, as Personal
    :     Representative of the Doreen Siebrasse~Estate v. Jeffrey Burr, Ltd.; Jeffrey Burr;
          Mark Dodds; John Mugan; et al., Case No. A-11-648532-C, in the District Court,
          Clark County, Nevada. Report prepared. Case settled.

    •     Retained by Lewis Brisbois Bisgaard & Sinith LLP to opine on issues regarding
          conduct of counsel with respect to claims alleged in T&R Construction Group v.
          Clark Tatom, LLC; and Bradley R. Tatom, Case No. A-13-689637-B, in the
          District Court, Clark County, Nevada. Report prepared. Case settled.

    • ,   Retained by Fulbright & Jaworski to opine on that firm's conduct in representing
          related entities in commercial transaction. Verano Land Group, LP v. VTLM
          Texas LP, et al, Case No. A-12-655514-B in the Eighth Judicial District.Court,
          Clark County, Nevada. Report prepared. Deposition taken. Case settled.

    •     Retained by Bowen Hall to opine on (i) propriety of lawyer threatening to
          withdraw from case during contested hearing unless the client accepted a
          settlement offer, and (ii) other issues of competency and diligence. James J
          "Butch" Peri v. Stephen C. Mollath; Prezant & Mollath; et al., Case No: CV08-
          02546 in the Second Judicial District Court, County of Washoe, State of Nevada.
          Trial testimony given. Case settled.

          Retained by Wilson, Elser, Moskowitz, Edelman & Dicker, LLP to opine on
          lawyer's duties with respect to firm trust account and partner's iinproper conduct.


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         SBS Retail Inc., et al. v. Yves Chantre Inc., et al., Case No. A-13-681083-C, in
         the District Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Lewis Roca Rothgerber to opine on attorneys' conduct during trial
         and compliance with Nevada RPC 3.3 (candor to the tribunal) in the matter
         enritled Health Plan of Nevada, Inc., et al. v. Helen Meyer, et al., Nevada
         Supreme Court Case No. 64692. Report prepared. Case settled.

         Retained by McDonald Family Trust to opine on the conduct of shareholders and
         the entity's counsel in a related party transaction. Nevada RPC 1.13. Russell G.
         Sheltra individually and as Trustee of the Russell G. Sheltra Gaming Trust and
         Little Bonanza Inc. v. Margaret McDonald and Timothy McDonald, Individually
         and as Trustees of the Robert and Gloria McDonald Family Trust, et al., Case No.
         CV14-01111, in the Second Judicial District Court, Washoe County, Nevada.
         Case settled.

   •     Retained by Holland & Knight to opine on the reasonableness of attorneys' fees
         in the matter entitled Leerad, LP, et al. v. Imperial Credit Corporation d/b/a A.I.
         Credit Corporation, et al., Case No. A631490, in the Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case settled.

   •     Retained by Thorndal, Armstrong, Delk, Balkenbush & Eisinger to opine on
         conduct of attorney in commercial real estate transaction. Shuhnan v. Bendavid,
         Case No. A682679, District Court, Clark County, Nevada. Report prepared.
         Deposition taken. Case settled.

   •     Retained by Clyde Snow & Sessions to opine on attorney's conduct in a matter
         affecting several clients (RPC 1.7; 2.2). United States of America v. Leon
         Benzer, et al., Case No. 2:13-cr-00018-JMC-GWF pending in the United States
         District Court, District of Nevada. Report prepared. Trial testimony given.
         Matter decided.

   •     Retained by Liberty Media Holdings LLC to opine on conduct of its in-house
         counsel in several matters. Randazza v. Liberty Media Holdings,LLC, Case No.
         A-12-673275-C in the Eighth Judicial District Court, Clark County, Nevada.
         Report prepared. Case settled.

   •     Retained by Weinberg Wheeler Hudgins Gunn & Dial to opine on conduct of
         attorneys in representation (and withdrawal) of clients in litigation. Lee v. 70 Ltd.
         Partnership, Case No. A-13-691389-C, Eighth Judicial District Court, Clark
         County, Nevada. Report prepared. Matter pending.

   •     Retained by Rock Fusco & Connelly, LLP to opine on conduct of attorneys in the
         conduct of litigation. International Game Technology v. Armstrong Teasdale,
         LLP, Case No. A-15-715079-C, Eighth Judicial District Court, Clark County,
         Nevada. Report prepared. Deposition taken. Case settled.



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    •    Retained by Durham Jones & Pinegar to opine on conduct of attomey with
         respect to financial dealings with client (RPC 1.7 and 1.8). Center Firearms Corp.
         v. Long Mountain Outfitters, Case No. A-14-709294-B, Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case decided.

    •    Retained by law firms to opine on issues regarding potential conflicts of interest
         which arise after retention in a matter. Names of law firms are confidential.

    •    Retained by Faux Law Group to opine on lawyers' conduct in the litigation and
         settlement of a matter. Nahabedian v. Sutcliffe, et al., and related claims,
         counterclaims and third-party claims, Case No. A-12-673897-C, District Court,
         Clark County, Nevada. Case settled.

    •    Retained by Gibbs, Giden, Locher, Turner & Senet LLP to opine on the conduct
         of a law firm and its attorneys (competence and supervision) in the representation
         of an HOA client. Vistana Condonuniuin Owners Assn., Inc. v. Kummer
         Kaempfer Bonner Renshaw & Ferrario, Case No. 08-A-578306, District Court,
         Clark County, Nevada. Report prepared. Deposition taken. Trial testimony
         given. Case decided.

         Retained by Rimini Street, Inc. and Seth Ravin to opine on the reasonableness of
         the fees and costs incurred by the Plantiffs' counsel in the case entitled Oracle
         USA, Inc., et al. v. Rimini Street, Inc. and Seth Ravin, Case No. 2: 10-cv-01 06-
         LRH-PAL in the United States District Court, District of Nevada. Report
         prepared. Matter decided. 269 F. Supp. 3d 1200 (D.' Nev. 2016); reversed in
         part, 879 F. 3d 948 (9tb Cir. 2018) and reinanded. Supplemental report prepared.
         Matter decided on remand.

    •    Retained by Lipson, Neilson, Cole, Seltzer & Garin, PC to opine on the conduct
         of inembers of Wasserman Kornheiser, LLP, at issue in the claims alleged in the
         matter entitled Carlisle Homeowners Association v. Pacifica Covington, LLC, et
         al., Case No. A-13-678911-D, District Court, Clark County, Nevada. Case
         pending.

    •    Retained by Lewis Roca Rothgerber to opine on conduct of attomey in the
         litigation of a matter. Huckabay Properties, Inc. v. Beau Sterling,et al., Case No.
         CV-15-00765, Second Judicial District Court, Washoe County, Nevada. Case
         settled.

    •    Retained by Gordon & Rees to opine on the conduct of attomey regarding
         business transaction with client. Blanchard v. Rosenfeld, Case No. A637650,
         District Court, Clark County, Nevada. Report prepared. Rebuttal Report
         prepared. Case pending.

    •    Retained by Loose Brown & Associates (later replaced by May, Potenza, Baran &
         Gillespie, P.C.) to opine on the conduct of a law firm and one of its lawyers in the
         representation of a client in litigation. Cannabis Renaissance Groul), LLC, and
         Mohit Asnani v. Fennemore Craig. P.C. dba Fennemore Craig Jones Vargas; and

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         Patrick J. Sheehan and Jane Doe Sheehan, Case No. CV2016-054776, pending in
         Superior Court, State of Arizona, Maricopa County. Report prepared. Rebuttal
         report prepared. Deposition talcen. Case pending.

         Retained by Morris Polich & Purdy to opine on conduct of lawyer and law finn in
         representation of client in litigation. Sunport Business Trust v. Serle, et al., Case
         No. A-15-716677-C, District Court, Clark County, Nevada. Report prepared.
         Rebuttal report prepared. Case pending.

         Retained by Caldwell Leslie & Proctor, PC to opine on (i) the causation of
         damages by attorney negligence in a conunercial transaction and (ii) the
         reasonableness and necessity of attorneys' fees incurred by Renown Health,
         Renown Regional Medical Center, and Nevada Heart Institute d/b/a Renown
         Institute for Heart & Vascular Health in the inatter entitled Arger, et al. v.
         Renown Health, et al., Case No. CV11-02477, Second Judicial District Court;
         Washoe County, Nevada, such fees are sought as damages by the Renown Parties
         in the inatter entitled Renown Health, et al v. Holland & Hart, LLP, et al., Case
         No. CV 14-02049, Second Judicial District Court, Washoe County, Nevada.
         Report prepared. Deposition taken. Trial testimony given. Matter decided.

         Retained by Edward Lewis Tobinick, M.D, Edward Lewis Tobinick, MD d/b/a
         Institute of Neurological Recovery and INR PLLC d/b/a Institute of Neurological
         Recovery to opine on the conduct of Marc J. Randazza, Esq. of Randazza Legal
         Group, PLLC in the. matter entitled Edward Lewis Tobinick, M.D:, et al. v.
         Novella, et al., Case No. 9:14-cv-80781-RL,R, pending in the U.S District Court,
         Southem District of Florida (West Pahn Beach). Report prepared., Matter
         decided.

         Retained by Meister Seelig & Fein LLP to opine on the reasonableness and
         necessity of attorneys' fees incurred by Ballard Spahr LLP and Katten Muchin
         Rosenman LLP in the matter entitled Jeffrey Soffer, et al. v. The Bank of Nova
         Scotia, New York Agency, Case No A635777 in the Eighth Judicial District
         Court, Clarlc County, Nevada, as appealed to the Nevada Supreme Court, Case
         Nos. 61762 and 63157. Report prepared. Deposition taken. Matter pending in
         New York state court

         Retained by Wilson Elser Moskowitz Edehnan & Dicker LLP to opine on the
         conduct of Danielle L. Miller and the law firm of Sylvester & Polednak regarding
         malpractice claims brought by Laura Renzi. Preliminary report prepared. Case
         settled.

         Retained by Hutchison & Steffen to opine on the conduct of Eric Roy and the law
         firm of Claggett & Sykes in the matter entitled Adam S. Kutner, P.C., et al. v.
         Eric Daly, et al., Case No. A-11-643990-C consolidated with Case No. A-11-
         650247-C, pending in the Eighth Judicial District Court, Clark County Nevada.
         Report prepared. Matter settled.



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    •     Retained by Morris Polich & Purdy to opine on conduct of lawyer in litigation.
          Scotto v. Gourley, et al., Case No. A-15-729632-C, District Court, Clark County,
          Nevada. Report prepared. Case settled.

    •     Retained by Messner Reeves LLP (successor to Wolfenzon Rolle Edwards) to
          opine on conduct of lawyers in litigation. Dudek v. Meuller, et al., Case No. A-
          14-703305-C, District Court, Clark County, Nevada. Report prepared. Matter
          settled.

    •     Retained by law firm to advise as to validity of attomey association agreement.
          (Name of firm and identities of clients are confidential).

    •     Retained by Quinn Emanuel Urquhart & Sullivan, LLP to opine with regard to
          Motions to Disqualify Quinn Emanuel, counsel for Elaine P. Wynn, filed by
          Wynn Resorts, Limited in the matter entitled Wynn Resorts, Limited v. Kazuo
          Okada, et al., and all related claims, Case No. A656710, pending in District Court,
          Clark County, Nevada. (RPC 3.3, 4.4, 5.3 and 8.4). Report prepared. Matter
          resolved.

    •     Retained by attorney to advise as to obligations when client is cominitting
          fraudulent acts. (Name of attorney is confidential.)

    •     Retained by Kravitz, Schnitzer & Johnson to opine on attomey's obligations when
          claim is made that fees were paid witli stolen funds. Novva Ausrustung Group,
        ' Inc. v. Dean Kajioka, Case No. 2:17-cv-01293-RFB-VCF, U. S. District Court,
          District of Nevada. Case settled.

    •     Retained by Buckley Sandler, LLP to opine on law firm's obligations when
          withdrawing from one jointly represented client and continuing to represent the
          other. Wynn Resorts, Limited v. Kazuo Okada, et al., and all related claims, Case
          No. A656710, District Court, Clarlc County, Nevada. Matter resolved.

    •     Retained by Hartford Financial Products to render an opinion on the conduct of
          Ken R. Ashworth, Esq., Hans R. Baldau, Esq., Geoffrey A. Potts, Esq., and Ken
          R. Ashworth & Associates P.C. as alleged in the Arbitration Matter of Michael C.
          Fuoroli and Tiffany S. Fuoroli, Claiinants v. Ken R. Ashworth & Associates, Ken
          R. Ashworth, Hans R. Baldau, and Geoffrey A. Potts, Respondents / Ken R.
          Ashworth & Associates, Professional Corporation, Counterclaimant v. Michael C.
          Fuoroli and Tiffany S. Fuoroli, Counter-respondents. Case No. 211874. Case
          decided.

          Retained by Arinstrong Teasdale to render an opinion on the conduct of attorney
          in representing client in negotiations. (Alleged aiding and abetting client in
          breach of fiduciary duty to partner.) LV Holdco LLC v. Atalon Mglnt. Groul),
          LLC, et al., Case No. A-17-749387-B, District Court, Clark County, Nevada.

          Retained by Santoro Whitmire to render an opinion on the conduct of attomeys
          and law firm (Gordon Rees Scully Mansukhani, LLP) in the conduct of litigation.

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                 Smead v. Gordon Rees, et al., Case No. A-16-760737-C, District Court, Clark
                 County, Nevada.

             •   Retained by Holley Driggs Walch Fine Wray Puzey & Thompson to render an
                 opinion on the conduct of attorney T. James Truman in the representation of his
                 client. T. James Truman & Associates v. Quest Preparatory Acadeiny, Case No.
                 A-15-727469-C, District Court, Clark County, Nevada.

             •   Retained by Hutchison & Steffen to opine on the validity of an alleged conflict
                 waiver by a governmental entity (City of Las Vegas) in order to permit it to be
                 represented by a law firm which was appearing adverse to it in a related matter.
                 180 Land Co. LLC v. City of Las Vegas, Case No. A-17-758528-J, District Court,
                 Clark County, Nevada. Prel'nninary opinion rendered. Matter resolved.

             •   Requested (pro bono) by the Clark County District Attorney's office to advise as
                 to propriety of criminal defense attorneys posting offensive comments on social
                 inedia (Nevada RPC 8.4(d)). Memorandum re substance and remedies delivered.
                 (7/16/18).

             •   Retained by law firm to opine and advise regarding expulsion of partner/
                 shareholder from firm. Name of firm is confidential.

             •   Retained by Gentile Cristalli Miller Armeni & Savarese, PLLC to opine and
                 advise regar.ding reasonableness of.fees in Kin.2 v. Desert Palace, Inc., et al., Case
                 No. A-13-691609-C, District Court, Clark County, Nevada. Opinion rendered. :

             •   Retained by Olson, Cannon, Gormley, Angulo & Stoberski to opine on
                 malpractice issues in Coleman v. Tomsheck, et al., Case No. A-15-728692-C,
                 District Court, Clark County, Nevada. Report prepared.

             •   Retained by Gerrard Cox Larsen to opine on attorney fiduciary and firm loyalty
                 issues in Woods & Erickson, LLP v. The Estate of Glen Woods, et al., Case No.
                 A-18-775111-C, District Court, Clark County, Nevada. Oral report given. Case
                 settled.

             •   Retained by Gerrard Cox Larsen to opine on attorney fiduciary and firm loyalty
                 issues in Woods & Erickson, LLP v. Andrew B. Platt, et al., Case No. A-18-
                 774926-C, District Court, Clark County, Nevada. Report prepared.

             •   Retained by Marshall & Associates to opine on the conduct of attorney Douglas J.
                 Gardner (and others) in the representation of clients (insurer and insured) in
                 litigation and other related matters. Century National Insurance Co., et al. v.
                 Douglas J. Gardner, et al., Case No. 2:18-cv-02090-APG-BWN, U.S. District
                 Court, District of Nevada. Report prepared.

             •   Retained by Robison Sharp Sullivan & Brust to opine on existence of and
                 consequences arising from former client conflict. Coyote Springs Investment,
-- --   --       LLC v. Wilson, Case No. A-19-789203-J, District Court, Clark County, Nevada.

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         Retained by Kravitz, Schnitzer & Johnson, Chtd. to opine on the conduct of
         Dennis M. Prince with respect to his conduct in Lee Pretner, et al. v. Michael A.
         Vasquez, et al., Case No. A-11-632845-C, in the District Court, Clark County,
         Nevada; which is now at issue in Dana Andrew, et al. v. Century Surety
         Company, Case No. 2:12-cv-00978-APG-PAL, in the United States District
         Court, District of Nevada. Report prepared.

         Retained by Fidelity National Law Group to opine as to the reasonableness of the
         attorneys' fees incurred by the Plaintiff's counsel in The Money Source, Inc. v.
         Chartered Holdinjzs, Inc. and related cases, Case No. A-17-749645-C, District
         Court, Clark County, Nevada. Report prepared. Matter decided.

         Retained by Flangas Law Firin, Ltd. to opine as to the conduct of C. Conrad
         Claus, Esq. with respect to the claims alleged in Grundy v. Claus & McKenzie,
         Case No. A-17-754726-C, in the Eighth Judicial District Court, Clark County,
         Nevada. Reports prepared.

         Retained by Hutchison & Steffen, PLLC to opine as to the conduct of Rory
         Vohwinkel and Vohwinkel & Associates with respect to Caballos De Oro
         Estates, LLC v. Eliot A. Alper, et al., Case No. A-17-752905, pending in the
         Eighth Judicial District Court, Clark County, Nevada.

        CONTINUING LEGAL EDUCATION INSTRUCTION (1997-Present)

    •    National Business Institute (NBD (6/19/19): "Ethics in Business Law"

    •    Clark County Bar Association (5/14/19): "Things They Didn't Tell You In Law
         School"

    •    Clark County Bar Association (5/9/18): "Current Topics for New (and Not So
         New) Lawyers" Current Issues in Ethics

    •    Kolesar & Leatham (12/22/17): Current Issues In Privilege and Confidentiality

    •    National Business Institute (12/20/17): Legal Ethics — Top Challenges

    •    Association of Legal Administrators, Las Vegas Chapter (11/14/17): "Attorney-
         Client Privilege and Confidentiality"

    •    National Business Institute (10/19/17): Tax Exempt Organizations: Ethics
         Bootcamp

    •    Clark County Bar Association (5/11/17): "You Know Where You've Been ..."
         Current Issues in Ethics

    •    State of Nevada-Paralegal Division (4/29/17): Confidentiality and Attorney-
         Client Privilege

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                                               •                  City of Henderson, City Attorney's Office (10/6/16): Ethics 2016: "What Can I
                                                                   ay?„

                                               •                  Southern Nevada Association of Women Attomeys (1/7/16): "Things to Fear in
                                                                  the New Year"

                                               •                  Clark County Bar Association (12/9/15): "12th Annual Ethical Issues"

                                               •                  Clark County Bar Association (6/25/15): "Things You Don't Know Can Hurt
                                                                  You — Here are 12 of them"

                                               •                  Water Law Institute: 17' Annual Law of the Colorado River Conference
                                                                  (5/1/15): "Ethics and Social Media"

                                               •                  Southern Nevada Association of Women Attorneys (1/15/15): "Ethics Issues for
                                                                  2015"

                                               •                  Clark County Bar Association (11/13/14): "11`h Annual Ethics CLE"

                                                •                 American Bar Association Section of Environment, Energy and Resources, 32nd
                                                                  Annual Water Law Conference: Ethics for Water Lawyers (6/6/14)

                                                •                 Association of Legal Administrators, Las Vegas Chapter (5/13/14): "Issues in
                                                                  New Business Intake."

                                               •                  American Bar Association Group Legal Services Association and Solo, Small
                                                                  Firm and General Practice Division Annual Meeting (5/2/14): "Ethics Issues In
                                                                  Marketing and Client Development."

                                                •                 State Bar of Nevada: Section of Environmental and Natural Resources Law
                                                                  (2/27/14) "Ethics Issues for Environmental Lawyers."

                                                •                 Clark County Bar Association (12/13/13). lOtl' Annual Ethics CLE.

                                                •                 City of Henderson, City Attorneys' Annual Retreat (10/17/13). "A Lawyer Walks
                                                                  Into a Bar ... The Dangers of Casual Advice and Conversation."

                                                •                 Las Vegas Paralegal Society: Keeping Abreast of Conflicts and Unauthorized
                                                                  Practice (6/18/13).

                                                •                 Association of Legal Administrators, Las Vegas Chapter: Legal Administrator's
                                                                  Role in Preventing Malpractice (6/11/13).

                                                •.                American Bar Association Section of Enviromnent, Energy and Resources, 31St
                                                                  Annual Water Law Conference: Water Lawyers and Ethics (6/7/13).


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    •       Clark County Bar Association (5/8/13) "4`h Annual Solo and Small Firm Ethical
            Traps."

    •       UNLV Boyd School of Law (3/8/13) "Professionalism and Popular Culture."

    •       Clark County Bar Association (11/2/12). 9`i' Annual Ethics CLE.

    •       Clark County Bar Association (3/28/12). "3rd Annual Hanging Out a Shingle?
            Solo and Small Firm Ethical Traps."

    •       American Bar Association Business Law Section Spring Meeting (3/22/12).
            "Saints and Sinners: Ethical Issues and Dilemmas in Client and Practice
            Development."

    •       Southern Nevada Association of Women Attorneys (2/24/12). "Ten for Twelve:
            Etliics 2012."

    •       Clark County Bar Association (11/3/11) "8`h Annual Ethics CLE."

    •       Nevada Paralegal Assn. (6/18/11) "UPL: Attorney Supervision of Paralegals."

    •       Department of Energy Contractor Attorneys' Assn. (5/27/11) "Ethics: Ten Things
:           You Shoulcl Know."

    •       Southern Nevada Association of Women Attorneys (2/25/11) "Ten For Eleven:
            Ethics 2011."

    •       Clark County Bar Association (2/4/11) "Hanging Out A Shingle? Solo and Small
            Firm Ethical Traps."

    •       Clark County Bar Association (9/30/10) "7tb Annual Ethics Issues: 2010."

    •       American Society of Breast Surgeons (4/30/10) Avoiding and Responding to
            Litigation.

    •       Clark County Bar Association (3/26/10) Avoiding Solo/Small Firm Ethical Traps.

    •       Southern Nevada Association of Women Attomeys (2/26/10) Ethics 2010: Ten
            Thoughts for ' 10.

    •       State Bar of Nevada (11/12/09): Nevada Legal Ethics (2009).

    •       State Bar of Nevada, Clark County Bar Association and Washoe County Bar
            Association (10/13/09, Las Vegas; 10/14/09, Carson City): 2009 Professionalism
            Summit.


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       •       Clark County Bar Association (9/18/09): "Sixth Annual Ethics Issues: 2009."

       •       Public Relations Society of America (7/24/09): "Keeping Out of Hot Water:
               Legal Considerations in Communications."

       •       Lecture and panel discussion with Justice Nancy Saitta and District Judge Linda
               Bell: "Professionalism in Litigation." Boyd School of Law (4/1/09).

       •       Southern Nevada Association of Women Attorneys (2/20/09): "ETHICS 2009:
               Being Good Gets Harder Every Year."

       •       State Bar of Nevada (12/5/08): "Nevada Legal Ethics 2008."

       •       State Bar of Nevada (11/19/08): "Nevada Legal Ethics 2008."

       •       Indiana State Bar Association (11/13/08): "Ethics: A Western Perspective on
               Maintaining A Healthy Legal Practice."

       •       Clark County Bar Association (9/19/08): "Fifth Annual Ethics Issues 2008"
               (Prepared materials. Presentation made by David J. Merrill).

       •       Southern Nevada Association of Women Attorneys (2/22/08): "Ethics 2008 - Be
   ,           Careful Out There."

       •       State Bar of Nevada (I 1/30/07) "Nevada Legal Ethics 2007."

       •       State Bar of Nevada (11/16/07) "Nevada Legal Ethics 2007."

       •       Clark County Bar Association (10/31/07) "Lawyer Advertising: The New Rules."

       •       Wisconsin Law Alumni Association (9/8/07) "Tlie New Rules of Professional
               Conduct."

       •       Clark County Bar Association (8/24/07) "Fourth Annual Legal Ethics - 2007."

       •       National Assn. of Retail Collection Attorneys (5/11/07) "Ethics Issues for Legal
               Collection Professionals."

       •       Southern Nevada Association of Women Attorneys (2/23/07) "Desperately
               Seeking Ethics - 2007."

       •       State Bar of Nevada (12/1/06) "Nevada Legal Ethics 2006."

       •       State Bar of Nevada (11/17/06) "Nevada Legal Ethics 2006."



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        •    Clark County Bar Assn. (6/30/06) "Ethics 2006: The New Nevada Rules of
             Professional Conduct."

        •    State Bar of Nevada Professionalism Summit: Speaker and Panel Member
             (4/20/06).

        •    Southern Nevada Association of Women Attorneys (1/27/06) "Ethics Issues for
             2006."

        •    State Bar of Nevada (11/18/05) "Nevada Legal Ethics 2005."

        •    State Bar of Nevada (11/4/05) "Nevada Legal Ethics 2005."

        •    Clark County Bar Assn. (9/15/05) "Ethics 2005: Current Issues."

        •    Clark County Bar Assn. (3/4/05) Speaker and Panel Meinber: First Annual
             Professional Summit.

        •    State Bar of Nevada (11/19/04) "Ethics 2004: Year in Review."

        •    State Bar of Nevada (11/5/04) "Ethics 2004: Year in Review."

        •    Clark County Bar Assn. (7/30/04) "Current Issues In Ethics."

        ~    Lorman Business Institute (7/20/04) "Current Issues in Ethics:"

        •    National Hospice Assn. (3/21/04) "Legal Issues For Physicians In End of Life
             Care."

        •    Southem Nevada Assn. of Women Attomeys (1/30/04) "Ethics Issues for 2004."

        •    State Bar of Nevada (1/20/04) "Workers Compensation: Current Issues in Ethics."

        •    National Business Institute (10/21/03) "Current Issues In Attorney Client
             Privilege and Confidentiality."

        •    Sterling Educational Systems (9/25/03) "Common Ethical Problems for
             Transactional Lawyers."

        •    Clark County Bar Assn. (2/28/03) "ERISA 2003: What's New?"

        •     Southem Nevada Assn. of Women Attomeys (1/31/03) "Ethics: 2003."

        •     State Bar of Nevada (11/22/02) "Nevada Legal Ethics - the Year In Review."




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   •      American Corporate Counsel Assn. (6/18/02) "Issues of Attorney-Client Privilege
          for In-House Counsel."

   •      National Business Institute (12/7/01) "Current Issues In Legal Ethics:Nevada
          2001."

   •      National Business Institute (7/13/01) "Attorney-Client-Privilege and the Work
          Product Doctrine In Nevada."

   •      National Business Institute (12/12/00) "Practical Legal Ethics."

   •      State Bar of Nevada (3/31/00) "Professionalism and Ethics."

   •      Southern Nevada Assn. of Women Attorneys (1/28/00) "Multi-Disciplinary
          Practice: Ethical Considerations."

   •      State Bar of Nevada (12/10/99) "Winning Without Losing Your Professionalism."

   •      National Business Institute (11/17/99) "Practical Legal Ethics."

   •      Law Seminars Int'l. (6/25/99) "Ethics Considerations for Construction Lawyers."

   •      National Practice Institute (12/4/98) "Ethical Problems: Dealing With Difficult
          Lawyers."                         .

   •      ALAS (10/21/98) "Ethical Issues for Healthcare Lawyers."

   •      State Bar of Nevada (3/21/98): "Ethics and Attorneys' Fee Agreements."

   •      CLE International (12/5/97) "Current Issues In Ethics"

   •      Institute for Paralegal Practice (8/26/97) "Preventing Unauthorized Practice of
          Law"

   [Additional CLE instruction available upon request.]




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             Exhibit 3




             Exhibit 3
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 1                         DECLARATION OF TIiOMAS A. ZIMMERMAN, JR.
 2           I, Thomas A. Zimmerman, Jr., declare as follows:

 3           1.      I am over the age of eighteen and a resident of Cook County, Illinois.
 4           2.      I am the principal of Zimmerman Law Offices, P.C. ("Zimmerman Law"), an Illinois

 5 professional corporation, co-counsel for Plaintiff Christopher Bruun ("Plaintiff ') in the matter

 6 entitled Bruun v. Red Robin Gourmet Burgers, Ibic., Case No. A-20-814178-C (the "Matter"), which

 7 is pending before the Eighth Judicial District Court of the State of Nevada.

 8           3.      I am competent to testify to the facts stated herein, which are based on personal

 9 knowledge unless otherwise indicated, and if called upon to testify, I could and would testify

10 competently to the following.
11           4.      I submit this declaration in support of Plaintiff's Motion for Class Certification and

12    Appointment of Class Counsel (the "Motion"), which seeks to certify a class action against

13 Defendants Red Robin Gourmet Burgers, Inc. ("RRGBI") and Red Robin International, Inc.
14 ("RRII") (jointly, "Defendants") and appoint class counsel from Bailey❖Kennedy; LLP and

15 Zimmerman Law.

16           5.      I am a seasoned litigator with more than 23 years of experience as a class action

17 attorney. I have been appointed as class counsel in numerous matters in federal and state courts

18 throughout the country. A true and correct copy of Zimmerman Law's firm biography is attached to

19 the Motion as Exhibit 4.

20           6.      I have substantial experience and knowledge in class actions and complex litigation

21    cases, including consurner law and deceptive trade practices matters.

22           7.      Zimmerman Law has sufficient resources and time necessary to adequately serve as

23    class counsel and zealously represent the interests of the putative class.

24           8.      Zimmerman Law is not aware of any other litigation between a putative class membe

25    and any of the Defendants regarding similar claims alleged by Plaintiff.

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 1            9.      Contemporaneous with the filing of this Declaration, I intend to seek admission to
 2    practice before this Court pursuant to Nevada Supreme Court Rule 42 to represent Plaintiff and the
 3    putative class in this matter.
4             I declare under penalty of perjury under the law of the State of Nevada that the foregoing is
 5    true and correct.
 6            Executed on this 27tb day of April, 2020, in Cook County, Illinois.
 7
                                                             /s/ Thomas A. Zimmerman, Jr.
 8                                                          THOMAS A. ZIMMERMAN, JR.

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            Exhibit 4




             Exhib It 4
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                            ZIMAIERMAN LAW OFFICES, P.C.


Since 1996, Zimmerinan Law Offices has represented individuals and businesses in a wide array
of legal matters. Its attomeys are established and respected trial lawyers who represent clients in
complex litigation and class action lawsuits nationwide. The firm has an extensive and varied
litigation-based practice, with a focus on class action litigation. Ziminerman Law Offices has
recovered over $250 million on behalf of millions of individuals and businesses nationwide.

The attomeys at Zimmerman Law Off~ices are experienced in Multidistrict Litigation (MDL),
having served as lead counsel in MDL cases throughout the country. These MDL cases included
claims for fraud, improper pricing, misleading product claims, and privacy violations including
data breaches.


                                         ATTORNEYS
Thomas A. Zimmerman, Jr.

A seasoned litigator for over 23 years, Mr. Zimmerman practices extensively and has obtained
multi-million dollar jury verdicts in class action, corporate, commercial, medical malpractice,
consumer fraud, constitutional due process, general civil, product liability, toxic tort, and other
complex litigation. He represents both plaintiffs and defendants nationwide in state and federal
trial and appellate courts. He also represents individuals :and corporations in transactional
matters, and before state and federal administrative and regulatory agencies.

Mr. Ziinmerman has been lead counsel in national and state-wide class action litigation, and has
handled other multi-party litigation involving such companies as MCl/Worldcom, United
Airlines, Peoples Gas, AT&T, Warner-Lambert, Pfizer, Liberty Mutual Insurance Co.,
DaimlerChrysler, ADT, Ford Motor Co., Mead Johnson, KCBX, Inland Bank, Commonwealth
Edison, Ameritech, Wells Fargo, and Bridgestone/Firestone. He is well respected for his
representation of physicians, dentists, nurses, psychologists, veterinarians, and many other
licensed professionals before state a.nd federal agencies including the Illinois Department of
Financial and Professional Regulation, and the U.S. Department of Health and Human Services.

In 2017, 2018, 2019 and 2020, he was selected as a Super Lawyer in the area of class action and
mass torts.

In 2000, he was voted one of the Top 40 Illinois Attomeys Under the Age of 40. This is
especially notable, as he was chosen out of 60,000 attorneys in Illinois under the age of forty.

In 2003, the Illinois Supreme Court appointed Mr. Zimmerman to the Review Board of the
Attomey Registration and Disciplinary Commission ("ARDC"). He served in that capacity until
2011, wherein he presided over appeals by attorneys who have been found to have committed
misconduct, and recommended discipline for their ethical violations. In 2013, the ARDC
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appointed Mr. Zimmerman as Special Counsel, wherein he conducts independent investigations
in matters involving allegations of misconduct against attorneys associated with the ARDC.

Additionally, the Illinois Governor appointed Mr. Zimmerman to the Illinois Courts Coinmission
in 2003. A Commission member presides over proceedings wherein judges are charged with
committing ethical violations, and imposes discipline on judges who are found to have engaged
in misconduct. Mr. Zimmerman has served as a Commission member continuously since his
appointment.

Prior to becoming an attorney, Mr. Ziinmerman worked for AT&T where he negotiated
partnerships with companies for domestic and international joint-venture and new product
development activities. During this time, he was the featured speaker at 400 conferences,
seminars, and presentations. Thereafter, he presented oral testimony at various Federal Senate
and Congressional hearings. After obtaining his law license, Mr. Zimmerman bas lectured at law
schools and seminars, and is frequently interviewed by the news media concerning legal issues.

Mr. Zimmerman eamed a B.S. in Computer Science-Mathematics from the University of Illinois,
and an M.B.A. in Finance from DePaul University in the evenings while working for AT&T.
After leaving AT&T, Mr. Zimmerman earned his law degree froin the Chicago-Kent College of
Law, where he was a Ramsey-Burke Scholarship recipient and earned the Academic
Achievement Award.

He is admitted to practice law in Illinois, and other states on a case-by-case basis, and he is
admitted to practice before the U.S. Supreme Gourt, and various federal courts of appeal and
federal district courts. Based on his demonstrated experience and ability; he was appointed to the
federal court trial bar.

Mr. Zimmerman is currently the chair of the Clerk of the Circuit Court of Cook County Attorney
Advisory Committee, and was formerly co-chair of the Clerk of the Circuit Court Transition and
Strategic Planning Public Policy Subcommittee.

Mr. Zimmerman is a member of the American, Illinois State, and Chicago Bar Associations, and
the Illinois Trial Lawyers Association, where he serves on various cominittees. He is also a
inember of the American Association for Justice. In 2000, he was appointed to the Illinois Trial
Lawyers Association Board of Advocates.

Involved in numerous community service activities, Mr. Zimmerman has been an Illinois State
Board of Education surrogate parent of disabled children since 1988. In addition, he was a
speaker on the rights of disabled people for the Illinois Planning Council on Developmental
Disabilities, and a Family Shelter Service counselor to battered children for many years. He has
been recognized by the federal court for his pro bono representation of indigent clients.




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Sharon A. Harris

Ms. Harris has extensive experience litigating complex class action matters in state and federal
trial and appellate courts nationwide. For over 20 years, she has focused her practice on
consumer protection, product liability, privacy, and antitrust matters. Ms. Harris has developed a
particular expertise in state unfair and deceptive practice statutes, privacy laws, federal antitrust
laws, the Fair Credit Reporting Act, the Racketeer Influenced and Corrupt Organizations Act
(RICO), the Telephone Consumer Protection Act, and various other federal and state laws. For
example, she was appointed class counsel in In re Pilot Flying J Fuel Rebate Contract
Litigation, which involved allegations that the defendants violated RICO and various state laws
by withholding portions of fuel discounts and rebates to which class members were contractually
entitled.

Ms. Harris received her Bachelor of Science degree froin Michigan State University with a dual
major in Political Science and Social Science. She received her law degree from DePaul
University College of Law.

She is admitted to practice in the State of Illinois, the United States District Court for the
Northern District of Illinois, and the United States Courts of Appeals for the Seventh and Ninth
Circuits, and she is a member of the American, Illinois State, and Chicago Bar Associations.


Matthew C. I)e Re

Mr. De Re advocates for both plaintiffs arid defendants nationwide in state and federal trial and
appellate courts. His practice areas include class action, corporate; commercial, consumer fraud,
general civil, product liability, personal injury, and other complex litigation. He also represents
professionals, such as physicians, dentists, nurses, insurance producers, and real estate brokers,
before state and federal agencies, including the Illinois Department of Financial and Professional
Regulation and the Department of Insurance. In addition to his extensive litigation practice, Mr.
De Re assists individuals and corporations in transactional matters.

He has experience in all phases of litigation, including extensive discovery and substantive
motion practice. He has assisted in the defense of individuals and companies in cases involving
personal injury, employment, and civil rights. Mr. De Re has also vigorously pursued recovery
for plaintiffs in numerous civil matters. Prior to joining Zimmerman Law Offices, he served as a
Law Clerk for the Circuit Court of Cook County.

Mr. De Re graduated from the University of Wisconsin-Madison with a B.S. in both Political
Science and History. He eamed his law degree from Washington University in St. Louis. While
in law school, he received academic awards and appeared on the Dean's List multiple times. He
also served two years on the Executive Board of the Student Bar Association and was the
Associate Managing Editor for the Washington University Journal of Law & Policy.

He is admitted to practice law in the State of Illinois and is a member of the Illinois State and
Chicago Bar Associations.
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Jeffrev D. Blake

Mr. Blake represents consumers in class actions involving unfair and deceptive trade practices,
privacy violations, antitrust inatters, and defective products. He has considerable experience
prosecuting complex cases in state and federal courts throughout the nation, including appeals.

Mr. Blake received his J.D., cum laude, from the Chicago-Kent College of Law in 2012. While
attending, Mr. Blake served as Executive Articles Editor for the Chicago-Kent Law Review,
spent a seinester as a judicial extern for the Honorable Samuel Der-Yeghiayan of the United
States District Court for the Northern District of Illinois, and participated in the Intellectual
Property Law Clinic and the Center for Open Government.

After graduating law school, Mr. Blake served as the judicial law clerk for the Honorable Patrick
McKay, Superior Court Judge for the Third Judicial District in Anchorage, Alaska.

Mr. Blake received a Bachelor of Science from the University of Illinois at Chicago.

He is adinitted to practice in the State of Illinois and the United States District Court for the
Northern District of Illinois.


Jordan M. Rudnick (of counseo

Mr. Rudnick represents individuals and:large national and intemational companies in providing
business advice, counsel and dispute resolution in a wide variety of contexts for almost 20
years. In particular, Mr. Rudnick represents plaintiffs and defendants nationwide in class action,
corporate, commercial, consumer fraud, general civil, and other complex litigation in state and
federal courts, arbitrations, and mediations. Mr. Rudnick has been involved in all phases of
litigation, including extensive discovery, substantive motion practice, trials and appeals.

His experience as an attorney also includes representing parties in nationwide securities fraud
class actions. Notably, Mr. Rudnick represented Canadian hnperial Bank of Cormnerce in the
Enron class action securities litigation and related proceedings. He also has extensive experience
representing commercial policyholders in recovering insurance proceeds from their insurers.

Mr. Rudnick serves as an arbitrator for FINRA (Financial Industry Regulatory Authority,
formerly known as the NASD or National Association of Securities Dealers) where he and
panels of two other arbitrators decide the outcome of disputes between investors and securities
brokers and dealers.

He has provided extensive pro bono representation of improperly-expelled school children in
conjunction with the Legal Assistance Foundation of Metropolitan Chicago, and with the
Chicago Coalition for the Homeless. In addition, in his spare time, he is a volunteer at the
Lincoln Park Community Homeless Shelter.




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Mr. Rudnick served as a judicial law clerk to the Honorable Justice Joseph Gordon, Illinois
Appellate Court, lst District, where he drafted opinions in appeals arising from complex civil
and cruninal trial court decisions.

Mr. Rudnick earned his B.A. in Political Science from the University of Chicago, and he
graduated cum laude from the John Marshall Law School with honors and on a full scholarship.
In law school, he appeared on the Dean's List, and he was a member of the school's Moot Court
Teain. He also was a Staff Editor on the John Marshall Law Review for two years.

He is admitted to practice law in Illinois, New York, and Washington, D.C., and is a member of
the Chicago Bar Association, NAACP, and ACLU.


                      REPRESENTATIVE CLASS ACTION CASES

Comnleted Cases

Misleadin-, Product Claims —$62 million recovery for a nationwide class of customers who
purchased products that were advertised to reduce cellulite in the human body, plus equitable
relief to correct the misleading claims. Joseph v. Beiersdoif North America, Inc., No. 11 CH
20147 (Cook Cnty, IL).

bnproper Cellular Phone Fee —$48 inillion recovery for a statewide class of businesses and
individuals who paid an improper municipal infrastructure maintenance fee, on their cellular
phone bills. PrimeCo Personal Communications, et al. V. Illinois Commerce Commission, et al.,
98 CH 5500 (Cook Cnty, IL).

Defective Vehicles —$35 million in monetary and injunctive relief for a nationwide class of
individuals and businesses who purcliased vehicles manufactured with a defective transmission.
Vargas, et al. v. Ford Motor Co., No. 12 cv 8388 (C.D. CA).

Fraud —$31 million recovery for a nationwide class of businesses and individuals who placed
advertisements in a newspaper based on fraudulent circulation figures. In re Chicago Sun-Times
Circulation Litigation, No. 04 CH 9757 (Cook Cnty, IL).

Defective Products —$16 million recovery for a nationwide class of individuals who purchased
defective hoine security systems that could be easily hacked and disabled. Edenborough v. ADT,
LLC, et al., No. 16 cv 2233 (N.D. CA).

Misleading Product Claims —$14 million recovery for a nationwide class of customers who
purchased defective garden hoses with misleading claims, plus equitable relief to extend the
product's warranty. Bergman, et al. v. DAP Products, Inc., et al., No. 14 cv 3205 (D. MD).

Fraud / Data Breach —$11.2 million recovery for a nationwide class of individuals who had
their personal and financial data stolen due to insufficient protection of that information by an
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intemet service provider, and who also paid money to that provider based on misrepresentations.
In re Ashley Madison Customer Data Security Breach Litigation, MDL No. 2669 (E.D. MO).

Defective Products —$9 million recovery for a nationwide class of individuals who sustained
financial and personal injuries resulting from their purchase and use of baby wipes that were
tainted with a dangerous bacteria. Jones v. First Quality Enterprises, Inc., et al., No. 14 cv 6305
(E.D. NY).

Power Outages —$7.75 million recovery for a statewide class of businesses and individuals
who sustained financial damages due to widespread and prolonged power outages. In re
Commonwealth Edison 1999 Summer Power Outages, No. 99 CH 11626 (Cook Cnty, IL).

Privacy Violation —$7.3 million recovery for a nationwide class of consumers wliose personal
information was improperly disclosed. Aliano u Airgas USA, LLC, No. 14 CH 2O024 (Cook
Cnty, IL).

Data 'Breach —$4.3 million recovery for a nationwide class of individuals who had their
personal and financial data stolen due to insufficient protection of that inforination by a retailer.
In re Sonic Corp. Customer Data Breach Litigation, MDL No. 2807 (N.D. OH).

Unsolicited Faxes —$4 million recovery for a nationwide class of businesses and individuals
who sustained damages resulting from the receipt of unsolicited facsimile advertisements.
Derose Corp. v. Goyke Health Center, 06 CH 6681 (Cook Cnty, IL).

Fraud =$3.5 million recovery for a nationwide class of Spanish speaking purchasers of baby
formula, arising out of misleading product labeling. Cardenas v. Mead Johnson & Company, No.
01 CH 11151 (Coolc Cnty, IL).

Unsolicited Faxes —$2.5 million recovery for a statewide class of individuals and businesses
who sustained damages resulting from the receipt of unsolicited facsimile advertisements. iMove
Chicago, Inc. v. Inland Bancorp, Inc., et al., No. 16-cv-10106 (N.D. IL)

Misleading Product Labeling —$2.5 million recovery for a nationwide class of businesses and
individuals who purchased whiskey whose labeling misstated the characteristics of the product.
Due Fratelli, Inc. v. Templeton Rye Spirits; LLC, No. 2014 CH 15667 (Cook Cnty, IL).

Misrepresentations in Book —$2.35 million recovery for a nationwide class of customers who
purchased a fictional book while under the impression that the book was a non-fiction memoir.
In re A Million Little Pieces Litigation, No. 06-md-1771 (S.D. NY).

Consumer Fraud — $1.6 million recovery for a nationwide class of individuals who paid for and
traveled to an event that did not occur as advertised. Norton v. Niantic, Inc., No. 2017 CH 10281
(Cook Cnty, IL).

Misleading Product Labelin —$1.5 million recovery for a.nationwide class of individuals who
purchased a product whose packaging misstated the characteristics of the product. In re Honest


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Company Sodium Lauryl Sztl.fate (SLS) Marketing and Sales Practices Litigation, MDL No. 2719
(C.D. CA).

Improper Debiting of Bank Accounts —$1.5 inillion recovery for a statewide class of
individuals who were members of a health club that debited its members' banlc accounts without
adequate notice or authority. Wendorf, et al. v. Landers, et al., No. 10 cv 1658 (N.D. IL).

Environmental Contamination — $1.4 million recovery for a statewide class of individuals and
businesses who suffered from an infiltration of coal and petroleum coke dust in the air and on
their property. Martin, et al. v. KCBX Terminals Company, et al., No. 13 cv 08376 (N.D. IL).

Misleading Product Claims — $1.4 recovery for a nationwide class of individuals and businesses
who purchased HDMI cables based on representations that more expensive higher speed cables
were needed to operate certain audio visual equipment. O'Brien, et al. v. Monster, Inc., et al.,
No. 2015 CH 13991 (Cook Cnty, IL).

School Misrepresenting Accreditation —$1.2 million recovery, representing nearly the full
value of each class member's loss, for a statewide class of individuals who enrolled in a school
based on the school's misrepresentations that it was-accredited. Allen v. Illinois School of Health
Careers, Inc., No. 10 CH 25098 (Cook Cnty, IL).

Privacv Violation —$1 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Radaviciute v. Christian Audigier, Inc., No. 10 cv 8090
(N.D. IL).

Breach of Contract — $570,000 recovery for a nationwide class of sonographers who took and
passed a certification examination but the testing agency iinproperly scored their results and
falsely reported that they failed the examination. Miller, et al. v. Inteleos, Inc., No. 17 cv 763
(N.D. OH).

Privacy Violation —$500,000 recovery for a statewide class of consumers wliose personal
information was improperly disclosed. Aliano v. Joe Caputo and Sons — Algonquin, Inc., et al.,
No. 09 cv 0910 (N.D. IL).

Contaminated Drinking Wate — $500,000 recovery for a statewide class of individuals who
suffered damages as a result of a contaminated water well, plus equitable relief to close the well.
Joseph Marzano v. Village of Crestwood, No. 09 CH 16096 (Cook Cnty, IL).

Fraud — $425,000 recovery for a nationwide class of businesses and individuals who purchased
spirits whose labeling misstated the characteristics of the product. Due Fratelli, Inc. v. Proximo
Spirits, Inc., No. 2014 CH 17429 (Cook Cnty, IL).

Foreclosure Fraud — $425,000 recovery for a nationwide class of borrowers whose lender
failed to properly respond to qualified written requests, requests for infonnation, and/or notices
of error because of an improper active litigation, active mediation, or active bankruptcy
exception. Lieber v. Wells Fargo Bank, N.A., No. 16 cv 2868 (N.D. OH).


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  Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 78 of 297




Privacy Violation — $295,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Joseph v. Marbles, LLC, No. 13 cv 4798 (N.D. IL).

Privacy Violation — $250,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. DiParvine v. A.P.S., Inc. d/b/a Car Quest Auto Parts,
No. 11 cv 6116 (N.D. IL).

Unsolicited Faxes — $237,600 recovery for a statewide class of individuals and businesses who
sustained damages resulting from the receipt of unsolicited facsimile advertisements. Phillips
Randolph Enterprises, LLC v. Key Art Publishing Co., No. 07 CH 14018 (Cook Cnty, IL).

bnproper Health Club Memberships — Recovery for a statewide class of individuals whose
health club membership agreeinents provided for improper membership terms. Izak-Damiecki v.
World Gym International, LLC, No. 10 CH 18845 (Coolc Cnty, IL).

Illegal Lending Practices — Recovery, representing the maximum amount of statutory damages,
for a nationwide class of customers who obtained loans whose terms violated the Truth in
Lending Act, plus equitable relief to modify the loan contract to confonn with the law. Papeck,
et al. v. T.N. Donnelly & Co., No. 09 CH 31997 (Cook Cnty, IL).

Privacy Violation — Recovery for a nationwide class of over 36 million consmners whose
personal information was improperly disclosed. Dudzienski v. GMRI, Inc., No. 07 ev 3911 (N.D.


Unsolicited Faxes — Recovery for a statewide class of individuals and businesses who sustained
damages resulting from the receipt of unsolicited facsimile advertisements. Phillips Randolph
Enterprises, LLC v. Home Run Inn, Inc., No. 08 CH 43273 (Cook Cnty, IL).

Privacy Violation — Recovery for a statewide class of over 60,000 consumers whose personal
information was iinproperly disclosed. O'Brien v. Paninos, Inc., No. 10 cv 2991 (N.D. IL).

Breach of Warraniv — Recovery on behalf of a nationwide class of customers who had their
warranty retroactively changed from a lifetime guarantee to a 90-day guarantee, plus equitable
relief to reinstate the lifetime guarantee on the products. Brady, et al. v. Learning Curve Int'1,
Inc., et al., No. 06 CH 03056 (Cook Cnty; IL).

Privacy Violation — Recovery for a nationwide class of tens of thousands of consumers whose
personal information was improperly disclosed. In re Kathy Aliano v. Hancock Fabrics, Ibzc.,
No. 07-10353 (Del. BK).

Improper Debt Collection — Recovery on behalf of a nationwide class of individuals against
whom attempts were made to collect a time-barred debt, in violation of the Fair Debt Collection
Practices Act. Ocasio v. First Financial Investment Fund V, LLC, et al., No. 15 cv 10167 (N.D.




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Pendin2 Cases — Ampointed Class Counsel

Invasion of Privacy — Class action for a nationwide class of individuals who were
surreptitiously viewed and recorded using the toilets in holding cells. Alicea, et al. u County of
Cook, No. 18 cv 5381 (N.D. IL).

Constitutional Violation — Class action for a nationwide class of individuals who were
wrongfully issued automated construction zone speed enforcement tickets on a highway that was
not under construction. Black, et al. v. City of Girard, Ohio, et al., No. 18 cv 1256 (Trumbull
Cnty, OH).

Pendin,a Cases — Appointed to Executive Committee

Misleading Product Claims — Class action for a nationwide class of individuals who purchased
defective cheese products based on misleading representations. In re 100% Grated Parmesan
Cheese Marlreting and Sales Practices Litigation, MDL No. 2707 (N.D. IL).

PendinLy Cases

Fraud — Class action for a statewide class of individuals who were wrongfully issued automated
red light tickets by red light cameras that were installed in violation of state law.

Improper Court Fee — Class action for a nationwide class of individuals and businesses who
were charged an improper fee by the Clerk of the Court.                  .

Unpaid Overtime — Class action for a nationwide class of individuals who were not paid all
wages and premium overtime for hours worlced in excess of forty hours per week.

Misleadinjz Product Claims — Class action for a nationwide class of individuals and businesses
who purchased cleaning products that advertised they were made of higher quality ingredients
than were actually contained in the products.

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by their employer.

Americans with Disabilities Act — Class action for a nationwide class of disabled individuals
who were denied full, equal and independent access to the goods, services and facilities provided
by a hotel.

Improper Debt Collection — Class action for a nationwide class of individuals who were sent
misleading debt collection letters, in violation of the Fair Debt Collection Practices Act.

Fraud — Class action for a nationwide class of individuals who made purchases based on
fraudulent misrepresentations concerning a sporting event.
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Antitrust — Class action for a nationwide class of individuals who subscribed to television
services from companies that conspired to fix prices in violation of the Sherman Act.

Data Breach — Class action for a. statewide class of individuals who had their personal,
financial, and medical data stolen due to insufficient protection of that information by a hospital.

Violation of RESPA Act — Class action for a nationwide class of borrowers who were denied the
requisite loan modification options, as required by the Real Estate Settlement Procedures Act.

Environmental Contamination — Class action for a statewide class of individuals who suffered
from an infiltration of lead and arsenic on their property.

Shareholder Derivative Action — Class action for a nationwide class of individuals and
businesses who are shareholders of a company that wrongfully entered into a merger transaction.

Constitutional Violation — Class action for a nationwide class of individuals who were
wrongfully issued automated traffic speed enforcement tickets by a municipality that was denied
authorization to issue the tickets.

Invasion of Privacy — Class action for a nationwide class of individuals who received
unauthorized telemarketing calls to their phones.

Fraud — Class action for a nationwide class of individuals who purchased used cosmetics and
beauty products that were sold as new.

Breach of Contract — Class action for a statewide class of individuals who are members of
athletic clubs that unilaterally terminated their rewards program without notice.

Fraud — Class action for a nationwide class of individuals who were charged an improper
checkout bag tax on retail purchases in the City of Chicago.

Unpaid Wa~ — Class action for a statewide class of individuals who were not paid all of the
wages they earned while working at restaurants.

Antitrust — Class action for a nationwide class of individuals who purchased packaged seafood
products from companies that conspired to fix prices in violation of the Sherman Act.

Environmental Contamination — Class action for a statewide class of individuals whose
residential drinking water was contaminated witli lead.

Constitutional Violation = Class action for a statewide class of individuals whose homes were
wrongfully taken by the government without adequate compensation.

Fraud — Class action for a nationwide class of individuals who paid inflated prices for tickets to
events due to improper coordination among ticket brokers.



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 Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 81 of 297




Improper Fee — Class action for a statewide class of individuals who were charged an improper
fee by the state in connection with the issuance of a driver's license.

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by a restaurant chain.

Fraud — Class action for a nationwide class of individuals who were deliberately targeted
through marketing and sales of electronic cigarettes when they were minors.

Defective Product — Class action for a nationwide class of individuals who purchased
inisbranded and adulterated pharmaceuticals.




NOTE: This list of cases is a representative sample of soine of the class action lawsuits. It is not
       an exhaustive list.




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                Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 82 of 297



     Reception

     From:                          efilingmail@tylerhost.net
     Sent:                          Monday, April 27, 2020 1:19 PM
     To:                            BKfederaldownloads
     Subject:                       Notification of Service for Case: A-20-814178-C, Christopher Bruun, Plaintiff(s)vs.Red
                                    Robin Gourmet Burgers, Inc., Defendant(s) for filing Motion for Class Certification - MCC
                                    (CIV), Envelope Number: 5980053




                                                                  Notification of Service
                                                                                   Case Number: A-20-814178-C
     ~-'                                                         Case Style: Christopher Bruun, Plaintiff(s)vs.Red
                                                                      Robin Gourmet Burgers, Inc., Defendant(s)
                                                                                     Envelope Number: 5980053

     This is a notification of service for the filing listed. Please click the link below to retrieve the submitted
     document.

                                                           g D-
     Case Number                      A-20-814178-C
                                      Christopher Bruun, Plaintiff(s)vs.Red Robin Gourmet Burgers, Inc.,
     Case Style
                    ;                 Defendant(s)
     Date/Time Submitted              4/27/2020 1:18 PM. PST
 i Filing Type                        Motion for Class Certification - MCC (CIV)
                                      Plaintiffs Motion for Class Certification and Appointment of Class
 ~Filing Description
                                      Counsel
 ! Filed By                           ISharon Murnane
                                      Christopher Bruun:
1~                                    Paul Williams (pwilliamsa-baileykennedy.com)
 ~ Service Contacts

 j                                    Dennis Kennedy (dkennedyCcDbaileykennedy.com)

1                                     Bailey Kennedy, LLP (bkfederaldownloads(a-)_baileykennedy.com)




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               Case 2:20-cv-00903-JAD-BNW 4/27/2020
                                           Document     1-3
                                                    10:20 AM Filed 05/19/20 Page 83 of 297



         1 SUNIlVI
               DENNIS L. KENNEDY
         2     Nevada Bar No. 1462
               PAUL C. WILLIAMS
         3     Nevada Bar No. 12524
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         4     8984 Spanish Ridge Avenue
               Las Vegas, Nevada 89148-1302
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         6     DKennedy@BaileyKennedy.com
               PWilliams@BaileyKennedy.com
         7

         8

         9
               Attorneys for Plaintiff Christopher Bruun

                                                          DISTRICT COURT
                                                                                        GSG
                                                  CLARK COUNTY, NEVADA
        10
        11     CHRISTOPHER BRWN, individually, and on                Case No. A-20-814178-C
               behalf of all others similarly situated,              Dept. No.
A   N   12
                                             Plaintiff,        I     SUMMONS
        13
  Q>q.,                      vs.                                   \ RED ROBIN INTERNATIONAL, C.
❖ ~zN 14
               RED ROBIN GOURMET BURGERS, INC., a
        15     Delaware corporation; and RED ROBIN
               INTERNATIONAL, INC., a Nevada corporation,
        16
                                             Defendants.
        17
        18 THE STATE OF NEVADA SENDS GREETINGS TO THE ABOVE-NAMED DEFENDANT:
        19 NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
        20 WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN 20 DAYS. READ
        21     THE INFORMATION BELOW.
        22 TO THE DEFENDANT: A civil Complaint has been filed by the plaintiff against you for the relief
        23 set forth in the Complaint.
        24        1. If you intend to defend this lawsuit, within 20 days after this Summons is served on you,
        25 exclusive of the day of service, you must do the following:
        26                a. File with the Clerk of this Court, whose address is shown below, a formal written
        27                   response to the Complaint in accordance with the rules of the Court, with the       _
        28 ,                 appropriate filing fee.

                                                             Page 1 of 2
          Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 84 of 297
t




                        b. Serve a copy of your response upon the attorney whose name and address is shown
                           lom~

             2. Unless you respond, your default will be entered upon application of the plaintiff, and

         I failure to so respond will result in a judgment of default against you for the relief demanded in the

         I Complaint, which could result in the taking of money or properry or other relief requested in the
         I Complaint.

             3. If you intend to seek the advice of an attorney in this matter, you should do so promptly so
     8   I that your response may be filed on time.

     9       4. The State of Nevada, its political subdivisions, agencies, officers, employees, board
    10 I members, commission members and legislators each have 45 days after service of this Summons
    11 I within which to file an Answer or other responsive pleading to the Complaint.
    12
    13 I Issued at the direction of:                            STEVEN D. GRIERSON
                                                                CLERK. f•?F Cr?T TRT
    14                                                                                  ~?%
                                                                           •~`~~~ ~~~     °~~
                                                                  ~~~:~~
    15       /s/Dennis L. Kenned                                  4:
         DENNIs L. KENNEDY
    16 Nevada Bar No. 1462                                      By: -
         PAUL C. WILLIAMS                                          DEATTY::;    ~CLE
                                                                                   -
                                                                                        RK<;F        Date
    17 Nevada Bar No. 12524                                        ~t:eb:orial l:u sti c o: Center
        BAILEY❖KENNEDY                                             200 Lew'r`s'AvPyiiie
    18 8984 Spanish Ridge Avenue                                   Las Vegas;VNevada 89155
        Las Vegas, Nevada 89148-1302                                    Demond Palmer
    19 Telephone: 702.562.8820
        Facsimile: 702.562.8821
    20 DKennedy@BaileyKennedy.com
        PWilliams@BaileyKennedy.com
    21
       I Attorneys for Plaintiff Chr-istopher Bruun
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                                                        Page 2 of 2
           Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 85 of 297


Reception

From:                          efilingmail@tylerhost.net
Sent:                          Monday, April 27, 2020 10:53 AM
To:                            BKfederaldownloads
Subject:                       Courtesy Notification for Case: A-20-814178-C; Christopher Bruun, Plaintiff(s)vs.Red
                               Robin Gourmet Burgers, Inc., Defendant(s); Envelope Number: 5978267




                                                                Courtesy Notification
                                                                               Envelope Number: 5978267
                                                                            Case Number: A-20-814178-C
                                                                  Case Style: Christopher Bruun, Plaintiff(s)
                                                                                                         vs.
                                                             Red Robin Gourmet Burgers, Inc., Defendant(s)

This is a courtesy notification for the filing listed. Please click the link below to retrieve the submitted
document.

                                                      . Details
Case Number                 ~-20-814178-C
                                 Christopher Bruun, Plaintiff(s)
Case Style                       vs.
                                 Red Robin Gourmet Burgers, Inc., Defendant(s)
Date/Time Submitted              4/27/2020 10:19 AM PST
Filing Type                      EFile
Filing Description               Summons - Red Robin International, Inc.
Activity Requested               Summons Electronically Issued - Service Pending - SEI (CIV)
Filed By                         Sharon Murnane                                                  .
                                             .                                                                .
F
iring Attorney                   Denns
                                     i Kenney
                                           d


                                             Document, Details
Lead Document                    20.04.27 Summons-Red Robin Int'I (tbi).pdf
Lead Document Page               2
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File Stamped Copy                View Stamped Document
                                      This link is active for 180 days.                                               I
             Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 86 of 297
    .                                                                                    Electronically Filed
0                                                                                        4/28/2020 10:15 AM
                                                                                         Steven D. Grierson
         1                                     DISTRICT COURT                            CLER OF THE CO
                                            CLARK COUNTY, NEVADA
                                                                                                          y/
         2

         3
              Christopher Bruun, Plaintiff(s)                  Case No.: A-20-814178-C
         4    vs.
              Red Robin Gourmet Burgers, Inc.,                 Department 9
         5    Defendant(s)

         6
                                               NOTICE OF HEARING
        7

         8
                   Please be advised that the Plaintiffs Motion for Class Certification and Appointment
         9
              of Class Counsel in the above-entitled matter is set for hearing as follows:
        10     Date:           June 08, 2020
        11     Time:           Chambers
        12     Location:       RJC Courtroom 11B
                               Regional Justice Center
        13                     200 Lewis Ave.
                               Las Vegas, NV 89101
        14
        15    NOTE: Under NEFCR 9(d), if a party is not receiving electronic service through the
              Eighth Judicial District Court Electronic Filing System, the movant requesting a
        16
              hearing must serve this notice on the party by traditional means.
        17

        18                                     STEVEN D. GRIERSON, CEO/Clerk of the Court

        19
                                        By: /s/ Ondina Amos
        20
                                             Deputy Clerk of the Court
        21
                                            CERTIFICATE OF SERVICE
        22
              I hereby certify that pursuant to Rule 9(b) of the Nevada Electronic Filing and Conversion
        23    Rules a copy of this Notice of Hearing was electronically served to all registered users on
              this case in the Eighth Judicial District Court Electronic Filing System.
        24

        25
                                        By: /s/ Ondina Amos
        26                                   Deputy Clerk of the Court
        27

        28
                    Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 87 of 297
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                1   COMP (CIV)
                    DENNIS L. KENNEDY
                2   Nevada Bar No. 1462
                    PAUL C. WILLIAMS
                3   Nevada Bar No. 12524
                    BAILEY❖KENNEDY                                                         CASE NO: A-20-814178 C
                4   8984 Spanish Ridge Avenue
                    Las Vegas, Nevada 89148-1302                                                     DePa rtmen 9
                5   Telephone:702.562.8820
                    Facsimile: 702.562. 8821
                6   DKennedy@BaileyKennedy.com
                    P W illiams @B aileyKennedy. com
                7
                    Attorneys for Plaintiff Christopher BYuun
                8
                                                               DISTRICT COURT
                9
                                                       CLARK COUNTY, NEVADA
               10

               11 CHRISTOPHER BRUUN, individually, and on                Case No.
    >, N          behalf of all others similarly situated,               Dept. No.
    A ;E       12
  dm                                              Plaintiff,             CLASS ACTION COMPLAIr1T
  ;<m
    ~          13
~,Q~;                              vs.                                   Egemnt from Arbitration (NAR 3(A) —
❖ yzN          14
  19 `~           RED ROBIN GOUR IVMET BURGERS, INC., a                  Class Action; Equitable Relief Sought)
               15 Delaware corporation; and RED ROBIN
    pq U          INTERNATIONAL, INC., a Nevada corporation,             Jury Trial Demanded
               16
                                              Defendants.
               17

               18          Plaintiff Christopher Bruun ("Plaintiff') brings this action individually, and on behalf of all
               19   others similarly situated, by and through counsel, against Defendants Red Robin Gourmet Burgers,
               20   Inc. and Red Robin International, Inc. (collectively, "Defendants"), and hereby alleges as follows:
               21                                              INTRODUCTION
               22          1.      Defendants operate the casual dining restaurant chain known under the trade name
               23   Red Robin Gourmet Burgers and Brews ("Red Robin Restaurants").
               24          2.      Red Robin Restaurants falsely represent the number of ounces of Stella Artois beer
               25 served in their Stella Artois chalices, thereby overcharging their customers for each glass of beer.

               26                                                 PARTIES
               27          3.      Plaintiff Christopher Bruun is a natural person and resident and citizen of Colorado.
               28

                                                                 Page 1 of 12
                         Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 88 of 297
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                   1             4.       Defendant Red Robin Gourmet Burgers, Inc. ("RRGBI") is a Delaware corporation
                   2     with a principal place of business located at Greenwood Village, Colorado.
                   3             S.       Defendant Red Robin International, Inc. ("RRII") is a Nevada corporation and
                   4 wholly-owned subsidiary of RRGBI. RRII's principal place of business is in Greenwood Village,

                   5     Colorado.

                   6                                          JURISDICTION AND VENUE
                   7             6.       This Court has general personal jurisdiction over RRII because it is a Nevada
                   8     corporation.

                   9             7.       This Court also has general personal jurisdiction over RRGBI because it controls the
                  10     actions of RRII.
                  11             8.       Further, Defendants have intentionally availed themselves of this jurisdiction
    >4    N
       M          12     because they regularly conduct business in Nevada and have availed themselves of Nevada laws by
       ~
    A~ ~
         ~6m      13     operating restaurants in this jurisdiction where the complained-of conduct has occurred.
          ~N
❖ ~zN             14             9.       This Court has subj ect matter jurisdiction over this action because Defendants
                  15     operate restaurants in this jurisdiction where the complained-of conduct has occurred.
                  16             10.      Venue is proper in this District because Defendants operate restaurants in this
                  17 District where the complained-of conduct has occurred.

                  18                                            FACTUAL BACKGROUND
                  19             11.      RRGBI, through RRII, operates and franchises Red Robin Restaurants throughout
                  20     the United States. At the end of 2019, there were 556 Red Robin Restaurants in 44 states in the
                  21     United States and one Canadian province.l Out of these 556 Red Robin Restaurants, 454 were
                  22     Company owned and 102 were operated by franchisees.2
                  23             12.      In addition to their many hamburger offerings, Red Robin Restaurants offer and sell .
                  24 a variety of drinks, including local and imported beers.

                  25 .           13.      Stella Artois ("Stella") is a brand of imported beer from Belgium.
                  26

                  27     1  See https://sec.report/Document/0001171759-20-000008/ (RRGBI's 10-K Report filed Feb. 25, 2020, at Part I, Item
                         1, Business Overview) (last accessed Apr. 7, 2020).
                  28 z Id.

                                                                           Page 2 of 12
       Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 89 of 297



 1              14.      The menu at Red Robin Restaurants lists for sale Stella beer in varying amounts of
 2 I ounces, one of which being 16 ounces of Stella beer. The Red Robin Restaurants' menu lists the 16

 3 I ounce Stella beer as having 190 calories.

 4              15.      The Red Robin Restaurants' Nutritional Guide lists nutritional information for Stella
       ,
 5     beer in varying sizes, including 16 ounces of Stella beer.3 This Nutritional Guide lists the 16 ounce
 6 Stella beer as having 190 calories.
 7',            16.      Red Robin Restaurants serve Stella beer in specially crafted chalices that have the
 8     Stella Artois logo and a gold rim ("Stella chalice"). Each Stella chalice has a"fill line" etched into
 9     the glass, which is labelled pursuant to the Metric system in centiliters. This "fill line" is located
10 some distance below the top rim of the chalice, and there is no marking on the chalice to indicate
11     the amount of liquid that the chalice holds in the space above the 33 centiliter "fill line" up to the
12 rim of the chalice.
13              17.      Defendants market and sell "16 ounces" of Stella beer in their Red Robin
14 I Restaurants in a Stella chalice that has a"fill line" of 33 centiliters. All of the Stella chalices that
15 have a"fill line" of 33 centiliters are uniformly designed and manufactured to the same volume
16 specifications, and they all hold the same volume of liquid in them.
17              18.      All of the Stella chalices that have a"fill line" of 33 centiliters hold a maximum
18 I amount of 14 ounces of liquid in them when they are filled to the top rim of the chalice with liquid.
19              19.      Unbeknownst to Plaintiff and Class members, when they order, purchase, and
20 I receive a"16 ounce" Stella beer at a Red Robin Restaurant, they are not receiving what they
21 I ordered and paid for, as it is not feasible for them to calculate the amount of liquid that the Stella
22 I chalice holds in the space above the 33 centiliter "fill line" up to the rim of the chalice.
23              20.      Pursuant to the franchise agreement, the franchisees operate the Red Robin
24 I Restaurants under business formats, methods, procedures, designs, layouts, standards, and
25 I specifications created and distributed by Defendants. Defendants developed and proscribed
26 I mandatory specifications, standards, operating procedures, and rules for all of the Red Robin
27
28     3   See https://www.redrobin.com/pages/nutrition/ (last visited Apr. 6, 2020).


                                                            Page 3 of 12
                      Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 90 of 297
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                  1   Restaurants—including the restaurants owned by franchisees—and Defendants direct, monitor, and
                  2   control the operation of all Red Robin Restaurants.
                  3           21.     Defendants' foregoing uniform standards and guidelines required all Red Robin
                  4   Restaurants to (a) have the same menu representing that Stella beer is sold in a 16 ounce volume,
                  5 and (b) serve t.he "16 ounce" Stella beer in the same Stella chalices that have a"fill line" of 33

                  6   centiliters.
                  7           22.     Thus, all Red Robin Restaurants are overcharging their customers, including
                  8   Plaintiff and Class members, for Stella beer by representing that they are selling 16 ounces of Stella
                  9   beer, when in fact they are providing their customers, including Plaintiff and Class members, with,
                 10   at most, 14 ounces of beer.
                 11                                   FACTS RELEVANT TO PLAINTIFF
    >4   N
                 12           23.     Plaintiff dined at Red Robin Restaurants at various times in 2019 and 2020, during
    ~ ~m=
         ~6N     13   which Plaintiff ordered a 16 ounce Stella beer as represented by Defendants.
                                                                     7




    ❖ ~zo        14           24.     Plaintiff was served his "16 ounce" Stella beers in a Stella chalice that was etched
          ~ n
                 15   wit.h a"fill line" of 33 centiliters.
                 16           25.     Defendants charged, and Plaintiff paid, for 16 ounces of Stella beer.
                 17           26.     However, Plaintiff received, at most, 14 ounces of Stella beer.
                 18                                           CLASS ALLEGATIONS
                 19           27.     Class Defmition: Plaintiff brings this action pursuant to NRCP 23, on behalf of a
                 20   nationwide class of similarly situated individuals and entities (the "Class"), defined as follows:
                 21                   All individuals in the United States who, during the applicable statute
                 22                   of limitations, dined in a Red Robin Gourmet Burgers and Brews
                 23                   restaurant and paid for 16 ounces of Stella Artois beer that was served
                 24                   in a Stella chalice with a maximum capacity of 14 ounces. Excluded
                 25                   from the Class are: (1) Defendants' current and former employees,
                 26                   officers, and directors; (2) the Judge to whom this case is assigned and
                 27                   the Judge's immediate family; (3) any person who executes and files a
                 28                   timely request for exclusion from the Class; (4) any persons who have

                                                                   Page 4 of 12
          Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 91 of 297
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     1                     had their claims in this matter finally adjudicated and/or otherwise
     2                     released; and (5) the legal representatives, successors and assigns of any
     3                     such excluded person.
     4            28.      Numerosity and Ascertainability: Upon information and belief, the Class is
     5    comprised of thousands of individuals, and is so numerous that joinder of all members is
     6    impracticable. For example, Red Robin Restaurants' total revenue for 2019 was $1.2 billion.4
     7    While the exact number of Class members is presently unknown and can only be ascertained
     8    through discovery, Class members can be identified through Defendants' records, Class members'
     9   records, or by other means.
    10            29.      Commonality and Predominance: There are several questions of law and fact
    11   common to the claims of the Plaintiff and members of the Class which predominate over any
    12 individual issues, including:

    13                     (a)      Whether Defendants made misrepresentations and omissions with respect to
    14                              the number of ounces of Stella beer they serve when a customer orders a 16
    15                              ounce Stella beer;
    16                     (b)      Whether Defendants engaged in unfair and deceptive conduct as described
    17                              herein;
    18                     (c)      Whether Defendants breached contracts with their customers when they
    19                              offered for sale 16 ounces of Stella beer, but only provided their customers
    20                             with, at most, 14 ounces of beer;
    21                     (d)      Whether Defendants were unjustly enriched when they charged their
    22                              customers for 16 ounces of Stella beer, but only provided their customers
    23                             with, at most, 14 ounces of beer; and
    24                     (e)      Whether Defendants are liable for the damages suffered by Plaintiff and
    25                              Class members.
    26

    27
         4   See httys://sec.report/Document/0001171759-20-000008/ (RRGBI's 10-K Report filed Feb. 25, 2020, at Part II, Item
    28 6, Selected Financial Data) (last accessed Apr. 7, 2020).

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                   1          30.     Typicality: Plaintiff's claims are typical of the claims of the Class. All claims are
                   2   based on the same legal and factual issues. Plaintiff and each of the Class members were customers
                   3   of Red Robin Restaurants. Defendants' conduct was uniform to Plaintiff and all Class members.
                   4          31.     Adequacy of Representation: Plaintiff will fairly and adequately represent and
                   5   protect the interests of the Class, and has retained counsel competent and experienced in complex
                   6   class actions. Plaintiff has no interests antagonistic to those of the Class, and Defendants have no
                   7   defenses unique to Plaintiff.

                   8          32.     Superiority: A class action is superior to other available methods for the fair and
                                                                                                                     ~
                   9   efficient adjudication of this controversy. The expense and burden of individual litigation would
                  10   make it impracticable or impossible for proposed members of the Class to prosecute their claims
                  11   individually. The trial and the litigation of Plaintiff's and Class members' claims are manageable.
    ~    N
    A~~           12                                                 COUNT I
          m
                  13                                           Breach of Contract
    •~ E z 'rl    14          33.     Plaintiff repeats and realleges the above allegations as though fully set forth herein.
     ~V!          15          34.     Plaintiff brings this Count individually, and on behalf of the Class.
    ~m

                  16          35.     Defendants offered 16 ounces of Stella beer for sale to customers dining in their Red
                  17 Robin Restaurants.

                  18          36.     Plaintiff and Class members dined at Red Robin Restaurants, accepted Defendants'
                  19   offer, and ordered and purchased 16 ounces of Stella beer.
                  20          37.     Defendants breached their contract with Plaintiff and Class members when they
                  21 provided Stella beer to Plaintiff and Class members in Stella chalices that can hold, at most, 14

                  22   ounces of liquid.

                  23          38.     As a result of Defendants' breaches, Plaintiff and Class Members have sustained
                  24   damages in an amount in excess of $15,000.

                  25                                                COUNT II
                  26                   Breach of the Implied Covenant of Good Faith and Fair Dealing
                  27          39.     Plaintiffrepeats and realleges the above allegations as though fully set forth herein.
                  28          40.     Plaintiff brings this Count individually, and on behalf of the Class.

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         1           41.     Defendants offered 16 ounces of Stella beer for sale to customers dining in their Red
         2   Robin Restaurants.

         3           42.     Plaintiff and Class members dined at Red Robin Restaurants, accepted Defendants'
         4 offer, and ordered and purchased 16 ounces of Stella beer.                               1
         5           43.     As a result of the contract, Defendants owed Plaintiff and Class Members a duty of
         6   good faith and fair dealing.

         7           44.     Defendants breached the implied covenant of good faith and fair dealing with
         8   Plaintiff and Class members when they provided Stella beer to Plaintiff and Class members in
         9   Stella chalices that can hold, at most, 14 ounces of liquid—depriving Plaintiff and Class Members
        10   of their justified expectations.
        11           45.     As a result of Defendants' breaches, Plaintiff and Class Members have sustained
        12   damages in an amount in excess of $15,000.
        13                                                 COUNT III
        14                 Violation of the Consumer Fraud and Deceptive Trade Practices Acts
        15                         of the Various States Where Defendants have Restaurants
        16           46.     Plaintiff repeats and realleges the above allegations as though fully set forth herein.
        17           47.     Plaintiff brings this Count individually, and on behalf of the Class, for violations of
        18   the respective statutory consumer protection laws, as follows:
        19                   (a)     The Alabama Deceptive Trade Practices Act, Ala.Code 1975, § 8-19-1,
        20                           et seq.;

        21                   (b)     The Alaska Unfair Trade Practices and Consumer Protection Act,
        22                           AS § 45.50.471, et seq.;

        23                   (c)     The Arizona Consumer Fraud Act, A.R.S §§ 44-1521, et seq.;
        24                   (d)     The Arkansas Deceptive Trade Practices Act, Ark.Code §§ 4-88-101, et seq.;
        25                   (e)     The California Unfair Competition Law, Ca1.Bus. & Prof. Code §§ 17200,
        26                           et seq. and 17500, et seq.;
        27                   (f)     The California Consumers Legal Remedies Act, Civil Code §§ 1750, et seq.;
        28                   (g)     The Colorado Consumer Protection Act, C.R.S.A. § 6-1-101, et seq.;

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 1              (h)    The Connecticut Unfair Trade Practices Act, C.G.S.A. § 42-110a, et seq.;
 2              (i)    The Delaware Consumer Fraud Act, 6 Del. C. § 2511, et seq.;
 3              (j)    The Florida Deceptive and Unfair Trade Practices Act, FSA § 501.201,
 4                     et seq.;
 5              (k)    The Georgia Fair Business Practices Act, OCGA § 10-1-390, et seq.;
 6              (1)    The Idaho Consumer Protection Act, I.C. § 48-601, et seq.;
 7              (m)    The Ohio Consumer Fraud and Deceptive Business Practices Act, 815 ILCS
 8                     501/1, et seq.;

 9              (n)    The Indiana Deceptive Consumer Sales Act, IN ST § 24-5-0.5-2, et seq.;
10              (o)    The Iowa Private Right of Action for Consumer Frauds Act, Iowa Code Ann.
11                     § 714H.1, et seq.;

12              (p)    The Kansas Consumer Protection Act, K.S.A. § 50-623, et seq.;
13              (q)    The Kentucky Consumer Protection Act, KRS 367.110, et seq.;
14              (r)    The Louisiana Unfair Trade Practices and Consumer Protection Law,
15                     LSA-R.S. 51:1401, et seq.;
16              (s)    The Maine Unfair Trade Practices Act, 5 M.R.S.A. § 205-A, et seq.;
17              (t)    The Maryland Consumer Protection Act, MD Code, Commercial Law,
18                     § 13-301, et seq.;

19              (u)    The Massachusetts Regulation of Business Practices for Consumers
20                     Protection Act, M.G.L.A. 93A, et seq.;
21              (v)    The Michigan Consumer Protection Act, M.C.L:A. 445.901,. et seq.;
22              (w)    The Minnesota Prevention of Consumer Fraud Act, Minn. Stat. § 325F.68,
23                     et seq.;

24              (x)    The Missouri Merchandising Practices Act, V.A.M.S. § 407.010, et seq.;

25              (y)    The Montana Unfair Trade Practices and Consumer Protection Act of 1973,
26                     Mont. Code Ann. § 30-14-101, et seq.;
27              (z)    The Nebraska Consumer Protection Act, Neb.Rev.St. §§ 59-1601, etseq.;
28              (aa)   The Nevada Deceptive Trade Practices Act, NRS 598.0903, et seq.;

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     1              (bb)   The New Hampshire Regulation of Business Practices for Consumer
     2                     Protection, N.H.Rev.Stat. § 358-A:1, et seq.;
     3              (cc)   The New Jersey Consumer Fraud Act, N.J.S.A. 56:8, et seq.;
     4              (dd)   The New Mexico Unfair Practices Act, N.M.S.A. §§ 57-12-1, et seq.;
     5              (ee)   The New York Consumer Protection from Deceptive Acts and Practices,
     6                     N.Y. GBL (McKinney) § 349, et seq.;
     7              (ff)   The North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen
     8                     Stat. § 75-1.1, et seq.;
     9              (gg)   The Ohio Consumer Sales Practices Act, R.C. 1345.01, et seq.;
    10              (hh)   The Oklahoma Consumer Protection Act, 15 O.S.2001, §§ 751, et seq.;
    11              (ii)   The Oregon Unlawful Trade Practices Act, ORS 646.605, et seq.;
    12              (jj)   The Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73
    13                     P.S. § 201-1, et seq.;
    14              (kk)   The Rhode Island Deceptive Trade Practices Act, G.L.1956 § 6-13.1-5.2(B),
    15                     et seq.;
    16              (11)   The South Carolina Unfair Trade Practices Act, SC Code 1976, §§ 39-5-10,
    17                     et seq.;

    18              (mm) The South Dakota Deceptive Trade Practices and Consumer Protection Act,
    19                     SDCL § 37-24-1, et seq.;
    20              (nn)   The Tennessee Consumer Protection Act, T.C.A. § 47-18-101, et seq.;
    21              (oo)   The Texas Deceptive Trade Practices-Consumer Protecttion Act, V.T.C.A.,
    22                     Bus. & C. § 17.41, et seq.;
    23              (pp)   The Utah Consumer Sales Practices Act, UT ST § 13-11-1, et seq.;
    24              (qq)   The Virginia Consumer Protection Act of 1977, VA ST § 59.1-196, et seq.;
    25              (rr)   The Washington Consumer Protection Act, RCWA 19.86.010, et seq.; and
    26              (ss)   The Wisconsin Deceptive Trade Practices Act, WIS.STAT. § 100, et seq.
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               1          48.     Defendants engaged in unfair and deceptive acts or practices when they represented
               2   and sold 16 ounces of Stella beer at their Red Robin Restaurants in Stella chalices that have a
               3   maximum capacity of 14 ounces.
               4          49.     Defendants represented to Plaintiff and Class members that they were purchasing 16
               5   ounces of Stella beer, but instead provided, at most, 14 ounces of beer to Plaintiff and Class
               6   members.
               7          50.     Defendants' representations were false because the Stella chalice in which the "16
               8   ounce" Stella beer was served could only hold a maximum amount of 14 ounces.
               9          51.     Defendants omitted the material fact that the Stella chalice in which they served the
              10 "16 ounce" Stella beer could not hold more than 14 ounces of liquid.

              11          52.     Defendants intended for Plaintiff and the members of the Class to rely upon their
>I     N
              12   misrepresentations and omissions, and Plaintiff and Class members did, in fact, reasonably rely
     ~ dQ m   13   upon these misrepresentations and omissions. At the time Plaintiff and Class members purchased
       ~fV

•~ ~~a        14   and received the "16 ounce" Stella beer from Defendants, there was no feasible basis for them to
     ~
              15   determine that the Stella chalice only held a maximum of 14 ounces of liquid.
              16          53.     Had Plaintiffs and Class members known that Defendants were selling "16 ounces"
              17 of Stella beer in chalices that could only hold 14 ounces of liquid, they would not have purchased

              18   the "16 ounce" Stella beer, or they would have paid less for it.
              19          54.     The above-described deceptive and unfair acts and practices were used or employed
              20   in the conduct of trade or commerce.         -
              21          55.     The above-described deceptive and unfair acts offend public policy and cause
              22   substantial injury to consumers.
              23          56.     Defendants' conduct implicates consumer protection concerns as their practices
              24   affect the public generally.
              25          57.     As a result of Defendants' conduct, Plaintiff and Class Members have sustained
              26   damages in an amount in excess of $15,000.
              27          58.     Plaintiff and Class members have sufPered damages as a direct and proximate result
              28 of Defendants' unfair and unconscionable commercial practices. These substantial injuries

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              1   outweigh any benefit to consumers or competition that may result from Defendants' unfair
              2   practices.

              3                                                 COUNTIV
              4                               Unjust Enrichment — Pled in the Alternative
              5            59.    Plaintiff repeats and realleges the above allegations as though fully set forth herein.
              6            60.    Plaintiff brings this Count individually, and on behalf of the Class.
              7            61.    Plaintiff brings this Count in the alternative to Counts I(Breach of Contract) and
              8   Count II (Breach of the Implied Covenant of Good Faith and Fair Dealing).
              9            62.    As a result of Defendants' practice of charging Plaintiff and the Class for 16 ounces
             10   of Stella beer but providing them with less than 16 ounces, as alleged in detail supra, Defendants
             11   unjustly retained a benefit (i.e., the amount of overpayment) to the detriment of Plaintiff and the
~    N
A ~~~~       12   Class.
    d ~~
    ~am      13            63.    Defendants' retention of this benefit violates the fundamental principles of justice,
    E Za     14   equity, and good conscience.
•~ ~ n
~V!          15            64.    Defendants accepted this unjust benefit, and it would be inequitable for Defendants
~m
             16   to retain the benefit of those monies, as Plaintiff and Class members paid the money as a result of
             17 Defendants' deceptive and unfair practices.

             18            65.    Defendants have obtained money to which they are not entitled, and interest on that
             19   money, and under these circumstances equity and good conscience require that Defendants return
             20   the money with interest to Plaintiff and the Class.
             21            66.    As a result of Defendants' conduct, Plaintiff and Class Members have sustained
             22   damages in an amount in excess of $15,000.
             23                                          PRAYER FOR RELIEF
             24            WHEREFORE, Plaintiff Christopher Bruun, individually, and on behalf of all others
             25   similarly situated, prays for an Order as follows:
             26                   A.      An order certifying this action to be a proper class action pursuant to Nevada
             27            Rule of Civil Procedure 23, finding Plaintiff is a proper representative of the Class, and
             28            appointing the undersigned counsel and his law firm as Class Counsel.

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     1                B.      For temporary, preliminary, and permanent injunctive relief enjoining
     2        Defendants from representing that there are 16 ounces of Stella beer sold in the Stella
     3        chalice that is etched with a"fill line" of 33 centiliters;
     4                C.      For judgment for damages in excess of $15,000;
     5                D.      For judgment for punitive damages according to proof;
     6                E.      For an award of reasonable attomey's fees and costs;
     7                F.      For an award of interest provided by law; and
     8                G:      For such other and further relief that the Court may deem just and proper.
     9                                           JURY DEMAND
    10        Plaintiff demands a trial by jury on all counts so triable.
    11        DATED this 27th day of April, 2020.
    12                                                        BAILEY❖KENNEDY

    13                                                        By: /s/ Dennis L. Kennedy
                                                                  DENNIS L. KENNEDY
    14                                                            PAUL C. WILLIAMS
                                                              Attorneys for Plaintiff ChristopheY Bruun
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Reception

From:                          efilingmail@tylerhost.net
Sent:                          Monday, April 27, 2020 10:23 AM
To:                            BKfederaldownloads
Subject:                       Courtesy Notification for Case: A-20-814178-C; Christopher Bruun, Plaintiff(s)vs.Red
                               Robin Gourmet Burgers, Inc., Defendant(s); Envelope Number: 5978267




                                                                Cou,rtesy Notification
                                                                               Envelope Number: 5978267
 9                                                                          Case Number: A-20-814178-C
                                                                  Case Style: Christopher Bruun, Plaintiff(s)
                                                                                                         vs.
                                                             Red Robin Gourmet Burgers, Inc., Defendant(s)

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                                                Filing Detaills
                                                                                                                      (
Case Number                      A-20-814178-C
                                 Christopher Bruun, Plaintiff(s)
Case Style                       vs.
                                 Red Robin Gourmet Burgers, Inc., Defendant(s)
Date/Time Submitted              4/27/2020 10:19 AM PST
Filing Type                      EFile
Filing Description               Class Action Complaint
Activity Requested               Complaint - COMP (CIV)
Filed By                         Sharon Murnane
Filing
     _ Attorney       Dennis Kennedy
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                                             Document Details
Lead Document                   120.04.27 Complaint (Bruun)-TBF.pdf
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                                 12
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           Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 100 of 297
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       DErrrrts L. KENNEDY                                                                                        .00
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     7
           Attorneys for Plaintiff Christopher Bruun
     8
                                                           DISTRICT COURT
     9
                                                   CLARK COUNTY, NEVADA
    10
    11 CHRISTOPHER BRUUN, individually, and on                          Case No. A-20-814178-C
       behalf of all others similarly situated,
    12 '                                                                Dept. No. IX
                                              Plaintiff,
    13                                                                  PLAINTIFF'S MOTION FOR CLASS
                            V3.                                         CERTIFICATION AND APPOINTMENT OF
    14 '                                                                CLASS COUNSEL
           RED ROBIN GOURMET BURGERS, INC., a
    15' Delaware corporation; and RED ROBIN
           INTERNATIONAL, INC., a Nevada corporation,                   Hearing Reguested
    16
                                              Defendants.
    17 '

    18             Pursuant to Nevada Ruies of Civil Procedure 23(a) and 23(c)(3), Plaintiff Christopher Bruun

    19 ("Plaintiff') moves to certify a class action against Defendants Red Robin Gourmet Burgers, Inc.
    20 ("RRGBI") and Red Robin International, Inc. ("RRII") (jointly, "Defendants" or "Red Robin") and
    21     appoint the undersigned counsel from Bailey❖Kennedy, LLP ("Bailey❖Kennedy") and Thomas A.

    22 Zimmerman, Jr., from Zimmerman Law Offices, P.C. ("Zimmerman Law")1, as Class Counsel.
    23
    24
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    27
           1   Mr. Zimmerman's Verifed Application for Association of Counsel Under Supreme Court Rule 42 will be submitted
    28     to the State Bar of Nevada. Upon receipt of the State Bar of Nevada's statement, Plaintiff will move to associate Mr.
           Zimmerman as co-counsel.

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 1          This motion is supported by the papers and pleadings on file, the accompanying
 2   Memorandum of Points and Authorities, the exhibits attached thereto, and any oral a.rgument heard
 3   by the Court.
 4          DATED this 27t ` day of April, 2020.
 5                                                      BAILEY❖KENNEDY

 6                                                      By: /s/ Dennis L. Kennedy
 7                                                         DErrlvls L. KENNEDY
                                                           PAUL C. VVILLIAMS
                                                        Attorneys for Plaintiff ChYistopher By-uun
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         1                        MEMORANDUM OF POINTS AND AUTHORITIES

         2                                         I.     INTRODUCTION
         3          Plaintiff Christopher Bruun brings this class action against Defendants Red Robin Gourmet
         4 Burgers, Inc. and Red Robin International, Inc. for Red Robin's practice of serving, at most, 14

         5   ounces of Stella Artois beer when customers order a 16-ounce Stella Artois beer. Red Robin offers
         6 on its menu Stella Artois in 16-ounce portions, yet the customized Stella Artois chalice in which

         7 Red Robin serves the supposed 16-ounce Stella Artois beer can only contain at most 14 ounces of

         8 beer.

         9          Plaintiff and the other class members did not receive what they paid for, and were deceived
        10 into thinking they were receiving a larger quantity of beer than they actually received. Plaintiff
        11   seeks to recover the difference between what Plaintiff bargained for, and what he actually received,
    ~   12   and to recover for Red Robin's breach of contract, breach of the covenant of good faith and fair
W Z,~
   ~
        13   dealing, violation of the consumer fraud and deceptive trade practices acts of the states where Red
❖ ~zo   14 Robin has restaurants, and unjust enrichment.

        15                                   II.        STATEMENT OF FACTS
        16          Red Robin operates and franchises Red Robin Restaurants throughout the United States. At
        17 the end of 2019; there were 556 Red Robin Restaurants in 44 states in the United States. (Class
        18 Action Complaint ("Compl.") 111.) The menu at Red Robin's restaurants offer Stella Artois beer

        19   in various sizes, one of which is 16 ounces. (Id. ¶ 14.) The menu and Nutritional Guide both state
        20   that 16 ounces of Stella Artois beer have 190 calories. (Id. ¶¶ 14-15.)
        21          Red Robin's representations are false and misleading. All of the Stella Artois chalices in
        22 which Red Robin serves its purported 16-ounce, 190-calorie Stella Artois beer have a"fill-line" of

        23   33 centiliters and cannot hold more than 14 ounces of beer. (Id. ¶¶ 16-17.) PlaintifP dined at Red
        24   Robin numerous times in 2019 and 2020, and ordered 16 ounces of Stella Artois. (Id. ¶ 23.)
        25   Plaintiff paid for 16 ounces of Stella Artois beer each time he ordered a Stella Artois, but only
        26   received, at the most, 14 ounces of Stella Artois beer each time. (Id. ¶¶ 25-26.)

        27
        28

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              1                                 III.   PROPOSED CLASS DEFINITION
              2             Plaintiff seeks certification of the following nationwide class pursuant to NRCP 23:
              3                    All individuals in the United States who, during the applicable statute
              4                    of limitations, dined in a Red Robin Gourmet Burgers and Brews
              5                    restaurant and paid for 16 ounces of Stella Artois beer that was served.
              6                    in a Stella chalice with a maximum capacity of 14 ounces. Excluded
              7                    from the Class are: (1) Defendants' current and former employees,
              8                    officers, and directors; (2) the Judge to whom this case is assigned and
              9                    the Judge's imm~ediate family; (3) any person who executes and files a
             10                    timely request for exclusion from the Class; (4) any persons who have
             11                    had their claims in this matter finally adjudicated and/or otherwise
~    N

             12                    released; and (5) the legal representatives, successors and assigns of any
             13                    such excluded person.
         ~
•.+ ~ z N    14                                            IV.     ARGUMENT
             15             A.     Standard of Decision.
             16             The Nevada Rules of Civil Procedure provide that "[a]s soon as practicable after the
             17   commencement of an action brought as a class action, the court must. determine by order whether it
             18   is to be so maintained." NRCP 23(d)(1). The Court's "order may be conditional, and may be
             19   altered or amended before the decision on the merits." Id.
             20             As the Nevada Supreme Court has explained, "class actions promote efficiency and justice
             21   in the legal system by reducing the possibilities that courts will be asked to adjudicate many
             22   separate suits arising from a single wrong and that individuals will be unable to obtain any redress
             23   for wrongs otherwise irremediable because the individual claims are too small or the claimants too
             24 widely dispersed_" Shuette v. Beazer Homes Holdings Corp:, 121 Nev. 837, 846, 124 P.3d 530, 537

             25   (2005).

             26             In that context, NRCP 23(a) provides that a class action may be maintained only if: "(1) the
             27 class is so numerous that joinder of all members is impracticable; (2) there are questions of law or
             28 fact comrnon to the class; (3) the claims or defenses of the representative parties are typical of the

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           1    claims or defenses of the class; and (4) the representative parties will fairly and adequately protect
           2    the interests of the class." In addition to satisfying the four NRCP 23(a) prerequisites, a party
           3   moving to certify a class must demonstrate that the proposed class fits into one of the three
           4    categories enumerated in NRCP 23(c). Shuette, 121 Nev. at 849-50, 124 P.3d at 539 (2005).2 As
           5    detailed below, Plaintiff seeks certification under NRCP 23(c)(3).
           6              "A party seeking class certification must affirmatively demonstrate his compliance with the
           7   Rule—that is, he must be prepared to prove that there are in fact sufficiently numerous parties,
           8    common questions of law or fact, etc." See Wal-Mart Stores, Inc. v. Dukes, 564 U.S.338, 350,
           9   (2011).3 While a court must engage in a rigorous analysis of the Rule 23 factors, a plaintiff's

          10 "evidentiary showing need not be extensive." Kavu, Inc. v. Onznipak Corp., 246 F.R.D. 642, 646
          11   (W.D. Wash. 2007) (citing Blackie v. Barrack, 524 F.2d 891, 901 (9th Cir. 1975)).
A         12              Moreover, the "class determination generally involves considerations that are enmeshed in
    ~
          13 the factual and legal issues comprising the plaintiff's cause of action." Dukes, 564 U.S. at 351.
      b
    z N
          14 Thus, while it is "sometimes ... necessary for the court to probe behind the pleadings before
          15 coming to rest on the certification question," such analysis is limited to the issues surrounding

          16 certification that "overlap with the merits of the plaintiff's underlying claim." Id. at 351; see also

          17 id. at 351 n.6, (noting that a court's analysis of the merits is limited to that which is necessary to

          18 determine certification); Ellis v. Costco Wholesale Corp., 657 F.3d 970, 983 (9th Cir. 2011) ("The

          19 district court is required to examine the merits of the underlying claim in this context, only

          20 inasmuch as it must determine whether common questions exist; not to determine whether class

          21   members could actually prevail on the merits of their claims.").
          22              B.      The Proposed Class Satisfies the NRCP 23(a) Prereguisites.
          23                       1.      The PYoposed Class is Numerous.
          24              The numerosity prerequisite is satisfied if "the class is so numerous that joinder of all
          25 I members is impracticable." NRCP 23(a)(1). While there is no minimum number of class members,

          26
               '- As a result of the March 1, 2019, amendments to the Nevada Rules of Civil Procedure, the three disjunctive conditions
          27   for class certification were moved from NRCP 23(b) to NRCP 23(c).
                3   The Nevada Supreme Court often relies upon federal cases interpreting Federal Rule of Civil Procedure 23 in
          28 analyzing NRCP 23. See, e.g., Shuette, 121 Nev. at 847 n.l 1, n.12, n.13, n.14, 124 P.3d at 538, n.l l, n.12, n.13, n.14.

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          1"a putative class of forty or more generally will be found numerous." Shuette, 121 Nev. at 847, 124
          2 P.3d at 537.

          3          The Class is likely comprised of thousands of individuals. (Compl. ¶ 28.) Numerosity is
          4   established by the fact that Red Robin has found it cost-effective to use specially crafted chalices
          5 with Stella Artois logos on them to serve Stella Artois at its 556 restaurants. (Id. ¶ 16.) Moreover,

          6 Red Robins reports total revenue for 2019 of $1.2 billion. (Id.)

          7                  Z.      TheNe are Common Questions of Law and Fact.
          8          The commonality prerequisite requires that "there are questions of law or fact common to
          9   the class." NRCP 23(a)(2). "Questions are common to the class when their answers as to one class
         10 member hold true for all class members." Shuette, 121 Nev. at 848, 124 P.3d at 538.
         11 "Commonality does not require that all questions of law and fact must be identical, but that an issue
    ME   12   of law or fact exists that inheres in the complaints of all the class members." Id. Indeed,
W
         13   commonality "may be satisfied by a single common question of law or fact." Id.
❖ ~zN    14          There are several questions of law and fact common to the claims of the Plaintiff and
~V!      15 members of the Class which predominate over any individual issues, including:

         16          (a)     Whether Defendants made misrepresentations and omissions with respect to the
         17                  number of ounces of Stella beer they serve when a customer orders a 16-ounce Stella
         18                  beer;
         19          (b)     Whether Defendants engaged in unfair and deceptive conduct as described herein;
         20          (c)     Whether Defendants breached contracts with their customers when they offered for
         21                  sale 16 ounces of Stella beer, but only provided their customers with, at most, 14
         22                  ounces of beer;
         23          (d)     Whether Defendants were unjustly enriched when they charged their customers for
         24                  16 ounces of Stella' beer, but only provided their customers with, at most, 14 ounces
         25                  of beer; and
         26          (e)     Whether Defendants are liable for the damages suffered by Plaintiff and Class
         27                  members.
         28 (Compl. ¶ 29.)

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♦




             1                    3.       Plaintiff s Claims are Typical of the Proposed Class Members His Claims
                                           Arise from the Same Practice and Course of Conduct that Give Rise to the
             2                             Claims of the Other Class members.
             3            The typicality prerequisite is met if "the claims or defenses of the representative parties are
             4     typical of the claims or defenses of the class." NRCP 23(a)(3). Typicality is present where "each
             5     class member's claim arises from the same course of events and each class member makes similar
             6     legal arguments to prove the defendant's liability." Shuette, 121 Nev. at 848-49, 124 P.3d at 538-
             7 39. The "representatives' claims need not be identical, and class action certification will not be

             8 prevented by mere factual variations among class members' underlying individual claims." Id. at

             9     849, 124 P.3d at 539.
            10            Here, Plaintiff's and the other Class members' claims all arise out of Red Robin's uniform
            11 and standard pract-ice at all Red Robin restaurants that results in overcharging for Stella Artois beer.
    A~E     12 (See Compl. ¶¶ 20-21.) Red Robin serves Stella Artois in specially-crafted chalices that. are a

     ~em    13     standard shape and size, and uniformly misrepresents their size as 16 ounces when they actually can
      ~cq
❖ yzN
~..~n       14     contain> at most> 14 ounces of beer. (Id. ¶¶ 14-18.)
            15                    4.       Plaintiff and His Counsel will Fairly and Adequately Represent the Class.
~
            16            In order to satisfy the fourth prerequisite, a party seeking certification must demonstrate that
            17 "the representative parties will fairly and adequately protect the interests of the class." NRCP

            18 23(a)(4). This "inquiry serves to uncover conflicts of interest between named parties and the class

            19 they seek to represent." Shuette, 121 Nev. at 849, 124 P.3d at 539 (intemal quotation marks
            20     omitted). To satisfy the fourth factor, class members must "possess the same interest and suffer the
            21 same injury as other class members." Id. (intemal quotation marks omitted).

            22 '          Plaintiff is an adequate Class Representative and will fairly and adequately protect the
            23     interests of the Class. There are no potential conflicts present, and Plaintiff suffered the same
            24 overcharge injury as the other Class members.

            25            PlaintifPs counsel is qualified to serve as Class Counsel. "Rule 23(a)(4) requires that
            26 plainttiffs demonstrate that class counsel is qualified, experienced, and generally able to conduct the

            27     litigation." Marisol A. v. Giuliani, 126 F.3d 372, 378 (2d Cir. 1997) (internal quotation marks and
            28     citation omitted).

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          1          Here, Bailey❖Kennedy and Zimmerman Law are experienced in class actions, complex
          2   litigation, and consumer law. Bailey❖Kennedy and Zimmerman Law have represented clients in
          3 numerous complex litigation matters and previously served as class counsel in other matters. (Ex.

          4   1, Kennedy Decl. ¶ 5; Ex. 3, Zimmerman Decl. ¶ 3.) Specifically, Dennis L. Kennedy and Thomas
          5   A. Zimmerman, Jr. have substantial experience in class actions and complex litigation cases,
          6   including consumer law matters. (See generally See generally Ex. 2, Curriculum Vitae of Dennis L.
          7 Kennedy; and Ex. 4, Firm Biography of Zimmerman Law.)

          8          Further, both Bailey❖Kennedy and Zimmerman Law are knowledgeable in consumer law,

          9   including deceptive trade practices law. (Ex. 1, Kennedy Decl. ¶ 5; Ex. 3, Zimmerman Decl. ¶ 4.)
         10          Finally, Bailey❖Kennedy and Zimmerman Law both have the necessary resources to
         11   zealously represent the Class members, and are prepared to invest the time and resources necessary
         12   to adequately serve as Class Counsel. (Ex. 1, Kennedy Decl. ¶ 6; Ex. 3, Zimmerman Decl. ¶ 5.)
         13          In sum, because Plaintiff is an adequate Class Representative and has chosen qualified and
    CV

❖ 9 zN   14   experienced counsel, this Court should permit Plaintiff to act as the Class Representative and allow
         15   his selected counsel to represent the Class members. See In re Cavanaugh, 306 F.3d 726, 734 (9th
         16   Cir. 2002) ("The choice of counsel has traditionally been left to the parties, whether they sue in
         17 their individual capacities or as class representatives.").
         18          C.      The_Proposed Class Satisfies the ReQuirements of NRCP 23(c)(3).

         19          As discussed above, in addition to satisfying the four NRCP 23(a) prerequisites (i.e.,
         20   numerosity, commonality, typicality, and adequacy of representation), a party moving to certify a
         21   class must demonstrate that the proposed class fits into one of the three categories enumerated in
         22 NRCP 23(c). Shuette, 121 Nev. at 849-50, 124 P.3d at 539. Here, Plaintiff seeks certification

         23 under NRCP 23(c)(3).

         24          Class certification is appropriate under NRCP 23(c)(3) where "the court finds questions of
         25   law or fact common to the members of the class predominate over any questions affecting only
         26   individual members, and that a class action is superior to other available methods for the fair and
         27   efficient adjudication of the controversy."

         28

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            1                  1.      Common Questions Predominate Over Any Individual Questions.
            2          The predominance prong of NRCP 23(c)(3) "tests whether proposed classes are sufficiently
            3   cohesive to warrant adjudication by representation." Shuette, 121 Nev. at 850, 124 P.3d at 540
            4(internal quotation marks omitted). "The questions of law or fact at issue in this analysis are those

            5   that qualify each class member's case as a genuine controversy; therefore, the questions that class
            6 members have in common must be significant to the substantive legal analysis of the members'

            7   claims." Id. (intemal quotation marks omitted). Indeed, the predominance inquiry under NRCP
            8 23(c)(3) is similar to the analysis of the commonality and typicality requirements of NRCP 23(a),

            9 but "it is more demanding." Id.
           10          Stated succinctly, class certification is appropriate where the "importance of common
           11   questions ... predominate over the importance of questions peculiar to individual class members."
    A=~    12   Id. at 851, 124 P.3d at 540. "For example, common questions predominate over individual
      ~
           13   questions if they significantly and directly impact each class member's effort to establish liability
❖ = z°
     N     14 and entitlement to relief and their resolution can be achieved through generalized proof." Id.
                                       '
    ~ V!   15 (internal quotation marks omitted).

           16          The common issues in this case predominate over any individual issues. Each Class
           17 member was subject to the same misrepresentations and omissions relating to the amount of Stella
           18 Artois beer they ordered, and they all received the same shortfall in the quantity of beer they

           19 received. The special chalices containing the Stella Artois beer they ordered were standard in size,

           20 and the value of the product in each chalice received by Class members was identical. Questions

           21   concerning Red Robin's misrepresentations and failures to deliver what was promised and
           22   bargained for predominate in this action.
           23                  2.      A Class Action is the Superiorr Method of Adjudicating the Common
                                       Claims of the Class Members.
           24
           25          The superiority prong of NRCP 23(c)(3) "questions whether a class action is the superior
           26 method for adjudicating the claims, thereby promoting the interests of efficiency, consistency, and

           27 ensuring that class members actually obtain relief." Shuette, 121 Nev. at 851-52, 124 P.3d at 540.

           28 "A proper class action prevents identical issues from being litigated over and over[,] thus avoiding

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            1 duplicative proceedings and inconsistent results." Id. at 852, 124 P.3d at 540-41 (alteration in

            2   original) (internal quotation marks omitted). Importantly, a class action is often the superior
            3   method of adjudication where it "helps class members obtain relief when they might be unable or
            4 unwilling to individually litigate an action for financial reasons ...." Id. at 852, 124 P.3d at 541
            5 (emphasis added).

            6          In determining superiority, courts evaluate: "(A) the interest of inembers of the class in
            7 individually controlling the prosecution or defense of separate actions; (B) the extent and nature of
            8   any litigation concerning the controversy already commenced by or against members of the class;
            9(C) the desirability or undesirability of concentrating the litigation of the claims in the particular
           10   forum; and (D) the difficulties likely to be encountered in the management of a class action."
           11 NRCP 23(c)(3); accord Shuette, 121 Nev. at 852, 124 P.3d at 541. "Further, the court must
>4 o
W z~       12   determine whether other adjudication methods would allow for efficient resolution without
  U
~ <;       13   compromising any parties' claims or defenses." Shuette, 121 Nev. at 852, 124 P.3d at 541.
~ Q ~ °°
❖ ~zo      14          As detailed below, each of the superiority factors weighs in favor of class certification.
           15                          a.      The Class Members do not have an Interest in Controlling the
                                               Prosecution of Separate Actions Because Each Class Member's
           16                                  Damages are Small.
           17          The first superiority factor is "the interest of inembers of the class in individually controlling
           18 the prosecution or defense of separate actions." NRCP 23(c)(3)(A). Where "damages suffered by

           19   each putative class member are not large, [the first] factor weighs in favor of certifying a class
           20   action." Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1190 (9th Cir. 2001), opinion
           21 amended on denial of reh g1 273 F.3d 1266 (9th Cir. 2001). For example, courts have found that
           22 potential damage awards of $1,500 are "insufficient to incentive individual actions." Kristensen v.

           23   Credit Payment Ser-vices, 12 F. Supp. 3d 1292, 1303 (D. Nev. 2014).
           24          This factor favors class certification because the individual claims of each Class member
           25   concem a shortfall of a small amount of beer in each glass of Stella Artois served by Red Robin.
           26 While, in the aggregate, the amount of damages is very high, the injuries suffered by each of the

           27 Class members is too small to justify individual actions.

           28

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         1                          b.      No Other Known Litig_ation Exists Between any Class Member and
                                            Defendants; thus Class Resolution Serves Judicial Economy.
         2

         3           The second superiority factor instructs consideration of "the extent and nature of any
         4   litigation conceming the controversy already commenced by or against members of the class."
         5 NRCP 23(c)(3)(B). When the court is unaware of any other pending litigation, the factor weighs in

         6   favor of certification. See Kristensen, 12 F. Supp. 3d at 1308; see also Agne v. Papa John's Intern.,
         7   Inc., 286 F.R.D. 559, 571 (W.D. Wash. 2012). Plaintiff is not aware of any other litigation
         8 between a Class member and Defendants arising out of the issues in this case. Because there appear

         9   to be no similar lawsuits, class resolution is a superior method of adjudicating the instant claims.
        10 See Kristensen, 12 F. Supp. 3d at 1308; Agne, 286 F.R.D. at 571.

        11                          C.      Nevada is a Desirable Forum to Concentrate Litigation.
>4 o
   ~b
A z.    12           The third superiority factor requires a court to consider "the desirability or undesirability of
        13   concentrating the litigation of the claims in the particular forum." NRCP 23(c)(3). Where a
  a>~
❖ yzN   14   defendant is present in a jurisdiction and there "appears no reason why concentrating the litigation
        15 in [that jurisdiction] would be undesirable," the third factor supports class certification.   See

        16 Protectmarriage.com v. Bowen, 262 F.R.D. 504, 509 (E.D. Cal. 2009).

        17           Here, Defendants are present and at home in Nevada. RRII is a Nevada corporation, and
        18 Defendants have several Red Robin Restaurants in Nevada. Thus, the third superiority factor favors

        19   class certification.
        20                          d.      There are no Sig~nificant Difficulties in Management of the Proposed
                                            Class.
        21

        22           The fourth superiority factor requires a court to consider "the difficulties likely to be
        23   encountered in the management of a class action." NRCP 23(c)(3)(D). "When the complexities of
        24   class action treatment outweigh the benefits of considering common issues in one trial, class action
        25 treatment is not the superior method of adjudication." Zinser, 253 F.3d at 1192. "If each class

        26   member has to litigate numerous and substantial separate issues to establish his or her right to
        27 recover individually, a class action is not superior." Id.

        28

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               1           This case is an ideal class action, conceming uniform practices, standard representations and
               2   product packaging, and small individual damages claims. No difficulties or complexities are added
               3   to the case by certifying the Class. The same evidence that Plaintiff will use to prove his claims
               4 will prove the claims of the other Class members. Accordingly, the fourth superiority factor

               5   illustrates the superiority of a class action.
               6                           e.      No Other Adequate Adjudication Methods Exist.
               7           In assessing superiority, the Nevada Supreme Court has stated that a"court must determine
               8 whether other adjudication methods would allow for efficient resolution without compromising any

               9   parties' claims or defenses," such as through joinder or consolidation. Shuette, 121 Nev. at 852,
              10   124 P.3d at 541. Here, there are no other adequate adjudication methods. This is an exemplary
              11   class action—a very large group of individuals with claims that are too small to incentive any other
W12 form of adjudication.
z     ~
              13                                            V.       CONCLUSION
❖   vi z tV   14           Based on the foregoing, the Court should grant Plaintiff's Motion for Class Certification,
              15   appoint Plaintiff as the Class Representative, and appoint Bailey❖Kennedy and Zimmerman Law
              16   Offices, P.C. as Class Counsel.
              17           DATED this 27th day of April, 2020.
              18                                                            BAILEY❖ KENNEDY

              19                                                            By: /s/ Dennis L. Kennedy
                                                                               DENIVIS L. KENNEDY
              20                                                                PAUL C. Wn,LIAMS
                                                                            Attorneys for Plaintiff ChristopheY BYuun
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 1                                     CERTIFICATE OF SERVICE
 2          I certify that I am an employee of BAILEY❖KENNEDY and that on the 27th day of April,
 3   2020, service of the foregoing was made by mandatory electronic service through the Eighth Juc
 4 District Court's electronic filing system and/or by depositing a true and correct copy in the U.S.

 5   Mail, first class postage prepaid, and addressed to the following at their last known address:
 6
            Red Robin Gourmet Burgers, Inc. c/o Corporation Service Company
 7          251 Little Falls Drive
            Wilmington, DE 19808
 8

 9          Red Robin International, Inc. c/o Corporation Service Company
            112 North Curry Street
10          Carson City, NV 89703
11

12                                                       /s/ Sharon Murnane
                                                    Employee of BAILEY❖KENNEDY
13
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             Exhibit 1




             Exhibit 1
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         1                             DECLARATION OF DENNIS L. KENNEDY
         2          I, Dennis L. Kennedy, declare as follows:
         3          1.      I am over the age of eighteen and a resident of Clark County, Nevada.
         4          2.      I am competent to testify to the facts stated herein, which are based on personal
         5 knowledge unless otherwise indicated, and if called upon to testify, I could and would testify
         6 competently to the following.
         7          3.      I am a partner in the law firm of Bailey•3Kennedy, LLP ("Bailey❖Kennedy"), co-
         8 counsel for Plaintiff Christopher Bruun ("Plaintiff') in the matter entitled Bruun v. Red Robin
         9 Gourmet Burgers, Inc., Case No. A-20-814178-C (the "Matter"), which is pending before the Eighth
        10 Judicial District Court of the State of Nevada.
        11          4.      I submit this declaration in support of Plaintiff's Motion for Class Certification and
        12 Appointment of Class Counsel (the "Motion"), which seeks to certify a class action against
        13 Defendants Red Robin Gourmet Burgers, Inc. ("RRGBI") and Red Robin International, Inc.
   ~~
    m
   >;
❖ ~zN   14 ("RRII") (jointly, "Defendants") and appoint class counsel from Bailey❖Kennedy and Zimmerman
        15   Law.
~ W~
~C,
        16          5.      I have substantial experience in class actions, complex litigation cases, including
        17 consumer law and deceptive trade practices matters. A true and correct copy of my Curriculum
        18 Vitae is attached to the Motion for Certification as Exhibit 2.
        19          6.      Bailey❖Kennedy has sufficient resources and time necessary to adequately serve a.s
        20 class counsel and zealously represent the interests of the putative class.
        21          7.      Bailey•:-Kennedy is not aware of any other litigation between a putative class
        22 member and any of the Defendants regarding similar claims alleged by Plaintiff.
        23          I declare under penalty of perjury that the foregoing is true and correct.
        24          Executed on this 27ti' day of April, 2020.
        25                                                                   •

        26
                                                                    DENNIS L. KENNEDY
        27

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            Exhibit 2




            Exhibit 2
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                              DENNIS L. KENNEDY
                              CURRICIJLUM VITAE
EDUCATION

            B.A. Economics, University of Washington (1972)
            J.D., University of Washington School of Law (1975)
            Board of Editors, Washington Law Review

PROFESSIONAL ASSOCIATIONS

     •      State Bar of Nevada
     •      American Bar Association (Sections of Litigation
                   and Professional Responsibility)
     •      American College of Trial Lawyers
     •      American Bar Association Standing Committee on
            Lawyers' Professional Responsibility

EMPLOYMENT

            Lionel Sawyer & Collins (1975 - 1/6/2006)
            Bailey❖Kennedy (1/9/2006 - present)

OTHER POSITIONS

            Adjunct Professor, UNLV/William S. Boyd School of Law; Health Care Law
            (2001, 2003, 2005); Nevada Civil Practice (2006, 2007, 2008, 2015, 2016)
            Chairman, Board of Trustees, Nathan Adelson Hospice (1995 - present)
            Coach/Advisor to A Tech High School Moot Court Team, winner of 2019 Nevada
            Moot Court Championship

PUBLICATIONS

     •      Co-Author, Nevada Civil Practice Manual (5t' ed., 2001)(2003-2013 supplements)

     •      Co-Editor (with Professor Jeffrey Stempel), Nevada Civil Practice Manual (5`h ed.)
            (2003-2013 supplements)

     •      Solo and Small Firm Ethics Traps, Clark County Bar Association
            COMMUNIQUE (December 2013)

     •      Some Things That Can Hurt You If You Don't Pay Attention, Clark County Bar
            Association COMMUNIQUE (November 2015)
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SUPREME COURT AND BAR COMMITTEES

     •    State Bar ofNevada Disciplinary Committee (1989-1997). Chairman, Southern
          District (1993-1995)

     •    Member of State Bar Committee on Ethics and Professional Responsibility
          (December 2001 - December 2009; Chairman 2003-2007)

     •    Member of State Bar Committee on the Revisions to the Nevada Rules of
          Professional Conduct (the "Ethics 2000 Committee") (2003-2004)

     •    State Bar Professionalism Task Force (2004-present); Chairman, CLE
          Subcommittee (2009-2010). (Task force recently developed a mentoring program
          designed to assist newly admitted lawyers in the transition into the profession.)

     •    Nevada Supreme Court Bench-Bar Committee (SCR 14) (2005-present)
          (General function of the Committee is to consult with the Supreme Court on
          issues affecting the practice of litigation, including proposed amendments to the
          Nevada Rules of Civil and Appellate Procedure.)

     •    Member of Nevada Supreme Court Article 6 Commission (2007-2011)
          (Commission's projects were (i) the proposed intermediate court of appeals, (ii)
          changes in judicial selection process and (iii) changes in judicial campaign fund
          raising and disclosure). Final report of Commission issued June 2011

     •    Member of Nevada Supreme Court Committee on Public Access to Lawyer
          Discipline (1994). Committee report resulted in amendments to SCR 121

     •    Member of Nevada Supreme Court Committee on Judicial Ethics and Election
          Practices (1995). Committee report resulted in the adoption of the Rules
          Governing the Standing Committee on Judicial Ethics and Election Practices
          (1997)

     •    Member of Nevada Supreme Court Committee to Study the Amendment of
          NRCP 68 (offers of judgment) (2008-present)

     •    Nevada Supreme Court Judicial Education Requirements Study Committee
          (2015) (Committee was charged with studying the subject of judicial education
          and making a recommendation to the Nevada Supreme Court. Final report
          submitted Apri12016)

     •    Submission of inemoranda and giving of oral presentation to Nevada Supreme
          Court regarding proposed amendment to Nevada R.P.C. 8.4 regarding lawyers'
          ownership of marijuana/cannabis enterprises. ADKT No. 0495




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   •    Submission of inemorandum to State Bar and State Bar Committee on Ethics and
        Professional Responsibility regarding lawyers' ownership/participation in the
        business of purchasing and selling medical liens. (October 2016)

   •    Submission of inemorandum to Nevada Supreme Court regarding proposed
        amendment to Nevada RPC 8.4 regarding lawyer misconduct. ADKT 526

                           R.ATINGS AND RANKINGS

   •    Martindale Hubbell "A" "V" rating.

   •    Benchmark Litigation Stars: 2018 — Commercial and Anti-Trust Litigation

   •    Mountain States "Super Lawyer" 2019; Top 10 — for Nevada, Utah, Montana,
        Idaho and Wyoming

   •    Mountain States "Super Lawyer" 2018; Top 10 — ranked second overall — for
        Nevada, Utah, Montana, Idaho and Wyoming

   •    Mountain States "Super Lawyer" 2017; Top 10 — ranked third overall — for
        Nevada, Utah, Montana, Idaho and Wyoming

   •    Mountain States "Super Lawyer" 2016; Top 10 — ranked second overall — for
        Nevada, Utah, Montana, Idaho and Wyoming.

   •    Mountain States "Super Lawyer" 2015; Top 10 — ranked third overall — for
        Nevada, Utah, Montana, Idaho and Wyoming.

   •    Mountain States "Super Lawyer" 2005-present (top 751awyers in Nevada, Utah,
        Montana, Idaho and Wyoming).

   •    Chambers U.S.A. - one of the top 5 commercial litigators in Nevada (2005-
        present).

   •    Best Lawyers In America - Commercial Litigation, Appellate Practice, and Ethics
        and Professional Responsibility Law (199 1 -present).

   •    Best Lawyers' 2012 and 2014 Las Vegas Health Care Lawyer of the Year.

                        REPORTED CASES (1985-present)

   •     Lakeside Communit,y Hospital v. Levenson, 101 Nev. 777, 710 P.2d 727 (1985).

   •     Herbst v. Humana Health Ins. of Nevada, 105 Nev. 586, 781 P.2d 762 (1989).

   •     In re Discipline of Stuhff, 108 Nev. 629, 837 P.2d 853 (1992).


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   •     In re Discipline of Sinaer, 109 Nev. 1117, 865 P.2d 315 (1993).

   •     Forsyth v. Humana, Inc., 827 F. Supp. 1498 (D. Nev. 1993), aff d in part and
         rev'd in part by Forsyth v. Humana, Inc., 99 F.3d 1504 (9I ' Cir. 1996); superseded
         on rehearing by Forsyth v. Humana, Inc., 114 F.3d 1467 (9~' Cir. 1997); affirmed
         by Humana, Inc. v. Forsyth, 525 U.S. 299 (1999).

   •     Snoeck v. Brussa, 153 F.3d 984 (9 h Cir. 1998).

   •     State of Nevada v. Reliable Health Care, 115 Nev. 253, 983 P.2d 414 (1999).

   •     Baker v. District Court, 116 Nev. 527, 999 P.2d 1020 (2000).

   •     Nguyen v. State, 116 Nev. 1171, 14 P.3d 515 (2000) (amicus brief for Nevada
         Resort Assn.).

   •     Brown v. District Court, 116 Nev. 1200, 14 P.3d 1266 (2000).

   •     Badillo v. American Brands, 117 Nev. 34, 16 P.3d 435 (2001).

   •     Badillo v. American Brands, 202 F.R.D. 261 (D. Nev. 2001).

   •     Michel v. Bare, 230 F. Supp. 2d 1147 (D. Nev. 2002).

   •     Maduka v. Sunrise Hospital, 375 F.3d 909 (9th Cir. 2004).

   •     Poulos v. Caesar's World, Inc., 379 F.3d 654 (9~' Cir. 2004).

   •     International Game Technology, Inc. v. Second Judicial District Court, 122 Nev.
         Adv. Op. 13, 127 P.3d 1088 (2006).

   •     Lerby's Horse and Sports Place v. Racusin, 2001 WL 1345974 (91' Cir.
         November 1, 2001) (reversing district court judgment re damages and attorney's
         fees and remanding for jury trial); Leroy's Horse and Sports Place v. Racusin,
         CV-S-950-00927 (D. Nev. July 8, 2003) (jury verdict of $2,310,000); Hartunian
         v. Racusin, 2005 WL 79089 (9~' Cir. January 14, 2005) (reversing district court
         order refusing to award pre judgment interest on $2,310,000 jury verdict and
         remanding for determination of interest amount); Racusin v. American Wagering,
         Inc., 465 F.3d 1048 (9`h Cir. 2006), withdrawn on rehearing 493 F.3d 1067 (2007)
         (reversing BAP decision subordinating debt and affirming client's status as
         creditor entitled to payment of $2,310,000 judgment).

         Nanopierce Technologies, Inc. v. DepositoLy Trust Clearing Corp., 123 Nev.
         362,168 P.3d 73 (September 20, 2007) (brief and oral argument on behalf of
         amicus curiae North American Securities Administrators Assn.).


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   •     State of Nevada v. District Court (RJR Tobacco), 125 Nev. 37, 44, 199 P.3d 828
         (January 29, 2009).

   •     Betsinger v. D.R. Horton, Inc., 126 Nev. 162, 232 P. 3d 433 (May 27, 2010).

   •     Orion Portfolio Services 2, LLC v. Clark County, ex rel. University Medical
         Center, 126 Nev. Adv. Op. No. 39, 245 P. 3d 529 (October 14, 2010).

   •     U-Haul International, Inc. v. Albright, 626 F. 3d 498 (9t ' Cir. 2010).

   •     Bahena v. Goodyear Tire & Rubber Co., 126 Nev. Adv. Op. 57, 245 P.3d. 1182
         (2010) (brief on behalf of amicus curiae United States Chamber of Commerce).

   •     Stultz v. Bellagio, LLC, Nevada Supreme Court Case No. 56164 (October 29,
         2011).

   •     Walters v. Eighth Jud. Dist. Ct. ex rel. Cnty., of Clark, 127 Nev. Adv. Op. No. 66,
         263 P.3d 231 (2011).

   •     In re City Center Construction and Lien Master Litigation, Nevada Supreme
         Court Case No. 57186 (October 19, 2011).

   •     R.ichman v. District Court, Nevada Supreme Court Case No. 60676 (May 31,
         2013).

   •     Golden Gaming, Inc. v. Corrigan Management, Inc., Nevada Supreme Court Case
         Nos. 61696 and 62200 (March 26, 2015).

   •     Keisic v. Valley Health System, LLC, et al., Nevada Supreme Court Case No.
         64445 (December 29, 2015).

   •     Simmons v. Briones, 133 Nev. Adv. Op. No. 9, 390 P.3d 641 (March 2, 2017).

   •     Wasmund v. Aria Resort & Casino Holdings, Nevada Court of Appeals Case No.
         69147 (March 6, 2017).

   •     Ford Motor Co. v. Treio, 133 Nev. Adv. Op. 68, 402 P. 3d 649 (September 27,
         2017) (for amicus Nat'1 Assn. of Manufacturers).

   •     Public Employees' Retirement Sys. v. Gitter, 133 Nev. Adv. Op. 18, 393 P.3d 673
         (Apri127, 2017).

   •     Valley Health System v. Estate of Jane Doe; Hall Prangle & Schoonveld v.
         District Court, 134 Nev. Adv. Op. 76, 427 P.3d 1021 (September 27, 2018).

   •     Michelle Flores v. Las Vegas-Clark County Library District, 134 Nev. Adv. Op.
         101, 432 P.3d 173 (December 13, 2018).
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   •     JMB Capital Partners Master Fund, L.P. v. District Court, Nevada Supreme Court
         Case No. 78008 (March 21, 2019).

   •     Las Vegas Review Journal v. City of Henderson, Nevada Supreme Court Case
         No. 73287 (May 24, 2019).

   •     City of Henderson v. Las Vegas Review Journal, Nevada Supreme Court Case
         No. 75407 (October 17, 2019).

         ETHICS/PROFESSIONAL RESPONSIBILITY REPRESENTATION

   •     Defense of non-Nevada lawyer on charges of unauthorized practice (and related
         offenses) before State Bar Disciplinary Panel (1998-1999). (Name of counsel and
         law firm are confidential.)

   •     Representation of candidate for district court in defense of complaint regarding
         campaign advertisements before Standing Committee on Judicial Ethics and
         Campaign Practices. (1998). Name of candidate is confidential.

   •     Representation of attorney in appeal of disqualification order (SCR 160). Brown
         v. Eighth Judicial District Court, 116 Nev. 1200, 14 P.3d 1266 (2000).

   •     Representation of attorney before fee dispute panel in matter involving recovery
         of quantum meruit fee in the absence of written fee agreement in contingent fee
         case. West v. Myers, No. 02-128.

   •     Representation of inembers of Nevada Commission on Judicial Discipline in
         defense of action challenging constitutionality of the Commission's rules and
         activities. Snoeck v. Brussa, 153 F.3d 984 (9t ' Cir. 1998).

   •     Representation of Members of Nevada Commission on Judicial Discipline in
         defense of RICO and Civil Rights claims. Mosley v. Gang, et al., Case No. CV-
         S-00-0976-JLQ(LRL).

   •     Representation of State Bar of Nevada in defense of action brought by out-of-state
         law firm challenging the constitutionality of SCR 199 firm name provision.
         Lewis & Roca v. Bare, Case No. CV-S-99-0757-JBR (RLH).

   •     Representation of law firm in challenge to constitutionality of Supreme Court
         Rule prohibiting use of trade name by lawyers. Michel v. Bare, 230 F. Supp. 2d
         1147 (D. Nev. 2002) (declaring SCR 199(1) unconstitutional).

   •     Representation of candidate for district court in defense of complaint regarding
         allegedly untrue and defamatory statements made concerning opponent before
         Standing Committee on Judicial Ethics and Campaign Practices. (2002). Name
         of candidate is confidential.
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   •     Representation of Nevada Commission on Judicial Discipline in defense of §
         1983 civil rights claim. Luckett v. Hardcastle, et al., Case No. CV-S-05-0726
         RLH-RJJ. (Complaint dismissed).

   •     Representation of attomey in defense of lawsuit alleging negligence and
         malpractice. Malignaggi v. Goldberg, Case No. A 508763, District Court, Clark
         County, Nevada (case dismissed).

   •     Representation of law firm in opposing disqualification motion. Provenza v.
         Yamaha Motor Co., Case No. A446708, District Court, Clark County, Nevada.

   •     Representation of law firm in opposing disqualification motion. Roth v. BMW,
         Case No. A453810, District Court, Clark County.

   •     Representation of non-Nevada lawyer regarding allegations of lack of candor
         toward tribunal (SCR 172) (2006). (Name of counsel and law firm are
         confidential.)

   •     Representation of law firm in opposing disqualification motion. Daniell v. Peake
         Development, Case No. A508494, District Court, Clark County.

   •     Representation of attorney in defense of State Bar proceeding regarding violations
         of NRPC 1.8 (business transactions with client) and NRPC 1.7 (conflict of
         interest). Name of attorney confidential (SCR 121).

   •     Representation of attorney in defense of claims for misappropriation of
         confidential information. Friedman v. Friedman, Case No. D07-376354D,
         District Court, Clark County, Nevada.

   •     Representation of attorneys in defense of claims alleging violations of NRPC 4.2
         arising out of contacts with putative class members prior to class certification.
         Del Webb Communities, Inc. v. The Eighth Judicial District Court of the State of
         Nevada in and for the County of Clark, and The Hon. Timothy C. Williams,
         District Judge, and Real Parties in Interest, Case No. 49423, Nevada Supreme
         Court.

         Representation of attorney in defense of State Bar proceeding regarding violations
         of NRPC 1.5 (fees) and NRPC 4.2 (contact with represented person). Case
         dismissed. Name of lawyer is confidential. (SCR 121).

         Representation of entity owned by attorney in defense of NRPC 1.8 claim. In re
         Receivership of Southwest Exchange, Case No. A535439, District Court, Clark
         County, Nevada. Ca'se settled.
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   •     Representation of attorney in defense of malpractice/breach of fiduciary duty
         claim. Sorrell v. Snell & Wilmer, Case No. 08-CV-00761-RCJ-LRL, U.S.
         District Court, Nevada. Case settled.

   •     Representation of attomey in appeal of judgment refusing to enforce contingency
         fee agreement's term regarding attorney's entitlement to particular fee in the
         event of his termination. Golightly v. Gassner, Case No. 50212, Nevada Supreme
         Court. Case decided.

   •     Representation of party in defense of claim for attorney's fees arising out of
         alleged "frivolous" litigation. Club 93, Inc. v. County of Elko, CV-C-08-163,
         Fourth Judicial District Court, Elko, Nevada. Case settled.

   •     Representation of client against attorney in claim for refund of alleged "non-
         refundable" retainer. Sperberg v. Hunterton, Case No. 08-149 (State Bar Fee
         Dispute Proceeding). Case decided.

   •     Representation of attorney in action against former partner and others for
         wrongful expulsion from law firm. Powell v. Powell Naqvi, Case No. 08-566761,
         Eighth Judicial District Court. Case settled.

   •     Representation of clients in seeking review of U.S. Magistrate Judge's order
         imposing monetary sanctions upon parties, individual lawyers, and law firm.
         Dennis Mont omery, Montgomery Family Trust v. eTreppid Technolo ies,
         L.L.C.; Warren Trepp, Department of Defense of the United States of America;
         and Does 1 through 10, and Related Cases, Case No. 3:065-CV-00145-PMP-
         VPC, U.S. District Court, District of Nevada. Matter settled.

   •     Representation of suspended attorney in proceedings seeking reinstatement to
         Nevada Bar. (In re Richard Pipkins). Representation terminated.

   •     Representation of attorney and law firm in opposing disqualification motion.
         Edwin K. Slaughter, et al. v. Uponor, Inc., et al., Case No. 2:08-CV-01223-RCJ-
         GWF, U.S. District Court, District of Nevada. Case dismissed.

   •     Representation of non-Nevada lawyer on State Bar inquiry into charges of
         unauthorized practice. (2009-2010). Matter concluded without action by State
         Bar. Name of lawyer is confidential.

   •     Representation of attorneys in defense of State Bar disciplinary proceeding
         alleging fee-splitting with non-lawyer and other matters. State Bar v. Eglet (Case
         No. SG-10-0874) and Adams (Case No. SG-12-0803). Both proceedings
         dismissed.

   •     Representation of attorney in fee dispute arbitration. Davidson v. Gentile, Case
         No. 10-085, Nevada State Bar Fee Dispute Committee. Matter decided.
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   •     Representation of attorney in defense of State Bar disciplinary proceeding. State
         Bar of Nevada v. Anthony Lopez, Bar No. 08-175 (and numerous related and
         consolidated cases). Matters settled.

   •     Representation of judicial candidate in action challenging constitutionality of
         Nevada Code of Judicial Conduct Canon 4, Rule 4.1(A)(11). Kishner v. Nevada
         Standing Committee on Judicial Ethics and Election Practices, Case No. 2:10-cv-
         01858-RLH-RJJ, U.S. District Court, Nevada. Matter decided.

   •    Representation of attorney in matter where attorney disclosed confidential
        information relating to the representation of a client to prevent the commission of
        a criminal and fraudulent act by the client. Nevada RPC 1.6(b)(2) and (3).
        Attorney's name is confidential. Case settled.

   •    Representation of former clients in action against law firm and attorney. Frias
        Holding Co. v. Greenberg Traurig, Case No. A-10-630319-C, Eighth Judicial
        District Court, Clark County, Nevada. Engagement concluded.

   •    Representation of former client against law firm in defense of fee collection
        proceeding and in prosecution of malpractice counterclaim. Lionel Sawyer &
        Collins v. DeWald, State Bar Fee Dispute Committee Matter No. 10-108. Case
        dismissed.

   °    Representation of law firm and lawyers in dispute with insurer over coverage for
        claims of professional negligence. Pacifica v. Goold Patterson, et al., Case No.
        A557726 (and related cases), Eighth Judicial District Court, Clark County,
        Nevada. Matter settled.

   •    Representation of attorneys in defense of five consolidated disciplinary
        complaints arising out of consumer bankruptcy representation. Nevada RPC 1.3,
        1.4, 5.3 and 8.1. State Bar v. Haines and Krieger, Case Nos.10-121-2842; 10-
        134-2842; 10-137-2557; SG10-0023; and SG10-0044. Matters decided.

   •    Representation of law firm and lawyers in defense of lawsuit alleging violations
        of Nevada RPC 1.8. Richman v. Haines & Krieger, LLC, et al., Case No. A-1 1-
        643004-C, Eighth Judicial District Court, Clark County, Nevada; Case No. 60676,
        Nevada Supreme Court (May 31, 2013). Matter settled.

   •    Representation of lawyers in defense of 46 consolidated bar grievances and
        complaints arising out of consumer bankruptcies and residential loan
        modifications. State Bar v. George Haines and David Krieger, Grievance No.
        SG11-1800 (and related matters). Matters settled.

   •    Representation of attorneys in challenge (by mandamus) to order of
        disqualification. In re City Center Construction and Lien Master Litigation:
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         MGM Mirage Design Group v. District Court, Nevada Supreme Court Case No.
         57186 (October 19, 2011).

   •     Representation of Trust Beneficiaries in motion to disqualify counsel for trustee.
         In Re Cook Trusts, Case No. P-11-071394-T. Eighth Judicial District Court,
         Clark County, Nevada. Matter decided.

   •     Representation of former client in defense of fee collection suit by law fium and
         prosecution of malpractice counterclaim. Lionel Sawyer & Collins v. DeWald,
         Case No. 79 194 Y 00090 11 nolg (AAA). Engagement concluded.

   •     Representation of not-for-profit entity in State Bar proceeding alleging
         unauthorized practice by assisting homeowners in dealings with mortgage lenders.
         (Name of client is confidential). Engagement concluded.

   •     Representation of Stokes & Stokes, Ltd. in the defense of various bar grievances.
         Case settled.

   •     Representation of parties in action seeking to overturn arbitrators' decision on
         grounds of fraud and partiality. Parker v. Carlson, et al., Case No. A571921,
         Eighth Judicial District County, Nevada. Matter settled.

   •     Representation (special counsel) of Allstate Insurance Co. on privilege and work
         product issues arising from interviews of former clients of an attorney. Allstate
         Insurance Co., v. Balle, et al., Case No. 2:10-CV-02205-KJD-RJJ, United States
         District Court, District of Nevada. Matter concluded.

   •     Representation of attomey and law firm in defense of allegations of unauthorized
         practice (Rule 5.5) and failure to register as a multi jurisdictional law firm (Rule
         7.5A). Waite v.Clark County Collection Service, Case No.2:11-cv-01741-LRH-
         VCF, United States District court, District of Nevada. Matter decided

   •     Representation of attorney in defense of State Bar disciplinary proceeding as to
         alleged violations of RPC 1.7 (current client conflict), RPC 5.4 (professional
         independence/fee splitting with non-lawyers), and RPC 8.4 (misconduct involving
         dishonesty and fraud). State Bar v. Noel Gage, Case No. 08-053-1890.
         Disciplinary case concluded with settlement. Settlement approved by the Nevada
         Supreme Court. Client reinstated as member of State Bar.

         Representation of bar applicant before State Bar Moral Character and Fitness
         Committee on charges relating to alcohol abuse, plagiarism and fmancial
         responsibility. In re Melanie Feldhauser-Thomas. Matter concluded.

         Representation of law firm and its clients in opposing motion to disqualify law
         firm for acquisition and use of allegedly privileged documents. In re C.E. Cook



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         Family Trust, Consolidated Case No. P-11-071394-T, District Court, Clark
         County, Nevada. Matter concluded.

   •     Representation of attorney in defense of State Bar disciplinary proceedings as to
         alleged violation of trust account rules. State Bar v. Joseph Scalia, Case Nos.
         SG11-1737, SG12-0903. Engagement concluded.

   •     Represeritation of former client of law firm in dispute with law firm arising out of
         law firm's conflict of interest in defending former client and another defendant at
         trial, where former client was found liable and other defendant was not. Names of
         client and law firm are confidential. Matter settled.

   •     Representation of attorney in appeal of letter of private reprimand resulting from
         attorney's conduct in federal court litigation. In re Steven Gibson, Case No. SG-
         12-0104. Matter decided.

   •     Representattion of law firm in dispute with second law fum over payment of fees
         alleged to be due under fee sharing agreement. Gage Law Firm v. Feinberg
         Mayfi eld Kaneda & Litt, LLP d/b/a Fenton Grant Ma~ eld Kaneda & Litt, LLP
         f/k/a Feinberg Grant Mayfield Kaneda & Litt, Case No. A-14-697336-B, District
         Court, Clark County, Nevada. Matter settled.

   •     Representation of defendant entity sued by plaintiff's counsel with whom
         defendant entity had prior relationship, in proceedings regarding disqualification
         of plaintiff's counsel. Matter is confidential.

   •     Representation of departed lawyer in dispute with former firm regarding client
         files and compensation. Matter is confidential.

   •     Representation of law firm in dispute with departed lawyer regarding
         compensation. Matter is confidential.

   •     Representation of former attorneys' client in action against attomeys for
         malpractice and breach of fiduciary duty: McKenna v. Chesnoff, et al., Case No.
         2-14-cv-1773-JAD-CWH pending in the United States District Court, District of
         Nevada. Case pending.

   •     Representation of law firm and attorney in defense of claims for breach of duty
         and aiding and abetting breach of fiduciary duty. Hugh S. Proctor, et al. v. CPF
         Recovery Ways, LLC, et al., Case No. 2:14—cv-01693-RFB-PAL pending in the
         United States District Court, District of Nevada. Case settled.

   •     Representation of attomey in disciplinary proceedings resulting from attomey's
         conviction of a crime. State Bar of Nevada v. Chandan Manansingh, No. CR13-
         1850 (2015). Matter pending

   •     Representation of attorney in defense of allegations of unauthorized practice of
         law. Matter is confidential.


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   •     Representation of two partners of law firm in connection with their resignation
         from that firm and formation of a new firtn. Matter is confidential.

   •     Representation of non-parry for purpose of asserting accountant-client privilege in
         case where non-party's confidential information was at risk of disclosure. Core-
         _Vent Bio Engineering, Inc. v. Polo Nevada Investments, Case No. A644240,
         Eighth Judicial District Court, Clark County, Nevada. Matter concluded.

   •     Representation of attorney regarding potential disciplinary complaint arising out
         of litigation fmancing and transactions involving medical liens. Name of attomey
         is confidential.

   •     Representation of client in matter following the striking of client's answer and
         imposition of sanctions for discovery violations and misconduct of prior counsel
         (Rule 3.3). Valley Health System, LLC, et al. v. Jane Doe, 134 Nev. Adv. Op.
         No. 76, 427 P.3d 1021 (Sept. 27, 2018).

   •     Representation of law firm (Hall Prangle & Schoonveld, LLC) and attorney
         contesting the imposition of sanctions for lack of candor to the court. (Nevada
         RPC 3.3). 134 Nev. Adv. Op. No. 76, 427 P.3d 1021 (Sept. 27, 2018).

   •     Representation of managing partner of Las Vegas office of national law firm in
         connection with his departure from that firm and the formation of a new law firtn.
         Names of attorney and law firm are confidential.

   •     Representation of Adam Kutner in the defense of a State Bar disciplinary
         proceeding alleging violations of various rules of professional conduct. State Bar
         v. Kutner, Case Nos. OBC15-0309, OBC15-0604, OBC15-1291,OBC16-0041,
         OBC16-0613. Matter decided.

   •     Representation of partner in law firm in matter regarding partner's duties when
         law firm is engaging in conduct believed by the partner to violate the rules of
         professional conduct. Name of partner and law firm are confidential.

   •     Representation of law firm and lawyers in sanctions and contempt proceedings
         arising from lawyers' alleged trial misconduct. Names of lawyers are
         confidential.

   •     Representation of attorney in the defense of related State Bar proceedings
         involving client referrals. Name of attorney is confidential.

   •     Representation of a gaming licensee in a dispute with its former attorneys over
         malpractice and excessive fees. Names of parties are confidential. Matter
         resolved.

   •     Representation of secured creditor moving to disqualify law firm representing
         debtor-in-possession because of conflicting representation of guarantor. In re

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         Sterling Entertainment Group LV, LLC, Case No. BK-S-17-13662-abl, United
         States Bankruptcy Court, District of Nevada. Motion granted.

        Representation of Boyack Orme & Anthony in opposing motion seeking sanctions
        for misconduct during voire dire. Thompson v. Playland International, et al., Case
        No. A-14-697688-C, District Court, Clark County, Nevada. Motion decided by
        Dist.rict Court. Nevada Supreme Court Case No. 75522 (Apri125, 2019) (issuing
        writ of mandamus vacating District Court imposition of sanctions). Client
        appeared pro per in Supreme Court.

         Representation of Lewis Brisbois Bisgaard & Smith in opposing motion seeking
         case terminating sanctions for alleged discovery abuse. Gonzales v. Navarro, et
         al., Case No. A-15-728994-C, District Court, Clark Count, Nevada. Case settled.

        Representation of Pete Eliades in (i) opposing motion seeking judgment for
        attorneys' fees, and (ii) asserting countermotion ordering the forfeiture of fees by
        reason of law firm's conflict of interest. Cooper Levenson v. Eliades, Case No.
        A-16-732467-C, District Court, Clark County, Nevada. Motions decided. Trial
        pending.

   •     Representation of Wilson, Elser, Moskowitz, Edelman & Dicker, LLP in
         opposing motion seeking sanctions. Lauren Pitts v. Costco Wholesale
         Corporation, Case No. A-16-731492-C, District Court, Clark County, Nevada.
         Matter resolved.

   •     Representation of client in dispute with former attorney over propriety (and
         refund) of alleged "nonrefundable" retainer where attorney was terminated before
         any substantive work was done. Name of client is confidential.

   •     Representation of James W. Vahey, M.D. against former attorney (and others) in
         action for malpractice and breach of fiduciary duty. Vahey v. Musso, et al., Case
         No. A-14-695460-C, District Court, Clark County, Nevada. Matter settled.

   •     Representation of governmental entity in defense of action by newspaper
         contesting the refusal to produce "public records" on the ground that such records
         were protected from disclosure by attorney-client and deliberative process ,
         privileges. Las Veg_as Review Journal v. City of Henderson, Nevada Supreme
         Court Case No. 73287 (decided May 24, 2019).

         Representation of Hanson Bridgett, LLC in opposing motion to disqualify that
         firm for alleged conflict with former client (RPC 1.9) Coyote Spring_Land
                                                                             s
         Development v. Las Vegas Valley Water District, et al., Case No. A-18-778039-
         C, District Court, Clark County, Nevada. Matter resolved. Case dismissed.

         Retained by (non-parry) former general counsel of defendant to advise as to
         matters of privilege, work product and confidentiality likely to arise at his
         deposition — taken in an action where the plaintiff alleged fraud and related
         wrongdoing by the defendant. Name of client is confidential.

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   •     Representation of client seeking disqualification of former attorneys now seeking
         to represent adverse parties in cross-claims. In re Fontainebleau Lien Liti ation,
         Case No. A-17-765074-B. Matter decided. Nevada Supreme Court, Case No.
         78008 (March 2019).

   •     Representation of client in dispute with former counsel who personally filed an
         amicus brief adverse to the interest of his former client in a matter where he had
         personally represented the former client. Matter resolved. Names of client and
         attorney are confidential.

   •    Representation of Wynn Resorts Ltd. in a motion to disqualify its former counsel
        in a matter where the former counsel is appearing adverse to it. Stephen A. Wynn
        v. Wells, et al., Case No. A-18-784184-B, District Court, Clark County, Nevada.
        Matter resolved.

   •    Representation of Blue Martini (client) in matter involving unauthorized acts by
        attorneys purporting to act on client's behalf. Tomora Reichardt v. Blue Martini
        Las Vegas, LLC, d/b/a Blue Martini Lounge, et al., Case No. A-10-608169-C,
        District Court, Clark County, Nevada. Matter resolved.

   •    Representation of attorney in defense of State Bar proceeding alleging the
        perpetration of fraud on the court. State Bar of Nevada v. Noe, Case No. OBC-
        19-0605.

   •    Representation of Paul D. Powell and The Powell Law Firm in litigation against
        the State Bar of Nevada seeking to have Nevada Rule of Professional Conduct
        7.2(i) declared unconstitutional.

   •    Representation of City of Henderson in dispute with Las Vegas Review Journal
        over attomey's fees in public records case. City of Henderson v. Las Vegas
        Review Journal, Nevada Supreme Court Case No. 75407 (October 17, 2019).

   •    Representation of governmental entity in dispute with former employee-attorney
        over permissible post-employment activities of former employee-attorney.
        Names of client and former employee attorney are confidential.

   •    Representation of Stacey and Steven Lewis in dispute with former counsel
        (Brownstein Hyatt law firm) over attorney's fees. CML-NV Grand Day, LLC v.
        Grand Day, LLC, et al., Case No. A-11-655054-B, District Court, Clark County,
        Nevada. Matter resolved.

   •    Representation of James W. Vahey, M.D. in malpractice case against Black &
        Lobello and Tisha Black in James W. Vahey, M.D., et al., v. Black & Lobello, et
        al., Case No. A-18-768351-C, District Court, Clark County, Nevada. Matter
        pending.




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         Representation of Matthew Callister in the defense of the State Bar grievances
         regarding diligence and fees in Grievance File No. OBC-19-1132/Delia Henson
         and Grievance File No. OBC-19-1102/Demedrick Jefferson. Matters pending.

    RETENTION AS EXPERT: ETHICS/PROFESSIONAL RESPONSIBILITY

         Retained by bar applicant to give expert testimony before State Bar Moral
         Character and Fitness Committee regarding duty of confidentiality arising out of
         applicant's seeking employment with la_w firm representing adverse parry.
         Testimony given. (2004) (Name of bar applicant is confidential).

         Retained by Cherry & Bailus to give expert testimony before State Bar Fee
         Dispute committee on issues regarding attorneys' withdrawal/termination of
         representation. Testimony given.

         Retained by Dominic Gentile to give expert testimony in U.S. Bankruptcy Court,
         Orange County, California, on attorney's obligations to client upon withdrawal
         and attorney's duty to withdraw. Offer of proof; no testimony given. In re Ken
         Mizuno; The Bankruptcy Estate of Ken Mizuno v. Ken Mizuno, Dominic P.
         Gentile, Terrance G. Reed, et. al., Case No. SA94-14429LR, Adv. No. AD95-
         01043, United States Bankruptcy Court, Central District of California.

         Retained by Law Offices of Stan Hunterton to testify in State Court case on issues
         concerning attorney's obligations in billing client for fees and charging for costs
         and expenses. Report prepared. No testimony given. Shinehouse & Duesing, a
         Nevada partnership, and Rumph & Peyton, a Nevada Partnership v. R.D. Prabhu,
         an individual, Case No. A379297, District Court, Clark County, Nevada. Case
         dismissed and re-filed as Shinehouse & Duesing v. Prabhu, Case No. A456661,
         District Court, Clark County, Nevada. Case dismissed.

         Retained by Law Offices of Gary Logan to testify as to lawyer's duties to jointly
         represented clients. Testimony given. Nault v. Mainor, Case No. A401657,
         District Court, Clark County, Nevada, Mainor v. Nault, 120 Nev. Adv. Op. 84,
         101 P.3d 308 (2004).

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to duties
         of attorney (competence) and scope of representation. Report prepared. Case
         dismissed. Ilbert Mednicoff, an individual and CCN, Inc., a Nevada corporation
         v. George F. Holman, an individual, Robert L. Bolick, an individual, Stewart A.
         Gollmer, an individual, Gary Fields, an individual, Law Offices of Robert L.
         Bolick, Ltd., a Professional corporation and Does 1 through 100, inclusive, Case
         No. A377374, District Court, Clark County, Nevada.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to duties
         of law firm to supervise work of associate attorney. Report prepared. Case
         dismissed. Anthony Guymon, an incompetent person, by and through his
         Guardian ad Litem, Barbara Guymon; Barbara Guymon v. Cory J. Hilton; Hilton

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         & Kahle; Villani, Hilton & Kahle; Villani, Gardner & Hilton; Perry & Spann•
         Pico & Mitchell, Ltd.; and Does 1 to 10, inclusive, Case No. 00-A-422013-C,
         District Court, Clark County, Nevada.

        Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to
        lawyer's conduct in trial and settlement of case. Report prepared. Case
        dismissed. Mark J. Brown v. Alan Catley (and related cross actions), Case No.
        A381988, District Court, Clark County, Nevada.

        Retained by State Bar to testify in disciplinary proceeding as to lawyer's duties
        under SCR 170 (prohibition on filing frivolous litigation). State Bar v. Mirch,
        Case No. 3-34-20. Report prepared. Testimony given. In The Matter of
        Discipline of Kevin Mirch, Case No. 49212, Nevada Supreme Court, April 10,
        2008 (attorney disbarred).

   •    Retained by Holland & Hart to testify as to duties owed by lawyer who engages in
        business transactions with clients. Rivers v. Romano, et al:, Case No. A483701,
        District Court, Clark County, Nevada. Report prepared. Testimony given. Case
        dismissed.

   •    Retained by attorney to testify regarding duties under SCR 152 (scope of
        representation), SCR 153 (diligence) and SCR 166 (declining or terminating
        representation), State Bar v. Goldberg, No. 04-013-1536. Testimony given. Case
        dismissed.

   •    Retained by Cristalli & Saggese to testify as to issues regarding formation of
        attorney-client relationship, scope of representation, and breach of duties arising
        therefrom. Johnson v. Smith, Case No. 512364. Report prepared. Case
        dismissed.

   •    Retained by Snell & Wilmer to testify regarding duties and responsibilities of
        attorney providing opinion in real estate sale transaction. Sundance West LLC, et
        al. v. Orix Capital Markets, LLC, Case No. CV-04-01995, Second Judicial
        District Court, Washoe County, Nevada. Report prepared. Case dismissed.

   •    Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
        issues pertaining to insurer's "captive" law firm, including disclosure and client
        consent requirements. Artisan Tile & Plumbing, Inc., a Nevada corporation,
        formerly known as Davila Jimenez, Inc. doing business as Pueblo Landscape
        Company, Inc. v. Assurance Company of America, a New York Corporation; -
        Bennion Clayson Marias & Haire flca Bennion & Clayson; Does 1 through 10;
        inclusive, Case No. A503744, District Court, Clark County, Nevada.

        Retained by Menter & Witkin to testify regarding (i) attorney's acceptance of
        defense of insured subject to insurer's litigation guidelines; (ii) conflicts arising
        from attorney's representation of four co-defendants in construction defect


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         litigation; (iii) duty of insurer to provide independent counsel; and (iv) whether
         attorney's conduct met standard of care. National Fire & Marine Insurance
         Company v. Roger Gurr and Elsie Gurr (and counterclaim), Case No. 3:05-CV-
         0658-BES-VPC, United States District Court, District of Nevada. Report
         prepared. Case settled.

         Retained by Alverson, Taylor, Mortensen & Sanders to testify regarding
         attorney's conduct in determining proper defendants in litigation. Lesky v.
         Callister, Case No. 527875, District Court, Clark County, Nevada. Report
         prepared. Case dismissed.

         Retained by Gordon & Silver to testify regarding conduct of attorney and law
         fum in business transaction with client. Richards v. Allison, MacKenzie, et al.,
         Case No. 03-01781A, First Judicial District Court, Carson City, Nevada. Report
         prepared. Case dismissed.

         Retained by Deaner Scann Malan & Larsen to testify regarding an alleged conflict
         of interest arising from law firm's prior work and status of lawyer as shareholder
         in parry to case. D& J Properties v. Siena Office Park 2, Case No. A537781,
         District Court, Clark County, Nevada. Report prepared. Testimony Given.
         Matter decided.

         Retained by Solomon Dwiggins & Freer to testify regarding the conduct of a
         lawyer and his law firm in the handling of an estate where the lawyer acted as
         trustee of various trusts and retained his own law firm to represent him. Leseber~
         v. Woods, Case No. P59334, District Court, Clark County, Nevada. Report
         prepared. Deposition testimony given. Trial testimony given. Case settled.

         Retained by Menter & Witkin to testify regarding (i) duties of Nevada lawyer
         residing out of state and maintaining office in Nevada (SCR 42.1); and (ii) duties
         of multi jurisdictional law firm maintaining office in Nevada (NRPC 7.5A).
         Roger and Elsie Gurr v. National Fire & Marine Insurance Company, Reiser &
         Associates, and Does 1 through 40, Case No. 07-CV-615-HDM-VPC, in the
         United States District Court, Reno. Report prepared. Case settled.

         Retained by Lewis Brisbois Bisgaard & Smith to testify regarding restitution of
         fees paid to law firm who is later disqualified due to conflict of interest. American
         Heavy Moving and Riggling, Inc. v. Lewis Brisbois Bisgaard & Smith, LLP, State
         Bar Fee Dispute Case No. 07-055 (State Bar Fee Dispute Panel). Rebuttal report
         prepared. Testimony given. Case decided.

         Retained by Michael Warhola to testify regarding waiver of attorney-client
         privilege by inadvertent disclosures of e-mail from client. Seidman v. Dilloo,
         Case No. D260143, District Court, Clark County, Nevada. Report prepared.




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        Retained by attorney as consulting expert regarding opposing counsel's violations
        of NRPC 1.2(d) and 8.4(d) by rendering legal aid and advice to fugitive client to
        enable him to prosecute and defend litigation in Nevada. Joseph A. Bravo, David
        Z. Chesnoff, and Eckley M. Keach, Capital Growth Limited, Inc., Punta Arena De
        La Ventana, S.A. de C.V., Boca De La Salina, SA De C.V. v. Capital Growth,
        LLC, and Kerry Rogers, and All Related Actions, Case No. A536644, A542755,
        A535548, District Court, Clark County, Nevada. Report prepared. Underlying
        case dismissed. Bar Grievance filed. Screening panel testimony given. Matter
        decided.

        Retained by attorney as consulting expert to advise whether opposing counsel's
        conduct (harassment of witness) violated NRPC 8.4(d). Julia Brady, et al v.
        Kerry Rogers, et al., Case No. A572440, District Court, Clark County, Nevada.
        Report prepared. Underlying case dismissed.

        Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
        duties and responsibilities of a lawyer who is counsel of record in pending
        litigation, whose client retains other counsel and then ceases communicating with
        the lawyer. Geier v. Denue, et al., Case No. A525183, Eighth Judicial District
        Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Marquis & Aurbach (later replaced by Lionel Sawyer & Collins) to
         testify regarding duties of lawyer who prepares a trust document, is appointed
         trustee upon client's death, and then retains his own law firm to represent the
         trust. In the Matter of the Total Amendment and Restatement of the William
         Eversole Family Trust Originally Dated Apri16, 1996, Case No. P-XX-XXXXXXX-T,
         Eighth Judicial District Court, Clark County, Nevada. Report prepared. Case
         settled.

         Retained by law firm to advise as to firm's duties when potential conflict arises
         between clients jointly represented by firm in defense of litigation. NRPC 1.7.
         (Name of firm and identities of clients are confidential).

         Retained by Thorndal Armstrong Delk Balkenbush & Eisinger to testify regarding
         the scope of duties owed by a lawyer who has been retained to render only limited
         services. Brewer v. State of Nevada, et al., Case No. 554064, Eighth Judicial
         District Court, Clark County, Nevada. Report prepared. Matter settled.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
         the duties owed to a minority shareholder by a lawyer who represents a closely
         held corporation. Jackson v. Ira Levine, et al., Case No. A538983, Eighth Judicial
         District Court, Clark County, Nevada. Report prepared. Trial testimony given.
         Case decided.

         Retained by Schiff Hardin, LLP to testify as to reasonableness of attorneys' fees.
         DTPI Holdings, LLP v. Forrest Binkley & Brown Capital Partners, LLP, Case


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         No. 2:07-CV-00690-BES-RJJ, U.S. District Court, District ofNevada. Report
         prepared. Case decided.

   •     Retained by Doyle Berman Murdy, P.C. to opine on attorney's conduct in
         representing several parties in related transactions. XMASCO, LLC v. Wellbom
         & Associates, P.C., et al., Case No. A566261, Eighth Judicial District Court,
         Clark County, Nevada. Case dismissed.

   •     Retained by Wolf, Rifkin, Shapiro, Schulman & Rabkin, LLP, to testify as to
         attorney's duties regarding safekeeping and distribution of client's funds. Azine,
         et al. v. Johnson, et al., Case No. A587009, Eighth Judicial District Court, Clark
         County, Nevada. Case settled.

   •     Retained by Lewis Brisbois Bisgaard & Smith to testify as to law firm's duties in
         preparing and communicating with client regarding drafts of transactional
         documents. Padilla v. Smith, Case No. A569307, Eighth Judicial District Court,
         Clark County, Nevada. Report prepared. Case settled.

   •    Retained by Solomon Dwiggins & Freer to testify regarding attorney's conduct in
        representing trustors and beneficiaries of a trust. Buck v. Hoffman, Case No.
        CV09-00324, Second Judicial District Court, Washoe County, Nevada. Report
        prepared. Deposition taken. Case settled.

   •    Retained by Lewis Brisbois Bisgaard & Smith to testtify regarding attorney's
        conduct in representing closely held corporation. RPC 1.13. Rita Ouam Family
        Trust, et al. v. OPA Management, LLC, et al. Case No. A568829, Clark County
        District Court. Report prepared. Case concluded on summary judgment in favor
        of attorney. Amended Complaint filed,. Additional report prepared. Matter
        settled.

        Retained as special counsel to brief and argue defendants' rights and obligations
        (vis-a-vis, non-settling plaintiffs) regarding possibly privileged or confidential
        documents received by defendants from some plaintiffs as a part of a settlement.
        Klaas v. Vestin Mortgage, Case No. A528385, Clark County District Court
        (matter decided).

        Retained by Glaser, Weil, Fink, Jacobs, Howard & Shapiro, LLP to testify as to
        lawyer's obligations upon receipt from a third parry of documents and
        information which appear to have been misappropriated from adverse parry.
        Merits Incentives, LLC v. Eighth Jud. Dist. Ct. ex rel. Cnty. of Clark, 127 Nev.
        Adv. Op. 63, 262 P.3d 720 (2011).

        Retained by Thorndal, Armstrong, Delk, Balkenbush & Eisinger to testify
        regarding attorney's conduct (diligence and competence) in representing client in
        complex mechanic's lien litigation. Maui One Excavating v. Mead & Pezzillo, et



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         al., Case No. A539801, Clark County District Court. Report prepared. Case
         settled.

   •     Retained by Robertson & Vick, LLP to testify as to reasonableness of attorneys'
         fees. Voggenthaler, et al. v. Maryland Square, et al., Case No. 2:08-CV-01618
         RCJ (GWF), U.S. District Court, District for Nevada. Report prepared. Matter
         decided.

   •     Retained by Travelers Companies, Inc. to opine on issues relating to the
         unauthorized practice of law (Nevada RPC 5.5 and SCR 49.10). Opinion
         prepared.

   •    Retained by Chamberlain Hrdlicka White Williams & Martin to opine on several
        Nevada RPC 8.3 issues in Valdez v. Cox Communications, et al., Case No. 2:09-
        CV-1797-PMP-RJJ in the U.S. District Court, District of Nevada. (Oral opinion
        delivered.)

   •    Retained by Mark Zaloras and the Law Offices of Peter Goldstein to opine on
        several malpractice, billing and fee issues. Gaxiola-Lim v. Michel, Case No. A-
        10-613812-C, Clark County District Court. Preliminary report prepared. Matter
        settled.

   •    Retained by the Cashill Law Firm to opine on attorney's entitlement to a fee for
        work done on behalf of an incompetent client. Merle Layton Trust, Case No.
        PR98-00336. Second Judicial District Court, Washoe County, Nevada. Report
        prepared.

   •    Retained by Marquis Aurbach Coffing to testify as to attorney's conduct in
        representation of clients and matters relating to negotiation of release from
        malpractice liability. Gugino v. Nevada Contractors Ins. Co., et al., Case No. A-
        11-637935-B, Clark County District Court. Report prepared. Trial testimony
        given. Matter decided.

        Retained by Vernon L. Bailey, Esq. to testify as to attorneys' conduct in
        representation of clients and matters relating to legal malpractice, breach of
        fiduciary duty and negligence. Inca Investments, Inc.; Platina, Inc. v. Kevin R.
        Hansen, Esq.; Wilde Hansen, LLP; Gregory L. Wilde, Esa.: Richard S. Ehlers.
        E~c
          s ., Case No. A-09-604391-C, Clark County District Court. Report prepared.
        Deposition taken. Case settled.

        Retained by Laxalt-& Nomura to testify as to attomeys' obligations to and
        conduct affecting opposing party in litigation. Pomnei v. Hawes, et al., Case No.
        A-11-642012-C, Clark County, District Court. Report prepared. Deposition
        taken. Matter settled.




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   •     Retained by Randolph Goldberg to testify as to attorney's conduct regarding
         various issues. State Bar v. Goldberg, Case Nos. 09-049-1536; 09-102-1536; and
         09-235-1536. Report prepared. Matter resolved.

   •     Retained by multi jurisdictional law firm to render advice on compliance with
         Nevada registration and practice requirements (Nev. R.P.C. 7.5A).

   •     Retained by Christian, Kravitz, Dichter, Johnson & Sluga, LLC to testify
         regarding attorneys' obligations when terminating employment with a law firm
         and starting a new firm. Burr v. Dodds, Case No. A-11-650060-B, Clark County
         District Court. Matter settled.

   •     Retained by Hong & Hong to testify as to duties of attorneys (competence) in
         conduct of litigation. Wacht v. Peel & Brimley, Case No. A646410, Clark
         County District Court. Report prepared. Matter decided.

   •     Retained by attorney to render opinion on duties regarding disposition of disputed
         funds held by attorney. (Nev. R.P.C. 1.15) (Attorney's name is confidential.)

   •     Retained by Greenspoon Marder, P.A. to render opinion on attorney's duty to
         obtain clients' informed consent before settling or dismissing claims. Pittman v.
         Westgate Planet Hollywood Las Vegas, LLC, Case No. 2:09-CV-00878-PMP-
         GWF, United States District Court, District of Nevada. Report prepared. Matter
         decided.

   •     Retained by Simon & Berman to render opinion on conduct of lawyer and law
         firm in representing client in litigation (diligence, competence and
         communications)., Chandler v. Black & LoBello, et al., Case No. A-11-643955,
         refiled as Case No. A-12-660252, Clark County District Court. Matter settled.

   •     Retained by Lewis Brisbois Bisgaard & Smith LLP to render opinion on conduct
         of attorney in matters pertaining to failed investment. Softwind Capital, LLC v.
         Global Project Solutions, LLC, et al., Case No. 2:11-CV-02057-JCM-GWF,
         United States District Court. Case settled.

   •     Retained by Lewis Brisbois Bisgaard & Smith LLP to render opinion on conduct
         of attorney regarding loans made to client (Nevada RPC 1.8). Albert D. Massi v.
         Donald and Mary Nobis, Case No. A672579 in the District Court, Clark County,
         Nevada. Case settled.

   •     Retained by law firm as consulting expert to render opinion regarding attomey's
         duty to report misconduct by opposing counsel. Nevada RPC 8.3(a). Name of
         law firm and subject attorney are confidential.

   •     Retained by Lewis Roca Rothgerber to render opinion on whether the common
         religious affiliation of the judge and one parry's counsel requires the judge to
         recuse himself. Lynan v. Health Plan of Nevada, Case No. A583772 and Maaana

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         v. Health Plan of Nevada Case No. A583816, District Court, Clark County,
         Nevada. Report prepared. Matter decided.

   •     Retained by Littler Mendelson to render opinion as to the propriety of self-dealing
         and other activities by company's in-house counsel. Randazza v. Excelsior Media
         Corp., JAMS Case No. 1260002283. Report prepared. Arbitration testimony
         given. Case decided.
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   •     Retained by Judy M. Sheldrew, Esq. to render an opinion on the propriety of
         several attorneys' conduct in dealing with client having diminished capacity
         Andrews v. Rowe, et al., Case No. 12-PB-0075 in the Ninth Judicial District
         Court, Douglas County, Nevada. Report prepared. Case settled.

   •     Retained by Christine A. Zack to opine on issues of unauthorized and multi-
         jurisdictional practice of law. In re: Fundamental Long Term Care, lnc., Case
         No. 8-11 -BK-2225 8-MGW, District of Florida. Matter settled.

   •     Retained by Wilson, Elser, Moskowitz, Edelinan & Dicker, LLP, to opine on
         issues regarding the conduct of class counsel in dealing with class representative.
         Goldsmith v. Sill, et al., Case No. 2-12-CV-0090-LDG-CWH in the U.S. District
         Court, District of Nevada. Report prepared. Case pending.

   •     Retained by Lewis Brisbois Bisgaard & Smith LLP to opine on issues regarding
         conduct of counsel with respect to claims alleged in David Siebrasse, as Personal
         Representative of the Doreen Siebrasse Estate v. Jeffrey Burr, Ltd.; Jeffrey Burr;
         Mark Dodds; John Mugan; et al., Case No. A-11-648532-C, in-the District Court,
         Clark County, Nevada. Report prepared. Case settled.

   •     Retained by Lewis Brisbois Bisgaard & Smith LLP to opine on issues regarding
         conduct of counsel with respect to claims alleged in T&R Construction Group v.
         Clark Tatom, LLC; and Bradley R. Tatom, Case No. A-13-689637-B, in the
         District .Court, Clark County, Nevada. Report prepared. Case settled. '

   •     Retained by Fulbright & Jaworski to opine on that firm's conduct in representing
         related entities in commercial transaction. Verano Land Group, LP v. VTLM
         Texas LP, et al, Case No. A-12-655514-B in the Eighth Judicial District Court,
         Clark County, Nevada. Report prepared. Deposition taken. Case settled.

   •     Retained by Bowen Hall to opine on (i) propriety of lawyer threatening to
         withdraw from case during contested hearing unless the client accepted a
         settlement offer, and (ii) other issues of competency and diligence. James J
         "Butch" Peri v. Stephen C. Mollath; Prezant & Mollath; et al.. Case No. CV08-
         02546 in the Second Judicial District Court, County of Washoe, State of Nevada.
         Trial testimony given. Case settled.

   •     Retained by Wilson, Elser, Moskowitz, Edelman & Dicker, LLP to opine on
         lawyer's duties with respect to firm trust account and partner's improper conduct.


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         SBS Retail Inc., et ai. v. Yves Chantre Inc., et al., Case No. A-13-681083-C, in
         the District Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Lewis Roca Rothgerber to opine on attorneys' conduct during trial
         and compliance with Nevada RPC 3.3 (candor to the tribunal) in the matter
         entitled Health Plan of Nevada, Inc., et al. v. Helen Meyer, et al., Nevada
         Supreme Court Case No. 64692. Report prepared. Case settled.

         Retained by McDonald Family Trust to opine on the conduct of shareholders and
         the entity's counsel in a related parry transaction. Nevada RPC 1.13. Russell G.
         Sheltra_, individually and as Trustee of the Russell G. Sheltra Gaming Trust and
         Little Bonanza, Inc. v. Margaret McDonald and Timothy McDonald, Individually
         and as Trustees of the Robert and Gloria McDonald Family Trust, et al., Case No.
         CV14-01111, in the Second Judicial District Court, Washoe County, Nevada.
         Case settled.

         Retained by Holland & Knight to opine on the reasonableness of attorneys' fees
         in the matter entitled Leerad, LP, et al. v. ImQerial Credit Corporation d/b/a A.I.
         Credit Corporation, et al., Case No. A631490, in the Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Thorndal, Armstrong, Delk, Balkenbush & Eisinger to opine on
         conduct of attorney in commercial real estate transaction. Shulman v. Bendavid,
         Case No. A682679, District Court, Clark County, Nevada. Report prepared.
         Deposition taken. Case settled.

         Retained by Clyde Snow & Sessions to opine on attorney's conduct in a matter
         affecting several clients (RPC 1.7; 2.2). United States of America v. Leon
         Benzer, et al., Case No. 2:13-cr-00018-JMC-GWF pending in the United States
         District Court, District of Nevada. Report prepared. Trial testimony given.
         Matter decided.

         Retained by Liberty Media Holdings LLC to opine on conduct of its in-house
         counsel in several matters. Randazza v. Liberty Media Holding_s, LLC, Case No.
         A-12-673275-C in the Eighth Judicial District Court, Clark County, Nevada.
         Report prepared. Case settled.

         Retained by Weinberg Wheeler Hudgins Gunn & Dial to opine on conduct of
         attorneys in representation (and withdrawal) of clients in litigation. Lee v. 70 Ltd.
         Partnership, Case No. A-13-691389-C, Eighth Judicial District Court, Clark
         County, Nevada. Report prepared. Matter pending.

         Retained by Rock Fusco & Connelly, LLP to opine on conduct of attorneys in the
         conduct of litigation. I_nt_ernational Game Technology v. Armstrong Teasdale,
         LLP, Case No. A-15-715079-C, Eighth Judicial District Court, Clark County,
         Nevada. Report prepared. Deposition taken. Case settled.



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   •     Retained by Durham Jones & Pinegar to opine on conduct of attorney with
         respect to financial dealings with client (RPC 1.7 and 1.8). Center Firearms Corp.
         v. Long Mountain Outfitters, Case No. A-14-709294-B, Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case decided.

   •     Retained by law firms to opine on issues regarding potential conflicts of interest
         which arise after retention in a matter. Names of law firms are confidential.

   •     Retained by Faux Law Group to opine on lawyers' conduct in the litigation and
         settlement of a matter. Nahabedian v. Sutcliffe, et al., and related claims,
         counterclaims and third-pgty claims, Case No. A-12-673897-C, District Court,
         Clark County, Nevada. Case settled.

   •     Retained by Gibbs, Giden, Locher, Turner & Senet LLP to opine on the conduct
         of a law firm and its attomeys (competence and supervision) in the representation
         of an HOA client. Vistana Condominium Owners Assn., Inc. v. Kummer
         Kaempfer Bonner Renshaw & Ferrario, Case No. 08-A-578306, District Court,
         Clark County, Nevada. Report prepared. Deposition taken. Trial testimony
         given. Case decided.

         Retained by Rimini Street, Inc. and Seth Ravin to opine on the reasonableness of
         the fees and costs incurred by the Plantiffs' counsel in the case entitled Oracle
         USA, Inc., et al. v. Rimini Street, Inc. and Seth Ravin, Case No. 2:10-cv-0106-
         LRH-PAL in the United States District Court, District of Nevada. Report
         prepared. Matter decided. 209 F. Supp. 3d 1200 (D. Nev. 2016); reversed in
         part, 879 F. 3d 948 (9 h Cir. 2018) and remanded. Supplemental report prepared.
         Matter decided on remand.

         Retained by Lipson, Neilson, Cole, Seltzer & Garin, PC to opine on the conduct
         of inembers of Wasserman Kornheiser, LLP, at issue in the claims alleged in the
         matter entitled Carlisle Homeowners Association v. Pacifica Covington, LLC, et
         al., Case No. A-13-678911-D, District Court, Clark County, Nevada. Case
         pending.

         Retained by Lewis Roca Rothgerber to opine on conduct of attorney in the
         litigation of a matter. Huckabay Properties, Inc. v. Beau Sterling_, et al., Case No.
         CV-15-00765, Second Judicial District Court, Washoe County, Nevada. Case
         settled.

         Retained by Gordon & Rees to opine on the conduct of attorney regarding
         business transaction with client. Blanchard v. Rosenfeld, Case No. A637650,
         District Court, Clark County, Nevada. Report prepared. Rebuttal Report
         prepared. Case pending.

         Retained by Loose Brown & Associates (later replaced by May, Potenza, Baran &
         Gillespie, P.C.) to opine on the conduct of a law firm and one of its lawyers in the
         representation of a client in litigation. Cannabis Renaissance Group, LLC, and
         Mohit Asnani v. Fennemore Craig1 P.C. dba Fennemore Craig Jones Varas; and

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         Patrick J. Sheehan and Jane Doe Sheehan, Case No. CV2016-054776, pending in
         Superior Court, State of Arizona, Maricopa County. Report prepared. Rebuttal
         report prepared. Deposition taken. Case pending.

         Retained by Morris Polich & Purdy to opine on conduct of lawyer and law firm in
         representation of client in litigation. Sunport Business Trust v. Serle, et al., Case
         No. A-15-716677-C, District Court, Clark County, Nevada. Report prepared.
         Rebuttal report prepared. Case pending.

         Retained by Caldwell Leslie & Proctor, PC to opine on (i) the causation of
         damages by attorney negligence in a commercial transaction and (ii) the
         reasonableness and necessity of attorneys' fees incurred by Renown Health,
         Renown Regional Medical Center, and Nevada Heart Institute d/b/a Renown
         Institute for Heart & Vascular Health in the matter entitled Arger, et al. v.
         Renown Health, et al., Case No. CV11-02477, Second Judicial District Court,
         Washoe County, Nevada, such fees are sought as damages by the Renown Parties
         in the matter entitled Renown Health, et al V. Holland & Hart, LLP, et al., Case
         No. CV 14-02049, Second Judicial District Court, Washoe County, Nevada.
         Report prepared. Deposition taken. Trial testimony given. Matter decided.

         Retained by Edward Lewis Tobinick, M.D, Edward Lewis Tobinick, MD d/b/a
         Institute of Neurological Recovery and INR PLLC d/b/a Institute of Neurological
         Recovery to opine on the conduct of Marc J. Randazza, Esq. of Randazza Legal
         Group, PLLC in the matter entitled Edward Lewis Tobinick, M.D., et al. v.
         Novella, et al., Case No. 9:14-cv-80781-RLR, pending in the U.S District Court,
         Southern District of Florida (West Palm Beach). Report prepared. Matter
         decided.

         Retained by Meister Seelig & Fein LLP to opine on the reasonableness and
         necessity of attorneys' fees incurred by Ballard Spahr LLP and Katten Muchin
         Rosenman LLP in the matter entitled Jeffrey Soffer, et al. v. The Bank of Nova
         Scotia, New York A ency, Case No A635777 in the Eighth Judicial District
         Court, Clark County, Nevada, as appealed to the Nevada Supreme_Court, Case
         Nos. 61762 and 63157. Report prepared. Deposition taken. Matter pending in
         New York state court

         Retained by Wilson Elser Moskowitz Edelman & Dicker LLP to opine on the
         conduct of Danielle L. Miller and the law firm of Sylvester & Polednak regarding
         malpractice claims brought by Laura Renzi. Preliminary report prepared. Case
         settled.

         Retained by Hutchison & Steffen to opine on the conduct of Eric Roy and the law
         firm of Claggett & Sykes in the matter entitled Adam S. Kutner, P.C., et al. v.
         Eric Daly, et al., Case No. A-11-643990-C consolidated with Case No. A-1 1-
         650247-C, pending in the Eighth Judicial District Court, Clark County Nevada.
         Report prepared. Matter settled.



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   •    Retained by Morris Polich & Purdy to opine on conduct of lawyer in litigation.
        Scotto v. Gourley, et al., Case No. A-15-729632-C, District Court, Clark County,
        Nevada. Report prepared. Case settled.

   •    Retained by Messner Reeves LLP (successor to Wolfenzon Rolle Edwards) to
        opine on conduct of lawyers in litigation. Dudek v. Meuller, et al., Case No. A-
        14-703305-C, District Court, Clark County, Nevada. Report prepared. Matter
        settled.

   •    Retained by law firm to advise as to validity of attorney association agreement.
        (Name of firm and identities of clients are confidential).

   •    Retained by Quinn Emanuel Urquhart & Sullivan, LLP to opine with regard to
        Motions to Disqualify Quinn Emanuel, counsel for Elaine P. Wynn, filed by
        Wynn Resorts, Limited in the matter entitled W)Mn Resorts, Limited v. Kazuo
        Okada, et al., and all related claims, Case No. A656710, pending in District Court,
        Clark County, Nevada. (RPC 3.3, 4.4, 5.3 and 8.4). Report prepared. Matter
        resolved.

   •    Retained by attomey to advise as to obligations when client is committing
        fraudulent acts. (Name of attorney is confidential.)

   •    Retained by Kravitz, Schnitzer & Johnson to opine on attorney's obligations when
        claim is made that fees were paid with stolen funds. Novva Ausrustung Group,
        Inc. v. Dean Kajioka, Case No. 2:17-cv-01293-RFB-VCF, U. S. District Court,
        District of Nevada. Case settled.

   •    Retained by Buckley Sandler, LLP to opine on law firm's obligations when
        withdrawing from one jointly represented client and continuing to represent the
        other. Wynn Resorts, Limited v. Kazuo Okada, et al., and all related claims, Case
        No. A656710, District Court, Clark County, Nevada. Matter resolved.

   •    Retained by Hartford Financial Products to render an opinion on the conduct of
        Ken R. Ashworth, Esq., Hans R. Baldau, Esq., Geoffrey A. Potts, Esq., and Ken
        R. Ashworth & Associates P.C. as alleged in the Arbitrration Matter of Michael C.
        Fuoroli and Tiffany S. Fuoroli, Claimants v. Ken R. Ashworth & Associates Ken
        R. Ashworth, Hans R. Baldau, and Geoffrey A. Potts, Respondents / Ken R.
        Ashworth & Associates, Professional Corporation, Counterclaimant v. Michael C.
        Fuoroli and Tiffany S. Fuoroli, Counter-respondents, Case No. 211874. Case
        decided.

        Retained by Armstrong Teasdale to render an opinion on the conduct of attorney
        in representing client in negotiations. (Alleged aiding and abetting client in
        breach of fiduciary duty to partner.) LV Holdco LLC v. Atalon Mgmt. Group,
        LLC, et al., Case No. A-17-749387-B, District Court, Clark County, Nevada.

        Retained by Santoro Whitmire to render an opinion on the conduct of attorneys
        and law fium (Gordon Rees Scully Mansukhani, LLP) in the conduct of litigation.

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         Smead v. Gordon Rees, et al., Case No. A-16-760737-C, District Court, Clark
         County, Nevada.

        Retained by Holley Driggs Walch Fine Wray Puzey & Thompson to render an
        opinion on the conduct of attorney T. James Truman in the representation of his
        client. T. James Truman & Associates v. Quest Preparatory Academy, Case No.
        A-15-727469-C, District Court, Clark County, Nevada.

         Retained by Hutchison & Steffen to opine on the validity of an alleged conflict
         waiver by a governmental entity (City of Las Vegas) in order to permit it to be
         represented by a law f rm which was appearing adverse to it in a related matter.
         180 Land Co. LLC v. City of Las Vegas, Case No. A-17-758528-J, District Court,
         Clark County, Nevada. Preliminary opinion rendered. Matter resolved.

   •     Requested (pro bono) by the Clark County District Attorney's office to advise as
         to propriety of criminal defense attorneys posting offensive comments on social
         media (Nevada RPC 8.4(d)). Memorandum re substance and remedies delivered.
         (7/16/18).

   •     Retained by law firm to opine and advise regarding expulsion of partner/
         shareholder from firm. Name of firm is confidential.

   •     Retained by Gentile Cristalli Miller Armeni & Savarese, PLLC to opine and
         advise regarding reasonableness of fees in King v. Desert Palace, Inc., et al., Case
         No. A-13-691609-C, District Court, Clark County, Nevada. Opinion rendered.

   •     Retained by Olson, Cannon, Gormley, Angulo & Stoberski to opine on
         malpractice issues in Coleman v. Tomsheck, et al., Case No. A-15-728692-C,
         District Court, Clark County, Nevada. Report prepared.

   •     Retained by Gerrard Cox Larsen to opine on attorney fiduciary and firm loyalty
         issues in Woods & Erickson, LLP v. The Estate of Glen Woods, et al., Case No.
         A-18-775111-C, District Court, Clark County, Nevada. Oral report given. Case
         settled.

   •     Retained by Gerrard Cox Larsen to opine on attorney fiduciary and firm loyalty
         is'sues in Woods & Erickson, LLP v. Andrew B. Platt, et al., Case No. A-18-
         774926-C, District Court, Clark County, Nevada. Report prepared.

   •     Retained by Marshall & Associates to opine on the conduct of attorney Douglas J.
         Gardner (and others) in the representation of clients (insurer and insured) in
         litigation and other related matters. Century National Insurance Co., et al. v.
         Douglas J. Gardner, et al., Case No. 2:18-cv-02090-APG-BWN, U.S. District
         Court, District of Nevada. Report prepared.

         Retained by Robison Sharp Sullivan & Brust to opine on existence of and
         consequences arising from former client conflict. Co~e
                                                              o Springs Investment,
         LLC v. Wilson, Case No. A-19-789203-J, District Court, Clark County, Nevada.

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         Retained by Kravitz, Schnitzer & Johnson, Chtd. to opine on the conduct of
         Dennis M. Prince with respect to his conduct in Lee Pretner, et al. v. Michael A.
         Vasquez, et al., Case No. A-11-632845-C, in the District Court, Clark County,
         Nevada; which is now at issue in Dana Andrew, et al. v. Century Surety
         Company, Case No. 2:12-cv-00978-APG-PAL, in the United States District
         Court, District of Nevada. Report prepared.

         Retained by Fidelity National Law Group to opine as to the reasonableness of the
         attorneys' fees incurred by the Plaintiff's counsel in The Money Source, Inc. v.
         Chartered Holdings,s Inc. and related cases, Case No. A-17-749645-C, District
         Court, Clark County, Nevada. Report prepared. Matter decided.

         Retained by Flangas Law Firm, Ltd. to opine as to the conduct of C. Conrad
         Claus, Esq. with respect to the claims alleged in Grundy v. Claus & McKenzie,
         Case No. A-17-754726-C, in the Eighth Judicial District Court, Clark County,
         Nevada. Reports prepared.

         Retained by Hutchison & Steffen, PLLC to opine as to the conduct of Rory
         Vohwinkel and Vohwinkel & Associates with respect to Caballos De Oro
         Estates, LLC v. Eliot A. Alper, et al., Case No. A-17-752905, pending in the
         Eighth Judicial District Court, Clark County, Nevada.

        CONTINUING LEGAL EDUCATION INSTRUCTION (1997-Present)

   •     National Business Institute (NBI) (6/19/19): "Ethics in Business Law"

   •     Clark County Bar Association (5/14/19): "Things They Didn't Tell You In Law'
         School"

   •     Clark County Bar Association (5/9/18): "Current Topics for New (and Not So
         New) Lawyers" Current Issues in Ethics

   •     Kolesar & Leatham (12/22/17): Current Issues In Privilege and Confidentiality

   •     National Business Institute (12/20/17): Legal Ethics — Top Challenges

   •     Association of Legal Administrators, Las Vegas Chapter (11/14/17): "Attorney-
         Client Privilege and Confidentiality"

   •_    National Business Institute (10/19/17): Tax Exempt Organizations: Ethics
         Bootcamp

   •     Clark County Bar Association (5/11/17): "You Know Where You've Been ..."
         Current Issues in Ethics

   •     State of Nevada-Paralegal Division (4/29/17): Confidentiality and Attorney-
         Client Privilege

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   •     City of Henderson, City Attorney's Office (10/6/16): Ethics 2016: "What Can I
         Say?"

   •     Southern Nevada Association of Women Attorneys (1/7/16): "Things to Fear in
         the New Year"

   •     Clark County Bar Association (12/9/15): "12th Annual Ethical Issues"

   •     Clark County Bar Association (6/25/15): "Things You Don't Know Can Hurt
         You — Here are 12 of them"

   •     Water Law Institute: 17'' Annual Law of the Colorado River Conference
         (5/1/15): "Ethics and Social Media"

   •     Southern Nevada Association of Women Attorneys (1/15/15): "Ethics Issues for
         2015"

   •     Clark County Bar Association (11/13/14): "1 lt' Annual Ethics CLE"

   •     American Bar Association Section of Environment, Energy and Resources, 32°a
         Annual Water Law Conference: Ethics for Water Lawyers (6/6/14)

   •     Association of Legal Administrators, Las Vegas Chapter (5/13/14): "Issues in
         New Business Intake."

   •     American Bar Association Group Legal Services Association and Solo, Small
         Firm and General Practice Division Annual Meeting (5/2/14): "Ethics Issues In
         Marketing and Client Development."

   •     State Bar of Nevada: Section of Environmental and Natural Resources Law
         (2/27/14) "Ethics Issues for Environmental Lawyers."

   •     Clark County Bar Association (12/13/13). 10a' Annual Ethics CLE.

   •     City of Henderson, City Attorneys' Annual Retreat (10/17/13). "A Lawyer Walks
         Into a Bar ... The Dangers of Casual Advice and Conversation."

   •     Las Vegas Paralegal Society: Keeping Abreast of Conflicts and Unauthorized
         Practice (6/18/13).

   •     Association of Legal Administrators, Las Vegas Chapter: Legal Administrator's
         Role in Preventing Malpractice (6/11/13).

   •     American Bar Association Section of Environment, Energy and Resources, 31St
         Annual Water Law Conference: Water Lawyers and Ethics (6/7/13).


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       •     Clark County Bar Association (5/8/13) "4' Annual Solo and Small Firm Ethical
             Traps."

       •     UNLV Boyd School of Law (3/8/13) "Professionalism and Popular Culture."

       •     Clark County Bar Association (11/2/12). 9~' Annual Ethics CLE.

       •     Clark County Bar Association (3/28/12). "3rd Annual Hanging Out a Shingle?
             Solo and Small Firm Ethical Traps."

       •     American Bar Association Business Law Section Spring Meeting (3/22/12).
             "Saints and Sinners: Ethical Issues and Dilemmas in Client and Practice
             Development."

       •     Southern Nevada Association of Women Attorneys (2/24/12). "Ten for Twelve:
             Ethics 2012."

       •     Clark County Bar Association (11/3/11) "8th Annual Ethics CLE."

       •     Nevada Paralegal Assn. (6/18/11) "UPL: Attorney Supervision of Paralegals."

       •     Department of Energy Contractor Attorneys' Assn. (5/27/11) "Ethics: Ten T"hings
             You Should Know."

       •     Southern Nevada Association of Women Attorneys (2/25/11) "Ten For Eleven:
             Ethics 2011."

       •     Clark County Bar Association (2/4/11) "Hanging Out A Shingle? Solo and Small
             Firm Ethical Traps."

       •     Clark County Bar Association (9/30/10) "7`h Annual Ethics Issues: 2010."

       •     American Society of Breast Surgeons (4/30/10) Avoiding and Responding to
             Litigation.

       •     Clark County Bar Association (3/26/10) Avoiding Solo/Small Firm Ethical Traps.

       •     Southern Nevada Association of Women Attorneys (2/26/10) Ethics 2010: Ten
             Thoughts for ' 10.

       •     State Bar of Nevada (11/12/09): Nevada Legal Ethics (2009).

       •     State Bar of Nevada, Clark County Bar Association and Washoe County Bar
             Association (10/13/09, Las Vegas; 10/14/09, Carson City): 2069 Professionalism
             Summit.


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   •     Clark County Bar Association (9/18/09): "Sixth Annual Ethics Issues: 2009."

   •     Public Relations Society of America (7/24/09): "Keeping Out of Hot Water:
         Legal Considerations in Communications."

   •     Lecture and panel discussion with Justice Nancy Saitta and District Judge Linda
         Bell: "Professionalism in Litigation." Boyd School of Law (4/1/09).

   •     Southem Nevada Association of Women Attorneys (2/20/09): "ETHICS 2009:
         Being Good Gets Harder Every Year."

   •     State Bar of Nevada (12/5/08): "Nevada Legal Ethics 2008."

   •     State Bar of Nevada (11/19/08): "Nevada Legal Ethics 2008."

   •     Indiana State Bar Association (11/13/08): "Ethics: A Western Perspective on
         Maintaining A Healthy Legal Practice."

   •     Clark County Bar Association (9/19/08): "Fifth Annual Ethics Issues 2008"
         (Prepared materials. Presentation made by David J. Merrill).

   •     Southern Nevada Association of Women Attorneys (2/22/08): "Ethics 2008 - Be
         Careful Out There."

   •     State Bar of Nevada (11/30/07) "Nevada Legal Ethics 2007."

   •     State Bar of Nevada (11/16/07) "Nevada Legal Ethics 2007."

   •     Clark County Bar Association (1 0/3 1/07) "Lawyer Advertising: The New Rules." J

   •     Wisconsin Law Alumni Association (9/8/07) "The New Rules of Professional
         Conduct."

   •     Clark County Bar Association (8/24/07) "Fourth Annual Legal Ethics - 2007."

   •     National Assn. of Retail Collection Attorneys (5/11/07) "Ethics Issues for Legal
         Collection Professionals."

   •     Southern Nevada Association of Women Attorneys (2/23/07) "Desperately
         Seeking Ethics - 2007."

   •     State Bar of Nevada (12/1/06) "Nevada Legal Ethics 2006."

   •     State Bar of Nevada (11/17/06) "Nevada Legal Ethics 2006."



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   •     Clark County Bar Assn. (6/30/06) "Ethics 2006: The New Nevada Rules of
         Professional Conduct."

   •     State Bar of Nevada Professionalism Summit: Speaker and Panel Member
         (4/20/06).

   •     Southem Nevada Association of Women Attorneys (1/27/06) "Ethics Issues for
         2006."

   •     State Bar of Nevada (11/18/05) "Nevada Legal Ethics 2005."

   •     State Bar ofNevada (11/4/05) "Nevada Legal Ethics 2005."

   •     Clark County Bar Assn. (9/15/05) "Ethics 2005: Current Issues."

   •     Clark County Bar Assn. (3/4/05) Speaker and Panel Member: First Annual
         Professional Summit.               ,

   •     State Bar of Nevada (11/19/04) "Ethics 2004: Year in Review."

   •     State Bar of Nevada (11/5/04) "Ethics 2004: Year in Review."

   •     Clark County Bar Assn. (7/30/04) "Current Issues In Ethics."

   •     Lorman Business Institute (7/20/04) "Current Issues in Ethics."

   •     National Hospice Assn. (3/21/04) "Legal Issues For Physicians In End of Life
         Care."

 -•      Southern Nevada Assn. of Women Attorneys (1/30/04) "Ethics Issues for 2004."

   •     State Bar of Nevada (1/20/04) "Workers Compensation: Current Issues in Ethics."

   •     National Business Institute (10/21/03) "Current Issues In Attorney Client
         Privilege and Confidentiality."

   •     Sterling Educational Systems (9/25/03) "Common Ethical Problems for
         Transactional Lawyers."

   •     Clark County Bar Assn. (2/28/03) "ERISA 2003: What's New?"

   •     Southern Nevada Assn. of Women Attorneys (1/31/03) "Ethics: 2003."

   •     State Bar of Nevada (11/22/02) "Nevada Legal Ethics - the Year In Review."




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   •      American Corporate Counsel Assn. (6/18/02) "Issues of Attomey-Client Privilege
          for In-House Counsel."

   •      National Business Institute (12/7/01) "Current Issues In Legal Ethics:Nevada
          2001."

   •      National Business Institute (7/13/01) "Attorney-Client-Privilege and the Work
          Product Doctrine In Nevada."

   •      National Business Institute (12/12/00) "Practical Legal Ethics."

   •      State Bar of Nevada (3/31/00) "Professionalism and Ethics."

   •      Southern Nevada Assn. of Women Attomeys (1/28/00) "Multi-Disciplinary
          Practice: Ethical Considerations."

   •      State Bar of Nevada (12/10/99) "Winning Without Losing Your Professionalism."

   •      National Business Institute (11/17/99) "Practical Legal Ethics."

   •      Law Seminars Int'1. (6/25/99) "Ethics Considerations for Construction Lawyers."

   •      National Practice Institute (12/4/98) "Ethical Problems: Dealing With Difficult
          Lawyers."

   •      ALAS (10/21/98) "Ethical Issues for Healthcare Lawyers."

   •      State Bar of Nevada (3/21/98): "Ethics and Attorneys' Fee Agreements."

   •      CLE International (12/5/97) "Current Issues In Ethics"

   •      Institute for Paralegal Practice (8/26/97) "Preventing Unauthorized Practice of
          Law"

   [Additional CLE instruction available upon request.]




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            Exhibit 3




            Exhibit 3
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            1                        DECLARATION OF THOMAS A. ZIMMERMAN, JJR.
            2          I, Thomas A. Zimmerman, Jr., declare as follows:
            3          1.      I am over the age of eighteen and a resident of Cook County, Illinois.
            4          2.      I am the principal of Zimmerman Law Offices, P.C. ("Zimmerman Law"), an Illinois
            5 professional corporation, co-counsel for Plaintiff Christopher Bruun ("Plaintiff') in the matter

            6   entitled Bruun v. Red Robin Gourmet Burgers, Inc., Case No. A-20-814178-C (the "Matter"), which

            7 is pending before the Eighth Judicial District Court of the State of Nevada.

            8          3.      I am competent to testify to the facts stated herein, which are based on personal
            9   knowledge unless otherwise indicated, and if called upon to testify, I could and would testify
           10   competently to the following.
           11          4.      I submit this declaration in support of Plaintiff's Motion for Class Certification and
A~5        12 Appointment of Class Counsel (the "Motion"), which seeks to certify a class action against

[7] ~d~    13 Defendants Red Robin Gourmet Burgers, Inc. ("RRGBI") and Red Robin Intemational, Inc.

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  yzN                                                                                   ♦
           14 (ccRR1I» )(jointly, cc Defendantsn ) and appoint class counsel from Bailey❖ Kennedy, LLP and
~ Z~n
   C ~
   o.
           15 Zimmerman Law.
           16          5.      I am a seasoned litigator with more than 23 years of experience as a class action
           17 attorney. I have been appointed as class counsel in numerous matters in federal and state courts
           18 throughout the country. A true and correct copy of Zimmerman Law's firm biography is attached to

           19   the Motion as Exhibit 4.

           20          .6.     I have substantial experience and knowledge in class actions and complex litigation
           21   cases, including consumer law and deceptive trade practices matters.
           22          7.      Zimmerman Law has sufficient resources and time necessary to adequately serve as
           23   class counsel and zealously represent the interests of the putative class.
           24          8.      Zimmerman Law is not aware of any other litigation between a putative class membe
           25 and any of the Defendants regarding similar claims alleged by Plaintiff.

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 1          9.      Contemporaneous with the filing of this Declaration, I intend to seek admission to
 2   practice before this Court pursuant to Nevada Supreme Court Rule 42 to represent Plaintiff and the
 3 putative class in this matter.

 4          I declare under penalty of perjury under the law of the State of Nevada that the foregoing is
 5   true and correct.

 6          Executed on this 27' day of April, 2020, in Cook County, Illinois.

 7                                                         /s/ Thomas A. Zimmerman, Jr.
 8                                                        THOMAS A. ZIMIVIERMAN, JR.

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            Exhibit 4




            Exhibit 4
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                             ZIMNIERMAN LAW OFFICES, P.C.


Since 1996, Zimmerman Law Offices has represented individuals and businesses in a wide array
of legal matters. Its attorneys are established and respected trial lawyers who represent clients in
complex litigation and class action lawsuits nationwide. The firm has an extensive and varied
litigation-based practice, with a focus on class action litigation. Zimmerman Law Offices has
recovered over $250 million on behalf of millions of individuals and businesses nationwide.

The attorneys at Zimmerman Law Offices are experienced in Multidistrict Litigation (MDL),
having served as lead counsel in MDL cases throughout the country. These MDL cases included
claims for fraud, improper pricing, misleading product claims, and privacy violations including
data breaches.


                                         ATTORNEYS

Thomas A. Zimmerman, Jr.

A seasoned litigator for over 23 years, Mr. Zimmerman practices extensively and has obtained
multi-million dollar jury verdicts in class action, corporate, commercial, medical malpractice,
consumer fraud, constitutional due process, general civil, product liability, toxic tort, and other
complex litigation. He represents both plaintiffs and defendants nationwide in state and federal
trial and appellate courts. He also represents individuals and corporations in transactional
matters, and before state and federal administrative and regulatory agencies.

Mr. Zimmerman has been lead counsel in national and state-wide class action litigation, and has
handled other multi-party litigation involving such companies as MCl/Worldcom, United
Airlines, Peoples Gas, AT&T, Warner-Lambert, Pfizer, Liberty Mutual Insurance Co.,
DaimlerChrysler, ADT, Ford Motor Co., Mead Johnson, KCBX, Inland Bank, Commonwealth
Edison, Ameritech, Wells Fargo, and Bridgestone/Firestone. He is well respected for his
representation of physicians, dentists, nurses, psychologists, veterinarians, and many other
licensed professionals before state and federal agencies including the Illinois Department of
Financial and Professional Regulation, and the U.S. Department of Health and Human Services.

In 2017, 2018, 2019 and 2020, he was selected as a Super Lawyer in the area of class action and
mass torts.

In 2000, he was voted one of the Top 40 Illinois Attorneys Under the Age of 40. This is
especially notable, as he was chosen out of 60,000 attorneys in Illinois under the age of forty.

In 2003, the Illinois Supreme Court appointed Mr. Zimmerman to the Review Board of the
Attorney Registration and Disciplinary Commission ("ARDC"). He served in that capacity until
2011, wherein he presided over appeals by attorneys who have been found to have committed
misconduct, and recommended discipline for their ethical violations. In 2013, the ARDC
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appointed Mr. Zimmerman as Special Counsel, wherein he conducts independent investigations
in matters involving allegations of misconduct against attorneys associated with the ARDC.

Additionally, the Illinois Governor appointed Mr. Zimmerman to the Illinois Courts Commission
in 2003. A Commission member presides over proceedings wherein judges are charged with
committing ethical violations, and imposes discipline on judges who are found to have engaged
in misconduct. Mr. Zimmerman has served as a Commission member continuously since his
appointment.

Prior to becoming an attomey, Mr. Zimmerman worked for AT&T where he negotiated
partnerships with companies for domestic and international joint-venture and new product
development activities. During this time, he was the featured speaker at 400 conferences,
seminars, and presentations. Thereafter, he presented oral testimony at various Federal Senate
and Congressional hearings. After obtaining his law license, Mr. Zimmerman has lectured at law
schools and seminars, and is frequently interviewed by the news media concerning legal issues.

Mr. Zimmerman earned a B.S. in Computer Science-Mathematics from the University of Illinois,
and an M.B.A. in Finance from DePaul University in the evenings while working for AT&T.
After leaving AT&T, Mr. Zimmerman eamed his law degree from the Chicago-Kent College of
Law, where he was a Ramsey-Burke Scholarship recipient and earned the Academic
Achievement Award.

He is admitted to practice law in Illinois, and other states on a case-by-case basis, and he is
admitted to practice before the U.S. Supreme Court, and various federal courts of appeal and
federal district courts. Based on his demonstrated experience and ability, he was appointed to the
federal court trial bar.

Mr. Zimmerman is currently the chair of the Clerk of the Circuit Court of Cook County Attorney
Advisory Committee, and was formerly co-chair of the Clerk of the Circuit Court Transition and
Strategic Planning Public Policy Subcommittee.

Mr. Zimmerman is a member of the American, Illinois State, and Chicago Bar Associations, and
the Illinois Trial Lawyers Association, where he serves on various committees. He is also a
member of the American Association for Justice. In 2000, he was appointed to the Illinois Trial
Lawyers Association Board of Advocates.

Involved in numerous community service activities, Mr. Zimmerman has been an Illinois State
Board of Education surrogate parent of disabled children since 1988. In addition, he was a
speaker on the rights of disabled people for the Illinois Planning Council on Developmental
Disabilities, and a Family Shelter Service counselor to battered children for many years. He has
been recognized by the federal court for his pro bono representation of indigent clients.




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Sharon A. Harris

Ms. Harris has extensive experience litigating complex class action matters in state and federal
trial and appellate courts nationwide. For over 20 years, she has focused her practice on
consumer protection, product liability, privacy, and antitrust matters. Ms. Harris has developed a
particular expertise in state unfair and deceptive practice statutes, privacy laws, federal antitrust
laws, the Fair Credit Reporting Act, the Racketeer Influenced and Corrupt Organizations Act
(RICO), the Telephone Consumer Protection Act, and various other federal and state laws. For
example, she was appointed class counsel in In re Pilot Flying J Fuel Rebate Contract
Litigation, which involved allegations that the defendants violated RICO and various state laws
by withholding portions of fuel discounts and rebates to which class members were contractually
entitled.

Ms. Harris received her Bachelor of Science degree from Michigan State University with a dual
major in Political Science and Social Science. She received her law degree from DePaul
University College of Law.

She is admitted to practice in the State of Illinois, the United States District Court for the
Northern District of Illinois, and the United States Courts of Appeals for the Seventh and Ninth
Circuits, and she is a member of the American, Illinois State, and Chicago Bar Associations.


Matthew C. De Re

Mr. De Re advocates for both plaintiffs and defendants nationwide in state and federal trial and
appellate courts. His practice areas include class action, corporate, commercial, consumer fraud,
general civil, product liability, personal injury, and other complex litigation. He also represents
professionals, such as physicians, dentists, nurses, insurance producers, and real estate brokers,
before state and federal agencies, including the Illinois Department of Financial and Professional
Regulation and the Department of Insurance. In addition to his extensive litigation practice, Mr.
De Re assists individuals and corporations in transactional matters.

He has experience in all phases of litigation, including extensive discovery and substantive
motion practice. He has assisted in the defense of individuals and companies in cases involving
personal injury, employment, and civil rights. Mr. De Re has also vigorously pursued recovery
for plaintiffs in numerous civil matters. Prior to joining Zimmerman Law Offices, he served as a
Law Clerk for the Circuit Court of Cook County.

Mr. De Re graduated from the University of Wisconsin-Madison with a B.S. in both Political
Science and History. He eamed his law degree from Washington University in St. Louis. While
in law school, he received academic awards and appeared on the Dean's List multiple times. He
also served two years on the Executive Board of the Student Bar Association and was the
Associate Managing Editor for the Washington University Joumal of Law & Policy.

He is admitted to practice law in the State of Illinois and is a member of the Illinois State and
Chicago Bar Associations.


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Jeffrey D. Blake

Mr. Blake represents consumers in class actions involving unfair and deceptive trade practices,
privacy violations, antitrust matters, and defective products. He has considerable experience
prosecuting complex cases in state and federal courts throughout the nation, including appeals.

Mr. Blake received his J.D., cum laude, from the Chicago-Kent College of Law in 2012. While
attending, Mr. Blake served as Executive Articles Editor for the Chicago-Kent Law Review,
spent a semester as a judicial extern for the Honorable Samuel Der-Yeghiayan of the United
States District Court for the Northern District of Illinois, and participated in the Intellectual
Properry Law Clinic and the Center for Open Government.

After graduating law school, W. Blake served as the judicial law clerk for the Honorable Patrick
McKay, Superior Court Judge for the Third Judicial District in Anchorage, Alaska.

Mr. Blake received a Bachelor of Science from the University of Illinois at Chicago.

He is admitted to practice in the State of Illinois and the United States District Court for the
Northern District of Illinois.


Jordan M. Rudnick (of counsel)

Mr. Rudnick represents individuals and large national and international companies in providing
business advice, counsel and dispute resolution in a wide variety of contexts for almost 20
years. In particular, Mr. Rudnick represents plaintiffs and defendants nationwide in class action,
corporate, commercial, consumer fraud, general civil, and other complex litigation in state and
federal courts, arbitrations, and mediations. Mr. Rudnick has been involved in all phases of
litigation, including extensive discovery, substantive motion practice, trials and appeals.

His experience as an attorney also includes representing parties in nationwide securities fraud
class actions. Notably, Mr. Rudnick represented Canadian Imperial Bank of Commerce in the
Enron class action securities litigation and related proceedings. He also has extensive experience
representing commercial policyholders in recovering insurance proceeds from their insurers.

Mr. Rudnick serves as an arbitrator for FINRA (Financial Industry Regulatory Authority,
formerly known as the NASD or National Association of Securities Dealers) where he and
panels of two other arbitrators decide the outcome of disputes between investors and securities
brokers and dealers.

He has provided extensive pro bono representation of improperly-expelled school children in
conjunction with the Legal Assistance Foundation of Metropolitan Chicago, and with the
Chicago Coalition for the Homeless. In addition, in his spare time, he is a volunteer at the
Lincoln Park Community Homeless Shelter.




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Mr. Rudnick served as a judicial law clerk to the Honorable Justice Joseph Gordon, Illinois
Appellate Court, 1 st District, where he drafted opinions in appeals arising from complex civil
and criminal trial court decisions.

Mr. Rudnick earned his B.A. in Political Science from the University of Chicago, and he
graduated cum laude from the John Marshall Law School with honors and on a full scholarship.
In law school, he appeared on the Dean's List, and he was a member of the school's Moot Court
Team. He also was a Staff Editor on the John Marshall Law Review for two years.

He is admitted to practice law in Illinois, New York, and Washington, D.C., and is a member of
the Chicago Bar Association, NAACP, and ACLU.


                       REPRESENTATIVE CLASS ACTION CASES

Comnleted Cases

Misleading Product Claims —$62 million recovery for a nationwide class of customers who
purchased products that were advertised to reduce cellulite in the human body, plus equitable
relief to correct the misleading claims. Joseph v. Beiersdorf North America, Inc., No. 11 CH
20147 (Cook Cnty, IL).

Improper Cellular Phone Fee —$48 million recovery for a statewide class of businesses and
individuals who paid an improper municipal infrastructure maintenance fee on their cellular
phone bills. PrimeCo Personal Communications, et al. v. Illinois Commerce Commission, et al.,
98 CH 5500 (Cook Cnty, IL).

Defective Vehicles —$35 million in monetary and injunctive relief for a nationwide class of
individuals and businesses who purchased vehicles manufactured with a defective transmission.
Vargas, et al. v. Ford Motor Co., No. 12 cv 8388 (C.D. CA).

Fraud —$31 million recovery for a nationwide class of businesses and individuals who placed
advertisements in a newspaper based on fraudulent circulation figures. In re Chicago Sun-Times
Circulation Litigation, No. 04 CH 9757 (Cook Cnty, IL).

Defective Products —$16 million recovery for a nationwide class of individuals who purchased
defective home security systems that could be easily hacked and disabled. Edenborough v. ADT,
LLC, et al., No. 16 cv 2233 (N.D. CA).

Misleading Product Claims — $14 million recovery for a nationwide class of customers who
purchased defective garden hoses with misleading claims, plus equitable relief to extend the
product's warranty. Bergman, et al. v. DAP Products, Inc., et al., No. 14 cv 3205 ((D. MD).

Fraud / Data Breach —$11.2 million recovery for a nationwide class of individuals who had
their personal and financial data stolen due to insufficient protection of that information by an
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internet service provider, and who also paid money to that provider based on misrepresentations.
In re Ashley Madison Customer Data Security Breach Litigation, MDL No. 2669 (E.D. MO).

Defective Products —$9 million recovery for a nationwide class of individuals who sustained
financial and personal injuries resulting from their purchase and use of baby wipes that were
tainted with a dangerous bacteria. Jones v. First Quality Enterprises, Inc., et al., No. 14 cv 6305
(E.D. NY).

Power Outages —$7.75 nullion recovery for a statewide class of businesses and individuals
who sustained fmancial damages due to widespread and prolonged power outages. In re
Commonwealth Edison 1999 Summer Power Outages, No. 99 CH 11626 (Cook Cnty, IL).

Privacv Violation —$7.3 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Aliano u Airgas USA, LLC, No. 14 CH 2O024 (Cook
Cnty, IL).

Data Breach —$4.3 million recovery for a nationwide class of individuals who had their
personal and financial data stolen due to insufficient protection of that information by a retailer.
In re Sonic Corp. Customer Data Breach Litigation, MDL No. 2807 (N.D. OH).

Unsolicited Faxes —$4 million recovery for a nationwide class of businesses and individuals
who sustained damages resulting from the receipt of unsolicited facsimile advertisements.
Derose Corp. v. Goyke Health Center, 06 CH 6681 (Cook Cnty, IL).

Fraud — $3.5 million recovery for a nationwide class of Spanish speaking purchasers of baby
formula, arising out of misleading product labeling. Cardenas v. Mead Johnson & Company, No.
01 CH 11151 (Cook Cnty, IL).

Unsolicited Faxes —$2.5 million recovery for a statewide class of individuals and businesses
who sustained damages resulting from the receipt of unsolicited facsimile advertisements. iMove
Chicago, Inc. v. Inland Bancorp, Inc., et al., No. 16-cv-10106 (N.D. IL)

Misleading Product Labeling —$2.5 million recovery for a nationwide class of businesses and
individuals who purchased whiskey whose labeling misstated the characteristics of the product.
Due Fratelli, Inc. v. Templeton Rye Spirits, LLC, No. 2014 CH 15667 (Cook Cnty, IL).

Misrepresentations in Book — $2.35 million recovery for a nationwide class of customers who
purchased a fictional book while under the impression that the book was a non-fiction memoir.
In re A Million Little Pieces Litigation, No. 06-md-1771 (S.D. NY).

Consumer Fraud — $1.6 million recovery for a nationwide class of individuals who paid for and
traveled to an event that did not occur as advertised. Norton v. Niantic, Inc., No. 2017 CH 10281
(Cook Cnty, IL).

Misleadinjz Product Labeling — $1.5 million recovery for a nationwide class of individuals who
purchased a product whose packaging misstated the characteristics of the product. In re Honest


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   Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 159 of 297




Company Sodium Lauryl Sulfate (SLS) Marketing and Sales Practices Litigation, MDL No. 2719
(C.D. CA).

Improper Debiting of Bank Accounts —$1.5 million recovery for a statewide class of
individuals who were members of a health club that debited its members' bank accounts without
adequate notice or authority. Wendorf, et al. v. Landers, et al., No. 10 cv 1658 (N.D. IL).

Environmental Contamination — $1.4 million recovery for a statewide class of individuals and
businesses who suffered from an infiltration of coal and petroleum coke dust in the air and on
their property. Martin, et al. v. KCBX Terminals Company, et al., No. 13 cv 08376 (N.D. IL).

Misleadin-z Product Claims — $1.4 recovery for a nationwide class of individuals and businesses
who purchased HDMI cables based on representations that more expensive higher speed cables
were needed to operate certain audio visual equipment. O'Brien, et al. v. Monster, Inc., et al.,
No. 2015 CH 13991 (Cook Cnty, IL).

School Misrepresenting Accreditation —$1.2 million recovery, representing nearly the full
value of each class member's loss, for a statewide class of individuals who enrolled in a school
based on the school's misrepresentations that it was accredited. Allen v. Illinois School of Health
Careers, Inc., No. 10 CH 25098 (Cook Cnty, IL).

Privacv Violation —$1 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Radaviciute v. Christian Audigier, Inc., No. 10 cv 8090
(N.D. II.,).

Breach of Contract — $570,000 recovery for a nationwide class of sonographers who took and
passed a certification examination but the testing agency improperly scored their results and
falsely reported that they failed the examination. Miller, et al. v. Inteleos, Inc., No. 17 cv 763
(N.D. OH).

Privacy Violation —$500,000 recovery for a statewide class of consumers whose personal
information was improperly disclosed. Aliano v. Joe Caputo and Sons — Algonquin, Inc., et al.,
No. 09 cv 0910 (N.D. IL).

Contaminated Drinking Water — $500,000 recovery for a statewide class of individuals who
suffered damages as a result of a contaminated water well, plus equitable relief to close the well.
Joseph Marzano v. Village of Crestwood, No. 09 CH 16096 (Cook Cnty, IL).

Fraud — $425,000 recovery for a nationwide class of businesses and individuals who purchased
spirits whose labeling misstated the characteristics of the product. Due Fratelli, Inc. v. Proximo
Spirits, Inc., No. 2014 CH 17429 (Cook Cnty, IL).

Foreclosure Fraud — $425,000 recovery for a nationwide class of borrowers whose lender
failed to properly respond to qualified written requests, requests for information, and/or notices
of error because of an improper active litigation, active mediation, or active bankruptcy
exception. Lieber v. Wells Fargo Bank, N.A., No. 16 cv 2868 (N.D. OH).

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Privacy Violation —$295,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Joseph v. Marbles, LLC, No. 13 cv 4798 (N.D. IL).

Privacy Violation —$250,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. DiParvine v. A.P.S., Inc. d/b/a Car Quest Auto Parts,
No. 11 cv 6116 (N.D. IL).

Unsolicited Faxes —$237,600 recovery for a statewide class of individuals and businesses who
sustained damages resulting from the receipt of unsolicited facsimile advertisements. Phillips
Randolph Enterprises, LLC v. Key Art Publishing Co., No. 07 CH 14018 (Cook Cnty, IL).

Improper Health Club Memberships — Recovery for a statewide class of individuals whose
health club membership agreements provided for improper membership terms. Izak-Damiecki v.
World Gym International, LLC, No. 10 CH 18845 (Cook Cnty, IL).

Illegal Lending Practices — Recovery, representing the maximum amount of statutory damages,
for a nattionwide class of customers who obtained loans whose terms violated the Truth in
Lending Act, plus equitable relief to modify the loan contract to conform with the law. Papeck,
et al. v. T.N. Donnelly & Co., No. 09 CH 31997 (Cook Cnty, IL).

Privacy Violation — Recovery for a nationwide class of over 36 million consumers whose
personal information was improperly disclosed. Dudzienski v. GMRI, Inc., No. 07 cv 3911 (N.D.
IL).

Unsolicited Faxes — Recovery for a statewide class of individuals and businesses who sustained
damages resulting from the receipt of unsolicited facsimile advertisements. Phillips Randolph
Enterprises, LLC v. Home Run Inn, Inc., No. 08 CH 43273 (Cook Cnty, IL).

Privacy Violation — Recovery for a statewide class of over 60,000 consumers whose personal
information was improperly disclosed. O'Brien v. Paninos, Inc., No. 10 cv 2991 (N.D. IL).

Breach of Warranty — Recovery on behalf of a nationwide class of customers who had their
warranty retroactively changed from a lifetime guarantee to a 90-day guarantee, plus equitable
relief to reinstate the lifetime guarantee on the products. Brady, et al. v. Learning Curve Int'l,
Inc., et al., No. 06 CH 03056 (Cook Cnty, IL).

Privacy Violation — Recovery for a nationwide class of tens of thousands of consumers whose
personal information was improperly disclosed. In re Kathy Aliano v. Hancock Fabrics, Inc.,
No. 07-10353 (Del. BK).

Improper Debt Collection — Recovery on behalf of a nationwide class of individuals against
whom attempts were made to collect a time-barred debt, in violation of the Fair Debt Collection
Practices Act. Ocasio v. First Financial Investment Fund V, LLC, et al., No. 15 cv 10167 (N.D.
IL).




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Pending Cases — Aupointed Class Counsel

Invasion of Privacy — Class action for a nationwide class of individuals who were
surreptitiously viewed and recorded using the toilets in holding cells. Alicea, et al. v County of
Cook, No. 18 cv 5381 (N.D. IL).

Constitutional Violation — Class action for a nationwide class of individuals who were
wrongfully issued automated construction zone speed enforcement tickets on a highway that was
not under construction. Black, et al. v. City of Girard, Ohio, et al., No. 18 cv 1256 (Trumbull
Cnty, OIT).

Pending Cases — Aupointed to Executive Committee

Misleading Product Claims — Class action for a nationwide class of individuals who purchased
defective cheese products based on misleading representations. In re 100% Grated Parmesan
Cheese Marketing and Sales Practices Litigation, MDL No. 2707 (N.D. IL).

Pending Cases

Fraud — Class action for a statewide class of individuals who were wrongfully issued automated
red light tickets by red light cameras that were installed in violation of state law.

Improper Court Fee — Class action for a nationwide class of individuals and businesses who
were charged an improper fee by the Clerk of the Court.

Unpaid Overtime — Class action for a nationwide class of individuals who were not paid all
wages and premium overtime for hours worked in excess of forty hours per week.

Misleading Product Claims — Class action for a nationwide class of individuals and businesses
who purchased cleaning products that advertised they were made of higher quality ingredients
than were actaally contained in the products.

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by their employer.

Americans with Disabilities Act — Class action for a nationwide class of disabled individuals
who were denied full, equal and independent access to the goods, services and ~facilities provided
by a hotel.

Improper Debt Collection — Class action for a nationwide class of individuals who were sent
misleading debt collection letters, in violation of the Fair Debt Collection Practices Act.

Fraud — Class action for a nationwide class of individuals who made purchases based on
fraudulent misrepresentations conceming a sporting event.




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    Antitrust — Class action for a nationwide class of individuals who subscribed to television
    services from companies that conspired to fix prices in violation of the Sherman Act.

    Data Breach — Class action for a statewide class of individuals who had their personal,
    fmancial, and medical data stolen due to insufficient protection of that information by a hospital.

    Violation of RBSPA Act — Class action for a nationwide class of borrowers who were denied the
    requisite loan modification options, as required by the Real Estate Settlement Procedures Act.

    Environmental Contamination — Class action for a statewide class of individuals who suffered
    from an infiltration of lead and arsenic on their property.

    Shareholder Derivative Action — Class action for a nationwide class of individuals and
    businesses who are shareholders of a company that wrongfully entered into a merger transaction.

    Constitutional Violation — Class action for a nationwide class of individuals who were
    wrongfully issued automated traffic speed enforcement tickets by a municipality that was denied
    authorization to issue the tickets.

    Invasion of Privacy — Class action for a nationwide class of individuals who received
    unauthorized telemarketting calls to their phones.

    Fraud — Class action for a nationwide class of individuals who purchased used cosmetics and
    beauty products that were sold as new.

    Breach of Contract — Class action for a statewide class of individuals who are members of
    athletic clubs that unilaterally terminated their rewards program without notice.

    Fraud — Class action for a nationwide class of individuals who were charged an improper
    checkout bag tax on retail purchases in the City of Chicago.

    Unpaid Wages — Class action for a statewide class of individuals who were not paid all of the
    wages they earned while working at restaurants.

    Antitrust — Class action for a nationwide class of individuals who purchased packaged seafood
    products from companies that conspired to fix prices in violation of the Sherman Act.

    Environmental Contamination — Class action for a statewide class of individuals whose
    residential drinking water was contaminated with lead.

    Constitutional Violation — Class action for a statewide class of individuals whose homes were
    wrongfully taken by the government without adequate compensation.

    Fraud — Class action for a nationwide class of individuals who paid inflated prices for tickets to
    events due to improper coordination among ticket brokers.



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Improper Fee — Class action for a statewide class of individuals who were charged an improper
fee by the state in connection with the issuance of a driver's license.

Data Breach — Class action for a nationwide class of individuals who had their personal and
fmancial data stolen due to insufficient protection of that information by a restaurant chain.

Fraud — Class action for a nationwide class of individuals who were deliberately targeted
through marketing and sales of electronic cigarettes when they were minors.

Defective Product — Class action for a nationwide class of individuals who purchased
misbranded and adulterated pharmaceuticals.




NOTE: This list of cases is a representative sample of some of the class action lawsuits. It is not
       an exhaustive list.




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    Reception

    From:                          efilingmail@tylerhost.net
    Sent:                          Monday, April 27, 2020 1:19 PM
    To:                            B Kfed era ldown loads
    Subject:                       Notification of Service for Case: A-20-814178-C, Christopher Bruun, Plaintiff(s)vs.Red
                                   Robin Gourmet Burgers, Inc., Defendant(s) for filing Motion for Class Certification - MCC
                                   (CIV), Envelope Number: 5980053




                                                                 Notification of Service
         _                                                                        Case Number: A-20-814178-C
     ❑                                                          Case Style: Christopher Bruun, Plaintiff(s)vs.Red
                                                                     Robin Gourmet Burgers, Inc., Defendant(s)
                                                                                    Envelope Number: 5980053

    This is a notification of service for the filing listed. Please click the link below to retrieve the submitted
    document.

                                                     Filing
    Case Number                      A-20-814178-C
                                     Christopher Bruun, Plaintiff(s)vs.Red Robin Gourmet Burgers, Inc.,
    Case Style
                                     Defendant(s)
    Date/Time Submitted              4/27/2020 1:18 PM PST
    Filing Type                      Motion for Class Certification - MCC (CIV)
                                      Plaintiffs Motion for Class Certification and Appointment of Class
    F Firing Description
    ~                               i Counsel
    Filed By                         Sharon Murnane ,
                                     Christopher Bruun:

                                     Paul Williams (pwilliams(cb_baileykennedy.com)
    Service Contacts
                                     Dennis Kennedy (dkennedyCaD-baileykennedy.com)

                                     Bailey Kennedy, LLP (bkfederaldownloads(a~baileykennedy.com)
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            1    MCC (CIV)
                 DENrTIS L. KENNEDY
            2    Nevada Bar No. 1462
                 PAUL C. WILLIAMS
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            6    DKennedy@BaileyKennedy.com
                 PWilliams@BalleyKennedy.com
            7
                 Attorneys for Plaintiff Christopher Bruun
            8
                                                                DISTRICT COURT
            9
                                                         CLARK COUNTY, NEVADA
           10
        11 CHRISTOPHER BRUUN, individually, and on                            Case No. A-20-814178-C
     Abehalf of all others similarly situated,
     IF 12                                                                    Dept. No. IX
      ~                                Plaintiff,
        13                                                                    PLAINTIFF'S MOTION FOR CLASS
                                                                              CERTIFICATION AND APPOINTMENT OF
 ❖ xzN     14                     vs                                          CLASS COUNSEL
              RED ROBIN GOURMET BURGERS, INC., a
 ~m        15 Delaware corporation; and RED ROBIN
 pq m~        INTERNATIONAL, INC., a Nevada corporation,                      I-Iearin2 Regpuested
           16
                                          Defendants.
           17
           18            Pursuant to Nevada Rules of Civil Procedure 23(a) and 23(c)(3), Plaintiff Christopher Bruun

           19    ("Plaintiff') moves to certify a class action against Defendants Red Robin Gourmet Burgers, Inc.

           20    ("RRGBI") and Red Robin International, Inc. ("RRII") (jointly, "Defendants" or "Red Robin") and

           21    appoint the undersigned counsel from Bailey❖Kennedy, LLP ("Bailey❖Kennedy") and Thomas A.

           22    Zimmerman, Jr., from Zimmerman Law Offices, P.C. ("Zimmerman Law")1, as Class Counsel.

           23

           24

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           27
                 1   Mr. Zimmerman's Verified Application for Association of Counsel Under Supreme Court Rule 42 will be submitted
           28    to the State Bar of Nevada. Upon receipt of the State Bar of Nevada's statement, Plaintiff will move to associate Mr.
                 Zimmerman as eo-counsel.

                                                                    Page 1 of 13


                                                        Case Number: A-20-814178-C
                      Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 166 of 297


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                 1 11          This motion is supported by the papers and pleadings on file, the accompanying

                 2      Memorandum of Points and Authorities, the exhibits attached thereto, and any oral argument heard

                 3      by the Court.

                 4              DATED this 27th day of April, 2020.
                 5                                                        BAIL.EY❖KENNEDY

                 6                                                        By: /s/ Dennis L. Kennedy
                                                                              DENNIS L. KENNEDY
                 7                                                            PAUL C. WILLIAMS
                                                                          Attorneys for Plaintiff Chrr.'stopher Bruun
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                 Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 167 of 297


R
            1                          MEMORANDUM OF POINTS AND AUTHORITIES

            2                                            I.     INTRODUCTION

            3             Plaintiff Christopher Bruun brings this class action against Defendants Red Robin Gourmet

            4    Burgers, Inc. and Red Robin International, Inc. for Red Robin's practice of serving, at most, 14

            5    ounces of Stella Artois beer when customers order a 16-ounce Stella Artois beer. Red Robin offers

            6    on its menu Stella Artois in 16-ounce portions, yet the customized Stella Artois chalice in which

            7     Red Robin serves the supposed 16-ounce Stella Artois beer can only contain at most 14 ounces of

            8     beer.

            9             Plaintiff and the other class members did not receive what they paid for, and were deceived

            10    into thinking they were receiving a larger quantity of beer than they actually received. Plaintiff

            11    seeks to recover the difference between what Plaintiff bargained for, and what he actually received,

W~~         12    and to recover for Red Robin's breach of contract, breach of the covenant of good faith and fair

    ~<[j9   13    dealing, violation of the consumer fraud and deceptive trade practices acts of the states where Red
       ~

•;•
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    BizN
       ro   14    Robin has restaurants~ and unjust enrichment.

            15                                     II.        STATEMENT OF FACTS
            16            Red Robin operates and franchises Red Robin Restaurants throughout the United States. At

            17    the end of 2019, there were 556 Red Robin Restaurants in 44 states in the United States. (Class

            18    Action Complaint ("Compl.") ¶ 11.) The menu at Red Robin's restaurants offer Stella Artois beer

            19    in various sizes, one of which is 16 ounces. (Id. ¶ 14.) The menu and Nutritional Guide both state

            20    that 16 ounces of Stella Artois beer have 190 calories. (Id. ¶¶ 14-15.)

            21            Red Robin's representations are false and misleading. All of the Stella Artois chalices in

            22    which Red Robin serves its purported 16-ounce, 190-calorie Stella Artois beer have a"fill-line" of

            23    33 centiliters and cannot hold more than 14 ounces of beer. (Id. ¶¶ 16-17.) Plaintiff dined at Red

            24    Robin numerous times in 2019 and 2020, and ordered 16 ounces of Stella Artois. (Id. ¶ 23.)

            25    Plaintiff paid for 16 ounces of Stella Artois beer each time he ordered a Stella Artois, but only

            26    received, at the most, 14 ounces of Stella Artois beer each tiine. (Id. ¶¶ 25-26.)

            27
            28

                                                                 Page 3 of 13
                  Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 168 of 297


Iq
             1                                  III.    PROPOSED CLASS DEFINITION

             2            Plaintiff seeks certification of the following nationwide class pursuant to NRCP 23:

             3                      All individuals in the United States who, during the applicable statute

             4                      of limitations, dined in a Red Robin Gourmet Burgers and Brews

             5                      restaurant and paid for 16 ounces of Stella Artois beer that was served

             6                      in a Stella chalice with a maximum capacity of 14 ounces. Excluded

             7                      from the Class are: (1) Defendants' current and former employees,

             8                      officers, and directors; (2) the Judge to whom this case is assigned and

              9                     the Judge's immediate family; (3) any person who executes and files a

             10                     timely request for exclusion from the Class; (4) any persons who have

             11                     had their claims in this matter finally adjudicated and/or otherwise
 A ~:1       12                     released; and (5) the legal representatives, successors and assigns of any

             13                     such excluded person.
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 ❖ ~z N      14                                             IV.     ARGLTMENT

             15           A.        Standard of Decision.
 ~
             16           The Nevada Rules of Civil Procedure provide that "[a]s soon as practicable after the

             17    commencement of an action brought as a class action, the court must determine by order whether it

             18    is to be so maintained." NRCP 23(d)(1). The Court's "order may be conditional, and may be

             19    altered or amended before the decision on the merits." Id.

             20              As the Nevada Supreme Court has explained, "class actions promote efficiency and justice

             21    in the legal system by reducing the possibilities that courts will be asked to adjudicate many

             22    separate suits arising from a single wrong and that individuals will be unable to obtain any redress

             23    for wrongs otherwise irremediable because the individual claims are too small or the claimants too

             24    widely dispersed." Shuette v. Beazer Homes Holdings Co7p., 121 Nev. 837, 846, 124 P.3d 530, 537

             25    (2005).
             26              In that context, NRCP 23(a) provides that a class action may be maintained only if: "(1) the

             27    class is so numerous that joinder of all members is impracticable; (2) there are questions of law or

             28    fact common to the class; (3) the claims or defenses of the representative parties are typical of the

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yu

      1    claims or defenses of the class; and (4) the representative parties will fairly and adequately protect

      2    the interests of the class." In addition to satisfying the four NRCP 23(a) prerequisites, a party

      3    moving to certify a class must demonstrate that the proposed class fits into one of the three

      4    categories enumerated in NRCP 23(c). Shuette, 121 Nev. at 849-50, 124 P.3d at 539 (2005).2 As

      5    detailed below, Plaintiff seeks certification under NRCP 23(c)(3).

      6              "A party seeking class certification must affirmatively demonstrate his compliance with the

      7    Rule—that is, he must be prepared to prove that there are in. fact sufficiently numerous parties,

      8    common questions of law or fact, etc." See Wal-Mart Stores, Inc. v. Dukes, 564 U.S.338, 350,

      9    (2011).3 While a court must engage in a rigorous analysis of the Rule 23 factors, a plaintiff's

     10 "evidentiary showing need not be extensive." Kavu, Inc. v. Omnipak Corp., 246 F.R.D. 642, 646

     11    (W.D. Wash. 2007) (citing Blackie v. Barrack, 524 F.2d 891, 901 (9th Cir. 1975)).

     12              Moreover, the "class determination generally involves considerations that are enmeshed in

     13    the factual and legal issues comprising the plaintiff's cause of action." Dukes, 564 U.S. at 351.

     14 Thus, while it is "sometimes ... necessary for the court to probe behind the pleadings before

     15    coming to rest on the certification question," such analysis is limited to the issues surrounding

     16    certification that "overlap with the merits of the plaintifPs underlying claim." Id. at 351; see also

     17    id.   at 351 n.6, (noting that a court's analysis of the merits is limited to that which is necessary to

     18    determine certification); Ellis v. Costco Wholesale Coip., 657 F.3d 970, 983 (9th Cir. 2011) ("The

     19 district court is required to examine the merits of the underlying claim in this context, only
     20 inasmuch as it must determine whether common questions exist; not to determine whether class
     21    members could actually prevail on the merits of their claims.").

     22              B.      The Proposed Class Satisfies the NRCP 23(a) Prereguisites.
     23                      1.       The Proposed Class is 1Vumerous.

     24              The numerosity prerequisite is satisfied if "the class is so numerous that joinder of all

     25 II members is impracticable." NRCP 23(a)(1). While there is no minimum number of class members,

     26
           Z As a result of the March 1, 2019, amendments to the Nevada Rules of Civil Procedure, the three disjunctive conditions
     27    for class certification were moved from NRCP 23(b) to NRCP 23(c).
           3The Nevada Supreme Court often relies upon federal cases interpreting Federal Rule of Civil Procedure 23 in
           analyzing NRCP 23. See, e.g., Shuette, 121 Nev. at 847 n.l l, n.12, n.13, n.14, 124 P.3d at 538, n.l l, n.12, n.13, n.14.

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w

                 1"a putative class of forty or more generally will be found numerous." Shuette, 121 Nev. at 847, 124

                 2     P.3d at 537.

                 3            The Class is likely comprised of thousands of individuals. (Compl. ¶ 28.) Numerosity is

                 4     established by the fact that Red Robin has found it cost-effective to use specially crafted chalices

                 5     with Stella Artois logos on them to serve Stella Artois at its 556 restaurants. (Id. ¶ 16.) Moreover,

                 6     Red Robins reports total revenue for 2019 of $1.2 billion. (Id.)

                 7                    Z.        There are Common Questions of Law and Fact.

                 8            The commonality prerequisite requires that "there are questions of law or fact common to

                 9     the class." NRCP 23(a)(2). "Questions are common to the class when their answers as to one class

                 10    member hold true for all class members." Shuette, 121 Nev. at 848, 124 P.3d at 538.

                 11    "Commonality does not require that all questions of law and fact must be identical, but that an issue

         m       12    of law or fact exists that inheres in the complaints of all the class members." Id. Indeed,
    A~ ~
     6           13    commonality "may be satisfied by a single common question of law or fact." Id.
~            N

     m~N         14           There are several questions of law and fact common to the claims of the Plaintiff and
•~           ~

                 15    members of the Class which predominate over any individual issues, including:
Pq `°
                 16           (a)       Whether Defendants made misrepresentations and omissions with respect to the

                 17                     number of ounces of Stella beer they serve when a customer orders a 16-ounce Stella

                 18                     beer;

                 19           (b)       Whether Defendants engaged in unfair and deceptive conduct as described herein;

                 20            (c)      Whether Defendants breached contracts with their customers when they offered for

                 21                     sale 16 ounces of Stella beer, but only provided their customers with, at most, 14

                 22                     ounces of beer;

                 23            (d)      Whether Defendants were unjustly enriched when they charged their customers for

                 24                     16 ounces of Stella beer, but only provided their customers with, at most, 14 ounces

                 25                     of beer; and

                 26            (e)      Whether Defendants are liable for the damages suffered by Plaintiff and Class

                 27                     members.

                 28    (Compl. ¶ 29.)

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ti

                 1                   3.      Plaintiff's Claims are Typical of the Proposed Class 1Vlembers His Claims ,
                                             Arise from the Same Practice and Course of Conduct that Give Rise to the
                2                            Claims of the Other Class members.

                3            The typicality prerequisite is met if "the claims or defenses of the representative parties are

                4     typical of the claims or defenses of the class." NRCP 23(a)(3). Typicality is present where "each

                5     class member's claim arises from the same course of events and each class member makes similar

                6     legal arguments to prove the defendant's liability." Shuette, 121 Nev. at 848-49, 124 P.3d at 538-

                7     39. The "representatives' claims need not be identical, and class action certification will not be

                8     prevented by mere factual variations among class members' underlying individual claims." Id. at

                9 849, 124 P.3d at 539.

                10           Here, Plaintiff's and the other Class members' claims all arise out of Red Robin's uniform

                11    and standard practice at all Red Robin restaurants that results in overcharging for Stella Artois beer.
          C-4
                12    (See Compl. ¶¶ 20-21.) Red Robin serves Stella Artois in specially-crafted chalices that are a
     A~ ~
                13    standard shape and size, and uniformly misrepresents their size as 16 ounces when they actually can
          QN

 •~ E z 1 14 contain, at most, 14 ounces of beer. (Id. ¶¶ 14-18.)

      a
                15                   4.      Plaintiff and His Counsel will Fairly and Adequately Represent tlze Class.
 ~m
                16           In order to satisfy the fourth prerequisite, a party seeking certification must demonstrate that '

                17    "the representative parties will fairly and adequately protect the interests of the class." NRCP

                18    23(a)(4). This "inquiry serves to uncover conflicts of interest between named parties and the class

                19    they seek to represent." Shuette, 121 Nev. at 849, 124 P.3d at 539 (internal quotation marks

                20    omitted). To satisfy the fourth factor, class members must "possess the same interest and suffer the

                21    same injury as other class members." Id. (internal quotation marks omitted).

                22            Plaintiff is aii adequate Class Representative and will fairly and adequately protect the

                23    interests of the Class. There are no potential conflicts present, and Plaintiff suffered the same

                24    overcharge injury as the other Class members.

                25            Plaintiffls counsel is qualified to serve as Class Counsel. "Rule 23(a)(4) requires that

                26    plaintiffs demonstrate that class counsel is qualified, experienced, and generally able to conduct the

                27    litigation." Marisol A. v. Giuliani, 126 F.3d 372, 378 (2d Cir. 1997) (internal quotation marks and

                28    citation omitted).

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1~
               1            Here, Bailey•: Kennedy and Zimmerman Law are experienced in class actions, complex

               2     litigation, and consumer law. Bailey :•Kennedy and Zimmerman Law have represented clients in

               3     numerous complex litigation matters and previously served as class counsel in other matters. (Ex.

               4     l, Kennedy Decl. ¶ 5; Ex. 3, Zimmerman Decl. ¶ 3.) Specifically, Dennis L. Kennedy and Thomas

               5 A. Zimmerman, Jr. have substantial experience in class actions and complex litigation cases,

               6     including consumer law matters. (See generally See generally Ex. 2, Curriculum Vitae of Dennis L.

                7    Kennedy; and Ex. 4, Firm Biography of Zimmerman Law.)

               8            Further, both Bailey❖Kennedy and Zimmerman Law are knowledgeable in consumer law,

                9    including deceptive trade practices law. (Ex. 1, Kennedy Decl. ¶ 5; Ex. 3, Zimmerman Decl. 14.)

               10           Finally, Bailey❖Kennedy and Zimmerman Law both have the necessary resources to

               11    zealously represent the Class members, and are prepared to invest the time and resources necessary
     ~   N                                                                             .

     A;~       12    to adequately serve as Class Counsel. (Ex. l, Kennedy Decl. ¶ 6; Ex. 3, Zimmerman Decl. ¶ 5.)
     ~-~,a
 ~~~Q 13                    In sum, because Plaintiff is an adequate Class Representative and has chosen qualified and

 ❖ ~zN 14 experienced counsel, this Court should pernut Plaintiff to act as the Class Representative and allow
     ~ " ~-F                         •


               15    his selected counsel to represent the Class members. See In re Cavanaugh, 306 F.3d 726, 734 (9th
 Pa
               16    Cir. 2002) ("The choice of counsel has traditionally been left to the parties, whether they sue in

               17    their individual capacities or as class representatives.").

               18            C.      The Proposed Class Satisfies the Recguirements of NRCP 23(c)(3).

               19            As discussed above, in addition to satisfying the four NRCP 23(a) prerequisites (i.e.,

               20    numerosity, commonality, typicality, and adequacy of representation), a party moving to certify a

               21    class must demonstrate that the proposed class fits into one of the three categories enumerated in

               22    NRCP 23(c). Shuette, 121 Nev. at 849-50, 124 P.3d at 539. Here, Plaintiff seeks certification

               23    under NRCP 23(c)(3).

               24            Class certification is appropriate under NRCP 23(c)(3) where "the court finds questions of

               25    law or fact common to the members of the class predominate over any questions affecting only

               26    individual inembers, and that a class action is superior to other available methods for the fair and

               27    efficient adjudication of the controversy."

               28

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jk~
                1                   1.      Common Questions Predominate ®ver Any Individual Questions.
               2            The predominance prong of NRCP 23(c)(3) "tests whether proposed classes are sufficiently

               3     cohesive to warrant adjudication by representation." Shuette, 121 Nev. at 850, 124 P.3d at 540

               4(internal quotation marks omitted). "The questions of law or fact at issue in this analysis are those

               5     that qualify each class member's case as a genuine controversy; therefore, the questions that class

               6     members have in common must be significant to the substantive legal analysis of the members'

               7     claims." Id. (internal quotation marks omitted). Indeed, the predominance inquiry under NRCP

               8     23(c)(3) is similar to the analysis of the commonality and typicality requirements of NRCP 23(a),

                9 but "it is more demanding." Id.

               10           Stated succinctly, class certification is appropriate where the "importance of common

               11    questions ... predominate over the importance of questions peculiar to individual class members."
      A        l2 Id. at 851, 124 P.3d at 540. "For example, common questions predominate over individual
          ~
          U    13    questions if they significantly and directly impact each class member's effort to establish liability

  ❖ ~zN 14 and entitlement to relief~ and their resolution can be achieved through generalized proof." Id.

               15    (internal quotation marks omitted).
          a~
               16           The common issues in this case predominate over any individual issues. Each Class

               17    member was subject to the same misrepresentations and omissions relating to the amount of Stella

               18    Artois beer they ordered, and they all received the same shortfall in the quantity of beer they

               19    received. The special chalices containing the Stella Artois beer they ordered were standard in size,

               20    and the value of the product in each chalice received by Class members was identical. Questions

               21    concerning Red Robin's misrepresentations and failures to deliver what was promised and

               22    bargained for predominate in this action.

               23                   Z.      A Class Action is the Superior Method of Adjudicating the Common
                                            Claims of the Class Members.
               24

               25           The superiority prong of NRCP 23(c)(3) "questions whether a class action is the superior

               26    method for adjudicating the claims, thereby promoting the interests of efficiency, consistency, and

               27    ensuring that class members actually obtain relief." Shuette, 121 Nev. at 851-52, 124 P.3d at 540.

               28    "A proper class action prevents identical issues from being litigated over and over[,] thus avoiding

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11~
                1     duplicative proceedings and inconsistent results." Id. at 852, 124 P.3d at 540-41 (alteration in

                2     original) (internal quotation marks omitted). Importantly, a class action is often the superior

                3     method of adjudication where it "helps class members obtain relief when they might be unable or

                4     unwilling to individually litigate an action for financial reasons ...." Id. at 852, 124 P.3d at 541

                5 (emphasis added).

                6            In determining superiority, courts evaluate: "(A) the interest of inembers of the class in

                 7    individually controlling the prosecution or defense of separate actions; (B) the extent and nature of

                8     any litigation concerning the controversy already commenced by or against members of the class;

                 9(C) the desirability or undesirability of concentrating the litigation of the claims in the particular

                10    forum; and (D) the difficulties likely to be encountered in the management of a class action."

                11    NRCP 23(c)(3); accord Shuette, 121 Nev. at 852, 124 P.3d at 541. "Further, the court must
      ~   N
                12    determine whether other adjudication methods would allow for efficient resolution without

          ~m~   13    compromising any parties' claims or defenses." Shuette, 121 Nev. at 852, 124 P.3d at 541.
  ~ 9 ~N
  ❖ Nzo 14                   As detailed below, each of the superiority factors weighs in favor of class certification.

                15                           a.      The Class Members do not have an Interest in Controlling_he
                                                                                                             t
                                                     Prosecution of Separate Actions Because Each Class Member's
                16                                   Damages are Small.
                17            The first superiority factor is "the interest of inembers of the class in individually controlling

                18    the prosecution or defense of separate actions." NRCP 23(c)(3)(A). Where "damages suffered by

                19    each putative class member are not large, [the first] factor weighs in favor of certifying a class

                20    action." Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1190 (9th Cir. 2001), opinion.

                21    amended on denial of r-eh'g, 273 F.3d 1266 (9th Cir. 2001). For example, courts have found that

                22    potential damage awards of $1,500 are "insufficient to incentive individual actions." Ki-istensen v.

                23    Credit Payment Services, 12 F. Supp. 3d 1292, 1303 (D. Nev. 2014).
                24            This factor favors class certification because the individual claims of each Class member

                25    concern a shortfall of a small amount of beer in each glass of Stella Artois served by Red Robin.

                26    While, in the aggregate, the amount of damages is very high, the injuries suffered by each of the

                27    Class members is too small to justify individual actions.

                28

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q
            1                            b.      No Other Known Litigation Exists Between any Class Member and
                                                 Defendants; thus Class Resolution Serves Judicial Economy.
            2
            3            The second superiority factor instructs consideration of "the extent and nature of any

            4     litigation coneerning the controversy already commenced by or against members of the class."

            5     NRCP 23(c)(3)(B). When the court is unaware of any other pending litigation, the factor weighs in

            6     favor of certification. See Kristensen, 12 F. Supp. 3d at 1308; see also Agne v. Papa John's Intern.,

            7     Inc., 286 F.R.D. 559, 571 (W.D. Wash. 2012). Plaintiff is not aware of any other litigation

            8     between a Class member and Defendants arising out of the issues in this case. Because there appear

             9    to be no similar lawsuits, class resolution is a superior method of adjudicating the instant claims.

            10    See Ki-istensen, 12 F. Supp. 3d at 1308; Agne, 286 F.R.D. at 571.

            11                           C.      Nevada is a Desirable Forum to Concentrate Liti ation.

    W12                   The third superiority factor requires a court to consider "the desirability or undesirability of I

    ~~!~R   13    concentrating the litigation of the claims in the particular forum." NRCP 23(c)(3). Where a

•;• yzN     14    defendant is present in a jurisdiction and there "appears no reason why concentrating the litigation

            15    in [that jurisdiction] would be undesirable," the third factor supports class certification. See
~M
            16    Protectmarriage. com v. Bowen, 262 F.R.D. 504, 509 (E.D. Cal. 2009).

            17            Here, Defendants are present and at home in Nevada. RRII is a Nevada corporation, and

            18    Defendants have several Red Robin Restaurants in Nevada. Thus, the third superiority factor favors

            19    class certification.

            20                           d.      There are no Sigriificant Difficulties in Management of the Proposed
                                                 Class.
            21

            22            The fourth superiority factor requires a court to consider "the difficulties likely to be

            23    encountered in the management of a class action." NRCP 23(c)(3)(D). "When the complexities of

            24    class action treatment outweigh the benefits of considering common issues in one trial, class action

            25    treatment is not the superior method of adjudication." Zinser-, 253 F.3d at 1192. "If each class

            26    member has to litigate numerous and substantial separate issues to establish his or her right to

            27    recover individually, a class action is not superior." Id.

            28


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..
     1             This case is an ideal class action, concerning uniform practices, standard representations and

     2     product packaging, and small individual damages claims. No difficulties or complexities are added

     3     to the case by certifying the Class. The same evidence that Plaintiff will use to prove his claims

     4     will prove the claims of the other Class members. Accordingly, the fourth superiority factor

      5    illustrates the superiority of a class action.

      6                            e.      No Other Adequate Adjudication Methods Exist.

      7            In assessing superiority, the Nevada Supreme Court has stated that a"court must determine

      8    whether other adjudication methods would allow for efficient resolution without compromising any

      9    parties' claims or defenses," such as through joinder or consolidation. Shuette, 121 Nev. at 852,

     10    124 P.3d at 541. Here, there are no other adequate adjudication methods. This is an exemplary

     11    class action—a very large group of individuals with claims that are too small to incentive any other

     12    form of adjudication.

     13                                             V. CONCLUSION

     14            Based on the foregoing, the Court should grant Plaintiff's Motion for Class Certification,

     15    appoint Plaintiff as the Class Representative, and appoint Bailey : Kennedy and Zimmerman Law

     16 Offices, P.C. as Class Counsel.

     17            DATED this 27th day of April, 2020.

     18                                                             BAILEY ❖ KENNEDY

     19                                                             By: /s/ Dennis L. Kenned_y
                                                                       DENNIS L. KENNEDY
     20                                                                PAUL C. WILLIAMS
                                                                    Attorneys for PlaintiffChristopher Bruun
     21

     22
     23
     24
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     27
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            1                                       CERTIFICATE OF SERVICE

            2            I certify that I am an employee of BAILEY❖KENNEDY and that on the 27th day of April,

            3     2020, service of the foregoing was made by mandatory electronic service through the Eighth Judici

            4     District Court's electronic filing system and/or by depositing a true and correct copy in the U.S.

             5    Mail, first class postage prepaid, and addressed to the following at their last known address:

             6
                         Red Robin Gourmet Burgers, Inc. c/o Corporation Service Company
             7           251 Little Falls Drive
                         Wilmington, DE 19808
             8

             9           Red Robin International, Inc. c/o Corporation Service Company
                         112 North Curry Street
            10           Carson City, NV 89703
            11
q   ~       12                                                        /s/ Sharon Murnane
                                                                 Employee of BAILEY❖KENNEDY
            13
        ~
❖ NzN       14

            15
~
            16

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4_




                  Exhibit 1




                  Exhibit 1
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N
             1                               DECLARATION OF DENNIS L. KENNEDY

             2            I, Dennis L. Kennedy, declare as follows:

             3            1.     1 am over the age of eighteen a.nd a resident of Clark County, Nevada.

             4            2.      I am competent to testify to the facts stated herein, which are based on personal

             5     knowledge unless otherwise indicated, and if called upon to testify, I could and would testify

             6     competently to the following.

             7            3.      I am a partner in the law firm of Bailey❖Kennedy, LLP ("Bailey❖Kennedy"), co-

              8    counsel for Plaintiff Christopher Bruun ("Plaintiff') in the matter entitled Bruun v. Red Robin

              9    Gourmet Burgers, Inc., Case No. A-20-814178-C (the "Matter"), which is pending before the Eighth

             10    Judicial District Court of the State of Nevada.
             11           4.      I submit tliis declaration in support of Plaintiff s Motion for Class Certification and

             12    Appointment of Class Counsel (the "Motion"), which seeks to certify a class action against

      ,4g    13    Defendants Red Robin Gourmet Burgers, Inc. ("RRGBI") and Red Robin International, Inc.
❖ xzN        14    ("RRII") (jointly, "Defendants") and appoint class counsel from Bailey❖Kennedy and Zimmerman
    >4 Z~n
    ~ ~< ~   15    Law.
M—
             16           5.      I have substantial experience in class actions, complex litigation cases, including

             17    consumer law and deceptive trade practices matters. A true and correct copy of my Curriculum

             18    Vitae is attached to the Motion for Certification as Exhibit 2.

             19           6.      Bailey❖Kennedy has sufficient resources and time necessary to adequately serve as

             20    class counsel and zealously represent the interests of the putative class.

             21           7.      Bailey❖Kennedy is not aware of any other litigation between a putative class

             22    member and any of the Defendants regarding similar claims alleged by Plaintiff.

             23           I declare under penalty of perjury that the foregoing is true and correct.

             24           Executed on this 27th day of April, 2020.

             25                                                                      •
                                                                                          6®~
             26                                                             DENNIS L. KENNEDY
             27

             28

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                 Exhibit 2




                 Exhibit 2
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                              DENNIS L. KENNEDY
                              CURRICULUM VITAE
EDUCATION

     •      B.A. Economics, University of Washington (1972)
     •      J.D., University of Washington School of Law (1975)
     •      Board of Editors, Washington Law Review

PROFESSIONAL ASSOCIATIONS

     •      State Bar of Nevada
     •      American Bar Association (Sections of Litigation
                   and Professional Responsibility)
     •      American College of Trial Lawyers
     •      American Bar Association Standing Committee on
            Lawyers' Professional Responsibility

EMPLOYMENT

     •      Lionel Sawyer & Collins (1975 - 1/6/2006)
     •      Bailey❖Kennedy (1/9/2006 - present)

OTHER POSITIONS

     •      Adjunct Professor, UNLV/Williain S. Boyd School of Law; Health Care Law
            (2001, 2003, 2005); Nevada Civil Practice (2006, 2007, 2008, 2015, 2016)
     •      Chairman, Board of Trustees, Nathan Adelson Hospice (1995 - present)
     •      Coach/Advisor to A Tech High School Moot Court Team, winner of 2019 Nevada
            Moot Court Championship

PUBLICATIONS

     •      Co-Author, Nevada Civil Practice Manual (5ih ed., 2001)(2003-2013 supplements)

     •      Co-Editor (with Professor Jeffrey Stempel), Nevada Civil Practice Manual (51h ed.)
            (2003-2013 supplements)

     •      Solo and Small Firm Ethics Traps, Clark County Bar Association
            COMIy1UNIQUE (December 2013)

     •      Some Things That Can Hurt You If You Don't Pay Attention, Clark County Bar
            Association COMMUNIOUE (November 2015)




                                             1
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SUPREME COURT AND BAR COMMITTEES

     •    State Bar of Nevada Disciplinary Committee (1989-1997). Chairman, Southern
          District (1993-1995)

     •    Member of State Bar Committee on Ethics and Professional Responsibility
          (December 2001 - December 2009; Chairman 2003-2007)

     •    Member of State Bar Coinmittee on the Revisions to the Nevada Rules of
          Professional Conduct (the "Ethics 2000 Committee") (2003-2004)

     •    State Bar Professionalism Task Force (2004-present); Chairman, CLE
          Subcommittee (2009-2010). (Task force recently developed a mentoring program
          designed to assist newly admitted lawyers in the transition into the profession.)

     •    Nevada Supreme Court Bench-Bar Committee (SCR 14) (2005-present)
          (General function of the Committee is to consult with the Supreme Court on
          issues affecting the practice of litigation, including proposed amendments to the
          Nevada Rules of Civil and Appellate Procedure.)

     •    Member ofNevada Supreme Court Article 6 Commission (2007-2011)
          (Commission's projects were (i) the proposed intermediate court of appeals, (ii)
          changes in judicial selection process and (iii) changes in judicial campaign fund
          raising and disclosure). Final report of Commission issued June 2011

     •    Member of Nevada Supreme Court Committee on Public Access to Lawyer
          Discipline (1994). Committee report resulted in amendments to SCR 121

     •    Member of Nevada Supreme Court Committee on Judicial Etliics and Election
          Practices (1995). Committee report resulted in the adoption of the Rules
          Governing the Standing Committee on Judicial Ethics and Election Practices
          (1997)

     •    Member of Nevada Supreme Court Committee to Study the Amendment of
          NRCP 68 (offers of judgment) (2008-present)

     •    Nevada Supreme Court Judicial Education Requirements Study Committee
          (2015) (Committee was charged with studying the subject of judicial education
          and making a recommendation to the Nevada Supreme Court. Final report
          submitted Apri12016)

     •    Submission of inemoranda and giving of oral presentation to Nevada Supreme
          Court regarding proposed amendment to Nevada R.P.C. 8.4 regarding lawyers'
          ownership of marijuana/cannabis enterprises. ADKT No. 0495
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    •    Submission of inemorandum to State Bar and State Bar Committee on Ethics and
         Professional Responsibility regarding lawyers' ownership/participation in the
         business of purchasing and selling medical liens. (October 2016)

    •    Submission of inemorandum to Nevada Supreme Court regarding proposed
         amendment to Nevada RPC 8.4 regarding lawyer misconduct. ADKT 526

                           RATINGS AND RANKINGS

    •    Martindale Hubbell "A" "V" rating.

    •    Benchmark Litigation Stars: 2018 — Commercial and Anti-Trust Litigation

    •    Mountain States "Super Lawyer" 2019; Top 10 — for Nevada, Utah, Montana,
         Idaho and Wyoming

    •    Mountain States "Super Lawyer" 2018; Top 10 — ranked second overall — for
         Nevada, Utah, Montana, Idaho and Wyoming

    •    Mountain States "Super Lawyer" 2017; Top 10 — ranked third overall — for
         Nevada, Utali, Montana, Idaho and Wyoming

    •    Mountain States "Super Lawyer" 2016; Top 10 — ranked second overall — for
         Nevada, Utah, Montana, Idaho and Wyoming.

    •    Mountain States "Super Lawyer" 2015; Top 10 — ranked third overall — for
         Nevada, Utah, Montana, Idaho and Wyoming.

    •    Mountain States "Super Lawyer" 2005-present (top 75 lawyers in Nevada, Utah,
         Montana, Idaho and Wyoming).

    •    Chambers U.S.A. - one of the top 5 commercial litigators in Nevada (2005-
         present).

    •    Best Lawyers In Ainerica - Commercial Litigation, Appellate Practice, and Ethics
         and Professional Responsibility Law (1991-present).

    •    Best Lawyers' 2012 and 2014 Las Vegas Health Care Lawyer of the Year.

                        REPORTED CASES (1985-present)

    •    Lakeside Community Hospital v. Levenson, 101 Nev. 777, 710 P.2d 727 (1985).

    •    Herbst v. Humana Health Ins. of Nevada, 105 Nev. 586, 781 P.2d 762 (1989).

    •    In re Discipline of Stuhff, 108 Nev. 629, 837 P.2d 853 (1992).


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    •    In re Discipline of Singer, 109 Nev. 1117, 865 P.2d 315 (1993).

    •    Forsyth v. Humana, Inc., 827 F. Supp. 1498 (D. Nev. 1993), aff d in part and
         rev'd in part by Forsyth v. Humana. Inc., 99 F.3d 1504 (9t ' Cir. 1996); superseded
         on rehearing by Forsyth v. Humana, Inc., 114 F.3d 1467 (9t ' Cir. 1997); affirmed
         by Humana, Inc. v. Fors.~th, 525 U.S. 299 (1999).

    •    Snoeck v. Brussa, 153 F.3d 984 (9t" Cir. 1998).

    •    State of Nevada v. Reliable Health Care, 115 Nev. 253, 983 P.2d 414 (1999).

    •    Baker v. District Court, 116 Nev. 527, 999 P.2d 1020 (2000).

    •      uyen v. State, 116 Nev. 1171, 14 P.3d 515 (2000) (amicus brief for Nevada
         Ng_
         Resort Assn.).

    •    Brown v. District Court, 116 Nev. 1200, 14 P.3d 1266 (2000).

    •    Badillo v. American Brands, 117 Nev. 34,16 P.3d 435 (2001).

    •    Badillo v. American Brands, 202 F.R.D. 261 (D. Nev. 2001).

    •    Michel v. Bare, 230 F. Supp. 2d 1147 (D. Nev. 2002).

    •    Maduka v. Sunrise Hospital, 375 F.3d 909 (9th Cir. 2004).

    •    Poulos v. Caesar's World. Inc., 379 F.3d 654 (9t" Cir. 2004).

    •    International Game Technology. Inc. v. Second Judicial District Court, 122 Nev.
         Adv. Op. 13, 127 P.3d 1088 (2006).

    •    Leroy's Horse and Sports Place v. Racusin, 2001 WL 1345974 (9th Cir.
         November 1, 2001) (reversing district court judgment re damages and attorney's
         fees and remanding for jury trial); Leroy's Horse and Sports Place v. Racusin,
         CV-S-950-00927 (D. Nev. July 8, 2003) (jury verdict of $2,310,000); Hartunian
         v. Racusin, 2005 WL 79089 (9th Cir. January 14, 2005) (reversing district court
         order refusing to award pre judgment interest on $2,310,000 jury verdict and
         remanding for determination of interest amount); Racusin v. American Wagering,
         Inc., 465 F.3d 1048 (9~' Cir. 2006), withdrawn on rehearing 493 F.3d 1067 (2007)
         (reversing BAP decision subordinating debt and affirming client's status as
         creditor entitled to payment of $2,310,000 judgment).

         Nanopierce Technologies, Inc. v. Depository Trust Clearing Corp., 123 Nev.
         362,168 P.3d 73 (September 20, 2007) (brief and oral argument on behalf of
         amicus curiae North American Securities Administrators Assn.).
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   •     State of Nevada v. District Court (RJR Tobacco), 125 Nev. 37, 44, 199 P.3d 828
         (January 29, 2009).

   •     Betsinszer v. D.R. Horton. Inc., 126 Nev. 162, 232 P. 3d 433 (May 27, 2010).

   •     Orion Portfolio Services 2 LLC v. Clark County, ex rel. University Medical
         Center, 126 Nev. Adv. Op. No. 39, 245 P. 3d 529 (October 14, 2010).

   •     U-Haul International, Inc. v. Albright, 626 F. 3d 498 (9t ' Cir. 2010).

    •    Bahena v. Goodyear Tire & Rubber Co., 126 Nev. Adv. Op. 57, 245 P.3d. 1182
         (2010) (brief on behalf of amicus curiae United States Chamber of Commerce).

    •    Stultz v. Bellagio, LLC, Nevada Supreme Court Case No. 56164 (October 29,
         2011).

    •    Walters v. Eighth Jud. Dist. Ct. ex rel. Cnty., of Clark, 127 Nev. Adv. Op. No. 66,
         263 P.3d 231 (2011).

    •    In re City Center Construction and Lien Master Litigation, Nevada Supreme
         Court Case No. 57186 (October 19, 2011).

    •    Richman v. District Court, Nevada Supreme Court Case No. 60676 (May 31,
         2013).

    •    Golden Gamina, Inc. v. Corrigan Management, Inc., Nevada Supreme Court Case
         Nos. 61696 and 62200 (March 26, 2015).

    •    Keisic v. Va11ey Health System, LLC, et al., Nevada Supreme Court Case No.
         64445 (December 29, 2015).

    •    Simmons v. Briones, 133 Nev. Adv. Op. No. 9, 390 P.3d 641 (March 2, 2017).

    •     Wasmund v. Aria Resort & Casino Holdings, Nevada Court of Appeals Case No.
          69147 (March 6, 2017).

    •     Ford Motor Co. v. Treio, 133 Nev. Adv. Op. 68, 402 P. 3d 649 (September 27,
          201.7) (for amicus Nat'1 Assn. of Manufacturers).

    •     Public Employees' Retirement Sys. v. Gitter, 133 Nev. Adv. Op. 18, 393 P.3d 673
          (Apri127, 2017).

    •     Valley Health System v. Estate of Jane Doe; Hall Prangle & Schoonveld v.
          District Court, 134 Nev. Adv. Op. 76, 427 P.3d 1021 (September 27, 2018).

    •     Michelle Flores v. Las Vegas-Clark County Library District, 134 Nev. Adv. Op.
          101, 432 P.3d 173 (December 13, 2018).
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    •    JMB Capital Partners Master Fund, L.P. v. District Court, Nevada Supreme Court
         Case No. 78008 (March 21, 2019).

    •    Las Vegas Review Journal v. City of Henderson, Nevada Supreme Court Case
         No. 73287 (May 24, 2019).

    •    City of Henderson v. Las Vegas Review Journal, Nevada Supreme Court Case
         No. 75407 (October 17, 2019).

         ETHICS/PROFESSIONAL RESPONSIBILITY REPRESENTATION

    •    Defense of non-Nevada lawyer on charges of unauthorized practice (and related
         offenses) before State Bar Disciplinary Panel (1998-1999). (Name of counsel and
         law firm are confidential.)

    •    Representation of candidate for district court in defense of complaint regarding
         campaign advertisements before Standing Coinmittee on Judicial Ethics and
         Campaign Practices. (1998). Name of candidate is confidential.

    •    Representation of attorney in appeal of disqualification order (SCR 160). Brown
         v. Eighth Judicial District Court, 116 Nev. 1200, 14 P.3d 1266 (2000).

    •    Representation of attorney before fee dispute panel in matter involving recovery
         of quantum meruit fee in the absence of written fee agreement in contingent fee
         case. West v. Myers, No. 02-128.

    •    Representation of inembers of Nevada Commission on Judicial Discipline in
         defense of action challenging constitutionality of the Commission's rules and
         activities. Snoeck v. Brussa, 153 F.3d 984 (9" Cir. 1998).

    •    Representation of Members of Nevada Commission on Judicial Discipline in
         defense of RICO and Civil Rights claims. Mosley v. Gan , et al., Case No. CV-
         S-00-0976-JLQ(LRL).

    •     Representation of State Bar of Nevada in defense of action brought by out-of-state
          law firm challenging the constitutionality of SCR 199 firm name provision.
          Lewis & Roca v. Bare, Case No. CV-S-99-0757-JBR (RLH).

    •     Representation of law firm in challenge to constitutionality of Supreme Court
          Rule prohibiting use of trade name by lawyers. Michel v. Bare, 230 F. Supp. 2d
          1147 (D. Nev. 2002) (declaring SCR 199(1) unconstitutional).

    •     Representation of candidate for district court in defense of complaint regarding
          allegedly untrue and defamatory statements made concerning opponent before
          Standing Committee on Judicial Ethics and Campaign Practices. (2002). Name
          of candidate is confidential.
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    •    Representation of Nevada Commission on Judicial Discipline in defense of §
         1983 civil rights claim. Luckett v. Hardcastle, et al., Case No. CV-S-05-0726
         RLH-RJJ. (Complaint dismissed).

    •    Representation of attorney in defense of lawsuit alleging negligence and
         malpractice. Malignaggi
                            n     v. Goldberg, Case No. A 508763, District Court, Clark
         County, Nevada (case dismissed).

    •    Representation of law firm in opposing disqualification motion. Provenza v.
         Yamaha Motor Co., Case No. A446708, District Court, Clark County, Nevada.

    •    Representation of law firm in opposing disqualification motion. Roth v. BMW,
         Case No. A453810, District Court, Clark County.

    •    Representation of non-Nevada lawyer regarding allegations of lack of candor
         toward tribunal (SCR 172) (2006). (Name of counsel and law firm are
         conf dential.)

    •    Representation of law firm in opposing disqualification motion. Daniell v. Peake
         Development, Case No. A508494, District Court, Clark County.

    •    Representation of attorney in defense of State Bar proceeding regarding violations
         of NRPC 1.8 (business transactions with client) and NRPC 1.7 (conflict of
         interest). Name of attorney confidential (SCR 121).

    •    Representation of attorney in defense of claims for misappropriation of
         confidential information. Friedman v. Friedman, Case No. D07-376354D,
         District Court, Clark County, Nevada.

    •    Representation of attorneys in defense of claims alleging violations ofNRPC 4.2
         arising out of contacts with putative class members prior to class certification.
         Del Webb Coinmunities, Inc. v. The Eighth Judicial District Court of the State of
         Nevada in and for the County of Clark. and The Hon. Timothy C. Williams,
         District Judg e, and Real Parties in Interest, Case No. 49423, Nevada Supreme
         Court.

         Representation of attorney in defense of State Bar proceeding regarding violations
         of NRPC 1.5 (fees) and NRPC 4.2 (contact with represented person). Case
         dismissed. Name of lawyer is confidential. (SCR 121).

         Representation of entity owned by attorney in defense of NRPC 1.8 claim. In re
         Receivership of Southwest Exchange, Case No. A535439, District Court, Clark
         County, Nevada. Case settled.
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    •    Representation of attorney in defense of malpractice/breach of fiduciary duty
         claim. Sorrell v. Snell & Wilmer, Case No. 08-CV-00761-RCJ-LRL, U.S.
         District Court, Nevada. Case settled.

    •    Representation of attorney in appeal of judgment refusing to enforce contingency
         fee agreement's term regarding attorney's entitlement to particular fee in the
         event of his termination. Golig_tly
                                        n v. Gassner, Case No. 50212, Nevada Supreme
         Court. Case decided.

    •    Representation of party in defense of claim for attomey's fees arising out of
         alleged "frivolous" litigation. Club 93, Inc. v. Count,y of Elko, CV-C-08-163,
         Fourth Judicial District Court, Elko, Nevada. Case settled.

    •    Representation of client against attomey in claim for refund of alleged "non-
         refundable" retainer. Sperberg v. Hunterton, Case No. 08-149 (State Bar Fee
         Dispute Proceeding). Case decided.

    •    Representation of attorney in action against fonner partner and others for
         wrongful expulsion from law finn. Powell v. Powell Naqvi, Case No. 08-566761,
         Eighth Judicial District Court. Case settled.

    •    Representation of clients in seeking review of U.S. Magistrate Judge's order
         imposing monetary sanctions upon parties, individual lawyers, and law firm.
         Dennis MontgomeKy, Montgomery Family Trust v. eTreppid Technologies.
         L.L.C.; Warren Trepp, Department of Defense of the United States of America:
         and Does 1 through 10, and Related Cases, Case No. 3:065-CV-00 145-PMP-
         VPC, U.S. District Court, District of Nevada. Matter settled.

    •    Representation of suspended attorney in proceedings seeking reinstatement to
         Nevada Bar. (In re Richard Pipkins). Representation tenninated.

    •    Representation of attorney and law firm in opposing disqualification motion.
         Edwin K. Slaughter, et al. v. Uponor, Inc., et al., Case No. 2:08-CV-01223-RCJ-
         GWF, U.S. District Court, District of Nevada. Case dismissed.

    •    Representation of non-Nevada lawyer on State Bar inquiry into charges of
         unauthorized practice. (2009-2010). Matter concluded without action by State
         Bar. Name of lawyer is confidential.

    •    Representation of attorneys in defense of State Bar disciplinary proceeding
         alleging fee-splitting with non-lawyer and other matters. State Bar v. Eglet (Case
         No. SG-10-0874) and Adams (Case No. SG-12-0803). Both proceedings
         dismissed.

    •    Representation of attorney in fee dispute arbitration. Davidson v. Gentile, Case
         No. 10-085, Nevada State Bar Fee Dispute Committee. Matter decided.
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    •    Representation of attorney in defense of State Bar disciplinary proceeding. State
         Bar of Nevada v. Anthony Lo_pez, Bar No. 08-175 (and numerous related and
         consolidated cases). Matters settled.

    •    Representation of judicial candidate in action challenging constitutionality of
         Nevada Code of Judicial Conduct Canon 4, Rule 4.1(A)(11). Kishner v. Nevada
         Standing Committee on Judicial Ethics and Election Practices, Case No. 2:10-cv-
         01858-RLH-RJJ, U.S. District Court, Nevada. Matter decided.

    •    Representation of attorney in matter where attorney disclosed confidential
         information relating to the representation of a client to prevent the commission of
         a criininal and fraudulent act by the client. Nevada RPC 1.6(b)(2) and (3).
         Attorney's name is confidential. Case settled.

    •    Representation of former clients in action against law firm and attorney. Frias
         HoldinQ Co. v. Greenber~ Traurig, Case No. A-10-630319-C, Eighth Judicial
         District Court, Clark County, Nevada. Engagement concluded.

    •    Representation of former client against law firm in defense of fee collection
         proceeding and in prosecution of malpractice counterclaim. Lionel Sawyer &
         Collins v. DeWald, State Bar Fee Dispute Committee Matter No. 10-108. Case
         dismissed.

    •    Representation of law firm and lawyers in dispute with insurer over coverage for
         claims of professional negligence. Pacifica v. Goold Patterson, et al., Case No.
         A557726 (and related cases), Eighth Judicial District Court, Clark County,
         Nevada. Matter settled.

    •    Representation of attorneys in defense of five consolidated disciplinary
         complaints arising out of consumer bankruptcy representation. Nevada RPC 1.3,
         1.4, 5.3 and 8.1. State Bar v. Haines and Krieg_er, Case Nos.10-121-2842; 10-
         134-2842; 10-137-2557; SG10-0023; and SG10-0044. Matters decided.

    •    Representation of law firm and lawyers in defense of lawsuit alleging violations
         of Nevada RPC 1.8. Richman v. Haines & Krieger. LLC, et al., Case No. A-11-
         643004-C, Eighth Judicial District Court, Clark County, Nevada; Case No. 60676,
         Nevada Supreme Court (May 31, 2013). Matter settled.

    •    Representation of lawyers in defense of 46 consolidated bar grievances and
         complaints arising out of consumer bankruptcies and residential loan
         modifications. State Bar v. George.Haines and David Krieger, Grievance No.
         SG11-1800 (and related matters). Matters settled.

    •    Representation of attorneys in challenge (by mandamus) to order of
         disqualification. In re City Center Construction and Lien Master Litigation:
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         MGM MirageDesi '- n Group v. District Court, Nevada Supreme Court Case No.
         57186 (October 19, 2011).

    •    Representation of Trust Beneficiaries in motion to disqualify counsel for trustee.
         In Re Cook Trusts, Case No. P-11-071394-T. Eighth Judicial District Court,
         Clark County, Nevada. Matter decided.

    •    Representation of former client in defense of fee collection suit by law firm and
         prosecution of malpractice counterclaim. Lionel Sawyer & Collins v. DeWald,
         Case No. 79 194 Y 00090 11 nolg (AAA). Engagement concluded.

    •    Representation of not-for-profit entity in State Bar proceeding alleging
         unauthorized practice by assisting homeowners in dealings with mortgage lenders.
         (Name of client is confidential). Engagement concluded.

    •    Representation of Stokes & Stokes, Ltd. in the defense of various bar grievances.
         Case settled.

    •    Representation of parties in action seeking to overturn arbitrators' decision on
         grounds of fraud and partiality. Parker v. Carlson, et al., Case No. A571921,
         Eighth Judicial District County, Nevada. Matter settled.

    •    Representation (special counsel) of Allstate Insurance Co. on privilege and work
         product issues arising from interviews of former clients of an attorney. Allstate
         Insurance Co., v. Balle, et al., Case No. 2:10-CV-02205-KJD-RJJ, United States
         District Court, District of Nevada. Matter concluded.

    •    Representation of attorney and law firm in defense of allegations of unauthorized
         practice (Rule 5.5) and failure to register as a multi jurisdictional law firm (Rule
         7.5A). Waite v.Clark County Collection Service, Case No.2:1 1-cv-01741-LRH-
         VCF, United States District court, District of Nevada. Matter decided

    •    Representation of attorney in defense of State Bar disciplinary proceeding as to
         alleged violations of RPC 1.7 (current client conflict), RPC 5.4 (professional
         independence/fee splitting with non-lawyers), and RPC 8.4 (misconduct involving
         dishonesty and fraud). State Bar v. Noel Gage, Case No. 08-053-1890.
         Disciplinary case concluded with settlement. Settlement approved by the Nevada
         Supreme Court. Client reinstated as member of State Bar.

         Representation of bar applicant before State Bar Moral Character and Fitness
         Committee on charges relating to alcohol abuse, plagiarism and financial
         responsibility. In re Melanie Feldhauser-Thomas. Matter concluded.

         Representation of law firm and its clients in opposing motion to disqualify law
         firm for acquisition and use of allegedly privileged documents. In re C.E. Cook



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         Family Trust, Consolidated Case No. P-11-071394-T, District Court, Clark
         County, Nevada. Matter concluded.

    •    Representation of attorney in defense of State Bar disciplinary proceedings as to
         alleged violation of trust account rules. State Bar v. Joseph Scalia, Case Nos.
         SG11-1737, SG12-0903. Engagement concluded.

    •    Representation of former client of law firm in dispute with law firm arising out of
         law firm's conflict of interest in defending former client and another defendant at
         trial, where former client was found liable and other defendant was not. Names of
         client and law firm are confidential. Matter settled.

    •    Representation of attorney in appeal of letter of private reprimand resulting from
         attorney's conduct in federal court litigation. In re Steven Gibson, Case No. SG-
         12-0104. Matter decided.

    •    Representation of law firm in dispute with second law firm over payment of fees
         alleged to be due under fee sharing agreement. Gage Law Firm v. Feinberg
         Mayfield Kaneda & Litt, LLP d/b/a Fenton Grant Mayfield Kaneda & Litt, LLP
         f/k/a Feinberg Grant Mayfield Kaneda & Litt, Case No. A-14-697336-B, District
         Court, Clark County, Nevada. Matter settled.

    -    Representation of defendant entity sued by plaintiff s counsel with whom
         defendant entity had prior relationship, in proceedings regarding disqualification
         of plaintiff's counsel. Matter is confidential.

    •    Representation of departed lawyer in dispute with former firm regarding client
         files and compensation. Matter is confidential.

    •    Representation of law firm in dispute with departed lawyer regarding
         compensation. Matter is confidential.

    •    Representation of former attorneys' client in action against attorneys for
         malpractice and breach of fiduciary duty. McKenna v. Chesnoff, et al., Case No.
         2-14-cv-1773-JAD-CWH pending in the United States District Court, District of
         Nevada. Case pending.

    •    Representation of law firm and attorney in defense of claims for breach of duty
         and aiding and abetting breach of fiduciary duty. Hugh S. Proctor. et al. v. CPF
         Recovery Ways, LLC, et al., Case No. 2:14—cv-0 1693 -RFB-PAL pending 'in the
         United States District Court, District of Nevada. Case settled.

    •    Representation of attorney in disciplinary proceedings resulting from attorney's
         conviction of a crime. State Bar of Nevada v. Chandan Manansingh, No. CR13-
         1850 (2015). Matter pending

    •    Representation of attorney in defense of allegations of unauthorized practice of
         law. Matter is confidential.


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    •    Representation of two partners of law firm in connection with their resignation
         from that firm and formation of a new firm. Matter is confidential.

    •    Representation of non-party for purpose of asserting accountant-client privilege in
         case where non-party's confidential information was at risk of disclosure. Core-
         Vent Bio En ineering, Inc. v. Polo Nevada Investments, Case No. A644240,
         Eighth Judicial District Court, Clark County, Nevada. Matter concluded.

    •    Representation of attorney regarding potential disciplinary complaint arising out
         of litigation financing and transactions involving medical liens. Name of attorney
         is confidential.

    •    Representation of client in matter following the striking of client's answer and
         imposition of sanctions for discovery violations and misconduct of prior counsel
         (Rule 3.3). Valley Health System. LLC, et al. v. Jane Doe, 134 Nev. Adv. Op.
         No. 76, 427 P.3d 1021 (Sept. 27, 2018).

    •    Representation of law firm (Hall Prangle & Schoonveld, LLC) and attorney
         contesting the imposition of sanctions for lack of candor to the court. (Nevada
         RPC 3.3). 134 Nev. Adv. Op. No. 76, 427 P.3d 1021 (Sept. 27, 2018).

    •    Representation of managing partner of Las Vegas office of national law firm in
         connection with his departure from that firm and the formation of a new law firm.
         Names of attorney and law f rm are confidential.

    •    Representation of Adain Kutner in the defense of a State Bar disciplinary
         proceeding alleging violations of various rules of professional conduct. State Bar
         v. Kutner, Case Nos. OBC15-0309, OBC15-0604, OBC15-1291,OBC16-0041,
         OBC 16-0613. Matter decided.

    •    Representation of partner in law firm in matter regarding partner's duties when
         law firm is engaging in conduct believed by the partner to violate the rules of
         professional conduct. Name of partner and law firm are confidential.

    •    Representation of law firm and lawyers in sanctions and contempt proceedings
         arising from lawyers' alleged trial misconduct. Names of lawyers are
         confidential.

    •    Representation of attorney in the defense of related State Bar proceedings
         involving client referrals. Name of attorney is confidential.

    •    Representation of a gaming licensee in a dispute with its former attorneys over
         malpractice and excessive fees. Names of parties are confidential. Matter
         resolved.

    •    Representation of secured creditor moving to disqualify law firm representing
         debtor-in-possession because of conflicting representation of guarantor. In re


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         Sterlingg Entertainment Group LV, LLC, Case No. BK-S-17-13662-abl, United
         States Bankruptcy Court, District of Nevada. Motion granted.

         Representation of Boyack Onne & Anthony in opposing motion seeking sanctions
         for misconduct during voire dire. Thompson v. Playland International. et al., Case
         No. A-14-697688-C, District Court, Clark County, Nevada. Motion decided by
         District Court. Nevada Supreme Court Case No. 75522 (Apri125, 2019) (issuing
         writ of mandamus vacating District Court imposition of sanctions). Client
         appeared pro per in Supreme Court.

    •    Representation of Lewis Brisbois Bisgaard & Smith in opposing motion seeking
         case terminating sanctions for alleged discovery abuse. Gonzales v. Navarro, et
         al., Case No. A-15-728994-C, District Court, Clark Count, Nevada. Case settled.

    •    Representation of Pete Eliades in (i) opposing motion seeking judgment for
         attorneys' fees, and (ii) asserting countermotion ordering the forfeiture of fees by
         reason of law firm's conflict of interest. Cooper Levenson v. Eliades, Case No.
         A-16-732467-C, District Court, Clark County, Nevada. Motions decided. Trial
         pending.

    •    Representation of Wilson, Elser, Moskowitz, Edelman & Dicker, LLP in
         opposing motion seeking sanctions. Lauren Pitts v. Costco Wholesale
         Corporation, Case No. A- 1 6-731492-C, District Court, Clark County, Nevada.
         Matter resolved.

    •    Representation of client in dispute with former attorney over propriety (and
         refund) of alleged "nonrefundable" retainer where attorney was terminated before
         any substantive work was done. Name of client is confidential.

    •    Representation of James W. Vahey, M.D. against former attorney (and others) in
         action for malpractice and breach of fiduciary duty. Vahey v. Musso, et al., Case
         No. A-14-695460-C, District Court, Clark County, Nevada. Matter settled.

    •    Representation of governmental entity in defense of action by newspaper
         contesting the refusal to produce "public records" on the ground that such records
         were protected from disclosure by attorney-client and deliberative process
         privileges. Las Vegas Review Journal v. City of Heiiderson, Nevada Supreme
         Court Case No. 73287 (decided May 24, 2019).

    •    Representation of Hanson Bridgett, LLC in opposing motion to disqualify that
         fin-n for alleged conflict with former client (RPC 1.9) Coyote SpringsLand
         Development v. Las Vegas Valley Water District, et al., Case No. A-1 8-778039-
         C, District Court, Clark County, Nevada. Matter resolved. Case dismissed.

    •    Retained by (non-party) former general counsel of defendant to advise as to
         matters of privilege, work product and confidentiality likely to arise at his
         deposition — taken in an action where the plaintiff alleged fraud and related
         wrongdoing by the defendant. Name of client is confidential.

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    •    Representation of client seeking disqualification of former attorneys now seeking
         to represent adverse parties in cross-claims. In re Fontainebleau Lien Litigation,
         Case No. A-17-765074-B. Matter decided. Nevada Supreme Court, Case No.
         78008 (March 2019).

    •    Representation of client in dispute with former counsel who personally filed an
         amicus brief adverse to the interest of his former client in a matter where he had
         personally represented the former client. Matter resolved. Names of client and
         attorney are confidential.

    •    Representation of Wynn Resorts Ltd. in a motion to disqualify its former counsel
         in a matter where the former counsel is appearing adverse to it. Stephen A. Wynn
         v. Wells, et al., Case No. A-18-784184-B, District Court, Clark County, Nevada.
         Matter resolved.

    •    Representation of Blue Martini (client) in matter involving unauthorized acts by
         attorneys purporting to act on client's behalf. Tomora Reichardt v. Blue Martini
         Las Vegas, LLC, d/b/a Blue Martini Lounge,et al., Case No. A-10-608169-C,
         District Court, Clark County, Nevada. Matter resolved.

    •    Representation of attorney in defense of State Bar proceeding alleging the
         perpetration of fraud on the court. State Bar of Nevada v. Noe, Case No. OBC-
         19-0605.

    •    Representation of Paul D. Powell and The Powell Law Firm in litigation against
         the State Bar of Nevada seeking to have Nevada Rule of Professional Conduct
         7.2(i) declared unconstitutional.

    •    Representation of City of Henderson in dispute with Las Vegas Review Journal
         over attorney's fees in public records case. City of Henderson v. Las Vegas
         Review Journal, Nevada Supreme Court Case No. 75407 (October 17, 2019).

    •    Representation of governmental entity in dispute with former employee-attorney
         over permissible post-employment activities of former employee-attorney.
         Names of client and former employee attorney are confidential.

    •    Representation of Stacey and Steven Lewis in dispute with former counsel
         (Brownstein Hyatt law firm) over attorney's fees. CML-NV Grand Day, LLC v.
         Grand Day, LLC, et al., Case No. A-11-655054-B, District Court, Clark County,
         Nevada. Matter resolved.

    •    Representation of James W. Vahey, M.D. in malpractice case against Black &
         Lobello and Tisha Black in James W. Vahey, M.D., et al., v. Black & Lobello, et
         al., Case No. A-18-768351-C, District Court, Clark County, Nevada. Matter
         pending.




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   •       Representation of Matthew Callister in the defense of the State Bar grievances
           regarding diligence and fees in Grievance File No. OBC-19-1132/Delia Henson
           and Grievance File No. OBC-19-1102/Demedrick Jefferson. Matters pending.

        RETENTION AS EXPERT: ETHICS/PROFESSIONAL RESPONSIBILITY

    •      Retained by bar applicant to give expert testimony before State Bar Moral
           Character and Fitness Committee regarding duty of confidentiality arising out of
           applicant's seeking employment with law firm representing adverse party.
           Testimony given. (2004) (Name of bar applicant is confidential).

    •      Retained by Cherry & Bailus to give expert testimony before State Bar Fee
           Dispute committee on issues regarding attorneys' withdrawal/termination of
           representation. Testimony given.

    •      Retained by Dominic Gentile to give expert testimony in U.S. Bankruptcy Court,
           Orange County, California, on attorney's obligations to client upon withdrawal
           and attorney's duty to withdraw. Offer of proof; no testimony given. In re Ken
           Mizuno; The Bankruptcy Estate of Ken Mizuno v. Ken Mizuno, Dominic P.
           Gentile. Terrance G. Reed. et. al., Case No. SA94-14429LR, Adv. No. AD95-
           01043, United States Bankruptcy Court, Central District of California.

           Retained by Law Offices of Stan Hunterton to testify in State Court case on issues
           concerning attomey's obligations in billing client for fees and charging for costs
           and expenses. Report prepared. No testimony given. Shinehouse & Duesing, a
           Nevada partnership, and Rumph & Peyton, a Nevada Partnership v. R.D. Prabhu,
           an individual, Case No. A379297, District Court, Clark County, Nevada. Case
           dismissed and re-filed as Shinehouse & Duesing v. Prabhu, Case No. A456661,
           District Court, Clark County, Nevada. Case dismissed.

           Retained by Law Offices of Gary Logan to testify as to lawyer's duties to jointly
           represented clients. Testimony given. Nault v. Mainor, Case No. A401657,
           District Court, Clark County, Nevada, Mainor v. Nault, 120 Nev. Adv. Op. 84,
           101 P.3d 308 (2004).

            Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to duties
            of attorney (competence) and scope of representation. Report prepared. Case
            dismissed. Ilbert Mednicoff, an individual and CCN, Inc., a Nevada corporation
            v. George F. Holman, an individual. Robert L. Bolick, an individual, Stewart A.
            Gollmer, an individual, Gary Fields, an individual, Law Offices of Robert L.
            Bolick, Ltd., a Professional corporation and Does 1 through 100, inclusive, Case
            No. A377374, District Court, Clark County, Nevada.

            Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to duties
            of law firm to supervise work of associate attorney. Report prepared. Case
            dismissed. Anthony Guymon, an incompetent person, by and through his
            Guardian ad Litem, Barbara Guymon; Barbara Guymon v. Coiy J. Hilton; Hilton

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         & Kahle; Villani, Hilton & Kahle; Villani. Gardner & Hilton; Perry & Spann;
         Pico & Mitchell, Ltd.; and Does 1 to 10, inclusive, Case No. 00-A-422013-C,
         District Court, Clark County, Nevada.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to
         lawyer's conduct in trial and settlement of case. Report prepared. Case
         dismissed. Mark J. Brown v. Alan Catley (and related cross actions), Case No.
         A381988, District Court, Clark County, Nevada.

         Retained by State Bar to testify in disciplinary proceeding as to lawyer's duties
         under SCR 170 (prohibition on filing frivolous litigation). State Bar v. Mirch,
         Case No. 3-34-20. Report prepared. Testimony given. In The Matter of
         Discipline of Kevin Mirch, Case No. 49212, Nevada Supreme Court, April 10,
         2008 (attorney disbarred).

    •    Retained by Holland & Hart to testify as to duties owed by lawyer who engages in
         business transactions with clients. Rivers v. Romano, et al., Case No. A483701,
         District Court, Clark County, Nevada. Report prepared. Testimony given. Case
         dismissed.

    •    Retained by attorney to testify regarding duties under SCR 152 (scope of
         representation), SCR 153 (diligence) and SCR 166 (declining or terminating
         representation), State Bar v. Goldber , No. 04-013-1536. Testimony given. Case
         dismissed.

    •    Retained by Cristalli & Saggese to testify as to issues regarding formation of
         attorney-client relationship, scope of representation, and breach of duties arising
         therefrom. Johnson v. Smith, Case No. 512364. Report prepared. Case
         dismissed.

    •    Retained by Snell & Wilmer to testify regarding duties and responsibilities of
         attorney providing opinion in real estate sale transaction. Sundance West LLC, et
         al. v. Orix Capital Markets, LLC, Case No. CV-04-01995, Second Judicial
         District Court, Washoe County, Nevada. Report prepared. Case dismissed.

    •    Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
         issues pertaining to insurer's "captive" law firm, including disclosure and client
         consent requirements. Artisan Tile & Plumbing, Inc., a Nevada corporation,
         formerly known as Davila Jimenez, Inc. doing business as Pueblo Landscape
         Company, Inc. v. Assurance Company of America, a New York Corporation;
         Bennion Clayson Marias & Haire fka Bennion & Clayson; Does 1 through 10,
         inclusive, Case No. A503744, District Court, Clark County, Nevada.

          Retained by Menter & Witkin to testify regarding (i) attorney's acceptance of
          defense of insured subject to insurer's litigation guidelines; (ii) conflicts arising
          from attorney's representation of four co-defendants in construction defect


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         litigation; (iii) duty of insurer to provide independent counsel; and (iv) whether
         attorney's conduct met standard of care. National Fire & Marine Insurance
         Company v. Roizer Gurr and Elsie Gurr (and counterclaim), Case No. 3:05-CV-
         0658-BES-VPC, United States District Court, District of Nevada. Report
         prepared. Case settled.

         Retained by Alverson, Taylor, Mortensen & Sanders to testify regarding
         attorney's conduct in determining proper defendants in litigation. Lesky v.
         Callister, Case No. 527875, District Court, Clark County, Nevada. Report
         prepared. Case dismissed.

         Retained by Gordon & Silver to testify regarding conduct of attorney and law
         firm in business transaction with client. Richards v. Allison, MacKenzie, et al.,
         Case No. 03-01781A, First Judicial District Court, Carson City, Nevada. Report
         prepared. Case dismissed.

         Retained by Deaner Scann Malan & Larsen to testify regarding an alleged conflict
         of interest arising from law firm's prior work and status of lawyer as shareholder
         in party to case. D& J Properties v. Siena Office Park 2, Case No. A537781,
         District Court, Clark County, Nevada. Report prepared. Testimony Given.
         Matter decided.

         Retained by Solomon Dwiggins & Freer to testify regarding the conduct of a
         lawyer and his law firm in the handling of an estate where the lawyer acted as
         trustee of various trusts and retained his own law firm to represent him. LeseberQ
         v. Woods, Case No. P59334, District Court, Clark County, Nevada. Report
         prepared. Deposition testimony given. Trial testimony given. Case settled.

         Retained by Menter & Witkin to testify regarding (i) duties of Nevada lawyer
         residing out of state and maintaining office in Nevada (SCR 42.1); and (ii) duties
         of multi jurisdictional law firm maintaining office in Nevada (NRPC 7.5A).
         Roger and Elsie Gurr v. National Fire & Marine Insurance Company, Reiser &
         Associates, and Does 1 through 40, Case No. 07-CV-615-HDM-VPC, in the
         United States District Court, Reno. Report prepared. Case settled.

         Retained by Lewis Brisbois Bisgaard & Smith to testify regarding restitution of
         fees paid to law firm who is later disqualified due to conflict of interest. American
         Heavy Moving and Rigging, Inc. v. Lewis Brisbois Bisgaard & Smith, LLP, State
         Bar Fee Dispute Case No. 07-055 (State Bar Fee Dispute Panel). Rebuttal report
         prepared. Testimony given. Case decided.

         Retained by Michael Warhola to testify regarding waiver of attorney-client
         privilege by inadvertent disclosures of e-mail from client. Seidman v. Dilloo,
         Case No. D260143, District Court, Clark County, Nevada. Report prepared.




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         Retained by attorney as consulting expert regarding opposing counsel's violations
         of NRPC 1.2(d) and 8.4(d) by rendering legal aid and advice to fugitive client to
         enable him to prosecute and defend litigation in Nevada. Joseph A. Bravo, David
         Z. Chesnoff, and Eckley M. Keach, Capital Growth Limited. Inc., Punta Arena De
         La Ventana, S.A. de C.V.. Boca De La Salina. SA De C.V. v. Capital Growth,
         LLC, and Kerry Rogers, and All Related Actions, Case No. A536644, A542755,
         A535548, District Court, Clark County, Nevada. Report prepared. Underlying
         case dismissed. Bar Grievance filed. Screening panel testimony given. Matter
         decided.

         Retained by attorney as consulting expert to advise whether opposing counsel's
         conduct (harassment of witness) violated NRPC 8.4(d). Julia Brady, et al v.
         Kerry Rogers, et al., Case No. A572440, District Court, Clark County, Nevada.
         Report prepared. Underlying case dismissed.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
         duties and responsibilities of a lawyer who is counsel of record in pending
         litigation, whose client retains other counsel and then ceases communicating with
         the lawyer. Geier v. Denue, et al., Case No. A525183, Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Marquis & Aurbach (later replaced by Lionel Sawyer & Collins) to
         testify regarding duties of lawyer who prepares a trust document, is appointed
         trustee upon client's death, and then retains his own law firm to represent the
         trust. In the Matter of the Total Amendment and Restatement of the William
         Eversole Family Trust Ori inally Dated Apri16, 1996, Case No. P-XX-XXXXXXX-T,
         Eighth Judicial District Court, Clark County, Nevada. Report prepared. Case
         settled.

         Retained by law firm to advise as to firm's duties when potential conflict arises
         between clients jointly represented by firm in defense of litigation. NRPC 1.7.
         (Name of firm and identities of clients are confidential).

         Retained by Thorndal Armstrong Delk Balkenbush & Eisinger to testify regarding
         the scope of duties owed by a lawyer who has been retained to render only limited
         services. Brewer v. State of Nevada, et al., Case No. 554064, Eighth Judicial
         District Court, Clark County, Nevada. Report prepared. Matter settled.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
         the duties owed to a minority shareholder by a lawyer who represents a closely
         held corporation. Jackson v. Ira Levine, et al., Case No. A538983, Eighth Judicial
         District Court, Clark County, Nevada. Report prepared. Trial testimony given.
         Case decided.

         Retained by Schiff Hardin, LLP to testify as to reasonableness of attorneys' fees.
         DTPI Holdinm LLP v. Forrest Binkley & Brown Capital Partners, LLP, Case


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         No. 2:07-CV-00690-BES-RJJ, U.S. District Court, District of Nevada. Report
         prepared. Case decided.

   •     Retained by Doyle Berman Murdy, P.C. to opine on attorney's conduct in
         representing several parties in related transactions. XMASCO, LLC v. Wellborn
         & Associates, P.C., et al., Case No. A566261, Eighth Judicial District Court,
         Clark County, Nevada. Case dismissed.

   •     Retained by Wolf, Rifkin, Shapiro, Schulman & Rabkin, LLP, to testify as to
         attorney's duties regarding safekeeping and distribution of client's funds. Azine,
         et al. v. Johnson, et al., Case No. A587009, Eighth Judicial District Court, Clark
         County, Nevada. Case settled.

    •    Retained by Lewis Brisbois Bisgaard & Smith to testify as to law firm's duties in
         preparing and communicating with client regarding drafts of transactional
         documents. Padilla v. Smith, Case No. A569307, Eighth Judicial District Court,
         Clark County, Nevada. Report prepared. Case settled.

    •    Retained by Solomon Dwiggins & Freer to testify regarding attorney's conduct in
         representing trustors and beneficiaries of a trust. Buck v. Hoffman, Case No.
         CV09-00324, Second Judicial District Court, Washoe County, Nevada. Report
         prepared. Deposition taken. Case settled.

    •    Retained by Lewis Brisbois Bisgaard & Smith to testify regarding attorney's
         conduct in representing closely held corporation. RPC 1.13. Rita Quam Family
         Trust, et al. v. OPA Management, LLC, et al., Case No. A568829, Clark County
         District Court. Report prepared. Case concluded on summary judgment in favor
         of attorney. Amended Complaint filed,. Additional report prepared. Matter
         settled.

         Retained as special counsel to brief and argue defendants' rights aiid obligations
         (vis-a-vis, non-settling plaintiffs) regarding possibly privileged or confidential
         documents received by defendants from some plaintiffs as a part of a settlement.
         Klaas v. Vestin Mortizage, Case No. A528385, Clark County District Court
         (matter decided).

         Retained by Glaser, Weil, Fink, Jacobs, Howard & Shapiro, LLP to testify as to
         lawyer's obligations upon receipt from a third party of documents and
         information which appear to have been misappropriated from adverse party.
         Merits Incentives, LLC v. Eighth Jud. Dist. Ct. ex rel. Cnty. of Clark, 127 Nev.
         Adv. Op. 63, 262 P.3d 720 (2011).

         Retained by Thorndal, Armstrong, Delk, Balkenbush & Eisinger to testify
         regarding attorney's conduct (diligence and competence) in representing client in
         complex mechanic's lien litigation. Maui One Excavating v. Mead & Pezzillo, et



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         al., Case No. A539801, Clark County District Court. Report prepared. Case
         settled.

   •     Retained by Robertson & Vick, LLP to testify as to reasonableness of attorneys'
         fees. Voggenthaler, et al. v. Maryland Square, et al., Case No. 2:08-CV-01618
         RCJ (GWF), U.S. District Court, District for Nevada. Report prepared. Matter
         decided.

    •    Retained by Travelers Companies, Inc.'to opine on issues relating to the
         unauthorized practice of law (Nevada RPC 5.5 and SCR 49.10). Opinion
         prepared.

    •    Retained by Chamberlain Hrdlicka White Williams & Martin to opine on several
         Nevada RPC 8.3 issues in Valdez v. Cox Communications, et al., Case No. 2:09-
         CV-1797-PMP-RJJ in the U.S. District Court, District of Nevada. (Oral opinion
         delivered.)

    •    Retained by Mark Zaloras and the Law Offices of Peter Goldstein to opine on
         several malpractice, billing and fee issues. Gaxiola-Lim v. Michel, Case No. A-
         10-613812-C, Clark County District Court. Preliminary report prepared. Matter
         settled.

    •    Retained by the Cashill Law Firm to opine on attorney's entitlement to a fee for
         work done on behalf of an incompetent client. Merle Layton Trust, Case No.
         PR98-00336. Second Judicial District Court, Washoe County, Nevada. Report
         prepared.

    •    Retained by Marquis Aurbach Coffmg to testify as to attorney's conduct in
         representation of clients and matters relating to negotiation of release from
         malpractice liability. Gugino v. Nevada Contractors Ins. Co., et al., Case No. A-
         11-637935-B, Clark County District Court. Report prepared. Trial testimony
         given. Matter decided.

         Retained by Vernon L. Bailey, Esq. to testify as to attorneys' conduct in
         representation of clients and matters relating to legal malpractice, breach of
         fiduciary duty and negligence. Inca Investments. Inc.; Platina, Inc. v. Kevin R.
         Hansen, Esq.; Wilde Hansen, LLP; Gre ory L. Wilde, Esq.; Richard S. Ehlers,
         E~sc ., Case No. A-09-604391-C, Clark County District Court. Report prepared.
         Deposition taken. Case settled.

         Retained by Laxalt & Nomura to testify as to attorneys' obligations to and
         conduct affecting opposing party in litigation. Pompei v. Hawes, et al., Case No.
         A-11-642012-C, Clark County, District Court. Report prepared. Deposition
         taken. Matter settled.




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    •    Retained by Randolph Goldberg to testify as to attomey's conduct regarding
         various issues. State Bar v. Goldberg, Case Nos. 09-049-1536; 09-102-1536; and
         09-235-1536. Report prepared. Matter resolved.

    •    Retained by multi jurisdictional law firm to render advice on compliance with
         Nevada registration and practice requirements (Nev. R.P.C. 7.5A).

    •    Retained by Christian, Kravitz, Dichter, Johnson & Sluga, LLC to testify
         regarding attorneys' obligations when terminating employment with a law firm
         and starting a new firm. Burr v. Dodds, Case No. A-11-650060-B, Clark County
         District Court. Matter settled.

    •    Retained by Hong & Hong to testify as to duties of attorneys (competence) in
         conduct of litigation. Wacht v. Peel & Brimley, Case No. A646410, Clark
         County District Court. Report prepared. Matter decided.

    •    Retained by attorney to render opinion on duties regarding disposition of disputed
         funds held by attorney. (Nev. R.P.C. 1.15) (Attorney's name is confidential.)

    •    Retained by Greenspoon Marder, P.A. to render opinion on attorney's duty to
         obtain clients' informed consent before settling or dismissing claims. Pittman v.
         Westaate Planet Hollywood Las Vegas, LLC, Case No. 2:09-CV-00878-PMP-
         GWF, United States District Court, District of Nevada. Report prepared. Matter
         decided.

    •    Retained by Simon & Berman to render opinion on conduct of lawyer and law
         firm in representing client in litigation (diligence, competence and
         communications)., Chandler v. Black & LoBello, et al., Case No. A-11-643955,
         refiled as Case No. A-12-660252, Clark County District Court. Matter settled.

    •    Retained by Lewis Brisbois Bisgaard & Smith LLP to render opinion on conduct
         of attorney in matters pertaining to failed investment. Softwind Capital, LLC v.
         Global Project Solutions. LLC, et al., Case No. 2:11-CV-02057-JCM-GWF,
         United States District Court. Case settled.

    •    Retained by Lewis Brisbois Bisgaard & Smith LLP to render opinion on conduct
         of attorney regarding loans made to client (Nevada RPC 1.8). Albert D. Massi v.
         Donald and Mary Nobis, Case No. A672579 in the District Court, Clark County,
         Nevada. Case settled.

    •    Retained by law firm as consulting expert to render opinion regarding attorney's
         duty to report misconduct by opposing counsel. Nevada RPC 8.3(a). Name of
         law firm and subject attorney are confidential.

    •    Retained by Lewis Roca Rothgerber to render opinion on whether the common
         religious affiliation of the judge and one party's counsel requires the judge to
         recuse himself. Lynan v. Health Plan of Nevada, Case No. A583772 and Ma$ana

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         v. Health Plan of Nevada, Case No. A583816, District Court, Clark County,
         Nevada. Report prepared. Matter decided.

    •    Retained by Littler Mendelson to render opinion as to the propriety of self-dealing
         and other activities by company's in-house counsel. Randazza v. Excelsior Media
         Com., JA.MS Case No. 1260002283. Report prepared. Arbitration testimony
         given. Case decided.

    •    Retained by Judy M. Sheldrew, Esq. to render an opinion on the propriety of
         several attorneys' conduct in dealing with client having diminished capacity
         Andrews v. Rowe, et al., Case No. 12-PB-0075 in the Ninth Judicial District
         Court, Douglas County, Nevada. Report prepared. Case settled.

    •    Retained by Christine A. Zack to opine on issues of unauthorized and multi-
         jurisdictional practice of law. In re: Fundamental Long Tenn Care, Inc., Case
         No. 8-11-BK-22258-MGW, District of Florida. Matter settled.

    •    Retained by Wilson, Elser, Moskowitz, Edelman & Dicker, LLP, to opine on
         issues regarding the conduct of class counsel in dealing with class representative.
         Goldsmith v. Sill, et al., Case No. 2-12-CV-0090-LDG-CWH in the U.S. District
         Court, District of Nevada. Report prepared. Case pending.

    •    Retained by Lewis Brisbois Bisgaard & Smith LLP to opine on issues regarding
         conduct of counsel with respect to claims alleged in David Siebrasse, as Personal
         Representative of the Doreen Siebrasse Estate v. Jeffrey Burr, Ltd.; Jeffrey Burr;
         Mark Dodds; John Mugan: et al., Case No. A-11-648532-C, in the District Court,
         Clark County, Nevada. Report prepared. Case settled.

    •    Retained by Lewis Brisbois Bisgaard & Smith LLP to opine on issues regarding
         conduct of counsel with respect to claims alleged in T&R Construction Group v.
         Clark Tatom. LLC; and Bradley R. Tatom, Case No. A-13-689637-B, in the
         District Court, Clark County, Nevada. Report prepared. Case settled.

    •    Retained by Fulbright & Jaworski to opine on that firm's conduct in representing
         related entities in commercial transaction. Verano Land Group, LP v. VTLM
         Texas LP, et al, Case No. A-12-655514-B in the Eightli Judicial District Court,
         Clark County, Nevada. Report prepared. Deposition taken. Case settled.

    •    Retained by Bowen Hall to opine on (i) propriety of lawyer threatening to
         withdraw from case during contested hearing unless the client accepted a
         settlement offer, and (ii) other issues of competency and diligence. James J
         "Butch" Peri v. Stephen C. Mollath: Prezant & Mollath; et al., Case No. CV08-
         02546 in the Second Judicial District Court, County of Washoe, State of Nevada.
         Trial testimony given. Case settled.

    •    Retained by Wilson, Elser, Moskowitz, Edelman & Dicker, LLP to opine on
         lawyer's duties with respect to firm trust account and partner's improper conduct.


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         SBS Retail Inc., et al. v. Yves Chantre Inc., et al., Case No. A-13-681083-C, in
         the District Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Lewis Roca Rothgerber to opine on attorneys' conduct during trial
         and compliance with Nevada RPC 3.3 (candor to the tribunal) in the matter
         entitled Health Plan of Nevada. Inc., et al. v. Helen Meyer, et al., Nevada
         Supreme Court Case No. 64692. Report prepared. Case settled.

         Retained by McDonald Family Trust to opine on the conduct of shareholders and
         the entity's counsel in a related party transaction. Nevada RPC 1.13. Russell G.
         Sheltra, individually and as Trustee of the Russell G. Sheltra Gaming Trust and
         Little Bonanza. Inc. v. Margaret McDonald and Timothy McDonald, Individually
         and as Trustees of the Robert and Gloria McDonald Family Trust, et al., Case No.
         CV 14-01111, in the Second Judicial District Court, Washoe County, Nevada.
         Case settled.

    •    Retained by Holland & Knight to opine on the reasonableness of attorneys' fees
         in the matter entitled Leerad. LP, et al. v. Imperial Credit Corporation d/b/a A.I.
         Credit Corporation. et al., Case No. A631490, in the Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case settled.

    •    Retained by Thorndal, Armstrong, Delk, Balkenbush & Eisinger to opine on
         conduct of attorney in commercial real estate transaction. Shulman v. Bendavid,
         Case No. A682679, District Court, Clark County, Nevada. Report prepared.
         Deposition taken. Case settled.

    •    Retained by Clyde Snow & Sessions to opine on attorney's conduct in a matter
         affecting several clients (RPC 1.7; 2.2). United States of America v. Leon
         Benzer, et al., Case No. 2:13-cr-00018-JMC-GWF pending in the United States
         District Court, District of Nevada. Report prepared. Trial testimony given.
         Matter decided.

    •    Retained by Liberty Media Holdings LLC to opine on conduct of its in-house
         counsel in several matters. Randazza v. Liberty Media Holdinizs, LLC, Case No.
         A-12-673275-C in the Eighth Judicial District Court, Clark County, Nevada.
         Report prepared. Case settled.

    •    Retained by Weinberg Wheeler Hudgins Gunn & Dial to opine on conduct of
         attorneys in representation (and withdrawal) of clients in litigation. Lee v. 70 Ltd.
         Partnership, Case No. A-13-691389-C, Eighth Judicial District Court, Clark
         County, Nevada. Report prepared. Matter pending.

    •    Retained by Rock Fusco & Connelly, LLP to opine on conduct of attorneys in the
         conduct of litigation. International Game Technology v. Armstrong Teasdale.
         LLP, Case No. A-15-715079-C, Eighth Judicial District Court, Clark County,
         Nevada. Report prepared. Deposition taken. Case settled.



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   •     Retained by Durham Jones & Pinegar to opine on conduct of attorney with
         respect to financial dealings with client (RPC 1.7 and 1.8). Center Firearms Corp.
         v. Long; Mountain Outfitters, Case No. A-14-709294-B, Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case decided.

   •     Retained by law firms to opine on issues regarding potential conflicts of interest
         which arise after retention in a matter. Names of law firms are confidential.

   •     Retained by Faux Law Group to opine on lawyers' conduct in the litigation and
         settlement of a matter. Nahabedian v. Sutcliffe, et al., and related claims,
         counterclaims and third-party claims, Case No. A-12-673897-C, District Court,
         Clark County, Nevada. Case settled.

    •    Retained by Gibbs, Giden, Locher, Turner & Senet LLP to opine on the conduct
         of a law firm and its attorneys (competence and supervision) in the representation
         of an HOA client. Vistana Condominium Owners Assn., Inc. v. Kummer
         Kaempfer Bonner Renshaw & Ferrario, Case No. 08-A-578306, District Court,
         Clark County, Nevada. Report prepared. Deposition taken. Trial testimony
         given. Case decided.

         Retained by Rimini Street, Inc. and Seth Ravin to opine on the reasonableness of
         the fees and costs incurred by the Plantiffs' counsel in the case entitled Oracle
         USA, Inc., et al. v. Rimini Street, Inc. and Seth Ravin, Case No. 2: 1 0-cv-0 106-
         LRH-PAL in the United States District Court, District of Nevada. Report
         prepared. Matter decided. 209 F. Supp. 3d 1200 (D. Nev. 2016); reversed in
         part, 879 F. 3d 948 (9th Cir. 2018) and remanded. Supplemental report prepared.
         Matter decided on remand.

    •    Retained by Lipson, Neilson, Cole, Seltzer & Garin, PC to opine on the conduct
         of inembers of Wasserman Kornheiser, LLP, at issue in the claims alleged in the
         matter entitled Carlisle Homeowners Association v. Pacifica Covington, LLC, et
         al., Case No. A-13-678911-D, District Court, Clark County, Nevada. Case
         pending.

    •    Retained by Lewis Roca Rothgerber to opine on conduct of attorney in the
         litigation of a matter. Huckabay Properties, lnc. v. Beau Sterling, et al., Case No.
         CV-15-00765, Second Judicial District Court, Washoe County, Nevada. Case
         settled.

    •    Retained by Gordon & Rees to opine on the conduct of attorney regarding
         business transaction with client. Blanchard v. Rosenfeld, Case No. A637650,
         District Court, Clark County, Nevada. Report prepared. Rebuttal Report
         prepared. Case pending.

    •    Retained by Loose Brown & Associates (later replaced by May, Potenza, Baran &
         Gillespie, P.C.) to opine on the conduct of a law firm and one of its lawyers in the
         representation of a client in litigation. Cannabis Renaissance Group, LLC, and
         Mohit Asnani v. Fennemore Craig, P.C. dba Fennemore Craig Jones Vargas; and

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         Patrick J. Sheehan and Jane Doe Sheehan, Case No. CV2016-054776, pending in
         Superior Court, State of Arizona, Maricopa County. Report prepared. Rebuttal
         report prepared. Deposition taken. Case pending.

         Retained by Morris Polich & Purdy to opine on conduct of lawyer and law firm in
         representation of client in litigation. Sunport Business Trust v. Serle, et al., Case
         No. A-15-716677-C, District Court, Clark County, Nevada. Report prepared.
         Rebuttal report prepared. Case pending.

         Retained by Caldwell Leslie & Proctor, PC to opine on (i) the causation of
         damages by attorney negligence in a commercial transaction and (ii) the
         reasonableness and necessity of attorneys' fees incurred by Renown Health,
         Renown Regional Medical Center, and Nevada Heart Institute d/b/a Renown
         Institute for Heart & Vascular Health in the matter entitled Arger, et al. v.
         Renown Health, et al., Case No. CV11-02477, Second Judicial District Court,
         Washoe County, Nevada, such fees are sought as damages by the Renown Parties
         in the matter entitled Renown Health. et al v. Holland & Hart, LLP. et al., Case
         No. CV 14-02049, Second Judicial District Court, Washoe County, Nevada.
         Report prepared. Deposition taken. Trial testimony given. Matter decided.

         Retained by Edward Lewis Tobinick, M.D, Edward Lewis Tobinick, MD d/b/a
         Institute of Neurological Recovery and INR PLLC d/b/a Institute of Neurological
         Recovery to opine on the conduct of Marc J. Randazza, Esq. of Randazza Legal
         Group, PLLC in the inatter entitled Edward Lewis Tobinick, M.D., et al. v.
         Novella, et al., Case No. 9:14-cv-80781-RLR, pending in the U.S District Court,
         Southern District of Florida (West Palm Beach). Report prepared. Matter
         decided.

         Retained by Meister Seelig & Fein LLP to opine on the reasonableness and
         necessity of attorneys' fees incurred by Ballard Spahr LLP and Katten Muchin
         Rosenman LLP in the matter entitled Jeffrey Soffer, et al. v. The Bank of Nova
         Scotia, New York Aaency, Case No A635777 in the Eighth Judicial District
         Court, Clark County, Nevada, as appealed to the Nevada Supreme Court, Case
         Nos. 61762 and 63157. Report prepared. Deposition taken. Matter pending in
         New York state court         -

         Retained by Wilson Elser Moskowitz Edelman & Dicker LLP to opine on the
         conduct of Danielle L. Miller and the law firm of Sylvester & Polednak regarding
         malpractice claims brought by Laura Renzi. Preliminary report prepared. Case
         settled.

         Retained by Hutchison & Steffen to opine on the conduct of Eric Roy and the law
         firm of Claggett & Sykes in the matter entitled Adam S. Kutner. P.C., et al. v.
         Eric Dal . ,~., Case No. A-11-643990-C consolidated with Case No. A-11-
         650247-C, pending in the Eighth Judicial District Court, Clark County Nevada.
         Report prepared. Matter settled.



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   •     Retained by Morris Polich & Purdy to opine on conduct of lawyer in litigation.
         Scotto v. GourleY, et al., Case No. A-15-729632-C, District Court, Clark County,
         Nevada. Report prepared. Case settled.

   •     Retained by Messner Reeves LLP (successor to Wolfenzon Rolle Edwards) to
         opine on conduct of lawyers in litigation. Dudek v. Meuller, et al., Case No. A-
         14-703305-C, District Court, Clark County, Nevada. Report prepared. Matter
         settled.

    •    Retained by law firm to advise as to validity of attorney association agreement.
         (Name of firm and identities of clients are confidential).

    •    Retained by Quinn Emanuel Urquhart & Sullivan, LLP to opine with regard to
         Motions to Disqualify Quinn Emanuel, counsel for Elaine P. Wynn, filed by
         Wynn Resorts, Limited in the matter entitled Wynn Resorts, Limited v. Kazua
         Okada, et al., and all related claims, Case No. A656710, pending in District Court,
         Clark County, Nevada. (RPC 3.3, 4.4, 5.3 and 8.4). Report prepared. Matter
         resolved.

    •    Retained by attorney to advise as to obligations when client is committing
         fraudulent acts. (Name of attorney is confidential.)

    •    Retained by Kravitz, Schnitzer & Johnson to opine on attorney's obligations when
         claim is made that fees were paid with stolen funds. Nowa Ausrustung Group,
         Inc. v. Dean Kajioka, Case No. 2:17-cv-01293-RFB-VCF, U. S. District Court,
         District of Nevada. Case settled.

    •    Retained by Buckley Sandler, LLP to opine on law firm's obligations when
         withdrawing from one jointly represented client and continuing to represent the
         other. Wynn Resorts, Limited v. Kazuo Okada, et al., and all related claims, Case
         No. A656710, District Court, Clark County, Nevada. Matter resolved.

    •    Retained by Hartford Financial Products to render an opinion on the conduct of
         Ken R. Ashworth, Esq., Hans R. Baldau, Esq., Geoffrey A. Potts, Esq., and Ken
         R. Asliworth & Associates P.C. as alleged in the Arbitration Matter of Michael C.
         Fuoroli and Tiffany S. Fuoroli, Claimants v. Ken R. Ashworth & Associates. Ken
         R. Ashworth. Hans R. Baldau, and Geoffrey A. Potts. Respondents / Ken R.
         Ashworth & Associates. Professional Corporation. Counterclaimant v. Michael C.
         Fuoroli and Tiffany S. Fuoroli, Counter-respondents, Case No. 211874. Case
         decided.

         Retained by Armstrong Teasdale to render an opinion on the conduct of attorney
         in representing client in negotiations. (Alleged aiding and abetting client in
         breach of fiduciary duty to partner.) LV Holdco LLC v. Atalon Mamt. Grom.
         LLC, et al., Case No. A-17-749387-B, District Court, Clark County, Nevada.

         Retained by Santoro Whitmire to render an opinion on the conduct of attorneys
         and law firm (Gordon Rees Scully Mansukhani, LLP) in the conduct of litigation.

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         Smead v. Gordon Rees, et al., Case No. A-1 6-76073 7-C, District Court, Clark
         County, Nevada.

    •    Retained by Holley Driggs Walch Fine Wray Puzey & Thompson to render an
         opinion on the conduct of attorney T. James Truman in the representation of his
         client. T. James Truman & Associates v. Quest Preparatoz;y Academy, Case No.
         A-15-727469-C, District Court, Clark County, Nevada.

    •    Retained by Hutchison & Steffen to opine on the validity of an alleged conflict
         waiver by a governmental entity (City of Las Vegas) in order to permit it to be
         represented by a law firm which was appearing adverse to it in a related matter.
         180 Land Co. LLC v. City of Las Veeas, Case No. A-17-758528-J, District Court,
         Clark County, Nevada. Preliminary opinion rendered: Matter resolved.

    •    Requested (pro bono) by the Clark County District Attorney's office to advise as
         to propriety of criminal defense attorneys posting offensive comments on social
         media (Nevada RPC 8.4(d)). Memorandum re substance and remedies delivered.
         (7/16/18).

    •    Retained by law firm to opine and advise regarding expulsion of partner/
         shareholder feom firm. Name of firm is confidential.

    •    Retained by Gentile Cristalli Miller Armeni & Savarese, PLLC to opine and
         advise regarding reasonableness of fees in King v. Desert Palace, Inc., et al., Case
         No. A-13-691609-C, District Court, Clark County, Nevada. Opinion rendered.

    •    Retained by Olson, Cannon, Gormley, Angulo & Stoberski to opine on
         malpractice issues in Coleman v. Tomsheck, et al., Case No. A-15-728692-C,
         District Court, Clark County, Nevada. Report prepared.

    •    Retained by Gerrard Cox Larsen to opine on attorney fiduciary and firm loyalty
         issues in Woods & Erickson, LLP v. The Estate of Glen Woods, et al., Case No.
         A-18-775111-C, District Court, Clark County, Nevada. Oral report given. Case
         settled.

    •    Retained by Gerrard Cox Larsen to opine on attorney fiduciary and firm loyalty
         issues in Woods & Erickson, LLP v. Andrew B. Platt, et al., Case No. A-18-
         774926-C, District Court, Clark County, Nevada. Report prepared.

    •    Retained by Marshall & Associates to opine on the conduct of attorney Douglas J.
         Gardner (and others) in the representation of clients (insurer and insured) in
         litigation and other related matters. Century National Insurance Co., et al. v.
         Douglas J. Gardner, et al., Case No. 2:18-cv-02090-APG-BWN, U.S. District
         Court, District of Nevada. Report prepared.

    •    Retained by Robison Sharp Sullivan & Brust to opine on existence of and
         consequences arising from former client conflict. Co o~prings Investment,
         LLC v. Wilson, Case No. A-19-789203-J, District Court, Clark County, Nevada.

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   •     Retained by Kravitz, Schnitzer & Johnson, Chtd. to opine on the conduct of
         Dennis M. Prince with respect to his conduct in Lee Pretner, et al. v. Michael A.
         Vasquez. et al., Case No. A-11-632845-C, in the District Court, Clark County,
         Nevada; which is now at issue in Dana Andrew, et al. v. Century Surety
         Company, Case No. 2:12-cv-00978-APG-PAL, in the United States District
         Court, District of Nevada. Report prepared.

         Retained by Fidelity National Law Group to opine as to the reasonableness of the
         attorneys' fees incurred by the Plaintiff's counsel in The Money Source, Inc. v.
         Chartered Holding_s, Inc. and related cases, Case No. A-17-749645-C, District
         Court, Clark County, Nevada. Report prepared. Matter decided.

         Retained by Flangas Law Firm, Ltd. to opine as to the conduct of C. Conrad
         Claus, Esq. with respect to the claims alleged in Grundy v. Claus & McKenzie,
         Case No. A-17-754726-C, in the Eighth Judicial District Court, Clark County,
         Nevada. Reports prepared.

         Retained by Hutchison & Steffen, PLLC to opine as to the conduct of Rory
         Vohwinkel and Vohwinkel & Associates with respect to Caballos De Oro
         Estates, LLC v. Eliot A. Alper, et al., Case No. A-17-752905, pending in the
         Eighth Judicial District Court, Clark County, Nevada.

        CONTINUING LEGAL EDUCATION INSTRUCTION (1997-Present)

    •    National Business Institute (NBI) (6/19/19): "Ethics in Business Law"

    •    Clark County Bar Association (5/14/19): "Things They Didn't Tell You In Law
         School"

    •    Clark County Bar Association (5/9/18): "Current Topics for New (and Not So
         New) Lawyers" Current Issues in Ethics

    •    Kolesar & Leatham (12/22/17): Current Issues In Privilege and Confidentiality

    •    National Business Institute (12/20/17): Legal Ethics — Top Challenges

    •    Association of Legal Administrators, Las Vegas Chapter (11/14/17): "Attorney-
         Client Privilege and Confidentiality"

    •    National Business Institute (10/19/17): Tax Exempt Organizations: Ethics
         Bootcamp

    •    Clark County Bar Association (5/11/17): "You Know Where You've Been ..."
         Current Issues in Ethics

    •    State of Nevada-Paralegal Division (4/29/17): Confidentiality and Attorney-
         Client Privilege

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   •     City of Henderson, City Attorney's Office (10/6/16): Ethics 2016: "What Can I
         Say?"

   •     Southern Nevada Association of Women Attorneys (1/7/16): "Things to Fear in
         the New Year"

   •     Clark County Bar Association (12/9/15): "12th Annual Ethical Issues"

   •     Clark County Bar Association (6/25/15): "Things You Don't Know Can Hurt
         You — Here are 12 of them"

   •     Water Law Institute: 17t' Annual Law of the Colorado River Conference
         (5/1/15): "Ethics and Social Media"

   •     Southern Nevada Association of Women Attorneys (1/15/15): "Ethics Issues for
         2015"

   •     Clark County Bar Association (11/13/14): "l l th Annual Ethics CLE"

    •    American Bar Association Section of Environment, Energy and Resources, 32"d
         Annual Water Law Conference: Ethics for Water Lawyers (6/6/14)

    •    Association of Legal Administrators, Las Vegas Chapter (5/13/14): "Issues in
         New Business Intake."

    •    American Bar Association Group Legal Services Association and Solo, Small
         Firm and General Practice Division Annual Meeting (5/2/14): "Ethics Issues In
         Marketing and Client Development."

    •    State Bar of Nevada: Section of Environmental and Natural Resources Law
         (2/27/14) "Etliics Issues for Environmental Lawyers."

    •    Clark County Bar Association (12/13/13). lOth Annual Ethics CLE.

    •    City of Henderson, City Attorneys' Annual Retreat (10/17/13). "A Lawyer Walks
         Into a Bar ... The Dangers of Casual Advice and Conversation."

    •    Las Vegas Paralegal Society: Keeping Abreast of Conflicts and Unauthorized
         Practice (6/18/13).

    •    Association of Legal Administrators, Las Vegas Chapter: Legal Administrator's
         Role in Preventing Malpractice (6/11/13).

    •    American Bar Association Section of Environment, Energy and Resources, 31st
         Annual Water Law Conference: Water Lawyers and Ethics (6/7/13)._


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    •    Clark County Bar Association (5/8/13) "4t' Annual Solo and Small Firm Ethical
         Traps."

    •    UNLV Boyd School of Law (3/8/13) "Professionalism and Popular Culture."

    •    Clark County Bar Association (11/2/12). 9th Annual Ethics CLE.

    •    Clark County Bar Association (3/28/12). "3rd Annual Hanging Out a Shingle?
         Solo and Small Firm Ethical Traps."

    •    American Bar Association Business Law Section Spring Meeting (3/22/12).
         "Saints and Sinners: Ethical Issues and Dilemmas in Client and Practice
         Development."

    •    Southern Nevada Association of Women Attorneys (2/24/12). "Ten for Twelve:
         Ethics 2012."

    •    Clark County Bar Association (11/3/11) "8th Annual Ethics CLE."

    •    Nevada Paralegal Assn. (6/18/11) "UPL: Attorney Supervision of Paralegals."

    •    Department of Energy Contractor Attorneys' Assn. (5/27/11) "Ethics: Ten Things
         You Should Know."

    •    Southern Nevada Association of Women Attorneys (2/25/11) "Ten For Eleven:
         Ethics 2011."

    •    Clark County Bar Association (2/4/11) "Hanging Out A Shingle? Solo and Small
         Firm Ethical Traps."

    •    Clark County Bar Association (9/30/10) "7th Annual Ethics Issues: 2010."

    •    American Society of Breast Surgeons (4/30/10) Avoiding and Responding to
         Litigation.

    •    Clark County Bar Association (3/26/10) Avoiding Solo/Small Firm Ethical Traps.

    •    Southern Nevada Association of Women Attorneys (2/26/10) Ethics 2010: Ten
         Thoughts for ' 10.

    •    State Bar ofNevada (11/12/09): Nevada Legal Ethics (2009).

    •    State Bar of Nevada, Clark County Bar Association and Washoe County Bar
         Association (10/13/09, Las Vegas; 10/14/09, Carson City): 2009 Professionalism
         Summit.


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    •    Clark County Bar Association (9/18/09): "Sixth Annual Ethics Issues: 2009."

    •    Public Relations Society of America (7/24/09): "Keeping Out of Hot Water:
         Legal Considerations in Communications."

    •    Lecture and panel discussion with Justice Nancy Saitta and District Judge Linda
         Bell: "Professionalism in Litigation." Boyd School of Law (4/1/09).

    •    Southern Nevada Association of Women Attorneys (2/20/09): "ETHICS 2009:
         Being Good Gets Harder Every Year."

    •    State Bar of Nevada (12/5/08): "Nevada Legal Ethics 2008."

    •    State Bar of Nevada (11/19/08): "Nevada Legal Ethics 2008."

    •    Indiana State Bar Association (11/13/08): "Ethics: A Western Perspective on
         Maintaining A Healthy Legal Practice."

    •    Clark County Bar Association (9/19/08): "Fifth Annual Ethics Issues 2008"
         (Prepared materials. Presentation made by David J. Merrill).

    •    Southern Nevada Association of Women Attorneys (2/22/08): "Ethics 2008 - Be
         Careful Out There."

    •    State Bar of Nevada (11/30/07) "Nevada Legal Ethics 2007."

    •    State Bar of Nevada (11/16/07) "Nevada Legal Ethics 2007."

    •    Clark County Bar Association (10/31/07) "Lawyer Advertising: The New Rules."

    •    Wisconsin Law Alumni Association (9/8/07) "The New Rules of Professional
         Conduct."

    •    Clark County Bar Association (8/24/07) "Fourth Annual Legal Ethics - 2007."

    •    National Assn. of Retail Collection Attorneys (5/11/07) "Ethics Issues for Legal
         Collection Professionals."

    •    Southern Nevada Association of Women Attorneys (2/23/07) "Desperately
         Seeking Ethics - 2007."

    •    State Bar of Nevada (12/1/06) "Nevada Legal Ethics 2006."

    •    State Bar ofNevada (11/17/06) "Nevada Legal Ethics 2006."



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    •    Clark County Bar Assn. (6/30/06) "Ethics 2006: The New Nevada Rules of
         Professional Conduct."

    •    State Bar of Nevada Professionalism Summit: Speaker and Panel Member
         (4/20/06).

    •    Southern Nevada Association of Women Attorneys (1/27/06) "Ethics Issues for
         2006."

    •    State Bar ofNevada (11/18/05) "Nevada Legal Ethics 2005."

    •    State Bar of Nevada (11/4/05) "Nevada Legal Ethics 2005."

    •    Clark County Bar Assn. (9/15/05) "Ethics 2005: Current Issues."

    •    Clark County Bar Assn. (3/4/05) Speaker and Panel Member: First Annual
         Professional Summit.

    •    State Bar of Nevada (11/19/04) "Ethics 2004: Year in Review."

    •    State Bar of Nevada (11/5/04) "Ethics 2004: Year in Review."

    •    Clark County Bar Assn. (7/30/04) "Current Issues In Ethics."

    •    Lorman Business Institute (7/20/04) "Current Issues in Ethics."

    •    National Hospice Assn. (3/21/04) "Legal Issues For Physicians In End of Life
         Care."

    •    Southern Nevada Assn. of Women Attorneys (1/30/04) "Etliics Issues for 2004."

    •    State Bar of Nevada (1/20/04) "Workers Compensation: Current Issues in Ethics."

    •    National Business Institute (10/21/03) "Current Issues In Attorney Client
         Privilege and Confidentiality."

    •    Sterling Educational Systems (9/25/03) "Common Ethical Problems for
         Transactional Lawyers."

    •    Clark County Bar Assn. (2/28/03) "ERISA 2003: What's New?"

    •    Southern Nevada Assii. of Women Attorneys (1/31/03) "Ethics: 2003."

    •    State Bar of Nevada (11/22/02) "Nevada Legal Ethics - the Year In Review."




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    •      American Corporate Counsel Assn. (6/18/02) "Issues of Attorney-Client Privilege
           for In-House Counsel."

    •      National Business Institute (12/7/01) "Current Issues In Legal Ethics:Nevada
           2001."

    •      National Business Institute (7/13/01) "Attorney-Client-Privilege and the Work
           Product Doctrine In Nevada."

    •      National Business Institute (12/12/00) "Practical Legal Ethics."

    •      State Bar of Nevada (3/31/00) "Professionalism and Ethics."

    •      Southern Nevada Assn. of Women Attorneys (1/28/00) "Multi-Disciplinary
           Practice: Ethical Considerations."

    •      State Bar of Nevada (12/10/99) "Winning Without Losing Your Professionalism."

    •      National Business Institute (11/17/99) "Practical Legal Ethics."

    •      Law Seminars Int'l. (6/25/99) "Ethics Considerations for Construction Lawyers."

    •      National Practice Institute (12/4/98) "Ethical Problems: Dealing With Difficult
           Lawyers."

    •      ALAS (10/21/98) "Ethical Issues for Healthcare Lawyers."

    •      State Bar ofNevada (3/21/98): "Ethics and Attorneys' Fee Agreements."

    •      CLE International (12/5/97) "Current Issues In Ethics"

    •      Institute for Paralegal Practice (8/26/97) "Preventijig Unauthorized Practice of
           Law"

    [Additional CLE instruction available upon request.]




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             Exhibit 3




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        1                         DECLARATION OF THOMAS A. ZIIVIlVIERMAN, JR.

        2            I, Thomas A. Zimmerman, Jr., declare as follows:

        3            1.      I am over the age of eighteen and a resident of Cook County, Illinois.

        4            2.      I am the principal of Zimmerman Law Offices, P.C. ("Zimmerman Law"), an Illinois

        5     professional corporation, co-counsel for Plaintiff Christopher Bruun ("Plaintiff') in the matter

        6     entitled Bi-uun v. Red Robin Goui•met Burgers, Inc., Case No. A-20-814178-C (the "Matter"), which

        7     is pending before the Eighth Judicial District Court of the State of Nevada.

        8            3.      I am competent to testify to the facts stated herein, which are based on personal

        9     knowledge unless otherwise indicated, and if called upon to testify, I could and would testify

        10    competently to the following.

        11           4.      I submit this declaration in support of Plaintiff's Motion for Class Certification and

        12    Appointment of Class Counsel (the "Motion"), which seeks to certify a class action against

        13    Defendants Red Robin Gourmet Burgers, Inc. ("RRGBI") and Red Robin International, Inc.

❖ ~zN   14    («RRII»)(jointly, «Defendants») and appoint class counsel from Bailey.•..Kennedy, LLP and

        15    Zimmerman Law.

        16            5.     1 am a seasoned litigator with more than 23 years of experience as a class action

        17    attorney. I have been appointed as class counsel in numerous matters in federal and state courts

        18    throughout the country. A true and correct copy of Zimmerman Law's firm biography is attached to

        19    the Motion as Exhibit 4.

        20            6.     I have substantial experience and knowledge in class actions and complex litigation

        21    cases, including consumer law and deceptive trade practices matters.

        22            7.     Zimmerman Law has sufficient resources and time necessary to adequately serve as

        23    class counsel and zealously represent the interests of the putative class.

        24            8.     Zimmerman Law is not aware of any other litigation between a putative class membe

        25    and any of the Defendants regarding similar claims alleged by Plaintiff.

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            1            9.      Contemporaneous with the filing of this Declaration, I intend to seek admission to
            2     practice before this Court pursuant to Nevada Supreme Court Rule 42 to represent Plaintiff and the
            3     putative class in this matter.

            4            I declare under penalty of perjury under the law of the State of Nevada that the foregoing is
            5     true and correct.

            6             Executed on this 27`b day of April, 2020, in Cook County, Illinois.

             7
                                                                         /s/ Thomas A. Zimmerman, Jr.
             8                                                          THOMAS A. ZIMMERMAN, JR.

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             Exhibit 4




             Exhibit 4
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                             ZIMMERMAN LAW OFFICES, P.C.


Since 1996, Zimmerman Law Offices has represented individuals and businesses in a wide an ay
of legal matters. Its attorneys are established and respected trial lawyers who represent clients in
complex litigation and class action lawsuits nationwide. The firm has an extensive and varied
litigation-based practice, with a focus on class action litigation. Zimmerman Law Offices has
recovered over $250 million on behalf of millions of individuals and businesses nationwide.

The attorneys at Zimmerman Law Offices are experienced in Multidistrict Litigation (MDL),
having served as lead counsel in MDL cases throughout the country. These MDL cases included
claims for fraud, improper pricing, misleading product claims, and privacy violations including
data breaches.


                                          ATTORNEYS

Thomas A. Zimmerman, Jr.

A seasoned litigator for over 23 years, Mr. Zimmerman practices extensively and has obtained
multi-million dollar jury verdicts in class action, corporate, commercial, medical malpractice,
consumer fraud, constitutional due process, general civil, product liability, toxic tort, and other
complex litigation. He represents both plaintiffs and defendants nationwide in state and federal
trial and appellate courts. He also represents individuals and corporations in transactional
matters, and before state and federal administrative and regulatory agencies.

Mr. Zimmerman has been lead counsel in national and state-wide class action litigation, and has
handled other multi-party litigation involving such companies as MCl/Worldcom, United
Airlines, Peoples Gas, AT&T, Warner-Lambert, Pfizer, Liberty Mutual Insurance Co.,
DaimlerChrysler, ADT, Ford Motor Co., Mead Johnson, KCBX, Inland Bank, Commonwealth
Edison, Ameritech, Wells Fargo, and Bridgestone/Firestone. He is well respected for his
representation of physicians, dentists, nurses, psychologists, veterinarians, and many other
licensed professionals before state and federal agencies including the Illinois Department of
Financial and Professional Regulation, and the U.S. Department of Health and Human Services.

In 2017, 2018, 2019 and 2020, he was selected as a Super Lawyei- in the area of class action and
mass torts.

In 2000, he was voted one of the Top 40 Illinois Attorneys Under the Age of 40. This is
especially notable, as he was chosen out of 60,000 attorneys in Illinois under the age of forty.

In 2003, the Illinois Supreme Court appointed Mr. Zimmerman to the Review Board of the
Attorney Registration and Disciplinary Commission ("ARDC"). He served in that capacity until
2011, wherein he presided over appeals by attorneys who have been found to have committed
misconduct, and recommended discipline for their ethical violations. In 2013, the ARDC
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appointed Mr. Zimmerman as Special Counsel, wherein he conducts independent investigations
in matters involving allegations of misconduct against attorneys associated with the ARDC.

Additionally, the Illinois Governor appointed Mr. Zimmerman to the Illinois Courts Commission
in 2003. A Commission member presides over proceedings wherein judges are charged with
committing ethical violations, and imposes discipline on judges who are found to have engaged
in misconduct. Mr. Zimmerman has served as a Commission member continuously since his
appointment.

Prior to becoming an attorney, Mr. Zimmerman worked for AT&T where he negotiated
partnerships with companies for domestic and international joint-venture and new product
development activities. During this time, he was the featured speaker at 400 conferences,
seminars, and presentations. Thereafter, he presented oral testimony at various Federal Senate
and Congressional hearings. After obtaining his law license, Mr. Ziinmerman has lectured at law
schools and seminars, and is frequently interviewed by the news media concerning legal issues.

Mr. Zimmerman earned a B.S. in Computer Science-Mathematics from the University of Illinois,
and an M.B.A. in Finance from DePaul University in the evenings while working for AT&T.
After leaving AT&T, Mr. Zimmerman earned his law degree from the Chicago-Kent College of
Law, where he was a Ramsey-Burke Scholarship recipient and earned the Academic
Achievement Award.

He is admitted to practice law in Illinois, and other states on a case-by-case basis, and he is
admitted to practice before the U.S. Supreme Court, and various federal courts of appeal and
federal district courts. Based on his demonstrated experience and ability, he was appointed to the
federal court trial bar.

Mr. Zimmennan is currently the chair of the Clerk of the Circuit Court of Cook County Attorney
Advisory Committee, and was fonnerly co-chair of the Clerk of the Circuit Court Transition and
Strategic Planning Public Policy Subcommittee.

Mr. Zimmerman is a member of the American, Illinois State, and Chicago Bar Associations, and
the Illinois Trial Lawyers Association, where he serves on various committees. He is also a
member of the American Association for Justice. In 2000, he was appointed to the Illinois Trial
Lawyers Association Board of Advocates.

Involved in numerous con-imunity service activities, Mr. Zimmerman has been an Illinois State
Board of Education surrogate parent of disabled children since 1988. In addition, he was a
speaker on the rights of disabled people for the Illinois Planning Council on Developmental
Disabilities, and a Family Shelter Service counselor to battered children for many years. He has
been recognized by the federal court for his pro bono representation of indigent clients.




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Sharon A. Harris

Ms. Harris has extensive experience litigating complex class action matters in state and federal
trial and appellate courts nationwide. For over 20 years, she has focused her practice on
consumer protection, product liability, privacy, and antitrust matters. Ms. Harris has developed a
particular expertise in state unfair and deceptive practice statutes, privacy laws, federal antitrust
laws, the Fair Credit Reporting Act, the Racketeer Influenced and Corrupt Organizations Act
(RICO), the Telephone Consumer Protection Act, and various other federal and state laws. For
example, she was appointed class counsel in In re Pilot Flying J Fuel Rebate Contract
Litigation, which involved allegations that the defendants violated RICO and various state laws
by withholding portions of fuel discounts and rebates to which class members were contractually
entitled.

Ms. Harris received her Bachelor of Science degree from Michigan State University with a dual
major in Political Science and Social Science. She received her law degree from DePaul
University College of Law.

She is admitted to practice in the State of Illinois, the United States District Court for the
Northern District of Illinois, and the United States Courts of Appeals for the Seventh and Ninth
Circuits, and she is a member of the American, Illinois State, and Chicago Bar Associations.


Matthew C. De Re

Mr. De Re advocates for both plaintiffs and defendants nationwide in state and federal trial and
appellate courts. His practice areas include class action, corporate, commercial, consumer fraud,
general civil, product liability, personal injury, and other complex litigation. He also represents
professionals, such as physicians, dentists, nurses, insurance producers, and real estate brokers,
before state and federal agencies, including the Illinois Department of Financial and Professional
Regulation and the Department of Insurance. In addition to his extensive litigation practice, Mr.
De Re assists individuals and corporations in transactional matters.

He has experience in all phases of litigation, including extensive discovery and substantive
motion practice. He has assisted in the defense of individuals and companies in cases involving
personal injury, employment, and civil rights. Mr. De Re has also vigorously pursued recovery
for plaintiffs in numerous civil matters. Prior to joining Zimmerman Law Offices, he served as a
Law Clerk for the Circuit Court of Cook County.

Mr. De Re graduated from the University of Wisconsin-Madison with a B.S. in both Political
Science and History. He earned his law degree from Washington University in St. Louis. While
in law school, he received academic awards and appeared on the Dean's List multiple times. He
also served two years on the Executive Board of the Student Bar Association and was the
Associate Managing Editor for the Washington University Journal of Law & Policy.

He is admitted to practice law in the State of Illinois and is a member of the Illinois State and
Chicago Bar Associations.
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Jeffrey D. Blake

Mr. Blake represents consumers in class actions involving unfair and deceptive trade practices,
privacy violations, antitrust matters, and defective products. He has considerable experience
prosecuting complex cases in state and federal courts throughout the nation, including appeals.

Mr. Blake received his J.D., cum laude, from the Chicago-Kent College of Law in 2012. While
attending, Mr. Blake served as Executive Articles Editor for the Chicago-Kent Law Review,
spent a semester as a judicial extern for the Honorable Samuel Der-Yeghiayan of the United
States District Court for the Northern District of Illinois, and participated in the Intellectual
Property Law Clinic and the Center for Open Government.

After graduating law school, Mr. Blake served as the judicial law clerk for the Honorable Patrick
McKay, Superior Court Judge for the Third Judicial District in Anchorage, Alaska.

Mr. Blake received a Bachelor of Science from the University of Illinois at Chicago.

He is admitted to practice in the State of Illinois and the United States District Court for the
Northern District of Illinois.


Jordan M. Rudnick (of counsel)

Mr. Rudnick represents individuals and large national and international companies in providing
business advice, counsel and dispute resolution in a wide variety of contexts for almost 20
years. In particular, Mr. Rudnick represents plaintiffs and defendants nationwide in class action,
corporate, commercial, consumer fraud, general civil, and other coinplex litigation in state and
federal courts, arbitrations, and mediations. Mr. Rudnick has been involved in all phases of
litigation, including extensive discovery, substantive .motion practice, trials and appeals.

His experience as an attorney also includes representing parties in nationwide securities fraud
class actions. Notably, Mr. Rudnick represented Canadian Imperial Bank of Commerce in the
Enron class action securities litigation and related proceedings. He also has extensive experience
representing commercial policyholders in recovering insurance proceeds from their insurers.

Mr. Rudnick serves as an arbitrator for FINRA (Financial Industry Regulatory Authority,
formerly known as the NASD or National Association of Securities Dealers) where he and
panels of two other arbitrators decide the outcome of disputes between investors and securities
brokers and dealers.

He has provided extensive pro bono representation of improperly-expelled school children in
conjunction with the Legal Assistance Foundation of Metropolitan Chicago, and with the
Chicago Coalition for the Homeless. In addition, in his spare time, he is a volunteer at the
Lincoln Park Community Homeless Shelter.




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Mr. Rudnick served as a judicial law clerk to the Honorable Justice Joseph Gordon, Illinois
Appellate Court, 1 st District, where he drafted opinions in appeals arising from complex civil
and criminal trial court decisions.

Mr. Rudnick earned his B.A. in Political Science from the University of Chicago, and he
graduated cum laude from the John Marshall Law School with honors and on a full scholarship.
In law school, he appeared on the Dean's List, and he was a member of the school's Moot Court
Team. He also was a Staff Editor on the John Marshall Law Review for two years.

He is admitted to practice law in Illinois, New York, and Washington, D.C., and is a member of
the Chicago Bar Association, NAACP, and ACLU.


                      REPRESENTATIVE CLASS ACTION CASES

Comgleted Cases

Misleading Product Claims —$62 million recovery for a nationwide class of customers who
purchased products that were advertised to reduce cellulite in the human body, plus equitable
relief to correct the misleading claims. Joseph v. Beiersdorf North America, Inc., No. 11 CH
20147 (Cook Cnty, IL).

Improper Cellular Phone Fee —$48 million recovery for a statewide class of businesses and
individuals who paid an improper municipal infrastructure maintenance fee on their cellular
phone bills. PrimeCo Personal Communications, et al. v. Illinois Commerce Commission, et al.,
98 CH 5500 (Cook Cnty, IL).

Defective Vehicles —$35 million in monetary and injunctive relief for a nationwide class of
individuals and businesses who purchased vehicles manufactured with a defective transmission.
Vargas, et al. v. Ford Motor Co., No. 12 cv 8388 (C.D. CA).

Fraud —$31 million recovery for a nationwide class of businesses and individuals who placed
advertisements in a newspaper based on fraudulent circulation figures. In re Chicago Sun-Times
Circulation Litigation, No. 04 CH 9757 (Cook Cnty, IL).

Defective Products —$16 million recovery for a nationwide class of individuals who purchased
defective home security systems that could be easily hacked and disabled. Edenborough v. ADT,
LLC, et al., No. 16 cv 2233 (N.D. CA).

Misleading Product Claims —$14 million recovery for a nationwide class of customers who
purchased defective garden hoses with misleading claims, plus equitable relief to extend the
product's warranty. Bergman, et al. v. DAP Products, Inc., et al., No. 14 cv 3205 (D. MD).

Fraud /Data Breach —$11.2 million recovery for a nationwide class of individuals who had
their personal and financial data stolen due to insufficient protection of that information by an
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internet service provider, and who also paid money to that provider based on misrepresentations.
In re Ashley Madison Customer Data Security Breach Litigation, MDL No. 2669 (E.D. MO).

Defective Products —$9 million recovery for a nationwide class of individuals who sustained
financial and personal injuries resulting from their purchase and use of baby wipes that were
tainted with a dangerous bacteria. Jones v. First Quality Enterprises, Inc., et al., No. 14 cv 6305
(E.D. NY).

Power Outages —$7.75 million recovery for a statewide class of businesses and individuals
who sustained financial damages due to widespread and prolonged power outages. In re
Comm.onwealth Edison 1999 Summer Power Outages, No. 99 CH 11626 (Cook Cnty, IL).

Privacy Violation —$7.3 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Aliano u Airgas USA, LLC, No. 14 CH 20024' (Cook
Cnty, IL).

Data Breach — $4.3 million recovery for a nationwide class of individuals who had their
personal and financial data stolen due to insufficient protection of that information by a retailer.
Ibz re Sonic Coip. Customer Data Breach Litigation, MDL No. 2807 (N.D. OH).

Unsolicited Faxes —$4 million recovery for a nationwide class of businesses and individuals
who sustained damages resulting from the receipt of unsolicited facsimile advertisements.
Derose Corp. v. Goyke Health Center, 06 CH 6681 (Cook Cnty, IL).

Fraud — $3.5 inillion recovery for a nationwide class of Spanish speaking purchasers of baby
formula, arising out of misleading product labeling. Cardenas v. Mead Johnson & Company, No.
01 CH 11151 (Cook Cnty, IL).

Unsolicited Faxes —$2.5 million recovery for a statewide class of individuals and businesses
who sustained damages resulting from the receipt of unsolicited facsimile advertisements. iMove
Chicago, Inc. v. Inland Bancoip, Inc., et al., No. 16-cv-10106 (N.D. IL)

Misleading Product Labeling —$2.5 million recovery for a nationwide class of businesses and
individuals who purchased whiskey whose labeling misstated the characteristics of the product.
Due Fi•atelli, Inc. v. Templeton Rye Spirits, LLC, No. 2014 CH 15667 (Cook Cnty, IL).

Misrepresentations in Book — $2.35 million recovery for a nationwide class of customers who
purchased a fictional book while under the impression that the book was a non-fiction memoir.
In re A Million Little Pieces Litigation, No. 06-md-1771 (S.D. NY).

Consumer Fraud — $1.6 million recovery for a nationwide class of individuals who paid for and
traveled to an event that did not occur as advertised. Norton v. Niantic, Inc., No. 2017 CH 10281
(Cook Cnty, IL).

Misleading Product Labeling— $1.5 million recovery for a nationwide class of individuals who
purchased a product whose packaging misstated the characteristics of the product. In re Honest
  Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 224 of 297




Company Sodium Lauryl Sulfate (SLS) Marketing and Sales Practices Litigation, MDL No. 2719
(C.D. CA).

Improper Debiting of Bank Accounts — $1.5 million recovery for a statewide class of
individuals who were members of a health club that debited its members' bank accounts without
adequate notice or authority. Wendorf, et al. v. Landers, et al., No. 10 cv 1658 (N.D. IL).

Environmental Contamination —$1.4 million recovery for a statewide class of individuals and
businesses who suffered from an infiltration of coal and petroleum coke dust in the air and on
their property. Martin, et al. v. KCBX Terminals Company, et al., No. 13 cv 08376 (N.D. IL).

Misleading Product Claims — $1.4 recovery for a nationwide class of individuals and businesses
who purchased HDMI cables based on representations that more expensive higher speed 'cables
were needed to operate certain audio visual equipment. O'Brien, et al. v. Monster, Inc., et al.,
No. 2015 CH 13991 (Cook Cnty, IL).

School Misrepresenting Accreditation — $1.2 million recovery, representing nearly the full
value of each class member's loss, for a statewide class of individuals who enrolled in a school
based on the school's misrepresentations that it was accredited. Allen v. Illinois School of Health
Careers, Inc., No. 10 CH 25098 (Cook Cnty, IL).

Privacy Violation —$1 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Radaviciute v. Christian Audigier, Inc., No. 10 cv 8090
(N.D.IL).

Breach of Contract — $570,000 recovery for a nationwide class of sonographers who took and
passed a certification examination but the testing agency improperly scored their results and
falsely reported that they failed the examination. Miller, et al. v. Inteleos, Inc., No. 17 cv 763
(N.D. OH).

Privacy Violation — $500,000 recovery for a statewide class of consumers whose personal
information was improperly disclosed. Aliano v. Joe Caputo and Sons — Algonquin, Inc., et al.,
No. 09 cv 0910 (N.D. IL).

Contaminated Drinking Water — $500,000 recovery for a statewide class of individuals who
suffered damages as a result of a contaminated water well, plus equitable relief to close the well.
Joseph Marzano v. Village of Crestwood, No. 09 CH 16096 (Cook Cnty, IL).

Fraud — $425,000 recovery for a nationwide class of businesses and individuals who purchased
spirits whose labeling misstated the characteristics of the product. Due Fratelli, Inc. v. Proximo
Spirits, Inc., No. 2014 CH 17429 (Cook Cnty, IL).

Foreclosure Fraud — $425,000 recovery for a nationwide class of borrowers whose lender
failed to properly respond to qualified written requests, requests for information, and/or notices
of error because of an improper active litigation, active mediation, or active bankruptcy
exception. Lieber v. Wells Fargo Bank, N.A., No. 16 cv 2868 (N.D. OH).

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Privacy Violation — $295,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Joseph v. Marbles, LLC, No. 13 cv 4798 (N.D. IL).

Privacy Violation — $250,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. DiParvine v. A.P.S., Inc. d/b/a Car Quest Auto Parts,
No. 11 cv 6116 (N.D. IL).

Unsolicited Faxes — $237,600 recovery for a statewide class of individuals and businesses who
sustained damages resulting from the receipt of unsolicited facsimile advertisements. Phillips
Randolph Enterprises, LLC v. Key Art Publishing Co., No. 07 CH 14018 (Cook Cnty, IL).

Improper Health Club Memberships — Recovery for a statewide class of individuals whose
health club membership agreements provided for improper membership terms. Izak-Damiecki v.
World Gym International, LLC, No. 10 CH 18845 (Cook Cnty, IL).

Illegal Lending Practices — Recovery, representing the maximum amount of statutory damages,
for a nationwide class of customers who obtained loans whose terms violated the Truth in
Lending Act, plus equitable relief to modify the loan contract to conform with the law. Papeck,
et al. v. T.N. Donnelly & Co., No. 09 CH 31997 (Cook Cnty, IL).

Privacy Violation — Recovery for a nationwide class of over 36 million consumers whose
personal information was improperly disclosed. Dudzienski v. GMRI, Inc., No. 07 cv 3911 (N.D.
IL).

Unsolicited Faxes — Recovery for a statewide class of individuals and businesses who sustained
damages resulting from the receipt of unsolicited facsimile advertisements. Phillips Randolph
Enterprises, LLC v. Home Run Inn, Inc., No. 08 CH 43273 (Cook Cnty, IL).

Privacv Violation — Recovery for a statewide class of over 60,000 consumers whose personal
information was improperly disclosed. O'Brien v. Paninos, Inc., No. 10 cv 2991 (N.D. IL).

Breach of Warranty — Recovery on behalf of a nationwide class of customers who had their
warranty retroactively changed from a lifetime guarantee to a 90-day guarantee, plus equitable
relief to reinstate the lifetime guarantee on the products. Brady, et al. v. Learning Curve Int'l,
Inc., et al., No. 06 CH 03056 (Cook Cnty, IL).

Privacy Violation — Recovery for a nationwide class of tens of thousands of consumers whose
personal information was improperly disclosed. In re Kathy Aliano v. Hancock Fabrics, Inc.,
No. 07-10353 (Del. BK).

Improper Debt Collection — Recovery on behalf of a nationwide class of individuals against
whom attempts were made to collect a time-barred debt, in violation of the Fair Debt Collection
Practices Act. Ocasio v. First Financial Investment Fund V, LLC, et al., No. 15 cv 10167 (N.D.
IL).




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Pendin Cases — Appointed Class Counsel

Invasion of Privacy — Class action for a nationwide class of individuals who were
surreptitiously viewed and recorded using the toilets in holding cells. Alicea, et al. v. County of
Cook, No. 18 cv 5381 (N.D. IL).

Constitutional Violation — Class action for a nationwide class of individuals who were
wrongfully issued automated construction zone speed enforcement tickets on a highway that was
not under construction. Black, et al. v. City of Girard, . Ohio, et al. , No. 18 cv 1256 (Trumbull
Cnty, OH).

Pending Cases — Appointed to Executive Committee

Misleading Product Claims — Class action for a nationwide class of individuals who purchased
defective cheese products based on misleading representations. In re 100% Grated Parmesan
Clieese Marketing and Sales Practices Litigation, MDL No. 2707 (N.D. IL).

Pendiniz Cases

Fi•aud — Class action for a statewide class of individuals who were wrongfully issued automated
red light tickets by red light cameras that were installed in violation of state law.

Improper Court Fee — Class action for a nationwide class of individuals and businesses who
were charged an improper fee by the Clerk of the Court.

Unpaid Overtime — Class action for a nationwide class of individuals who were not paid all
wages and premium overtime for hours worked in excess of forty hours per week.

Misleading Product Claims — Class action for a nationwide class of individuals and businesses
who purchased cleaning products that advertised they were made of higher quality ingredients
than were actually contained in the products.

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by their employer.

Americans with Disabilities Act — Class action for a nationwide class of disabled individuals
who were denied full, equal and independent access to the goods, services and facilities provided
by a hotel.

Improper Debt Collection — Class action for a nationwide class of individuals who were sent
misleading debt collection letters, in violation of the Fair Debt Collection Practices Act.

Fraud — Class action for a nationwide class of individuals who made purchases based on
fraudulent misrepresentations concerning a sporting event.
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Antitrust — Class action for a nationwide class of individuals who subscribed to television
services from companies that conspired to fix prices in violation of the Sherman Act.

Data Breach — Class action for a statewide class of individuals who had their personal,
financial, and inedical data stolen due to insufficient protection of that information by a hospital.

Violation of RESPA Act — Class action for a nationwide class of borrowers who were denied the
requisite loan modification options, as required by the Real Estate Settlement Procedures Act.

Environmental Contamination — Class action for a statewide class of individuals who suffered
from an infiltration of lead and arsenic on their property.

Shareholder Derivative Action — Class action for a nationwide class of individuals and
businesses who are shareholders of a company that wrongfully entered into a merger transaction.

Constitutional Violation — Class action for a nationwide class of individuals who were
wrongfully issued automated traffic speed enforcement tickets by a municipality that was denied
authorization to issue the tickets.

Invasiorz of Privacy — Class action for a nationwide class of individuals who received
unauthorized telemarketing calls to their phones.

Fraud — Class action for a nationwide class of individuals who purchased used cosmetics and
beauty products that were sold as new.

Breach of Contract — Class action for a statewide class of individuals who are members of
athletic clubs that unilaterally terminated their rewards program without notice.

Fraud — Class action for a nationwide class of individuals who were charged an improper
checkout bag tax on retail purchases in the City of Chicago.

Unpaid Wages — Class action for a statewide class of individuals who were not paid all of the
wages they earned while working at restaurants.

Antitrust — Class action for a nationwide class of individuals who purchased packaged seafood
products from companies that conspired to fix prices in violation of the Sherman Act.

Environnzental Contamination — Class action for a statewide class of individuals whose
residential drinking water was contaminated with lead.

Constitutional Violation — Class action for a statewide class of individuals whose homes were
wrongfully taken by the government without adequate compensation.

Fraud — Class action for a nationwide class of individuals who paid inflated prices for tickets to
events due to improper coordination among ticket brokers.



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Improper Fee — Class action for a statewide class of individuals who were charged an improper
fee by the state in connection with the issuance of a driver's license.

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by a restaurant chain.

Fraud — Class action for a nationwide class of individuals who were deliberately targeted
through marketing and sales of electronic cigarettes when they were minors.

Defective Product — Class action for a nationwide class of individuals who purchased
misbranded and adulterated pharmaceuticals.




NOTE: This list of cases is a representative sample of some of the class action lawsuits. It is not
       an exhaustive list.




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                                      i          Red Robin Gourmet Burgers, Inc.
                                       ~         c/o Corporation Service Company                 i
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                                       ~         Wiimington, DE 19808                            ;




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            1     MCC (CIV)
                  DENNIS L. KENNEDY                                                                                       ~
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                  PWilliams@BaileyKennedy.com
            7
                  Attorneys for Plaintiff Christopher Bruun
             8
                                                                  DISTRICT COURT
            9
                                                          CLARK COUNTY, NEVADA
            10
            11    CHRISTOPHER BRUUN, individually, and on                      Case No. A-20-814178-C
                  behalf of all others similarly situated,
            12                                                                 Dept. No. IX
                                                     Plaintiff,
            13                                                                 PLAINTIFF'S MOTION FOR CLASS
                                                                               CERTIFICATION AND APPOINTMENT OF
•;• yzN     14                     vs                                          CLASS COUNSEL
                  RED ROBIN GOURMET BURGERS, INC., a
      ;     15    Delaware corporation; and RED ROBIN
    pq °~         INTERNATIONAL, INC., a Nevada corporation,                   Hearing Reguested
            16
                                                     Defendants.
            17
            18            Pursuant to Nevada Rules of Civil Procedure 23(a) and 23(c)(3), Plaintiff Christopher Bruun

            19    ("Plaintiff') moves to certify a class action against Defendants Red Robin Gourmet Burgers, Inc.

            20    ("RRGBI") and Red Robin Intemational, Inc. ("RRII") (jointly, "Defendants" or "Red Robin") and

            21    appoint the undersigned counsel from Bailey❖Kennedy, LLP ("Bailey❖Kennedy") and Thomas A.

            22    Zimmerman, Jr., from Zimmerman Law Offices, P.C. ("Zimmerman Law")I, as Class Counsel.

            23
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            27
                  1 Mr. Zimmerman's Verified Application for Association of Counsel Under Supreme Court Rule 42 will be submitted
            28    to the State Bar of Nevada. Upon receipt of the State Bar of Nevada's statement, Plaintiff will move to associate Mr.
                  Zimmerman as co-counsel.

                                                                      Page 1 of 13


                                                         Case Number: A-20-814178-C
           Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 231 of 297


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      1           This motion is supported by the papers and pleadings on file, the accompanying

      2    Memorandum of Points and Authorities, the exhibits attached thereto, and any oral argument heard

      3    by the Court.

      4            DATED this 27t ' day of April, 2020.
      5                                                          BAILEY❖KENNEDY

      6                                                          By: /s/ Dennis L. Kennedy
                                                                    DENNIS L. KENNEDY
      7                                                             PAUL C. WILLIAMS
                                                                 Attorneys for Plaint ff Christopher Bruun
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                    Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 232 of 297


t-,
               1                          MEMORANDUM OF POINTS AND AUTHORITIES

               2                                            I.     INTRODUCTION
               3            Plaintiff Christopher Bruun brings this class action against Defendants Red Robin Gourmet

               4     Burgers, Inc. and Red Robin International, Inc. for Red Robin's practice of serving, at most, 14
                5    ounces of Stella Artois beer when customers order a 16-ounce Stella Artois beer. Red Robin offers

               6     on its menu Stella Artois in 16-ounce portions, yet the customized Stella Artois chalice in which

                7    Red Robin serves the supposed 16-ounce Stella Artois beer can only contain at most 14 ounces of

                8 beer.

                9           Plaintiff and the other class members did not receive what they paid for, and were deceived

               10    into thinking they were receiving a larger quantity of beer than they actually received. Plaintiff

               11    seeks to recover the difference between what Plaintiff bargained for, and what he actually received,

        ~      12    and to recover for Red Robin's breach of contract, breach of the covenant of good faith and fair
      A~ a
       -!~g    13    dealing, violation of the consumer fraud and deceptive trade practices acts of the states where Red
  ~ 4 Q f bV

 ❖ gi 0        14    Robin has restaurants, and unjust enrichment.
                                                                                        '

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       ar
        ~      15                                     Il.        STATEMENT OF FACTS
  ~
               16           Red Robin operates and franchises Red Robin Restaurants throughout the United States. At
               17 the end of 2019, there were 556 Red Robin Restaurants in 44 states in the United States. (Class

               18    Action Complaint ("Compl.") ¶ 11.) The menu at Red Robin's restaurants offer Stella Artois beer

               19    in various sizes, one of which is 16 ounces. (Id. ¶ 14.) The menu and Nutritional Guide both state

               20    that 16 ounces of Stella Artois beer have 190 calories. (Id. ¶¶ 14-15.)

               21           Red Robin's representati6ns are false and misleading. All of the Stella Artois chalices in

               22    which Red Robin serves its purported 16-ounce, 190-calorie Stella Artois beer have a"fill-line" of

               23    33 centiliters and cannot hold more than 14 ounces of beer. (Id. ¶¶ 16-17.) Plaintiff dined at Red
               24    Robin numerous times in 2019 and 2020, and ordered 16 ounces of Stella Artois. (Id. ¶ 23.)
               25    Plaintiff paid for 16 ounces of Stella Artois beer each time he ordered a Stella Artois, but only

               26    received, at the most, 14 ounces of Stella Artois beer each time. (Id. ¶¶ 25-26.)

               27
               28

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           1                                  III.    PROPOSED CLASS DEFINITION
           2            Plaintiff seeks certification of the following nationwide class pursuant to NRCP 23:

           3                      All individuals in the United States who, during the applicable statute

           4                      of limitations, dined in a Red Robin Gourmet Burgers and Brews
           5.                     restaurant and paid for 16 ounces of Stella Artois beer that was served

           6                      in a Stella chalice with a maximum capacity of 14 ounces. Excluded

            7                     from the Class are: (1) Defendants' current and former employees,

           8                      officers, and directors; (2) the Judge to whom this case is assigned and

           9                      the Judge's immediate family; (3) any person who executes and files a
           10                     timely request for exclusion from the Class; (4) any persons who have
           11                     had their claims in this matter finally adjudicated and/or otherwise
~   N

           12                     released; and (5) the legal representatives, successors and assigns of any
    a
W          13                     such excluded person.
~
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❖ NzN      14                                              IV.    ARGUMENT
           15           A.        Standard of Decision.
 ~
~
           16              The Nevada Rules of Civil Procedure provide that "[a]s soon as practicable after the
           17    commencement of an action brought as a class action, the court must determine by order whether it
           18    is to be so maintained." NRCP 23(d)(1). The Court's "order may be conditional, and may be

           19    altered or amended before the decision on the merits." Id.

           20              As the Nevada Supreme Court has explained, "class actions promote efficiency and justice
           21    in the legal system by reducing the possibilities that courts will be asked to adjudicate many
           22    separate suits arising from a single wrong and that individuals will be unable to obtain any redress
           23    for wrongs otherwise irremediable because the individual claims are too small or the claimants too
           24    widely dispersed." Shuette v. Beazer Homes Holdings Corp., 121 Nev. 837, 846, 124 P.3d 530, 537
           25    (2005).

           26              In that context, NRCP 23(a) provides that a class action may be maintained only if "(1) the
           27    class is so numerous that joinder of all members is impracticable; (2) there are questions of law or
           28    fact common to the class; (3) the claims or defenses of the representative parties are typical of the

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.
    1 claims or defenses of the class; and (4) the representative parties will fairly and adequately protect

    2    the interests of the class." In addition to satisfying the four NRCP 23(a) prerequisites, a parry

    3    moving to certify a class must demonstrate that the proposed class fits into one of the three

    4    categories enumerated in NRCP 23(c). Shuette, 121 Nev. at 849-50, 124 P.3d at 539 (2005).2 As

     5    detailed below, Plaintiff seeks certification under NRCP 23(c)(3).

     6              "A party seeking class certification must affirmatively demonstrate his compliance with the

    7I Rule—that is, he must be prepared to prove that there are in fact sufficiently numerous parties,

     8    common questions of law or fact, etc." See YVaI-Mart Stores, Inc. v. Dukes, 564 U.S.338, 350,

     9    (2011).3 While a court must engage in a rigorous analysis of the Rule 23 factors, a plaintiff's

    10 "evidentiary showing need not be extensive." Kavu, Inc. v. Omnipak Corp., 246 F.R.D. 642, 646

    11    (W.D. Wash. 2007) (citing Blackie v. Barrack, 524 F.2d 891, 901 (9th Cir. 1975)).

    12              Moreover, the "class determination generally involves considerations that are enmeshed in

    13 the factual and legal issues comprising the plaintiff's cause of action." Dukes, 564 U.S. at 351.
    14 Thus, while it is "sometimes ... necessary for the court to probe behind the pleadings before

    15    coming to rest on the certification question," such analysis is limited to the issues surrounding

    16    certification that "overlap with the merits of the plaintiff's underlying claim." Id. at 351; see also
    17 id. at 351 n.6, (noting that a court's analysis of the merits is limited to that which is necessary to

    18    determine certification); Ellis v. Costco Wholesale Corp., 657 F.3d 970, 983 (9th Cir. 2011) ("The

    19 I district court is required to examine the merits of the underlying claim in this context, only

    20 inasmuch as it must determine whether common questions exist; not to determine whether class

    21    members could actually prevail on the merits of their claims.").

    22              B.      The Proposed Class Satisfies the NRCP 23(a) Prereguisites.

    23                      1.       The Proposed Class is Numerous.
    24              The numerosity prerequisite is satisfied if "the class is so numerous that joinder of all

    25 I members is impracticable." NRCP 23(a)(1). While there is no minimum number of class members,

    26
          Z As a result of the March 1, 2019, amendments to the Nevada Rules of Civil Procedure, the three disjunctive conditions
    27    for class certification were moved from NRCP 23(b) to NRCP 23(c).
          3   The Nevada Supreme Court often relies upon federal cases interpreting Federal Rule of Civil Procedure 23 in
    28 analyzing NRCP 23. See, e.g., Shuette, 121 Nev. at 847 n.l l, n.12, n.13, n.14, 124 P.3d at 538, n.l l, n.12, n.13, n.14.

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        1"a putative class of forry or more generally will be found numerous." Shuette, 121 Nev. at 847, 124
        2     P.3d at 537.

        3            The Class is likely comprised of thousands of individuals. (Compl. ¶ 28.) Numerosity is

        4     established by the fact that Red Robin has found it cost-effective to use specially crafted chalices

        5     with Stella Artois logos on them to serve Stella Artois at its 556 restaurants. (Id. ¶ 16.) Moreover,

        6     Red Robins reports total revenue for 2019 of $1.2 billion. (Id.)

        7                      2.      There are Common Questions of Law and Fact.
        8            The commonality prerequisite requires that "there are questions of law or fact common to

        9     the class." NRCP 23(a)(2). "Questions are common to the class when their answers as to one class

        10    member hold true for all class members." Shuette, 121 Nev. at 848, 124 P.3d at 538.
        11    "Commonality does not require that all questions of law and fact must be identical, but that an issue
~   N
        12    of law or fact exists that inheres in the complaints of all the class members." Id. Indeed,
        13    commonality "may be satisfied by a single common question of law or fact." Id.
1~1 O
❖ ~zN   14           There are several questions of law and fact common to the claims of the Plaintiff and

        15    members of the Class which predominate over any individual issues, including:
~
        16           (a)       Whether Defendants made misrepresentations and omissions with respect to the
        17                     number of ounces of Stella beer they serve when a customer orders a 16-ounce Stella
        18                     beer;

        19           (b)       Whether Defendants engaged in unfair and deceptive conduct as described herein;

        20           (c)       Whether Defendants breached contracts with their customers when they offered for

        21                     sale 16 ounces of Stella beer, but only provided their customers with, at most, 14
        22                     ounces of beer;
        23            (d)      Whether Defendants were unjustly enriched when they charged their customers for
        24                     16 ounces of Stella beer, but only provided their customers with, at most, 14 ounces
        25                     of beer; and

        26            (e)      Whether Defendants are liable for the damages suffered by Plaintiff and Class

        27                     members.

        28    (Compl. ¶ 29.)

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          1                    3.       Plaintiff s Claims are Typical of the Proposed Class Members His Claims
                                        Arise from the Same Practice and Course of Conduct that Give Rise to the
          2                             Claims of the Other Class members.

          3            The typicality prerequisite is met if "the claims or defenses of the representative parties are

          4     typical of the claims or defenses of the class." NRCP 23(a)(3). Typicality is present where "each

          5     class member's claim arises from the same course of events and each class member makes similar

          6     legal arguments to prove the defendant's liability." Shuette, 121 Nev. at 848-49, 124 P.3d at 538-

          7     39. The "representatives' claims need not be identical, and class action certification will not be

          8     prevented by mere factual variations among class members' underlying individual claims." Id. at

          9     849, 124 P.3d at 539.

         10            Here, Plaintiff's and the other Class members' claims all arise out of Red Robin's uniform

         11     and standard practice at all Red Robin restaurants that results in overcharging for Stella Artois beer.
~
         12 (See Compl. ¶¶ 20-21.) Red Robin serves Stella Artois in specially-crafted chalices that are a

         13     standard shape and size, and uniformly misrepresents their size as 16 ounces when they actually can
     N

•~ y~ro 14 contain, at most, 14 ounces of beer. (Id. ¶¶ 14-18.)

         15                    4.       Plaintiff and His Counsel will Fairly and Adequately Represent the Class.
~
         16            In order to satisfy the fourth prerequisite, a party seeking certification must demonstrate that

         17 "the representative parties will fairly and adequately protect the interests of the class." NRCP

         18     23(a)(4). This "inquiry serves to uncover conflicts of interest between named parties and the class

         19     they seek to represent." Shuette, 121 Nev. at 849, 124 P.3d at 539 (internal quotation marks

         20     omitted). To satisfy the fourth factor, class members must "possess the same interest and suffer the

         21     same injury as other class members." Id. (internal quotation marks omitted).

          22            Plaintiff is an adequate Class Representative and will fairly and adequately protect the

          23    interests of the Class. There are no potential conflicts present, and Plaintiff suffered the same

          24    overcharge injury as the other Class members.

          25            Plaintiffs counsel is qualified to serve as Class Counsel. "Rule 23(a)(4) requires that

          26    plaintiffs demonstrate that class counsel is qualified, experienced, and generally able to conduct the

          27    litigation." Marisol A. v. Giuliani, 126 F.3d 372, 378 (2d Cir. 1997) (intemal quotation marks and

          28    citation omitted).

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•            1            Here, Bailey❖Kennedy and Zimmerman Law are experienced in class actions, complex

             2     litigation, and consumer law. Bailey❖Kennedy and Zimmerman Law have represented clients in

             3     numerous complex litigation matters and previously served as class counsel in other matters. (Ex.

             4     1, Kennedy Decl. ¶ 5; Ex. 3, Zimmerman Decl. ¶ 3.) Specifically, Dennis L. Kennedy and Thomas

             5     A. Zimmerman, Jr. have substantial experience in class actions and complex litigation cases,

             6     including consumer law matters. (See generally See generally Ex. 2, Curriculum Vitae of Dennis L.

             7 Kennedy; and Ex. 4, Firm Biography of Zimmerman Law.)

             8            Further, both Bailey❖Kennedy and Zimmerman Law are knowledgeable in consumer law,

             9     including deceptive trade practices law. (Ex. 1, Kennedy Decl. ¶ 5; Ex. 3, Zimmerman Decl. ¶ 4.)

             10           Finally, Bailey❖Kennedy and Zimmerman Law both have the necessary resources to
             11    zealously represent the Class members, and are prepared to invest the time and resources necessary '
>4      N
             12    to adequately serve as Class Counsel. (Ex. l, Kennedy Decl. ¶ 6; Ex. 3, Zimmerman Decl. ¶ 5.)
        ;A   13           In sum, because Plaintiff is an adequate Class Representative and has chosen qualified and

❖ ~zN 14 experienced counsel, this Court should permit Plaintiff to act as the Class Representative and allow

             15    his selected counsel to represent the Class members. See In re Cavanaugh, 306 F.3d 726, 734 (9th
PQ
             16    Cir. 2002) ("The choice of counsel has traditionally been left to the parties, whether they sue in
             17    their individual capacities or as class representatives.").

             18            C.     The Proposed Class Satisfies the Reguirements of NRCP 23(c)(3).

             19            As discussed above, in addition to satisfying the four NRCP 23(a) prerequisites (i.e.,

             20    numerosity, commonality, typicality, and adequacy of representation), a party moving to certify a

             21    class must demonstrate that the proposed class fits into one of the three categories enumerated in

             22    NRCP 23(c). Shuette, 121 Nev. at 849-50, 124 P.3d at 539. Here, Plaintiff seeks certification

             23    under NRCP 23(c)(3).
             24            Class certification is appropriate under NRCP 23(c)(3) where "the court fmds questions of
             25    law or fact common to the members of the class predominate over any questions affecting only

             26    individual members, and that a class action is superior to other available methods for the fair and
             27    efficient adjudication of the controversy."

             28

    -                                                             Page 8 of 13
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          1                   1.      Common Questions Predominate Over Any Individual Questions.
         2            The predominance prong of NRCP 23(c)(3) "tests whether proposed classes are sufficiently
         3     cohesive to warrant adjudication by representation." Shuette, 121 Nev. at 850, 124 P.3d at 540

         4(internal quotation marks omitted). "The questions of law or fact at issue in this analysis are those
         5     that qualify each class member's case as a genuine controversy; therefore, the questions that class

         6     members have in common must be significant to the substantive legal analysis of the members'

          7    claims." Id. (internal quotation marks omitted). Indeed, the predominance inquiry under NRCP

          8    23(c)(3) is similar to the analysis of the commonality and typicality requirements of NRCP 23(a),

          9 but "it is.more demanding." Id.
         10           Stated succinctly, class certification is appropriate where the "importance of common
         11    questions ... predominate over the importance of questions peculiar to individual class members."
         12    Id. at 851, 124 P.3d at 540. "For example, common questions predominate over individual
         13    questions if they significantly and directly impact each class member's effort to establish liability
    ~
❖ ~z N   14    and entitlement to relief, and their resolution can be'achieved through generalized proof." Id.
         15    (internal quotation marks omitted).
         16           The common issues in this case predominate over any individual issues. Each Class
         17    member was subject to the same misrepresentations and omissions relating to the amount of Stella
         18    Artois beer they ordered, and they all received the same shortfall in the quantity of beer they

         19    received. The special chalices containing the Stella Artois beer they ordered were standard in size,
         20    and the value of the product in each chalice received by Class members was identical. Questions
         21    concerning Red Robin's misrepresentations and failures to deliver what was promised and
         22    bargained for predominate in this action.

         23                   2.      A Class Action is the Superior Method of Adjudicating the Common .
                                      Claims of the Class Members.
         24
         25           The superiority prong of NRCP 23(c)(3) "questions whether a class action is the superior
         26    method for adjudicating the claims, thereby promoting the interests of efficiency, consistency, and

         27    ensuring that class members actually obtain relief." Shuette, 121 Nev. at 851-52, 124 P.3d at 540.

         28 "A proper class action prevents identical issues from being litigated over and over[,] thus avoiding

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        1     duplicative proceedings and inconsistent results." Id. at 852, 124 P.3d at 540-41 (alteration in

        2     original) (internal quotation marks omitted). Importantly, a class action is often the superior

        3     method of adjudication where it "helps class members obtain relief when they might be unable or

        4     unwilling to individually litigate an action for financial reasons ...." Id. at 852, 124 P.3d at 541

        5 (emphasis added).

        6            In determining superiority, courts evaluate: "(A) the interest of inembers of the class in

        7     individually controlling the prosecution or defense of separate actions; (B) the extent and nature of

        8     any litigation concerning the controversy already commenced by or against members of the class;

         9(C) the desirability or undesirability of concentrating the litigation of the claims in the particular

        10    forum; and (D) the difficulties likely to be encountered in the management of a class action."

        11    NRCP 23(c)(3); accord Shuette, 121 Nev. at 852, 124 P.3d at 541. "Further, the court must
>4 C4
W~      12    detemune whether other adjudication methods would allow for efficient resolution without

~g'~    13    compromising any parties claims or defenses." Shuette, 121 Nev. at 852, 124 P.3d at 541.

•~ N z0 14           As detailed below, each of the superiority factors weighs in favor of class certification.
     ~
 ~~~    15                           a.      The Class Members do not have an Interest in Controlling the
 pq                                          Prosecution of Separate Actions Because Each Class Member's
        16                                   Damages are Small.
        17            The first superiority factor is "the interest of inembers of the class in individually controlling

        18    the prosecution or defense of separate actions." NRCP 23(c)(3)(A). Where "damages suffered by

        19    each putative class member are not large, [the first] factor weighs in favor of certifying a class

        20    action." Zinser v. Accufrx.Research Inst., Inc., 253 F.3d 1180, 1190 (9th Cir. 2001), opinion

        21    amended on denial of reh'g, 273 F.3d 1266 (9th Cir. 2001). For example, courts have found that

        22    potential damage awards of $1,500 are "insufficient to incentive individual actions." Kristensen v.

        23    Credit Payment Services, 12 F. Supp. 3d 1292, 1303 (D. Nev. 2014).

        24            This factor favors class certification because the individual claims of each Class member

        25    concem a shortfall of a small amount of beer in each glass of Stella Artois served by Red Robin.

        26    While, in the aggregate, the amount of damages is very high, the injuries suffered by each of the

        27    Class members is too small to justify individual actions.

        28

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           1                            b.      No Other Known Litig_ation Exists Between any Class Member and
                                                Defendants; thus Class Resolution Serves Judicial Economy.
           2

           3            The second superiority factor instructs consideration of "the extent and nature of any

           4     litigation concerning the controversy already comrrienced by or against members of the class."

           5     NRCP 23(c)(3)(B). When the court is unaware of any other pending litigation, the factor weighs in

           6     favor of certification. See Kristensen, 12 F. Supp. 3d at 1308; see also Agne v. Papa John's Intern.,

           7     Inc., 286 F.R.D. 559, 571 (W.D. Wash. 2012). Plaintiff is not aware of any other litigation
           8     between a Class member and Defendants arising out of the issues in this case. Because there appear

           9     to be no similar lawsuits, class resolution is a superior method of adjudicating the instant claims.
           10    See Kristensen, 12 F. Supp. 3d at 1308; Agne, 286 F.R.D. at 571.
           11                           C.      Nevada is a Desirable Forum to Concentrate Liti ation.

           12            The third superiority factor requires a court to consider "the desirability or undesirability of
           13    concentrating the litigation of the claims in the particular forum." NRCP 23(c)(3). Where a
❖ y Rz7N   14    defendant is present in a jurisdiction and there "appears no reason why concentrating the litigation
~ ► `~ro

           15    in [that jurisdiction] would be undesirable," the third factor supports class certification.   See

           16    Protectmarriage.com v. Bowen, 262 F.R.D. 504, 509 (E.D. Cal. 2009).
           17            Here, Defendants are present and at home in Nevada. RRII is a Nevada corporation, and

           18    Defendants have several Red Robin Restaurants in Nevada. Thus, the third superiority factor favors

           19    class certification.
           20                           d.      There are no Significant Difficulties in Management of the Proposed
                                                Class.
           21
           22            The fourth superiority factor requires a court to consider "the difficulties likely to be

           23    encountered in the management of a class action." NRCP 23(c)(3)(D). "When the complexities of
           24    class action treatment outweigh the benefits of considering common issues in one trial, class action
           25    treatment is not the superior method of adjudication." Zinser, 253 F.3d at 1192. "If each class

           26    member has to litigate numerous and substantial separate issues to establish his or her right to
           27    recover individually, a class action is not superior." Id.

           28

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           1             This case is an ideal class action, concerning uniform practices, standard representations and

           2     product packaging, and small individual damages claims. No difficulties or complexities are added

           3     to the case by certifying the Class. The same evidence that Plaintiff will use to prove his claims

           4     will prove the claims of the other Class members. Accordingly, the fourth superiority factor

           5     illustrates the superiority of a class action.

           6                             e.      No Other Adequate Adjudication Methods Exist.

           7             In assessing superiority, the Nevada Supreme Court has stated that a"court must determine

           8     whether other adjudication methods would allow for efficient resolution without compromising any

            9    parties' claims or defenses," such as through joinder or consolidation. Shuette, 121 Nev. at 852,

           10    124 P.3d at 541. Here, there are no other adequate adjudication methods. This is an exemplary

           11    class action—a very large group of individuals with claims that are too small to incentive any other
~   N
W~~        12    form of adjudication.

           13                                             V.       CONCLUSION
  A53cq4
❖ ~zN      14            Based on the foregoing, the Court should grant Plaintiff s Motion for Class Certification,
~ r
           15    appoint Plaintiff as the Class Representative, and appoint Bailey: Kennedy and Zimmerman Law
    a
           16    Offices, P.C. as Class Counsel.
           17            DATED this 27t ' day of April, 2020.

           18                                                            BAILEY❖KENNEDY

           19                                                            By: /s/ Dennis L. Kennedy
                                                                             DENNIS L. KENNEDY
           20                                                                PAUL C. WILLIAMS
                                                                          Attorneys for PlaintffChristopher Bruun
           21                 -
           22
           23
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J.
      1                                       CERTIFICATE OF SERVICE
     2             I certify that I am an employee of BAILEY❖KENNEDY and that on the 27t' day of April,

      3     2020, service of the foregoing was made by mandatory electronic service through the Eighth Judicial
      4     District Court's electronic filing system and/or by depositing a true and correct copy in the U.S.

      5     Mail, first class postage prepaid, and addressed to the following at their last known address:

      6
                   Red Robin Gourmet Burgers, Inc. c/o Corporation Service Company
      7            251 Little Falls Drive
                   Wilmington, DE 19808
      8

      9            Red Robin International, Inc. c/o Corporation Service Company
                   112 North Curry Street
     10            Carson City, NV 89703
     ll

     12                                                         /s/ Sharon Mumane
                                                           Employee of BAILEY❖KENNEDY
     13

     14

     15

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     21 I

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             Exhibit 1




             Exhibit 1
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            1                               DECLARATION OF DENNIS L. KENNEDY

            2            I, Dennis L. Kennedy, declare as follows:

            3            1.      I am over the age of eighteen and a resident of Clark County, Nevada.

            4            2.      I am competent to testify to the facts stated herein, which are based on personal

            5     knowledge unless otherwise indicated, and if called upon to testify, I could and would testify

            6, competently to the following.

            7            3.      I am a partner in the law firm of Bailey❖Kennedy, LLP ("Bailey❖Kennedy"), co-

            8     counsel for Plaintiff Christopher Bruun ("Plaintiff') in the matter entitled Bruun v. Red Robin

             9    Gourmet Burgers, Inc., Case No. A-20-814178-C (the "Matter"), which is pending before the Eighth

            10    Judicial District Court of the State of Nevada.

            11           4.      I submit this declaration in support of Plaintiff s Motion for Class Certification and

            12    Appointment of Class Counsel (the "Motion"), which seeks to certify a class action against

   m'g~
   ,        13    Defendants Red Robin Gourmet Burgers, Inc. ("RRGBI") and Red Robin Intemational, Inc.
•1r''
    J
1~1 ~ Q N
❖ xzN       14    ("RRII") (jointly, "Defendants") and appoint class counsel from Bailey❖Kennedy and Zimmerman

~y~         15    Law.

            16           5.      I have substantial experience in class actions, complex litigation cases, including
            17    consumer law and deceptive trade practices matters. A true and correct copy of my Curriculum

            18    Vitae is attached to the Motion for Certification as Exhibit 2.

            19           6.      Bailey❖Kennedy has sufficient resources and time necessary to adequately serve as

            20    class counsel and zealously represent the interests of the putative class.

            21            7.     Bailey❖Kennedy is not aware of any other litigation between a putative class

            22    member and any of the Defendants regarding similar claims alleged by Plaintiff.

            23            I declare under penalty of perjury that the foregoing is true and correct.

            24            Executed on this 27th day of April, 2020.

            25                                                                      .
            26                                                             DENNIS L. KENNEDY
            27
            28
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             Exhibit 2




             Exhibit 2
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                             DENNIS L. KENNEDY
                             CURRICULUM VITAE

EDUCATION

            B.A. Economics, University of Washington (1972)
            J.D., University of Washington School of Law (1975)
            Board of Editors, Washington Law Review

PROFESSIONAL ASSOCIATIONS

     •      State Bar of Nevada
     •      American Bar Association (Sections of Litigation
                   and Professional Responsibility)
     •      American College of Trial Lawyers
     •      American Bar Association Standing Committee on
            Lawyers' Professional Responsibility

EMPLOYMENT

            Lionel Sawyer & Collins (1975 - 1/6/2006)
            Bailey❖Kennedy (1/9/2006 - present)

OTHER POSITIONS

            Adjunct Professor, UNLV/William S. Boyd School of Law; Health Care Law
            (2001, 2003, 2005); Nevada Civil Practice (2006, 2007, 2008, 2015, 2016)
            Chairman, Board of Trustees, Nathan Adelson Hospice (1995 - present)
            Coach/Advisor to A Tech High School Moot Court Team, winner of 2019 Nevada
         - Moot Court Championship

PUBLICATIONS

     •      Co-Author, Nevada Civil Practice Manual (5a' ed., 2001)(2003-2013 supplements)

     •      Co-Editor (with Professor Jeffrey Stempel), Nevada Civil Practice Manual (5th ed.)
            (2003-2013 supplements)

     •      Solo and Small Firm Ethics Traps, Clark County Bar Association
            COMMUNIQUE (December 2013)

     •      Some Things That Can Hurt You If You Don't Pay Attention, Clark County Bar
            Association COMMUNIQUB (November 2015)
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SLFPREME COURT AND BAR COMMITTEES

     •    State Bar of Nevada Disciplinary Committee (1989-1997). Chairman, Southem
          District (1993-1995)

     •    Member of State Bar Committee on Ethics and Professional Responsibility
          (December 2001 - December 2009; Chairman 2003-2007)

     •    Member of State Bar Committee on the Revisions to the Nevada Rules of
          Professional Conduct (the "Ethics 2000 Committee") (2003-2004)

     •    State Bar Professionalism Task Force (2004-present); Chairman, CLE
          Subcommittee (2009-2010). (Task force recently developed a mentoring program
          designed to assist newly admitted lawyers in the transition into the profession.)

     •    Nevada Supreme Court Bench-Bar Committee (SCR 14) (2005-present)
          (General function of the Committee is to consult with the Supreme Court on
          issues affecting the practice of litigation, including proposed amendments to the
          Nevada Rules of Civil and Appellate Procedure.)

     •    Member of Nevada Supreme Court Article 6 Commission (2007-2011)
          (Commission's projects were (i) the proposed intermediate court of appeals, (ii)
          changes in judicial selection process and (iii) changes in judicial campaign fund
          raising and disclosure). Final report of Commission issued June 2011

     •    Member of Nevada Supreme Court Committee on Public Access to Lawyer
          Discipline (1994). Committee report resulted in amendments to SCR 121

     •    Member of Nevada Supreme Court Committee on Judicial Ethics and Election
          Practices (1995). Committee report resulted in the adoption of the Rules
          Governing the Standing Committee on Judicial Ethics and Election Practices
          (1997)

     •    Member of Nevada Supreme Court Committee to Study the Amendment of
          NRCP 68 (offers of judgment) (2008-present)

     •    Nevada Supreme Court Judicial Education Requirements Study Committee
          (2015) (Committee was charged with studying the subject of judicial education
          and making a recommendation to the Nevada Supreme Court. Final report
          submitted April 2016)

     •     Submission of inemoranda and giving of oral presentation to Nevada Supreme
           Court regarding proposed amendment to Nevada R.P.C. 8.4 regarding lawyers'
           ownership of marijuana/cannabis enterprises. ADKT No. 0495
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    •     Submission of inemorandum to State Bar and State Bar Committee on Ethics and
          Professional Responsibility regarding lawyers' ownership/participation in the
          business of purchasing and selling medical liens. (October 2016)

    •     Submission of inemorandum to Nevada Supreme Court regarding proposed
          amendment to Nevada RPC 8.4 regarding lawyer misconduct. ADKT 526

                            RATINGS AND RANKINGS

    •     Martindale Hubbell "A" "V" rating.

    •     Benchmark Litigation Stars: 2018 — Commercial and Anti-Trust Litigation

    •     Mountain States "Super Lawyer" 2019; Top 10 — for Nevada, Utah, Montana,
          Idaho and Wyoming

    •     Mountain States "Super Lawyer" 2018; Top 10 — ranked second overall — for
          Nevada, Utah, Montana, Idaho and Wyoming

    •     Mountain States "Super Lawyer" 2017; Top 10 — ranked third overall — for
          Nevada, Utah, Montana, Idaho and Wyoming

    •     Mountain States "Super Lawyer" 2016; Top 10 — ranked second overall — for
          Nevada, Utah, Montana, Idaho and Wyoming.

    •     Mountain States "Super Lawyer" 2015; Top 10 — ranked third overall — for
          Nevada, Utah, Montana, Idaho and Wyoming.

    •     Mountain States "Super Lawyer" 2005-present (top 75 lawyers in Nevada, Utah,
          Montana, Idaho and Wyoming).

    •     Chambers U.S.A. - one of the top 5 commercial litigators in Nevada (2005-
          present).

    •     Best Lawyers In America - Commercial Litigation, Appellate Practice, and Ethics
          and Professional Responsibility Law (1991-present).

    •     Best Lawyers' 2012 and 2014 Las Vegas Health Care Lawyer of the Year.

                         REPORTED CASES (1985-present)

    •     Lakeside Community Hospital v. Levenson, 101 Nev. 777, 710 P.2d 727 (1985).

    •     Herbst v. Humana Health Ins. of Nevada, 105 Nev. 586, 781 P.2d 762 (1989).

    •     In re Discipline of Stuhff, 108 Nev. 629, 837 P.2d 853 (1992).


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    •    In re Discipline of Sing_
                                er, 109 Nev. 1117, 865 P.2d 315 (1993).

    •    Forsyth v. Humana, Inc., 827 F. Supp. 1498 (D. Nev. 1993), aff d in part and
         rev'd in part by Forsyth v. Humana. Inc., 99 F.3d 1504 (9a' Cir. 1996); superseded
         on rehearing by Forsyth v. Humana, Inc., 114 F.3d 1467 (9t1i Cir. 1997); affirmed
         by Humana, Inc. v. Forsyth, 525 U.S. 299 (1999).

    •    Snoeck v. Brussa, 153 F.3d 984 (9t' Cir. 1998).

    •    State of Nevada v. Reliable Health Care, 115 Nev. 253, 983 P.2d 414 (1999).

    •    Baker v. District Court, 116 Nev. 527, 999 P.2d 1020 (2000).

    •    Npuyen v. State, 116 Nev. 1171, 14 P.3d 515 (2000) (amicus brief for Nevada
         Resort Assn.).

    •    Brown v. District Court, 116 Nev. 1200, 14 P.3d 1266 (2000).

    •    Badillo v. American Brands, 117 Nev. 34, 16 P.3d 435 (2001).

    •     Badillo v. American Brands, 202 F.R.D. 261 (D. Nev. 2001).

    •     Michel v. Bare, 230 F. Supp. 2d 1147 (D. Nev. 2002).

    •     Maduka v. Sunrise Hospital, 375 F.3d 909 (9th Cir. 2004).

    •     Poulos v. Caesar's World, Inc., 379 F.3d 654 (9" Cir. 2004).

    •     International Game Technology, Inc. v. Second Judicial District Court, 122 Nev.
          Adv. Op. 13, 127 P.3d 1088 (2006).

    •     Lero_y's Horse and Sports Place v. Racusin, 2001 WL 1345974 (9t ' Cir.
          November 1, 2001) (reversing district court judgment re damages and attorney's
          fees and remanding for jury trial); Leroy's Horse and Sports Place v. Racusin,
          CV-S-950-00927 (D. Nev. July 8, 2003) (jury verdict of $2,310,000); Hartunian
          v. Racusin, 2005 WL 79089 (9a' Cir. January 14, 2005) (reversing district court
          order refusing to award pre judgment interest on $2,310,000 jury verdict and
          remanding for determination of interest amount); Racusin v. American Walzering,
          Inc., 465 F.3d 1048 (9"' Cir. 2006), withdrawn on rehearing 493 F.3d 1067 (2007)
          (reversing BAP decision subordinating debt and affirming client's status as
          creditor entitled to payment of $2,310,000 judgment).

          Nanopierce Technoloizies, Inc. v. Depository Trust Clearing Corp., 123 Nev.
          362,168 P.3d 73 (September 20, 2007) (brief and oral argument on behalf of
          amicus curiae North American Securities Administrators Assn.).


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    •    State of Nevada v. District Court (RJR Tobacco), 125 Nev. 37, 44, 199 P.3d 828
         (January 29, 2009).

    •    Betsinger v. D.R. Horton. Inc., 126 Nev. 162, 232 P. 3d 433 (May 27, 2010).

    •    Orion Portfolio Services 2, LLC v. Clark County, ex rel. University Medical
         Center, 126 Nev. Adv. Op. No. 39, 245 P. 3d 529 (October 14, 2010).

    •    U-Haul International, Inc. v. Albright, 626 F. 3d 498 (9t' Cir. 2010).

    •    Bahena v. Goodyear Tire & Rubber Co., 126 Nev. Adv. Op. 57, 245 P.3d. 1182
         (2010) (brief on behalf of amicus curiae United States Chamber of Commerce).

    •    Stultz v. Bellagio, LLC, Nevada Supreme Court Case No. 56164 (October 29,
         2011).

         Walters v. Eighth Jud. Dist. Ct. ex rel. Cnty., of Clark, 127 Nev. Adv. Op. No. 66,
         263 P.3d 231 (2011).

    •    In re City Center Construction and Lien Master Liti a~, Nevada Supreme
         Court Case No. 57186 (October 19, 2011).

    •    Richman v. District Court, Nevada Supreme Court Case No. 60676 (May 31,
         2013).

    •    Golden Gaming, Inc. v. Corrigan Management, Inc., Nevada Supreme Court Case
         Nos. 61696 and 62200 (March 26, 2015).

    •    Keisic v. Valley Health System, LLC, et al., Nevada Supreme Court Case No.
         64445 (December 29, 2015).

    •     Simmons v. Briones, 133 Nev. Adv. Op. No. 9, 390 P.3d 641 (March 2, 2017).

    •     Wasmund v. Aria Resort & Casino Holdings, Nevada Court of Appeals Case No.
          69147 (March 6, 2017).

    •     Ford Motor Co. v. Treio, 133 Nev. Adv. Op. 68, 402 P. 3d 649 (September 27,
          2017) (for amicus Nat'1 Assn. of Manufacturers).

    •     Public Employees' Retirement Sys. v. Gitter, 133 Nev. Adv. Op. 18, 393 P.3d 673
          (Apri127, 2017).

    •     Valley Health System v. Estate of Jane Doe; Hall Prangle. & Schoonveld v.
          District Court, 134 Nev. Adv. Op. 76, 427 P.3d 1021 (September 27, 2018).

    •     Michelle Flores v. Las Vegas-Clark County Library District, 134 Nev. Adv. Op.
          101, 432 P.3d 173 (December 13, 2018).
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    •    JMB Capital Partners Master Fund, L.P. v. District Court, Nevada Supreme Court
         Case No. 78008 (March 21, 2019).

    •    Las Vegas Review Journal v. City of Henderson, Nevada Supreme Court Case
         No. 73287 (May 24, 2019).

    •    City of Henderson v. Las Vegas Review Journal, Nevada Supreme Court Case
         No. 75407 (October 17, 2019).

         ETHICS/PROFESSIONAL RESPONSIBILITY REPRESENTATION

    •    Defense of non-Nevada lawyer on charges of unauthorized practice (and related
         offenses) before State Bar Disciplinary Panel (1998-1999). (Name of counsel and
         law firm are confidential.)

    •    Representation of candidate for district court in defense of complaint regarding
         campaign advertisements before Standing Committee on Judicial Ethics and
         Campaign Practices. (1998). Name of candidate is confidential.

    •    Representation of attorney in appeal of disqualification order (SCR 160). Brown
         v. Eighth Judicial District Court, 116 Nev. 1200,14 P.3d 1266 (2000).

    •    Representation of attorney before fee dispute panel in matter involving recovery
         of quantum meruit fee in the absence of written fee agreemerit in contingent fee
         case. West v. Myers, No. 02-128.

    •    Representation of inembers of Nevada Commission on Judicial Discipline in
         defense of action challenging constitutionality of the Commission's rules and
         activities. Snoeck v. Brussa, 153 F.3d 984 (9t ' Cir. 1998).

    •     Representation of Members of Nevada Commission on Judicial Discipline in
          defense of RICO and Civil Rights claims. Mosley v. Gang, et al., Case No. CV-
          S-00-0976-JLQ(LRL).

    •     Representation of State Bar of Nevada in defense of action brought by out-of-state
          law firm challenging the constitutionality of SCR 199 firm name provision.
          Lewis & Roca v. Bare, Case No. CV-S-99-0757-JBR (RLH).

    •     Representation of law firm in challenge to constitutionality of Supreme Court
          Rule prohibiting use of trade name by lawyers. Michel v. Bare, 230 F. Supp. 2d
          1147 (D. Nev. 2002) (declaring SCR 199(1) unconstitutional).

    •     Representation of candidate for district court in defense of complaint fegarding
          allegedly untrue and defamatory statements made concerning opponent before
          Standing Committee on Judicial Ethics and Campaig-n Practices. (2002). Name
          of candidate is confidential.
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   •     -Representation of Nevada Commission on Judicial Discipline in defense of §
          1983 civil rights claim. Luckett v. Hardcastle, et al., Case No. CV-S-05-0726
          RLH-RJJ. (Complaint dismissed).

    •    Representation of attorney in defense of lawsuit alleging negligence and
         malpractice. Malignafzfzi v. Goldberg, Case No. A 508763, District Court, Clark
         County, Nevada (case dismissed).

    •    Representation of law firm in opposing disqualification motion. Provenza v.
         Yamaha Motor Co., Case No. A446708, District Court, Clark County, Nevada.

    •    Representation of law firm in opposing disqualification motion. Roth v. BMW,
         Case No. A453810, District Court, Clark County.

    •    Representation of non-Nevada lawyer regarding allegations of lack of candor
         toward tribunal (SCR 172) (2006). (Name of counsel and law firm are
         confidential.)

    •    Representation of law firm in opposing disqualification motion. Daniell v. Peake
         Development, Case No. A508494, District Court, Clark County.

    •    Representation of attorney in defense of State Bar proceeding regarding violations
         of NRPC 1.8 (business transactions with client) and NRPC 1.7 (conflict of
         interest). Name of attorney confidential (SCR 121).

    •    Representation of attorney in defense of claims for misappropriation of
         confidential information. Friedman v. Friedman, Case No. D07-376354D,
         District Court, Clark County, Nevada.

    •    Representation of attorneys in defense of claims alleging violations of NRPC 4.2
         arising out of contacts with putative class members prior to class certification.
         Del Webb Conimunities, Inc. v. The Eighth Judicial District Court of the State of
         Nevada in and for the County of Clark, and The Hon. Timothy C. Williams,
         District Judge, and Real Parties in Interest, Case No. 49423, Nevada Supreme
         Court.

    •     Representation of attorney in defense of State Bar proceeding regarding violations
          of NRPC 1.5 (fees) and NRPC 4.2 (contact with represented person). Case
          dismissed. Name of lawyer is confidential. (SCR 121).

    •     Representation of entity owned by attorney in defense of NRPC 1.8 claim. In re
          Receivership of Southwest Exchange, Case No. A535439, District Court, Clark
          County, Nevada. Case settled.
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   •     Representation of attorney in defense of malpractice/breach of fiduciary duty
         claim. Sorrell v. Snell & Wilmer, Case No. 08-CV-00761-RCJ-LRL, U.S.
         District Court, Nevada. Case settled.

    •    Representation of attorney in appeal of judgment refusing to enforce contingency
         fee agreement's term regarding attorney's entitlement to particular fee in the
         event of his termination. Golightly v. Gassner, Case No. 50212, Nevada Supreme
         Court. Case decided.

    •    Representation of party in defense of claim for attorney's fees arising out of
         alleged "frivolous" litigation. Club 93, Inc. v. County of Elko, CV-C-08-163,
         Fourth Judicial District Court, Elko, Nevada. Case settled.

    •    Representation of client against attorney in claim for refund of alleged "non-
         refundable" retainer. Sperberg v. Hunterton, Case No. 08-149 (State Bar Fee
         Dispute Proceeding). Case decided.

    •    Representation of attorney in action against former partner and others for
         wrongful expulsion from law firm. Powell v. Powell Naqvi, Case No. 08-566761,
         Eighth Judicial District Court. Case settled.

    •    Representation of clients in seeking review of U.S. Magistrate Judge's order
         imposing monetary sanctions upon parties, individual lawyers, and law firm.
         Dennis Montgomery, Mont omery Family Trust v. eTreppid Technologies,
         L.L.C.; Warren Trepp, Department of Defense of the United States of America;
         and Does 1 through 10, and Related Cases, Case No. 3:065-CV-00145-PMP-
         VPC, U.S. District Court, District of Nevada. Matter settled.

    •    Representation of suspended attorney in proceedings seeking reinstatement to
         Nevada Bar. (In re Richard Pipkins). Representation terminated.

    •    Representation of attorney and law firm in opposing disqualification motion.
         Edwin-K. Slaughter, et al. v. Uponor, lnc., et al., Case No. 2:08-CV-01223-RCJ-
         GWF, U.S. District Court, District of Nevada. Case dismissed.

    •    Representation of non-Nevada lawyer on State Bar inquiry into charges of
         unauthorized practice. (2009-2010). Matter concluded without action by State
         Bar. Name of lawyer is confidential.

    •    Representation of attorneys in defense of State Bar disciplinary proceeding
         alleging fee-splitting with non-lawyer and other matters. State Bar v. Eglet (Case
         No. SG-10-0874) and Adams (Case No. SG-12-0803). Both proceedings
         dismissed.

    •    Representation of attorney in fee dispute arbitration. Davidson v. Gentile, Case
         No. 10-085, Nevada State Bar Fee Dispute Committee. Matter decided.
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    •    Representation of attorney in defense of State Bar disciplinary proceeding. State
         Bar of Nevada v. Anthony Lopez, Bar No. 08-175 (and numerous related and
         consolidated cases). Matters settled.

    •    Representation of judicial candidate in action challenging constitutionality of
         Nevada Code of Judicial Conduct Canon 4, Rule 4.1(A)(11). Kishner v. Nevada
         Standing Committee on Judicial Ethics and Election Practices, Case No. 2:10-cv-
         01858-RLH-RJJ, U.S. District Court, Nevada. Matter decided.

    •    Representation of attorney in matter where attorney disclosed confidential
         information relating to the representation of a client to prevent the commission of
         a criminal and fraudulent act by the client. Nevada RPC 1.6(b)(2) and (3).
         Attorney's name is confidential. Case settled.

    •    Representation of former clients in action against law firm and attorney. Frias
         Holding Co. v. Greenberg Traurig, Case No. A-10-630319-C, Eighth Judicial
         District Court, Clark County, Nevada. Engagement concluded.

    •    Representation of former client against law firm in defense of fee collection
         proceeding and in prosecution of malpractice counterclaim. Lionel Sawyer &
         Collins v. DeWald, State Bar Fee Dispute Committee Matter No. 10-108. Case
         dismissed.

    •     Representation of law firm and lawyers in dispute with insurer over coverage for
          claims of professional negligence. Pacifica v. Goold Patterson, et al., Case No.
          A557726 (and related cases), Eighth Judicial District Court, Clark County,
          Nevada. Matter settled.

    •     Representation of attorneys in defense of five consolidated disciplinary
          complaints arising out of consumer bankruptcy representation. Nevada RPC 1.3,
          1.4, 5.3 and 8.1. State Bar v. Haines and Krieger, Case Nos.10-121-2842; 10-
          134-2842; 10-137-2557; SG10-0023; and SG10-0044. Matters decided.

    •     Representation of law firm and lawyers in defense of lawsuit alleging violations
          of Nevada RPC 1.8. Richman v. Haines & Krieger, LLC, et al., Case No. A-11-.
          643004-C, Eighth Judicial District Court, Clark County, Nevada; Case No. 60676,
          Nevada Supreme Court (May 31, 2013). Matter settled.

    •     Representation of lawyers in defense of 46 consolidated bar grievances and
          complaints arising out of consumer bankruptcies and residential loan
          modifications. State Bar v. George Haines and David Krieger, Grievance No.
          SG11-1800 (and related matters). Matters settled.

    •     Representation of attorneys in challenge (by mandamus) to order of
          disqualification. In re City Center Construction and Lien Master Litigation:
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         MGM Mirage Design Group v. District Court, Nevada Supreme Court Case No.
         57186 (October 19, 2011).

    •    Representation of Trust Beneficiaries in motion to disqualify counsel for trustee.
         In Re Cook Trusts, Case No. P-11-071394-T. Eighth Judicial District Court,
         Clark County, Nevada. Matter decided.

    •    Representation of former client in defense of fee collection suit by law firm and
         prosecution of malpractice counterclaim. Lionel Sawyer & Collins v. DeWald,
         Case No. 79 194 Y 00090 11 nolg (AAA). Engagement concluded.

    •    Representation of not-for-profit entity in State Bar proceeding alleging
         unauthorized practice by assisting homeowners in dealings with mortgage lenders.
         (Name of client is confidential). Engagement concluded.

    •    Representation of Stokes & Stokes, Ltd. in the defense of various bar grievances.
         Case settled.

    •    Representation of parties in action seeking to overturn arbitrators' decision on
         grounds of fraud and partiality. Parker v. Carlson, et al., Case No. A571921,
         Eighth Judicial District County, Nevada. Matter settled.

    •    Representation (special counsel) of Allstate Insurance Co. on privilege and work
         product issues arising from interviews of former clients of an attorney. Allstate
         Insurance Co., v. Balle, et al., Case No. 2:10-CV-02205-KJD-RJJ, United States
         District Court, District of Nevada. Matter concluded.

    •    Representation of attorney and law firm in defense of allegations of unauthorized
         practice (Rule 5.5) and failure to register as a multi jurisdictional law firm (Rule
         7.5A). Waite v.Clark County Collection Service, Case No.2:11-cv-01741-LRH-
         VCF, United States District court, District of Nevada. Matter decided

    •    Representation of attorney in defense of State Bar disciplinary proceeding as to
         alleged violations of RPC 1.7 (current client conflict), RPC 5.4 (professional
         independence/fee splitting with non-lawyers), and RPC 8.4 (misconduct involving
         dishonesty and fraud). State Bar v. Noel Gage, Case No. 08-053-1890.
         Disciplinary case concluded with settlement. Settlement approved by the Nevada
         Supreme Court. Client reinstated as member of State Bar.

         Representation of bar applicant before State Bar Moral Character and Fitness
         Committee on charges relating to alcohol abuse, plagiarism and financial
         responsibility. In re Melanie Feldhauser-Thomas. Matter concluded.

         Representation of law firm and its clients in opposing motion to disqualify law
         firm for acquisition and use of allegedly privileged documents. In re C.E. Cook



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          Family Trust, Consolidated Case No. P-11-071394-T, District Court, Clark
          County, Nevada. Matter concluded.

    •     Representation of attorney in defense of State Bar disciplinary proceedings as to
          alleged violation of trust account rules. State Bar v. Joseph Scalia, Case Nos.
          SG11-1737, SG12-0903. Engagement concluded.

    •     Representation of former client of law firm in dispute with law firm arising out of
          law firm's conflict of interest in defending former client and another defendant at
          trial, where former client was found liable and other defendant was not. Names of
          client and law firm are confidential. Matter settled.

    •     Representation of attorney in appeal of letter of private reprimand resulting from
          attorney's conduct in federal court litigation. In re Steven Gibson, Case No. SG-
          12-0104. Matter decided.

    •     Representation of law firm in dispute with second law firm over payment of fees
          alleged to be due under fee sharing agreement. Gaae Law Firm v. Feinberg
          Mayfield Kaneda & Litt, LLP d/b/a Fenton Grant Mayfield Kaneda & Litt, LLP
          f/k/a Feinberg Grant Mayfield Kaneda & Litt, Case No. A-14-697336-B, District
          Court, Clark County, Nevada. Matter settled.

    •     Representation of defendant entity sued by plaintiff's counsel with whom
          defendant entity had prior relationship, in proceedings regarding disqualification
          of plaintiff's counsel. Matter is confidential.

    •     Representation of departed lawyer in dispute with former firm regarding client
          files and compensation. Matter is confidential.

    •     Representation of law firm in dispute with departed lawyer regarding
          compensation. Matter is confidential.

    •     Representation of former attorneys' client in action against attorneys for
          malpractice and breach of fiduciary duty. McKenna v. Chesnoff, et al., Case No.
          2-14-cv-1773-JAD-CWH pending in the United States District Court, District of
          Nevada. Case pending.

    •     Representation of law firm and attorney in defense of claims for breach of duty
          and aiding and abetting breach of fiduciary duty. Hugh S. Proctor, et al. v. CPF
          Recovery Ways, LLC, et al., Case No. 2:14—cv-01693-RFB-PAL pending in the
          United States District Court, District of Nevada. Case settled.

    •     Representation of attorney in disciplinary proceedings resulting from attorney's
          conviction of a crime. State Bar of Nevada v. Chandan Manansingh, No. CR13-
          1850 (2015). Matter pending

    •     Representation of attorney in defense of allegations of unauthorized practice of
          law. Matter is confidential.


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   •     Representation of two partners of law firm in connection with their resignation
         from that firm and formation of a new firm. Matter is confidential.

    •    Representation of non-party for purpose of asserting accountant-client privilege in
         case where non-party's confidential information was at risk of disclosure. Core-
         Vent Bio En ineering, Inc. v. Polo Nevada Investments, Case No. A644240,
         Eighth Judicial District Court, Clark County, Nevada. Matter concluded.

    •    Representation of attorney regarding potential disciplinary complaint arising out
         of litigation financing and transactions involving medical liens. Name of attorney
         is confidential.

    •    Representation of client in matter following the striking of client's answer and
         imposition of sanctions for discovery violations and misconduct of prior counsel
         (Rule 3.3). Valley Health System, LLC, et al. v. Jane Doe, 134 Nev. Adv. Op.
         No. 76, 427 P.3d 1021 (Sept. 27, 2018).

    •    Representation of law firm (Hall Prangle & Schoonveld, LLC) and attorney
         contesting the imposition of sanctions for lack of candor to the court. (Nevada
         RPC 3.3). 134 Nev. Adv. Op. No. 76, 427 P.3d 1021 (Sept. 27, 2018).

    •    Representation of managing partner of Las Vegas office of national law firm in
         connection with his departure from that firm and the formation of a new law firm.
         Names of attorney and law firm are confidential.

    •    Representation of Adam Kutner in the defense of a State Bar disciplinary
         proceeding alleging violations of various rules of professional conduct. State Bar
         v. Kutner, Case Nos. OBC15-0309, OBC15-0604, OBC15-1291;OBC16-0041,
         OBC16-0613. Matter decided.

    •    Representation of partner in law firm in matter regarding partner's duties when
         law firm is engaging in conduct believed by the partner to violate the rules of
         professional conduct. Name of partner and law firm are confidential.

    •    Representation of law firm and lawyers in sanctions and contempt proceedings
         arising from lawyers' alleged trial misconduct. Names of lawyers are
         confidential.

    •    Representation of attorney in the defense of related State Bar proceedings
         involving client referrals. Name of attorney is confidential.

    •     Representation of a gaming licensee in a dispute with its former attorneys over
          malpractice and excessive fees. Names of parties are confidential. Matter
          resolved.

    •     Representation of secured creditor moving to disqualify law firm representing
          debtor-in-possession because of conflicting representation of guarantor. In re


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         Sterling Entertainment Group LV, LLC, Case No. BK-S-17-13662-abl, United
         States Bankruptcy Court, District of Nevada. Motion granted.

         Representation of Boyack Orme & Anthony in opposing motion seeking sanctions
         for misconduct during voire dire. Thompson v. Playland International, et al., Case
         No. A-14-697688-C, District Court, Clark County, Nevada. Motion decided by
         District Court. Nevada Supreme Court Case No. 75522 (Apri125, 2019) (issuing
         writ of mandamus vacating District Court imposition of sanctions). Client
         appeared pro per in Supreme Court.

    •    Representation of Lewis Brisbois Bisgaard & Smith in opposing motion seeking
         case terminating sanctions for alleged discovery abuse. Gonzales v. Navarro, et
         al., Case No. A-15-728994-C, District Court, Clark Count, Nevada. Case settled.

    •    Representation of Pete Eliades in (i) opposing motion seeking judgment for
         attorneys' fees, and (ii) asserting countermotion ordering the forfeiture of fees by
         reason of law firm's conflict of interest. Cooper Levenson v. Eliades, Case No.
         A-16-732467-C, District Court, Clark County, Nevada. Motions decided. Trial
         pending.

    •     Representation of Wilson, Elser, Moskowitz, Edelman & Dicker, LLP in
          opposing motion seeking sanctions. Lauren Pitts v. Costco Wholesale
          Corporation, Case No. A-16-731492-C, District Court, Clark County, Nevada.
          Matter resolved.

    •     Representation of client in dispute with former attorney over propriety (and
          refund) of alleged "nonrefundable" retainer where attorney was terminated before
          any substantive work was done. Name of client is confidential.

    •     Representation of James W. Vahey, M.D. against former attorney (and others) in
          action for malpractice and breach of fiduciary duty. Vahey v. Musso, et al., Case
          No. A-14-695460-C, District Court, Clark County, Nevada. Matter settled.

    •     Representation of governmental entity in defense of action by newspaper
          contesting the refusal to produce "public records" on the ground that such records
          were protected from disclosure by attorney-client and deliberative process
          privileges. Las Vegas Review Journal v. City of Henderson, Nevada Supreme
          Court Case No. 73287 (decided May 24, 2019).

    •     Representation of Hanson Bridgett, LLC in opposing motion to disqualify that
          firm for alleged conflict with former client (RPC 1.9) Co o~pringsLand
          Development v. Las Vegas Valley Water District, et al., Case No. A-18-778039-
          C, District Court, Clark County, Nevada. Matter resolved. Case dismissed.

    •     Retained by (non-party) former general counsel of defendant to advise as to
          matters of privilege, work product and confidentiality likely to arise at his
          deposition — taken in an action where the plaintiff alleged fraud and related
          wrongdoing by the defendant. Name of client is confidential.

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    •    Representation of client seeking disqualification of former attorneys now seeking
         to represent adverse parties in cross-claims. In re Fontainebleau Lien Liti ation,
         Case No. A-17-765074-B. Matter decided. Nevada Supreme Court, Case No.
         78008 (March 2019).

    •    Representation of client in dispute with former counsel who personally filed an
         amicus brief adverse to the interest of his former client in a matter where he had
         personally represented the former client. Matter resolved. Names of client and
         attorney are confidential.

    •    Representation of Wynn Resorts Ltd. in a motion to disqualify its former counsel
         in a matter where the former counsel is appearing adverse to it. Stephen A. Wynn
         v. Wells, et al., Case No. A-18-784184-B, District Court, Clark County, Nevada.
         Matter resolved.

    •    Representation of Blue Martini (client) in matter involving unauthorized acts by
         attorneys purporting to act on client's behalf. Tomora Reichardt v. Blue Martini
         Las Veizas, LLC, d/b/a Blue Martini Lounre, et al., Case No. A-10-608169-C,
         District Court, Clark County, Nevada. Matter resolved.

    •    Representation of attorney in defense of State Bar proceeding alleging the
         perpetration of fraud on the court. State Bar of Nevada v. Noe, Case No. OBC-
         19-0605.

    •    Representation of Paul D. Powell and The Powell Law Firm in litigation against
         the State Bar of Nevada seeking to have Nevada Rule of Professional Conduct
         7.2(i) declared unconstitutional.

    •     Representation of City of Henderson in dispute with Las Vegas Review Journal
          over attorney's fees in public records case. City of Henderson v. Las Vegas
          Review Journal, Nevada Supreme Court Case No. 75407 (October 17, 2019).

    •    Representation of governmental entity in dispute with former employee-attorney
         over permissible post-employment activities of former employee-attorney.
         Names of client and former employee attorney are confidential.

    •     Representation of Stacey and Steven Lewis in dispute with former counsel
          (Brownstein Hyatt law firm) over attorney's fees. CML-NV Grand Day, LLC v.
          Grand Day, LLC, et al., Case No. A-11-655054-B, District Court, Clark County,
          Nevada. Matter resolved.

    •     Representation of James W. Vahey, M.D. in malpractice case against Black &
          Lobello and Tisha Black in James W. Vahey, M.D., et al., v. Black & Lobello, et
          al., Case No. A-18-768351-C, District Court, Clark County, Nevada. Matter
          pending.




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    •      Representation of Matthew Callister in the defense of the State Bar grievances
           regarding diligence and fees in Grievance File No. OBC-19-1132/Delia Henson
           and Grievance File No. OBC-19-1102/Demedrick Jefferson. Matters pending.

        RETENTION AS EXPERT: ETHICS/PROFESSIONAL RESPONSIBII,ITY

    •      Retained by bar applicant to give expert testimony before State Bar Moral
           Character and Fitness Committee regarding duty of confidentiality arising out of
           applicant's seeking employment with law firm representing adverse party.
           Testimony given. (2004) (Name of bar applicant is confidential).

    •      Retained by Cherry & Bailus to give expert testimony before State Bar Fee
           Dispute committee on issues regarding attorneys' withdrawal/termination of
           representation. Testimony given.

    •      Retained by Dominic Gentile to give expert testimony in U.S. Bankruptcy Court,
           Orange County, California, on attorney's obligations to client upon withdrawal
           and attorney's duty to withdraw. Offer of proof; no testimony given. In re Ken
           Mizuno; The Bankruptcy Estate of Ken Mizuno v. Ken Mizuno, Dominic P.
           Gentile, Terrance G. Reed, et. al., Case No. SA94-14429LR, Adv. No. AD95-
           01043, United States Bankruptcy Court, Central District of California.

           Retained by Law Offices of Stan Hunterton to testify in State Court case on issues
           concerning attorney's obligations in billing client for fees and charging for costs
           and expenses. Report prepared. No testimony given. Shinehouse & Duesing, a
           Nevada partnership, and Rumph & Peyton, a Nevada Partnership v. R.D. Prabhu,
           an individual, Case No. A379297, District Court, Clark County, Nevada. Case
           dismissed and re-filed as Shinehouse & Duesing v. Prabhu, Case No. A456661,
           District Court, Clark County, Nevada. Case dismissed.

            Retained by Law Offices of Gary Logan to testify as to lawyer's duties to jointly
            represented clients. Testimony given. Nault v. Mainor, Case No. A401657,
            District Court, Clark County, Nevada, Mainor v. Nault, 120 Nev. Adv. Op. 84,
            101 P.3d 308 (2004).

            Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to duties
            of attorney (competence) and scope of representation. Report prepared. Case
            dismissed. Ilbert Mednicoff, an individual and CCN, Inc., a Nevada corporation
            v. George F. Holman. an individual, Robert L. Bolick, an individual, Stewart A.
            Gollmer, an individual, Gary Fields, an individual, Law Offices of Robert L.
            Bolick, Ltd., a Professional corporation and Does 1 through 100. inclusive, Case
            No. A377374, District Court, Clark County, Nevada.

            Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to duties
            of law firm to supervise work of associate attorney. Report prepared. Case
            dismissed. Anthony Guymon, an incompetent person, by and throu h his
            Guardian ad Litem, Barbara Guymon; Barbara Guymon v. Cory J. Hilton; Hilton

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         & Kahle; Villani, Hilton & Kahle: Villani. Gardner & Hilton; Perry & Spann;
         Pico & Mitchell, Ltd.; and Does 1 to 10, inclusive, Case No. 00-A-422013-C,
         District Court, Clark County, Nevada.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify as to
         lawyer's conduct in trial and settlement of case. Report prepared. Case
         dismissed. Mark J. Brown v. Alan Catley (and related cross actions), Case No.
         A381988, District Court, Clark County, Nevada.

         Retained by State Bar to testify in disciplinary proceeding as to lawyer's duties
         under SCR 170 (prohibition on filing frivolous litigation). State Bar v. Mirch,
         Case No. 3-34-20. Report prepared. Testimony given. In The Matter of
         Discipline of Kevin Mirch, Case No. 49212, Nevada Supreme Court, April 10,
         2008 (attorney disbarred).

    •    Retained by Holland & Hart to testify as to duties owed by lawyer who engages in
         business transactions with clients. Rivers v. Romano, et al., Case No. A483701,
         District Court, Clark County, Nevada. Report prepared. Testimony given. Case
         dismissed.

    •     Retained by attorney to testify regarding duties under SCR 152 (scope of
          representation), SCR 153 (diligence) and SCR 166 (declining or terminating
          representation), State Bar v. Goldberg, No. 04-013-1536. Testimony given. Case
          dismissed.

    •     Retained by Cristalli & Saggese to testify as to issues regarding formation of
          attorney-client relationship, scope of representation, and breach of duties arising
          therefrom. Johnson v. Smith, Case No. 512364. Report prepared. Case
          dismissed.

    •     Retained by Snell & Wilmer to testify regarding duties and responsibilities of
          attorney providing opinion in real estate sale transaction. Sundance West LLC, et
          al. v. Orix Capital Markets, LLC, Case No. CV-04-01995, Second Judicial
          District Court, Washoe County, Nevada. Report prepared. Case dismissed.

    •     Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
          issues pertaining to insurer's "captive" law firm, including disclosure and client
          consent requirements. Artisan Tile & Plumbing, Inc., a Nevada corporation,
          formerly known as Davila Jimenez, Inc. doing business as Pueblo Landscape
          Company, Inc. v. Assurance Company of America, a New York Corporation;
          Bennion Clayson Marias & Haire fka Bennion & Clayson; Does 1 through 10,
          inclusive, Case No. A503744, District Court, Clark County, Nevada.

          Retained by Menter & Witkin to testify regarding (i) attorney's acceptance of
          defense of insured subject to insurer's litigation guidelines; (ii) conflicts arising
          from attorney's representation of four co-defendants in construction defect


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         litigation; (iii) duty of insurer to provide independent counsel; and (iv) whether
         attorney's conduct met standard of care. National Fire & Marine Insurance
         Company v. Roger Gurr and Elsie Gurr (and counterclaim), Case No. 3:05-CV-
         0658-BES-VPC, United States District Court, District of Nevada. Report
         prepared. Case settled.

   •     Retained by Alverson, Taylor, Mortensen & Sanders to testify regarding
         attorney's conduct in determining proper defendants in litigation. Lesky v.
         Callister, Case No. 527875, District Court, Clark County, Nevada. Report
         prepared. Case dismissed.

    •    Retained by Gordon & Silver to testify regarding conduct of attorney and law
         firm in business transaction with client. Richards v. Allison, MacKenzie, et al.,
         Case No. 03-01781A, First Judicial District Court, Carson City, Nevada. Report
         prepared. Case dismissed.

    •    Retained by Deaner Scann Malan & Larsen to testify regarding an alleged conflict
         of interest arising from law firm's prior work and status of lawyer as shareholder
         in party to case. D& J Properties v. Siena Office Park 2, Case No. A537781,
         District Court, Clark County, Nevada. Report prepared. Testimony Given.
         Matter decided.

    •    Retained by Solomon Dwiggins & Freer to testify regarding the conduct of a
         lawyer and his law firm in the handling of an estate where the lawyer acted as
         trustee of various trusts and retained his own law firm to represent him. Leseber~
         v. Woods, Case No. P59334, District Court, Clark County, Nevada. Report
         prepared. Deposition testimony given. Trial testimony given. Case settled.

    •    Retained by Menter & Witkin to testify regarding (i) duties of Nevada lawyer
         residing out of state and maintaining office in Nevada (SCR 42.1); and (ii) duties
         of multi jurisdictional law firm maintaining office in Nevada (NRPC 7.5A).
         Roger and Elsie Gurr v. National Fire & Marine Insurance Company. Reiser &
         Associates, and Does 1 through 40, Case No. 07=CV-615-HDM-VPC, in the
         United States District Court, Reno. Report prepared. Case settled.

         Retained by Lewis Brisbois Bisgaard & Smith to testify regarding restitution of
         fees paid to law firm who is later disqualified due to conflict of interest. American
         Heavy Moving and Rigg,ing, Inc. v. Lewis Brisbois Bisgaard & Smith, LLP, State
         Bar Fee Dispute Case No. 07-055 (State Bar Fee Dispute Panel). Rebuttal report
         prepared. Testimony given. Case decided.

         Retained by Michael Warhola to testify regarding waiver of attorney-client
         privilege by inadvertent disclosures of e-mail from client. Seidman v. Dilloo,
         Case No. D260143, District Court, Clark County, Nevada. Report prepared.




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         Retained by attorney as consulting expert regarding opposing counsel's violations
         of NRPC 1.2(d) and 8.4(d) by rendering legal aid and advice to fugitive client to
         enable him to prosecute and defend litigation in Nevada. Joseph A. Bravo, David
         Z. Chesnoff, and EckleyM. Keach, Capital Growth Limited, Inc., Punta Arena De
         La Ventana, S.A. de C.V., Boca De La Salina, SA De C.V. v. Capital Growth,
         LLC, and Kerry Rogers, and All Related Actions, Case No. A536644, A542755,
         A535548, District Court, Clark County, Nevada. Report prepared. Underlying
         case dismissed. Bar Grievance filed. Screening panel testimony given. Matter
         decided.

         Retained by attorney as consulting expert to advise whether opposing counsel's
         conduct (harassment of witness) violated NRPC 8.4(d). Julia Brady, et al v.
         Kerry Rogers, et al., Case No. A572440, District Court, Clark County, Nevada.
         Report prepared. Underlying case dismissed.

         Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
         duties and responsibilities of a lawyer who is counsel of record in pending
         litigation, whose client retains other counsel and then ceases communicating with
         the lawyer. Geier v. Denue, et al., Case No. A525183, Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Marquis & Aurbach (later replaced by Lionel Sawyer & Collins) to
         testify regarding duties of lawyer who prepares a trust document, is appointed
         trustee upon client's death, and then retains his own law fin~n to represent the
         trust. In the Matter of the Total Amendment and Restatement of the William
         Eversole Family Trust Originally Dated April 6, 1996, Case No. P-XX-XXXXXXX-T,
         Eighth Judicial District Court, Clark County, Nevada. Report prepared. Case
         settled.

         Retained by law firm to advise as to firm's duties when potential conflict arises
         between clients jointly represented by firm in defense of litigation. NRPC 1.7.
         (Name of firm and identities of clients are confidential).

         Retained by Thorndal Armstrong Delk Balkenbush & Eisinger to testify regarding
         the scope of duties owed by a lawyer who has been retained to render only limited
         services. Brewer v. State of Nevada, et al., Case No. 554064, Eighth Judicial
         District Court, Clark County, Nevada. Report prepared. Matter settled.

          Retained by Alverson, Taylor, Mortensen, Nelson & Sanders to testify regarding
          the duties owed to a minority shareholder by a lawyer who represents a closely
          held corporation. Jackson v. Ira Levine, et al., Case No. A538983, Eighth Judicial
          District Court, Clark County, Nevada. Report prepared. Trial testimony given.
          Case decided.

          Retained by Schiff Hardin, LLP to testify as to reasonableness of attorneys' fees.
          DTPI Holdings, LLP v. Fon est Binkley & Brown Capital Partners, LLP, Case


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         No. 2:07-CV-00690-BES-RJJ, U.S. District Court,.District ofNevada. Report
         prepared. Case decided.

   •     Retained by Doyle Berman Murdy, P.C. to opine on attorney's conduct in
         representing several parties in related transactions. XMASCO, LLC v. Wellborn
         & Associates, P.C., et al., Case No. A566261, Eighth Judicial District Court,
         Clark County, Nevada. Case dismissed.

    •    Retained by Wolf, Rifkin, Shapiro, Schulman & Rabkin, LLP, to testify as to
         attorney's duties regarding safekeeping and distribution of client's funds. Azine,
         et al. v. Johnson, et al., Case No. A587009, Eighth Judicial District Court, Clark
         County, Nevada. Case settled.

    •    Retained by Lewis Brisbois Bisgaard & Smith to testify as to law firm's duties in
         preparing and communicating with client regarding drafts of transactional
         documents. Padilla v. Smith, Case No. A569307, Eighth Judicial District Court,
         Clark County, Nevada. Report prepared. Case settled.

    •    Retained by Solomon Dwiggins & Freer to testify regarding attorney's conduct in
         representing trustors and beneficiaries of a trust. Buck v. Hoffinan, Case No.
         CV09-00324, Second Judicial District Court, Washoe County, Nevada. Report
         prepared. Deposition taken. Case settled.

    •    Retained by Lewis Brisbois Bisgaard & Smith to testify regarding attorney's
         conduct in representing closely held corporation. RPC 1.13. Rita Quam Family
         Trust, et al. v. OPA Manag_ement, LLC, et al., Case No. A568829, Clark County
         District Court. Report prepared. Case concluded on summary judgment in favor
         of attorney. Amended Complaint filed,. Additional report prepared. Matter
         settled.

    •     Retained as special counsel to brief and argue defendants' rights and obligations
          (vis-a-vis, non-settling plaintiffs) regarding possibly privileged or confidential
          documents received by defendants from some plaintiffs as a part of a settlement.
          Klaas v. Vestin Mortgage, Case No. A528385, Clark County District Court
          (matter decided).

    •     Retained by Glaser, Weil, Fink, Jacobs, Howard & Shapiro, LLP to testify as to
          lawyer's obligations upon receipt from a third party of documents and
          information which appear to have been misappropriated from adverse party.
          Merits Incentives, LLC v. Eighth Jud. Dist. Ct. ex rel. Cnty. of Clark, 127 Nev.
          Adv. Op. 63, 262 P.3d 720 (2011).

    •     Retained by Thorndal, Armstrong, Delk, Balkenbush & Eisinger to testify
          regarding attorney's conduct (diligence and competence) in representing client in
          complex mechanic's lien litigation. Maui One Excavating v. Mead & Pezzillo, et



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         al., Case No. A539801, Clark County District Court. Report prepared. Case
         settled.

    •    Retained by Robertson & Vick, LLP to testify as to reasonableness of attorrieys'
         fees. Vogizenthaler, et al. v. Maryland Square, et al., Case No. 2:08-CV-01618
         RCJ (GWF), U.S. District Court, District for Nevada. Report prepared. Matter
         decided.

    •    Retained by Travelers Companies, Inc. to opine on issues relating to the
         unauthorized practice of law (Nevada RPC 5.5 and SCR 49.10). Opinion
         prepared.

    •    Retained by Chamberlain Hrdlicka White Williams & Martin to opine on several
         Nevada RPC 8.3 issues in Valdez v. Cox Communications, et al., Case No. 2:09-
         CV-1797-PMP-RJJ in the U.S. District Court, District of Nevada. (Oral opinion
         delivered.)

    •    Retained by Mark Zaloras and the Law Offices of Peter Goldstein to opine on
         several malpractice, billing and fee issues. Gaxiola-Lim v. Michel, Case No. A-
         10-613812-C, Clark County District Court. Preliminary report prepared. Matter
         settled.

    •    Retained by the Cashill Law Firm to opine on attorney's entitlement to a fee for
         work done on behalf of an incompetent client. Merle Layton Trust, Case No.
         PR98-00336. Second Judicial District Court, Washoe County, Nevada. Report
         prepared.

    •    Retained by Marquis Aurbach Coffmg to testify as to attorney's conduct in
         representation of clients and matters relating to negotiation of release from
         malpractice liability. Gugino v. Nevada Contractors Ins. Co., et al., Case No. A-
         I 1-637935-B, Clark County District Court. Report prepared. Trial testimony
         given. Matter decided.

    •    Retained by Vernon L. Bailey, Esq. to testify as to attorneys' conduct in
         representation of clients and matters relating to legal malpractice, breach of
         fiduciary duty and negligence. Inca Investments. Inc.; Platina. Inc. v. Kevin R.
         Hansen, Esq.; Wilde Hansen, LLP; Greg_    ory L. Wilde, Esq.; Richard S. Ehlers,
         Esq., Case No. A-09-604391-C, Clark County District Court. Report prepared.
         Deposition taken. Case settled.

         Retained by Laxalt & Nomura to testify as to attorneys' obligations to and
         conduct affecting opposing party in litigation. Pompei v. Hawes, et al., Case No.
         A-1 1-6420 1 2-C, Clark County, District Court. Report prepared. Deposition
         taken. Matter settled.




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    •    Retained by Randolph Goldberg to testify as to attorney's conduct regarding
         various issues. State Bar v. Goldberg, Case Nos. 09-049-1536; 09-102-1536; and
         09-235-1536. Report prepared. Matter resolved.

    •    Retained by multi jurisdictional law firm to render advice on compliance with
         Nevada registration and practice requirements (Nev. R.P.C. 7.5A).

    •    Retained by Christian, Kravitz, Dichter, Johnson & Sluga, LLC to testify
         regarding attorneys' obligations when terminating employment with a law firm
         and starting a new firm. Burr v. Dodds, Case No. A-11-650060-B, Clark County
         District Court. Matter settled.

    •    Retained by Hong & Hong to testify as to duties of attorneys (competence) in
         conduct of litigation. Wacht v. Peel & Brimley, Case No. A646410, Clark
         County District Court. Report prepared. Matter decided.

    •    Retained by attorney to render opinion on duties regarding disposition of disputed
         funds held by attorney. (Nev. R.P.C. 1.15) (Attorney's name is confidential.)

    •    Retained by Greenspoon Marder, P.A. to render opinion on attorney's duty to
         obtain clients' informed consent before settling or dismissing claims. Pittman v.
         WestQate Planet Hollywood Las Vegas, LLC, Case No. 2:09-CV-00878-PMP-
         GWF, United States District Court, District of Nevada. Report prepared. Matter
         decided.

    •     Retained by Simon & Berman to render opinion on conduct of lawyer and law
          firm in representing client in litigation (diligence, competence and
          communications)., Chandler v. Black & LoBello, et al., Case No. A-11-643955,
          refiled as Case No. A-12-660252, Clark County District Court. Matter settled.

    •     Retained by Lewis Brisbois Bisgaard & Smith LLP to render opinion on conduct
          of attorney in matters pertaining to failed investment. Softwind Capital, LLC v.
          Global Project Solutions, LLC, et al., Case No. 2:11-CV-02057-JCM-GWF,
          United States District Court. Case settled.

    •     Retained by Lewis Brisbois Bisgaard & Smith LLP to render opinion on conduct
          of attorney regarding loans made to client (Nevada RPC 1.8). Albert D. Massi v.
          Donald and Mary Nobis, Case No. A672579 in the District Court, Clark County,
          Nevada. Case settled.

    •     Retained by law firm as consulting expert to render opinion regarding attorney's
          duty to report misconduct by opposing counsel. Nevada RPC 8.3(a). Name of
          law firm and subject attorney are confidential.

    •     Retained by Lewis Roca Rothgerber to render opinion on whether the common
          religious affiliation of the judge and one party's counsel requires the judge to
          recuse himself. Lynan v. Health Plan of Nevada, Case No. A583772 and Ma ana

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         v. Health Plan of Nevada, Case No. A583816, District Court, Clark County,
         Nevada. Report prepared. Matter decided.

    •    Retained by Littler Mendelson to render opinion as to the propriety of self-dealing
         and other activities by company's in-house counsel. Randazza v. Excelsior Media
         Com•, JAMS Case No. 1260002283. Report prepared. Arbitration testimony
         given. Case decided.

    •    Retained by Judy M. Sheldrew, Esq. to render an opinion on the propriety of
         several attorneys' conduct in dealing with client having diminished capacity
         Andrews v. Rowe, et al., Case No. 12-PB-0075 in the Ninth Judicial District
         Court, Douglas County, Nevada. Report prepared. Case settled.

    •    Retained by Christine A. Zack to opine on issues of unauthorized and multi-
         jurisdictional practice of law. In re: Fundamental Long Term Care, Inc., Case
         No. 8-11 -BK-2225 8-MGW, District of Florida. Matter settled.

    •    Retained by Wilson, Elser, Moskowitz, Edelman & Dicker, LLP, to opine on
         issues regarding the conduct of class counsel in dealing with class representative.
         Goldsmith v. Sill, et al., Case No. 2-12-CV-0090-LDG-CWH in the U.S. District
         Court, District of Nevada. Report prepared. Case pending.

    •    Retained by Lewis Brisbois Bisgaard & Smith LLP to opine on issues regarding
         conduct of counsel with respect to claims alleged in David Siebrasse, as Personal
         Representative of the Doreen Siebrasse Estate v. Jeffrey Burr, Ltd.; Jeffrey Burr;
         Mark Dodds; John Mugan; et al., Case No. A-11-648532-C, in the District Court,
         Clark County, Nevada. Report prepared. Case settled.

    •    Retained by Lewis Brisbois Bisgaard & Smith LLP to opine on issues regarding
         conduct of counsel with respect to claims alleged in T&R Construction Group v.
         Clark Tatom, LLC; and Bradley R. Tatom, Case No. A-13-689637-B, in the
         District Court, Clark County, Nevada. Report prepared. Case settled.

    •    Retained by Fulbright & Jaworski to opine on that firm's conduct in representing
         related entities in commercial transaction. Verano Land Group, LP v. VTLM
         Texas LP, et al, Case No. A-12-655514-B in the Eighth Judicial District Court,
         Clark County, Nevada. Report prepared. Deposition taken. Case settled.

    •    Retained by Bowen Hall to opine on (i) propriety of lawyer threatening to
         withdraw from case during contested hearing unless the client accepted a
         settlement offer, and (ii) other issues of competency and diligence. James J
         "Butch" Peri v. Stephen C. Mollath; Prezant & Mollath; et al., Case No. CV08-
         02546 in the Second Judicial District Court, County of Washoe, State of Nevada.
         Trial testimony given. Case settled.

    •     Retained by Wilson, Elser, Moskowitz, Edelman & Dicker, LLP to opine on
          lawyer's duties with respect to firm trust account and partner's improper conduct.


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         SBS Retail Inc., et al. v. Yves Chantre Inc.. et al., Case No. A-13-681083-C, in
         the District Court, Clark County, Nevada. Report prepared. Case settled.

         Retained by Lewis Roca Rothgerber to opine on attorneys' conduct during trial
         and compliance with Nevada RPC 3.3 (candor to the tribunal) in the matter
         entitled Health Plan of Nevada, Inc., et al. v. Helen Meyer, et al., Nevada
         Supreme Court Case No. 64692. Report prepared. Case settled.

         Retained by McDonald Family Trust to opine on the conduct of shareholders and
         the entity's counsel in a related party transaction. Nevada RPC 1.13. Russell G.
         Sheltra, individually and as Trustee of the Russell G. Sheltra Gaming Trust and
         Little Bonanza, Inc. v. Marszaret McDonald and Timothy McDonald, Individually
         and as Trustees of the Robert and Gloria McDonald Family Trust, et al., Case No.
         CV14-01111, in the Second Judicial District Court, Washoe County, Nevada.
         Case settled.

    •    Retained by Holland & Knight to opine on the reasonableness of attorneys' fees
         in the matter entitled Leerad, LP, et al. v. Imperial Credit Corporation d/b/a A.I.
         Credit Corporation, et al., Case No. A631490, in the Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case settled.

    •    Retained by Thorndal, Armstrong, Delk, Balkenbush & Eisinger to opine on
         conduct of attorney in commercial real estate transaction. Shulman v. Bendavid,
         Case No. A682679, District Court, Clark County, Nevada. Report prepared.
         Deposition taken. Case settled.

    •    Retained by Clyde Snow & Sessions to opine on attorney's conduct in a matter
         affecting several clients (RPC 1.7; 2.2). United States of America v. Leon
         Benzer, et al., Case No. 2:13-cr-00018-JMC-GWF pending in the United States
         District Court, District of Nevada. Report prepared. Trial testimony given.
         Matter decided.

    •     Retained by Liberty Media Holdings LLC to opine on conduct of its in-house
          counsel in several matters. Randazza v. Liberty Media Holdings, LLC, Case No.
          A-12-673275-C in the Eighth Judicial District Court, Clark County, Nevada.
          Report prepared. Case settled.

    •     Retained by Weinberg Wheeler Hudgins Gunn & Dial to opine on conduct of
          attorneys in representation (and withdrawal) of clients in litigation. Lee v. 70 Ltd.
          Partnership, Case No. A-13-691389-C, Eighth Judicial District Court, Clark
          County, Nevada. Report prepared. Matter pending.

    •     Retained by Rock Fusco & Connelly, LLP to opine on conduct of attorneys in the
          conduct of litigation. International Game Technology v. Armstrong Teasdale,
          LLP, Case No. A-15-715079-C, Eighth Judicial District Court, Clark County,
          Nevada. Report prepared. Deposition taken. Case settled.



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    •    Retained by Durham Jones & Pinegar to opine on conduct of attorney with
         respect to financial dealings with client (RPC 1.7 and 1.8). Center Firearms Corp.
         V. Long Mountain Outfitters, Case No. A-14-709294-B, Eighth Judicial District
         Court, Clark County, Nevada. Report prepared. Case decided.

    •    Retained by law firms to opine on issues regarding potential conflicts of interest
         which arise after retention in a matter. Names of law firms are confidential.

    •    Retained by Faux Law Group to opine on lawyers' conduct in the litigation and
         settlement of a matter. Nahabedian v. Sutcliffe, et al., and related claims,
         counterclaims and third-party claims, Case No. A-12-673897-C, District Court,
         Clark County, Nevada. Case settled.

    •    Retained by Gibbs, Giden, Locher, Turner & Senet LLP to opine on the conduct
         of a law firm and its attorneys (competence and supervision) in the representation
         of an HOA client. Vistana Condominium Owners Assn., Inc. v. Kummer
         Kaempfer Bonner Renshaw & Ferrario, Case No. 08-A-578306, District Court,
         Clark County, Nevada. Report prepared. Deposition taken. Trial testimony
         given. Case decided.

         Retained by Rimini Street, Inc. and Seth Ravin to opine on the reasonableness of
         the fees and costs incurred by the Plantiffs' counsel in the case entitled Oracle
         USA, Inc., et al. v. Rimini Street, Inc. and Seth Ravin, Case No. 2: 1 0-cv-0 106-
         LRH-PAL in the United States District Court, District of Nevada. Report
         prepared. Matter decided. 209 F. Supp. 3d 1200 (D. Nev. 2016); reversed in
         part, 879 F. 3d 948 (9ffi Cir. 2018) and remanded. Supplemental report prepared.
         Matter decided on remand.

    •    Retained by Lipson, Neilson, Cole, Seltzer & Garin, PC to opine on the conduct
         of inembers of Wasserman Kornheiser, LLP, at issue in the claims alleged in the
         matter entitled Carlisle Homeowners Association v. Pacifica Covington, LLC, et
         al., Case No. A-13-678911-D, District Court, Clark County, Nevada. Case
         pending.

    •    Retained by Lewis Roca Rothgerber to opine on conduct of attorney in the
         litigation of a matter. Huckabay Properties, Inc. v. Beau Sterling, et al., Case No.
         CV-15-00765, Second Judicial District Court, Washoe County, Nevada. Case
         settled.

    •    Retained by Gordon & Rees to opine on the conduct of attorney regarding
         business transaction with client. Blanchard v. Rosenfeld, Case No. A637650,
         District Court, Clark County, Nevada. Report prepared. Rebuttal Report
         prepared. Case pending.

    •     Retained by Loose Brown & Associates (later replaced by May, Potenza, Baran &
          Gillespie, P.C.) to opine on the conduct of a law firm and one of its lawyers in the
          representation of a client in litigation. Cannabis Renaissance Group, LLC, and
          Mohit Asnani v. Fennemore Craig, P.C. dba Fennemore Craig Jones Var~s;     a and

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         Patrick J. Sheehan and Jane Doe Sheehan, Case No. CV2016-054776, pending in
         Superior Court, State of Arizona, Maricopa County. Report prepared. Rebuttal
         report prepared. Deposition taken. Case pending.

         Retained by Morris Polich & Purdy to opine on conduct of lawyer and law firm in
         representation of client in litigation. Sunport Business Trust v. Serle, et al., Case
         No. A-15-716677-C, District Court, Clark County, Nevada. Report prepared.
         Rebuttal report prepared. Case pending.

         Retained by Caldwell Leslie & Proctor, PC to opine on (i) the causation of
         damages by attorney negligence in a commercial transaction and (ii) the
         reasonableness and necessity of attorneys' fees incurred by Renown Health,
         Renown Regional Medical Center, and Nevada Heart Institute d/b/a Renown
         Institute for Heart & Vascular Health in the matter entitled Arger, et al. v.
         Renown Health, et al., Case No. CV11-02477, Second Judicial District Court,
         Washoe County, Nevada, such fees are sought as damages by the Renown Parties
         in the matter entitled Renown Health, et al v. Holland & Hart, LLP, et al., Case
         No. CV 14-02049, Second Judicial District Court, Washoe County, Nevada.
         Report prepared. Deposition taken. Trial testimony given. Matter decided.

         Retained by Edward Lewis Tobinick, M.D, Edward Lewis Tobinick, MD d/b/a
         Institute of Neurological Recovery and INR PLLC d/b/a Institute of Neurological
         Recovery to opine on the conduct of Marc J. Randazza, Esq. of Randazza Legal
         Group, PLLC in the matter entitled Edward Lewis Tobinick. M.D., et al. v.
         Novella, et al., Case No. 9:14-cv-80781-RLR, pending in the U.S District Court,
         Southern District of Florida (West Palm Beach). Report prepared. Matter
         decided.

         Retained by Meister Seelig & Fein LLP to opine on the reasonableness and
         necessity of attorneys' fees incurred by Ballard Spahr LLP and Katten Muchin
         Rosenman LLP in the matter entitled Jeffrey Soffer, et al. v. The Bank of Nova
         Scotia, New York Agency, Case No A635777 in the Eighth Judicial District
         Court, Clark County, Nevada, as appealed to the Nevada Supreme Court, Case
         Nos. 61762 and 63157. Report prepared. Deposition taken. Matter pending in
         New York state court

          Retained by Wilson Elser Moskowitz Edelman & Dicker LLP to opine on the
          conduct of Danielle L. Miller and the law firm of Sylvester & Polednak regarding
          malpractice claims brought by Laura Renzi. Preliminary report prepared. Case
          settled.

          Retained by Hutchison & Steffen to opine on the conduct of Eric Roy and the law
          firm of Claggett & Sykes in the matter entitled Adam S. Kutner. P.C., et al. v.
          Eric Daly, et al., Case No. A-11-643990-C consolidated with Case No. A-11-
          650247-C, pending in the Eighth Judicial District Court, Clark County Nevada.
          Report prepared. Matter settled.



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    •    Retained by Morris Polich & Purdy to opine on conduct of lawyer in litigation.
         Scotto v. Gourley, et al., Case No. A-15-729632-C, District Court, Clark County,
         Nevada. Report prepared. Case settled.

    •    Retained by Messner Reeves LLP (successor to Wolfenzon Rolle Edwards) to
         opine on conduct of lawyers in litigation. Dudek v. Meuller, et al., Case No. A-
         14-703305-C, District Court, Clark County, Nevada. Report prepared. Matter
         settled.                           '

    •    Retained by law firm to advise as to validity of attorney association agreement.
         (Name of firm and identities of clients are confidential).

    •    Retained by Quinn Emanuel Urquhart & Sullivan, LLP to opine with regard to
         Motions to Disqualify Quinn Emanuel, counsel for Elaine P. Wynn, filed by
         Wynn Resorts, Limited in the matter entitled Wynn Resorts, Limited v. Kazuo
         Okada, et al., and all related claims, Case No. A656710, pending in District Court,
         Clark County, Nevada. (RPC 3.3, 4.4, 5.3 and 8.4). Report prepared. Matter
         resolved.

    •     Retained by attorney to advise as to obligations when client is committing
          fraudulent acts. (Name of attorney is confidential.)

    •     Retained by Kravitz, Schnitzer & Johnson to opine on attorney's obligations when
          claim is made that fees were paid with stolen funds. Novva Ausrustung Group,
                         t oka, Case No. 2:17-cv-01293-RFB-VCF, U. S. District Court,
          Inc. v. Dean Ka'i
          District of Nevada. Case settled.

    •     Retained by Buckley Sandler, LLP to opine on law firm's obligations when
          withdrawing from one jointly represented client and continuing to represent the
          other. Wynn Resorts, Limited v. Kazuo Okada, et al., and all related claims, Case
          No. A656710, District Court, Clark County, Nevada. Matter resolved.

    •     Retained by Hartford Financial Products to render an opinion on the conduct of
          Ken R. Ashworth, Esq., Hans R. Baldau, Esq., Geoffrey A. Potts, Esq., and Ken
          R. Ashworth & Associates P.C. as alleged in the Arbitration Matter of Michael C.
          Fuoroli and Tiffany S. Fuoroli, Claimants v. Ken R. Ashworth & Associates, Ken
          R. Ashworth, Hans R. Baldau, and Geoffrey A. Potts, Respondents / Ken R.
          Ashworth & Associates, Professional Corporation, Counterclaimant v. Michael C.
          Fuoroli and Tiffany S. Fuoroli, Counter-respondents, Case No. 211874. Case
          decided.

    •     Retained by Armstrong Teasdale to render an opinion on the conduct of attorney
          in representing client in negotiations. (Alleged aiding and abetting client in
          breach of fiduciary duty to partner.) LV Holdco LLC v. Atalon Mgmt. Group,
          LLC, et al., Case No. A-17-749387-B, District Court, Clark County, Nevada.

    •     Retained by Santoro Whitmire to render an opinion on the conduct of attorneys
          and law firm (Gordon Rees Scully Mansukhani, LLP) in the conduct of litigation.

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         Smead v. Gordon Rees, et al., Case No. A-16-760737-C, District Court, Clark
         County, Nevada.

    •    Retained by Holley Driggs Walch Fine Wray Puzey & Thompson to render an
         opinion on the conduct of attorney T. James Truman in the representation of his
         client. T. James Truman & Associates v. Ouest Preparatory Academy, Case No.
         A-15-727469-C, District Court, Clark County, Nevada.

    •    Retained by Hutchison & Steffen to opine on the validity of an alleged conflict
         waiver by a governmental entity (City of Las Vegas) in order to permit it to be
         represented by a law firm which was appearing adverse to it in a related matter.
         180 Land Co. LLC v. City of Las Vegas, Case No. A-17-758528-J, District Court,
         Clark County, Nevada. Preliminary opinion rendered. Matter resolved.

    •    Requested (pro bono) by the Clark County District Attorney's office to advise as
         to propriety of criminal defense attorneys posting offensive comments on social
         media (Nevada RPC 8.4(d)). Memorandum re substance and remedies delivered.
         (7/16/18).

    •    Retained by law firm to opine and advise regarding expulsion of partner/
         shareholder from firm. Name of firm is confidential.

    •    Retained by Gentile Cristalli Miller Armeni & Savarese, PLLC to opine and
         advise regarding reasonableness of fees in King v. Desert Palace, Inc., et al., Case
         No. A-13-691609-C, District Court, Clark County, Nevada. Opinion rendered.

    •    Retained by Olson, Cannon, Gormley, Angulo & Stoberski to opine on
         malpractice issues in Coleman v. Tomsheck, et al., Case No. A-15-728692-C,
         District Court, Clark County, Nevada. Report prepared.

    •    Retained by Gerrard Cox Larsen to opine on attorney fiduciary and firm loyalty
         issues in Woods & Erickson, LLP v. The Estate of Glen Woods, et al., Case No.
         A-18-775111-C, District Court, Clark County, Nevada. Oral report given. Case
         settled.

    •    Retained by Gerrard Cox Larsen to opine on attorney fiduciary and firm loyalty
         issues in Woods & Erickson, LLP v. Andrew B. Platt, et al., Case No. A-18-
         774926-C, District Court, Clark County, Nevada. Report prepared.

    •     Retained by Marshall & Associates to opine on the conduct of attorney Douglas J.
          Gardner (and others) in the representation of clients (insurer and insured) in
          litigation and other related matters. Century National Insurance Co., et al. v.
          Douglas J. Gardner, et al., Case No. 2:18-cv-02090-APG-BWN, U.S. District
          Court, District of Nevada. Report prepared.

    •     Retained by Robison Sharp Sullivan & Brust to opine on existence of and
          consequences arising from former client conflict. Coyote Springs Investment,
          LLC v. Wilson, Case No. A-19-789203-J, District Court, Clark County, Nevada.

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         Retained by Kravitz, Schnitzer & Johnson, Chtd. to opine on the conduct of
         Dennis M. Prince with respect to his conduct in Lee Pretner, et al. v. Michael A.
         Vasquez, et al., Case No. A-11-632845-C, in the District Court, Clark County,
         Nevada; which is now at issue in Dana Andrew, et al. v. CentuEy Surety
         Company, Case No. 2:12-cv-00978-APG-PAL, in the United States District
         Court, District of Nevada. Report prepared.

         Retained by Fidelity National Law Group to opine as to the reasonableness of the
         attorneys' fees incurred by the Plaintiff's counsel in The Money Source, Inc. v.
         Chartered Holdings, Inc. and related cases, Case No. A-17-749645-C, District
         Court, Clark County, Nevada. Report prepared. Matter decided.

         Retained by Flangas Law Firm, Ltd. to opine as to the conduct of C. Conrad
         Claus, Esq. with respect to the claims alleged in Grundy v. Claus & McKenzie.
         Case No. A-17-754726-C, in the Eighth Judicial District Court, Clark County,
         Nevada. Reports prepared.

         Retained by Hutchison & Steffen, PLLC to opine as to the conduct of Rory
         Vohwinkel and Vohwinkel & Associates with respect to Caballos De Oro
         Estates, LLC v. Eliot A. Alper, et al., Case No. A-17-752905, pending in the
         Eighth Judicial District Court, Clark County, Nevada.

        CONTINUING LEGAL EDUCATION INSTRUCTION (1997-Present)

    •    National Business Institute (NBI) (6/19/19): "Ethics in Business Law"

    •    Clark County Bar Association (5/14/19): "Things They Didn't Tell You In Law
         School"

    •    Clark County Bar Association (5/9/18): "Current Topics for New (and Not So
         New) Lawyers" Current Issues in Ethics

    •    Kolesar & Leatham (12/22/17): Current Issues In Privilege and Confidentiality

    •    National Business Institute (12/20/17): Legal Ethics — Top Challenges

    •    Association of Legal Administrators, Las Vegas Chapter (11/14/17): "Attorney-
         Client Privilege and Confidentiality"

    •    National Business Institute (10/19/17): Tax Exempt Organizations: Ethics
         Bootcamp '

    •    Clark County Bar Association (5/11/17): "You Know Where You've Been ..."
         Current Issues in Ethics

    •    State of Nevada-Paralegal Division (4/29/17): Confidentiality and Attorney-
         Client Privilege

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    •    City of Henderson, City Attorney's Office (10/6/16): Ethics 2016: "What Can I
         Say?"

    •    Southern Nevada Association of Women Attorneys (1/7/16): "Things to Fear in
         the New Year"

    •    Clark County Bar Association (12/9/15): "12th Annual Ethical Issues"

    •    Clark County Bar Association (6/25/15): "Things You Don't Know Can Hurt
         You — Here are 12 of them"

    •    Water Law Institute: 17a' Annual Law of the Colorado River Conference
         (5/1/15): "Ethics and Social Media"

    •    Southern Nevada Association of Women Attorneys (1/15/15): "Ethics Issues for
         2015"

    •     Clark County Bar Association (11/13/14): "11t ' Annual Ethics CLE"

    •     American Bar Association Section of Environment, Energy and Resources, 32nd
          Annual Water Law Conference: Ethics for Water Lawyers (6/6/14)

    •     Association of Legal Administrators, Las Vegas Chapter (5/13/14): "Issues in
          New Business Intake."

    •     American Bar Association Group Legal Services Association and Solo, Small
          Firrn and General Practice Division Annual Meeting (5/2/14): "Ethics Issues In
          Marketing and Client Development."

    •     State Bar of Nevada: Section of Environmental and Natural Resources Law
          (2/27/14) "Ethics Issues for Environmental Lawyers."

    •     Clark County Bar Association (12/13/13). 10"' Annual Ethics CLE.

    •     City of Henderson, City Attorneys' Annual Retreat (10/17/13). "A Lawyer Walks
          Into a Bar ... The Dangers of Casual Advice and Conversation."

    •     Las Vegas Paralegal Society: Keeping Abreast of Conflicts and Unauthorized
          Practice (6/18/13).

    •     Association of Legal Administrators, Las Vegas Chapter: Legal Administrator's
          Role in Preventing Malpractice (6/11/13).

    •     American Bar Association Section of Environment, Energy and Resources, 31St
          Annual Water Law Conference: Water Lawyers and Ethics (6/7/13).


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    •    Clark County Bar Association (5/8/13) "4th Annual Solo and Small Firm Ethical
         Traps."

    •    UNLV Boyd School of Law (3/8/13) "Professionalism and Popular Culture."

    •    Clark County Bar Association (11/2/12). 9t ' Annual Ethics CLE.

    •    Clark County Bar Association (3/28/12). "3`d Annual Hanging Out a Shingle?
         Solo and Small Firm Ethical Traps."

    •    American Bar Association Business Law Section Spring Meeting (3/22/12).
         "Saints and Sinners: Ethical Issues and Dilemmas in Client and Practice
         Development."

    •    Southern Nevada Association of Women Attorneys (2/24/12). "Ten for Twelve:
         Ethics 2012."

    •    Clark County Bar Association (11/3/11) "8th Annual Ethics CLE."

    •    Nevada Paralegal Assn. (6/18/11) "UPL: Attorney Supervision of Paralegals."

    •    Department of Energy Contractor Attorneys' Assn. (5/27/11) "Ethics: Ten Things
         You Should Know."

    •    Southern Nevada Association of Women Attorneys (2/25/11) "Ten For Eleven:
         Ethics 2011."

    •    Clark County Bar Association (2/4/11) "Hanging Out A Shingle? Solo and Small
         Firm Ethical Traps."

    •    Clark County Bar Association (9/30/10) "7th Annual Ethics Issues: 2010."

    •    American Society of Breast Surgeons (4/30/10) Avoiding and Responding to
         Litigation.

    •     Clark County Bar Association (3/26/10) Avoiding Solo/Small Firm Ethical Traps.

    •     Southern Nevada Association of Women Attorneys (2/26/10) Ethics 2010: Ten
          Thoughts for ' 10.

    •     State Bar of Nevada (11/12/09): Nevada Legal Ethics (2009).

    •     State Bar of Nevada, Clark County Bar Association and Washoe County Bar
          Association (10/13/09, Las Vegas; 10/14/09, Carson City): 2009 Professionalism
          Summit.


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   •     Clark County Bar Association (9/18/09): "Sixth Annual Ethics Issues: 2009."

   •     Public Relations Society of America (7/24/09): "Keeping Out of Hot Water:
         Legal Considerations in Communications."

   •     Lecture and panel discussion with Justice Nancy Saitta and District Judge Linda
         Bell: "Professionalism in Litigation." Boyd School of Law (4/1/09).

   •     Southern Nevada Association of Women Attorneys (2/20/09): "ETHICS 2009:
         Being Good Gets Harder Every Year."

   •     State Bar of Nevada (12/5/08): "Nevada Legal Ethics 2008."

   •     State Bar of Nevada (11/19/08): "Nevada Legal Ethics 2008."

    •    Indiana State Bar Association (11/13/08): "Ethics: A Western Perspective on
         Maintaining A Healthy Legal Practice."

    •    Clark County Bar Association (9/19/08): "Fifth Annual Ethics Issues 2008"
         (Prepared materials. Presentation made by David J. Merrill).

    •    Southern Nevada Association of Women Attorneys (2/22/08): "Ethics 2008 - Be
         Careful Out There."

    •    State Bar of Nevada (11/30/07) "Nevada Legal Ethics 2007."

    •    State Bar of Nevada (11/16/07) "Nevada Legal Ethics 2007."

    •    Clark County Bar Association (10/31/07) "Lawyer Advertising: The New Rules."

    •    Wisconsin Law Alumni Association (9/8/07) "The New Rules of Professional
         Conduct."

    •     Clark County Bar Association (8/24/07) "Fourth Annual Legal Ethics - 2007."

    •    National Assn. of Retail Collection Attorneys (5/11/07) "Ethics Issues for Legal
         Collection Professionals."

    •     Southern Nevada Association of Women Attorneys (2/23/07) "Desperately
          Seeking Ethics - 2007."

    •     State Bar of Nevada (12/1/06) "Nevada Legal Ethics 2006."

    •     State Bar of Nevada (11/17/06) "Nevada Legal Ethics 2006."



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    •    Clark County Bar Assn. (6/30/06) "Ethics 2006: The New Nevada Rules of
         Professional Conduct."

    •    State Bar of Nevada Professionalism Summit: Speaker and Panel Member
         (4/20/06).

    •    Southern Nevada Association of Women Attorneys (1/27/06) "Ethics Issues for
         2006."

    •     State Bar of Nevada (11/18/05) "Nevada Legal Ethics 2005."

    •     State Bar of Nevada (11/4/05) "Nevada Legal Ethics 2005."

    •     Clark County Bar Assn. (9/15/05) "Ethics 2005: Current Issues."

    •     Clark County Bar Assn. (3/4/05) Speaker and Panel Member: First Annual
          Professional Summit.

    •     State Bar ofNevada (11/19/04) "Ethics 2004: Year in Review."

    •     State Bar of Nevada (11/5/04) "Ethics 2004: Year in Review."

    •     Clark County Bar Assn. (7/30/04) "Current Issues In Ethics."

    •     Lorman Business Institute (7/20/04) "Current Issues in Ethics."

    •     National Hospice Assn. (3/21/04) "Legal Issues For Physicians In End of Life
          Care."

    •     Southern Nevada Assn. of Women Attorneys (1/30/04) "Ethics Issues for 2004."

    •     State Bar of Nevada (1/20/04) "Workers Compensation: Current Issues in Ethics."

    •     National Business Institute (10/21/03) "Current Issues In Attorney Client
          Privilege and Confidentiality."

    •     Sterling Educational Systems (9/25/03) "Common Ethical Problems for
          Transactional Lawyers."

    •     Clark County Bar Assn. (2/28/03) "ERISA 2003: What's New?"

    •     Southern Nevada Assn. of Women Attorneys (1/31/03) "Ethics: 2003."

    •     State Bar of Nevada (11/22/02) "Nevada Legal Ethics - the Year In Review."




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    •     American Corporate Counsel Assn. (6/18/02) "Issues of Attorney-Client Privilege
          for In-House Counsel."

    •     National Business Institute (12/7/01) "Current Issues In Legal Ethics:Nevada
          2001."

    •     National Business Institute (7/13/01) "Attorney-Client-Privilege and the Work
          Product Doctrine In Nevada."

    •     National Business Institute (12/12/00) "Practical Legal Ethics."

    •      State Bar ofNevada (3/31/00) "Professionalism and Ethics."

    •      Southern Nevada Assn. of Women Attorneys (1/28/00) "Multi-Disciplinary
           Practice: Ethical Considerations."

    •      State Bar of Nevada (12/10/99) "Winning Without Losing Your Professionalism."

    •      National Business Institute (I 1/17/99) "Practical Legal Ethics."

    •      Law Seminars Int'1. (6/25/99) "Ethics Considerations for Construction Lawyers."

    •      National Practice Institute (12/4/98) "Ethical Problems: Dealing With Difficult
           Lawyers."

    •      ALAS (10/21/98) "Ethical Issues for Healthcare Lawyers."

    •      State Bar of Nevada (3/21/98): "Ethics and Attorneys' Fee Agreements."

    •      CLE International (12/5/97) "Current Issues In Ethics"

    •      Institute for Paralegal Practice (8/26/97) "Preventing Unauthorized Practice of
           Law"

    [Additional CLE instruction available upon request.]




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             Exhibit 3




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        1                         DECLARATION OF THOMAS A. ZIAMERIVIAN, JR.

        2            I, Thomas A. Zimmerman, Jr., declare as follows:

        3            1.      I am over the age of eighteen and a resident of Cook County, Illinois.

        4            2.      I am the principal of Zimmerman Law Offices, P.C. ("Zimmerman Law"), an Illinois

        5     professional corporation, co-counsel for Plaintiff Christopher Bruun ("Plaintiff') in the matter

        6     entitled Bruun v. Red Robin Gourmet Burgers, Inc., Case No. A-20-814178-C (the "Matter"), which

         7    is pending before the Eighth Judicial District Court of the State of Nevada.

         8           3.      I am competent to testify to the facts stated herein, which are based on personal

         9    knowledge unless otherwise indicated, and if called upon to testify, I could and would testify

        10    competently to the following.

        11           4.      I submit this declaration in support of Plaintiff's Motion for Class Certification and
~
        12    Appointment of Class Counsel (the "Motion"), which seeks to certify a class action against

        13    Defendants Red Robin Gourmet Burgers, Inc. ("RRGBI") and Red Robin International, Inc.
.~zN
❖ ~~                                                                            .
        14 («RRII»)(jointly, «Defendants„) and appoint class counsel from Bailey❖Kennedy, LLP and

~ ~<>   15    Zimmerman Law.
~
        16           5.      I am a seasoned litigator with more than 23 years of experience as a class action

        17 attorney. I have been appointed as class counsel in numerous matters in federal and state courts

        18    throughout the country. A true and correct copy of Zimmerman Law's firm biography is attached to

        19    the Motion as Exhibit 4.

        20            6.     I have substantial experience and knowledge in class actions and complex litigation

        21    cases, including consumer law and deceptive trade practices matters.

        22            7.     Zimmerman Law has sufficient resources and time necessary to adequately serve as

        23    class counsel and zealously represent the interests of the putative class.

        24            8.     Zimmerman Law is not aware of any other litigation between a putative class membe

        25    and any of the Defendants regarding similar claims alleged by Plaintiff.

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1             9.      Contemporaneous with the filing of this Declaration, I intend to seek admission to

2     practice before this Court pursuant to Nevada Supreme Court Rule 42 to represent Plaintiff and the

3     putative class in this matter.

4             I declare under penalty of perjury under the law of the State of Nevada that the foregoing is

5     true and correct.

6             Executed on this 27th day of April, 2020, in Cook County, Illinois.

7                                                            /s/ Thomas A. Zimmerman, Jr.
8                                                           THOMAS A. ZIMMERMAN, JR.

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            Exhibit 4




             Exhibit 4
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                            ZLVIlVIERMAN LAW OFFICES, P.C.


Since 1996, Zimmerman Law Offices has represented individuals and businesses in a wide array
of legal matters. Its attorneys are established and respected trial lawyers who represent clients in
complex litigation and class action lawsuits nationwide. The firm has an extensive and varied
litigation-based practice, with a focus on class action litigation. Zimmerman Law Offices has
recovered over $250 million on behalf of millions of individuals and businesses nationwide.

The attorneys at Zimmerman Law Offices are experienced in Multidistrict Litigation (MDL),
having served as lead counsel in MDL cases throughout the country. These MDL cases included
claims for fraud, improper pricing, misleading product claims, and privacy violations including
data breaches.


                                          ATTORNEYS

Thomas A. Zimmerman, Jr.

A seasoned litigator for over 23 years, Mr. Zimmerman practices extensively and has obtained
multi-million dollar jury verdicts in class action, corporate, commercial, medical malpractice,
consumer fraud, constitutional due process, general civil, product liability, toxic tort, and other
complex litigation. He represents both plaintiffs and defendants nationwide in state and federal
trial and appellate courts. He also represents individuals and corporations in transactional
matters, and before state and federal administrative and regulatory agencies.

Mr. Zimmerman has been lead counsel in national and state-wide class action litigation, and has
handled other multi-party litigation involving such companies as MCUWorldcom, United
Airlines, Peoples Gas, AT&T, Warner-Lambert, Pfizer, Liberty Mutual Insurance Co.,
DaimlerChrysler, ADT, Ford Motor Co., Mead Johnson, KCBX, Inland Bank, Commonwealth
Edison, Ameritech, Wells Fargo, and Bridgestone/Firestone. He is well respected for his
representation of physicians, dentists, nurses, psychologists, veterinarians, and many other
licensed professionals before state and federal agencies including the Illinois Department of
Financial and Professional Regulation, and the U.S. Deparhnent of Health and Human Services.

In 2017, 2018, 2019 and 2020, he was selected as a Super Lawyer in the area of class action and
mass torts.

In 2000, he was voted one of the Top 40 Illinois Attorneys Under the Age of 40. .This is
especially notable, as he was chosen out of 60,000 attorneys in Illinois under the age of forty.

In 2003, the Illinois Supreme Court appointed Mr. Zimmerman to the Review Board of the
Attorney Registration and Disciplinary Commission ("ARDC"). He served in that capacity until
2011, wherein he presided over appeals by attorneys who have been found to have committed
misconduct, and recommended discipline for their ethical violations. In 2013, the ARDC
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appointed Mr. Zimmerman as Special Counsel, wherein he conducts independent investigations
in matters involving allegations of misconduct against attorneys associated with the ARDC.

Additionally, the Illinois Governor appointed Mr. Zimmerman to the Illinois Courts Commission
in 2003. A Commission member presides over proceedings wherein judges are charged with
committing ethical violations, and imposes discipline on judges who are found to have engaged
in misconduct. Mr. Zimmerman has served as a Commission member continuously since his
appointment.

Prior to becoming an attorney, Mr. Zimmerman worked for AT&T where he negotiated
partnerships with companies for domestic and international joint-venture and new product
development activities. During this time, he was the featured speaker at 400 conferences,
seminars, and presentations. Thereafter, he presented oral testimony at various Federal Senate
and Congressional hearings. After obtaining his law license, Mr. Zimmerman has lectured at law
schools and seminars, and is frequently interviewed by the news media concerning legal issues.

Mr. Zimmerman earned a B.S. in Computer Science-Mathematics from the University of Illinois,
and an M.B.A. in Finance from DePaul University in the evenings while working for AT&T.
After leaving AT&T, Mr. Zimmerman earned his law degree from the Chicago-Kent College of
Law, where he was a Ramsey-Burke Scholarship recipient and earned the Academic
Achievement Award.

He is admitted to practice law in Illinois, and other states on a case-by-case basis, and he is
admitted to practice before the U.S. Supreme Court, and various federal courts of appeal and
federal district courts. Based on his demonstrated experience and ability, he was appointed to the
federal court trial bar.

Mr. Zimmerman is currently the chair of the Clerk of the Circuit Court of Cook County Attorney
Advisory Committee, and was formerly co-chair of the Clerk of the Circuit Court Transition and
Strategic Planning Public Policy Subcommittee.

Mr. Zimmerman is a member of the American, Illinois State, and Chicago Bar Associations, and
the Illinois Trial Lawyers Association, where he serves on various committees. He is also a
member of the American Association for Justice. In 2000, he was appointed to the Illinois Trial
Lawyers Association Board of Advocates.

Involved in numerous community service activities, Mr. Zimmerman has been an Illinois State
Board of Education surrogate parent of disabled children since 1988. In addition, he was a
speaker on the rights of disabled people for the Illinois Planning Council on Developmental
Disabilities, and a Family Shelter Service counselor to battered children for many years. He has
been recognized by the federal court for his pro bono representation of indigent clients.




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Sharon A. Harris

Ms. Harris has extensive experience litigating complex class action matters in state and federal
trial and appellate courts nationwide. For over 20 years, she has focused her practice on
consumer protection, product liability, privacy, and antitrust matters. Ms. Harris has developed a
particular expertise in state unfair and deceptive practice statutes, privacy laws, federal antitrust
laws, the Fair Credit Reporting Act, the Racketeer Influenced and Corrupt Organizations Act
(RICO), the Telephone Consumer Protection Act, and various other federal and state laws. For
example, she was appointed class counsel in In re Pilot Flying J Fuel Rebate Contract
Litigation, which involved allegations that the defendants violated RICO and various state laws
by withholding portions of fuel discounts and rebates to which class members were contractually
entitled.

Ms. Harris received her Bachelor of Science degree from Michigan State University with a dual
major in Political Science and Social Science. She received her law degree from DePaul
University College of Law.

She is admitted to practice in the State of Illinois, the United States District Court for the
Northern District of Illinois, and the United States Courts of Appeals for the Seventh and Ninth
Circuits, and she is a member of the American, Illinois State, and Chicago Bar Associations.


Matthew C. De Re

Mr. 'De Re advocates for both plaintiffs and defendants nationwide in state and federal trial and
appellate courts. His practice areas include class action, corporate, commercial, consumer fraud,
general civil, product liability, personal injury, and other complex litigation. He also represents
professionals, such as physicians, dentists, nurses, insurance producers, and real estate brokers,
before state and federal agencies, including the Illinois Department of Financial and Professional
Regulation and the Department of Insurance. In addition to his extensive litigation practice, Mr.
De Re assists individuals and corporations in transactional matters.

He has experience in all phases of litigation, including extensive discovery and substantive
motion practice. He has assisted in the defense of individuals and companies in cases involving
personal injury, employment, and civil rights. Mr. De Re has also vigorously pursued recovery
for plaintiffs in numerous civil matters. Prior to joining Zimmerman Law Offices, he served as a
Law Clerk for the Circuit Court of Cook County.

Mr. De Re graduated from the University of Wisconsin-Madison with a B.S. in both Political
Science and History. He earned his law degree from Washington University in St. Louis. While
in law school, he received academic awards and appeared on the Dean's List multiple times. He
also served two years on the Executive Board of the Student Bar Association and was the
Associate Managing Editor for the Washington University Journal of Law & Policy.

He is admitted to practice law in the State of Illinois and is a member of the Illinois State and
Chicago Bar Associations.
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Jeffrey D. Blake

Mr. Blake represents consumers in class actions involving unfair and deceptive trade practices,
privacy violations, antitrust matters, and defective products. He has considerable experience
prosecuting complex cases in state and federal courts throughout the nation, including appeals.

Mr. Blake received his J.D., cum laude, from the Chicago-Kent College of Law in 2012. While
attending, Mr. Blake served as Executive Articles Editor for the Chicago-Kent Law Review,
spent a semester as a judicial extern for the Honorable Samuel Der-Yeghiayan of the United
States District Court for the Northern District of Illinois, and participated in the Intellectual
Property Law Clinic and the Center for Open Government.

After graduating law school, Mr. Blake served as the judicial law clerk for the Honorable Patrick
McKay, Superior Court Judge for the Third Judicial District in Anchorage, Alaska.

Mr. Blake received a Bachelor of Science from the University of Illinois at Chicago.

He is admitted to practice in the State of Illinois and the United States District Court for the
Northern District of Illinois.


Jordan M. Rudnick (of counsel)

Mr. Rudnick represents individuals and large national and international companies in providing
business advice, counsel and dispute resolution in a wide variety of contexts for almost 20
years. In particular, Mr. Rudnick represents plaintiffs and defendants nationwide in class action,
corporate, commercial, consumer fraud, general civil, and other complex litigation in state and
federal courts, arbitrations, and mediations. Mr. Rudnick has been involved in all phases of
litigation, including extensive discovery, substantive motion practice, trials and appeals.

His experience as an attorney also includes representing parties in nationwide securities fraud
class actions. Notably, Mr. Rudnick represented Canadian Imperial Bank of Commerce in the
Enron class action securities litigation and related proceedings. He also has extensive experience
representing commercial policyholders in recovering insurance proceeds from their insurers.

Mr. Rudnick serves as an arbitrator for FINRA (Financial Industry Regulatory Authority,
formerly known as the NASD or National Association of Securities Dealers) where he and
panels of two other arbitrators decide the outcome of disputes between investors and securities
brokers and dealers.

He has provided extensive pro bono representation of improperly-expelled school children in
conjunction with the Legal Assistance Foundation of Metropolitan Chicago, and with the
Chicago Coalition for the Homeless. In addition, in his spare time, he is a volunteer at the
Lincoln Park Community Homeless Shelter.




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Mr. Rudnick served as a judicial law clerk to the Honorable Justice Joseph Gordon, Illinois
Appellate Court, 1 st District, where he drafted opinions in appeals arising from complex civil
and criminal trial court decisions.

Mr. Rudnick earned his B.A. in Political Science from the University of Chicago, and he
graduated cum laude from the John Marshall Law School with honors and on a full scholarship.
In law school, he appeared on the Dean's List, and he was a member of the school's Moot Court
Team. He also was a Staff Editor on the John Marshall Law Review for two years.

He is admitted to practice law in Illinois, New York, and Washington, D.C., and is a member of
the Chicago Bar Association, NAACP, and ACLU.


                       REPRESENTATIVE CLASS ACTION CASES

Completed Cases

Misleading Product Claims —$62 million recovery for a nationwide class of customers who
purchased products that were advertised to reduce cellulite in the human body, plus equitable
relief to correct the misleading claims. Joseph v. Beiersdorf North America, Inc., No. 11 CH
20147 (Cook Cnty, IL).

Improper Cellular Phone Fee —$48 million recovery for a statewide class of businesses and
individuals who paid an improper municipal infrastructure maintenance fee on their cellular
phone bills. PrimeCo Personal Communications, et al. v. Illinois Commerce Commission, et al.,
98 CH 5500 (Cook Cnty, IL).

Defective Vehicles —$35 million in monetary and injunctive relief for a nationwide class of
individuals and businesses who purchased vehicles manufactured with a defective transmission.
Vargas, et al. v. Ford Motor Co., No. 12 cv 8388 (C.D. CA).

Fraud —$31 million recovery for a nationwide class of businesses and individuals who placed
advertisements in a newspaper based on fraudulent circulation figures. In re Chicago Sun-Times
Circulati.on Litigation, No. 04 CH 9757 (Cook Cnty, IL).

Defective Products —$16 million recovery for a nationwide class of individuals who purchased
defective home security systems that could be easily hacked and disabled. Edenborough v. ADT,
LLC, et al., No. 16 cv 2233 (N.D. CA).

Misleading Product Claims —$14 million recovery for a nationwide class of customers who
purchased defective garden hoses with misleading claims, plus equitable relief to extend the
product's warranty. Bergman, et al. v. DAP Products, Inc., et al., No. 14 cv 3205 (D. MD).

Fraud / Data Breach —$11.2 million recovery for a nationwide class of individuals who had
their personal and financial data stolen due to insufficient protection of that information by an



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internet service provider, and who also paid money to that provider based on misrepresentations.
In re Ashley Madison Customer Data Security Breach Litigation, MDL No. 2669 (E.D. MO).

Defective Products — $9 million recovery for a nationwide class of individuals who sustained
financial and personal injuries resulting from their purchase and use of baby wipes that were
tainted with a dangerous bacteria. Jones v. First Quality Enterprises, Inc., et al., No. 14 cv 6305
(E.D. NI).

Power Outage —$7.75 million recovery for a statewide class of businesses and individuals
who sustained financial damages due to widespread and prolonged power outages. In re
Commonwealth Edison 1999 Summer Power Outages, No. 99 CH 11626 (Cook Cnty, IL).

Privacy Violation —$7.3 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Aliano u Airgas USA, LLC, No. 14 CH 2O024 (Cook
Cnty, IL).

Data Breach — $4.3 million recovery for a nationwide class of individuals who had their
personal and financial data stolen due to insufficient protection of that information by a retailer.
In re Sonic Corp. Customer Data Breach Litigation, MDL No. 2807 (N.D. OH).

Unsolicited Faxes — $4 million recovery for a nationwide class of businesses and individuals
who sustained damages resulting from the receipt of unsolicited facsimile advertisements.
Derose Corp. v. Goyke Health Center, 06 CH 6681 (Cook Cnty, IL).

Fraud — $3.5 million recovery for a nationwide class of Spanish speaking purchasers of baby
formula, arising out of misleading product labeling. Cardenas v. Mead Johnson & Company, No.
01 CH 11151 (Cook Cnty, IL).

Unsolicited Faxes —$2.5 million recovery for a statewide class of individuals and businesses
who sustained damages resulting from the receipt of unsolicited facsimile advertisements. iMove
Chicago, Inc. v. Inland Bancorp, Inc., et al., No. 16-cv-10106 (N.D. IL)

Misleading Product Labeling —$2.5 million recovery for a nationwide class of businesses and
individuals who purchased whiskey whose labeling misstated the characteristics of the product.
Due Fratelli, Inc. v. Templeton Rye Spirits, LLC, No. 2014 CH 15667 (Cook Cnty, IL).

Misrepresentations in Book— $2.35 million recovery for a nationwide class of customers who
purchased a fictional book while under the impression that the book was a non-fiction memoir.
In re A Million Little Pieces Litigation, No. 06-md-1771 (S.D. NY).

Consumer Fraud —$1.6 million recovery for a nationwide class of individuals who paid for and
traveled to an event that did not occur as advertised. Norton v. Niantic, Inc., No. 2017 CH 10281
(Cook Cnty, IL).

Misleading Product Labeling — $1.5 million recovery for a nationwide class of individuals who
purchased a product whose packaging misstated the characteristics of the product. In re Honest
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Company Sodium Lauryl Sulfate (SLS) Marketing and Sales Practices Litigation, MDL No. 2719
(C.D. CA).

Improper Debiting of Bank Accounts — $1.5 million recovery for a statewide class of
individuals who were members of a health club that debited its members' bank accounts without
adequate notice or authority. Wendorf, et al. v. Landers, et al., No. 10 cv 1658 (N.D. IL).

Environmental Contamination — $1.4 million recovery for a statewide class of individuals and
businesses who suffered from an infiltration of coal and petroleum coke dust in the air and on
their property. Martin, et al. v. KCBX Terminals Company, et al., No. 13 cv 08376 (N.D. IL).

MisleadingProduct Claims — $1.4 recovery for a nationwide class of individuals and businesses
who purchased HDMI cables based on representations that more expensive higher speed cables
were needed.to operate certain audio visual equipment. O'Brien, et al. v. Monster, Inc., et al.,
No. 2015 CH 13991 (Cook Cnty, IL).

School Misrepresenting Accreditation — $1.2 million recovery, representing nearly the full
value of each class member's loss, for a statewide class of individuals who enrolled in a school
based on the school's misrepresentations that it was accredited. Allen v. Illinois School of Health
Careers, Inc., No. 10 CH 25098 (Cook Cnty, IL).

Privacy Violation —$1 million recovery for a nationwide class of consumers whose personal
information was improperly disclosed. Radaviciute v. Christian Audigier, Inc., No. 10 cv 8090
(N.D. IL).

Breach of Contract — $570,000 recovery for a nationwide class of sonographers who took and
passed a certification examination but the testing agency improperly scored their results and
falsely reported that they failed the examination. Miller, et al. v. Inteleos, Inc., No. 17 ev 763
(N.D. OH).

Privacy Violation — $500,000 recovery for a statewide class of consumers whose personal
information was improperly disclosed. Aliano v. Joe Caputo and Sons — Algonquin, Inc., et al.,
No. 09 cv 0910 (N.D. IL).

Contaminated Drinking Water — $500,000 recovery for a statewide class of individuals who
suffered damages as a result of a contaminated water well, plus equitable relief to close the well.
Joseph Marzano v. Village of Crestwood, No. 09 CH 16096 (Cook Cnty, IL).

Fraud — $425,000 recovery for a nationwide class of businesses and individuals who purchased
spirits whose labeling misstated the characteristics of the product. Due Fratelli, Inc. v. Proximo
Spirits, Inc., No. 2014 CH 17429 (Cook Cnty, IL).

Foreclosure Fraud — $425,000 recovery for a nationwide class of borrowers whose lender
failed to properly respond to qualified written requests, requests for information, and/or notices
of error because of an improper active litigation, active mediation, or active bankruptcy
exception. Lieber v. Wells Fargo Bank, N.A., No. 16 cv 2868 (N.D. OH).
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Privacy Violation — $295,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. .Ioseph v. Marbles, LLC, No. 13 cv 4798 (N.D. IL).

Privacy Violation — $250,000 recovery for a nationwide class of consumers whose personal
information was improperly disclosed. DiParvine v. A.P.S., Inc. d/b/a Car Quest Auto Parts,
No. 11 cv 6116 (N.D. IL).

Unsolicited Faxes — $237,600 recovery for a statewide class of individuals and businesses who
sustained damages resulting from the receipt of unsolicited facsimile advertisements. Phillips
Randolph Enterprises, LLC v. Key Art Publishing Co., No. 07 CH 14018 (Cook Cnty, IL).

Improper Health Club Memberships — Recovery for a statewide class of individuals whose
health club membership agreements provided for improper membership terms. Izak-Damiecki v.
World Gym International, LLC, No. 10 CH 18845 (Cook Cnty, IL).

Illegal Lending Practices — Recovery, representing the maximum amount of statutory damages,
for a nationwide class of customers who obtained loans whose terms violated the Truth in
Lending Act, plus equitable relief to modify the loan contract to conform with the law. Papeck,
et al. v. T.N. Donnelly & Co., No. 09 CH 31997 (Cook Cnty, IL).

Privacv Violation — Recovery for a nationwide class of over 36 million consumers whose
personal information was improperly disclosed. Dudzienski v. GMRI, Inc., No. 07 cv 3911 (N.D.
II.,).

Unsolicited Faxes — Recovery for a statewide class of individuals and businesses who sustained
damages resulting from the receipt of unsolicited facsimile advertisements. Phillips Randolph
Enterprises, LLC v. Home Run Inn, Inc., No. 08 CH 43273 (Cook Cnty, IL).

Privacy Violation — Recovery for a statewide class of over 60,000 consumers whose personal
information was improperly disclosed. O'Brien v. Paninos, Inc., No. 10 cv 2991 (N.D. IL).

Breach of Warranty — Recovery on behalf of a nationwide class of customers who had their
warranty retroactively changed from a lifetime guarantee to a 90-day guarantee, plus equitable
relief to reinstate the lifetime guarantee on the products. Brady, et al. v. Learning Curve Int'l,
Inc., et al., No. 06 CH 03056 (Cook Cnty, IL).

Privacy Violation — Recovery for a nationwide class of tens of thousands of consumers whose
personal information was improperly disclosed. In re Kathy Aliano v. Hancock Fabrics, Inc.,
No. 07-10353 (Del. BK).

Improper Debt Collection — Recovery on behalf of a nationwide class of individuals against
whom attempts were made to collect a time-barred debt, in violation of the Fair Debt Collection
Practices Act. Ocasio v. First Financial Investment Fund V, LLC, et al., No. 15 cv 10167 (N.D.
IL).
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Pendinp- Cases — Annointed Class Counsel

Invasion of PrivacE — Class action for a nationwide class of individuals who were
surreptitiously viewed and recorded using the toilets in holding cells. Alicea, et al. u County of
Cook, No. 18 cv 5381 (N.D. IL).

Constitutional Violation — Class action for a nationwide class of individuals who were
wrongfully issued automated construction zone speed enforcement tickets on a highway that was
not under construction. Black, et al. v. City of Girard, Ohio, et al., No. 18 cv 1256 (Trumbull
Cnty, OIT).

Pending Cases — Appointed to Executive Committee

Misleadina Product Claims — Class action for a nationwide class of individuals who purchased
defective cheese products based on misleading representations. In re 100% Grated Parmesan
Cheese Marketing and Sales Practices Litigation, MDL No. 2707 (N.D. IL).

Pending Cases

Fraud — Class action for a statewide class of individuals who were wrongfully issued automated
red light tickets by red light cameras that were installed in violation of state law.

Improper Court Fee — Class action for a nationwide class of individuals and businesses who
were charged an improper fee by the Clerk of the Court.

Unpaid Overtime — Class action for a nationwide class of individuals who were not paid all
wages and premium overtime for hours worked in excess of forty hours per week.

Misleading Product Claims — Class action for a nationwide class of individuals and businesses
who purchased cleaning products that advertised they were made of higher quality ingredients
than were actually contained in the products.

Data Breach — Class action for a nationwide class of individuals who had their personal and
financial data stolen due to insufficient protection of that information by their employer.

Americans with Disabilities Act — Class action for a nationwide class of disabled individuals
who were denied full, equal and independent access to the goods, services and facilities provided
by a hotel.

Improper Debt Collection — Class action for a nationwide class of individuals who were sent
misleading debt collection letters, in violation of the Fair Debt Collection Practices Act.

Fraud — Class action for a nationwide class of individuals who made purchases based on
fraudulent misrepresentations concerning a sporting event.




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Antitrust — Class action for a nationwide class of individuals who subscribed to television
services from companies that conspired to fix prices in violation of the Sherman Act.

Data Breach — Class action for a statewide class of individuals who had their personal,
fmancial, and medical data stolen due to insufficient protection of that information by a hospital.

Violation of RESPA Act — Class action for a nationwide class of borrowers who were denied the
requisite loan modification options, as required by the Real Estate Settlement Procedures Act.

Environmental Contamination — Class action for a statewide class of individuals who suffered
from an infiltration of lead and arsenic on their property.

Shareholder Derivative Action — Class action for a nationwide class of individuals and
businesses who are shareholders of a company that wrongfully entered into a merger transaction.

Constitutional Violation — Class action for a nationwide class of individuals who were
wrongfully issued automated traffic speed enforcement tickets by a municipality that was denied
authorization to issue the tickets.

bavasion of Privac — Class action for a nationwide class of individuals who received
unauthorized telemarketing calls to their phones.

Fraud — Class action for a nationwide class of individuals who purchased used cosmetics and
beauty products that were sold as new.

Breach of Contract — Class action for a statewide class of individuals who are members of
athletic clubs that unilaterally terminated their rewards program without notice.

Fraud — Class action for a nationwide class of individuals who were charged an improper
checkout bag tax on retail purchases in the City of Chicago.

Unpaid YVages — Class action for a statewide class of individuals who were not paid all of the
wages they earned while working at restaurants.

Antitrust — Class action for a nationwide class of individuals who purchased packaged seafood
products from companies that conspired to fix prices in violation of the Sherman Act.

Environmental Contamination — Class action for a statewide class of individuals whose
residential drinking water was contaminated with lead.

Constitutional Violation — Class action for a statewide class of individuals whose homes were
wrongfully taken by the government without adequate compensation.

Fraud — Class action for a nationwide class of individuals who paid inflated prices for tickets to
events due to improper coordination among ticket brokers.



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    ImProper Fee — Class action for a statewide class of individuals who were charged an improper
    fee by the state in connection with the issuance of a driver's license.

    Data Breach — Class action for a nationwide class of individuals who had their personal and
    financial data stolen due to insufficient protection of that information by a restaurant chain.

    Fraud — Class action for a nationwide class of individuals who were deliberately targeted
    through marketing and sales of electronic cigarettes when they were minors.

    Defective Product — Class action for a nationwide class of individuals who purchased
    misbranded and adulterated pharmaceuticals.




    NOTE: This list of cases is a representative sample of some of the class action lawsuits. It is not
           an exhaustive list.




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                          8984 SPANIsH RIDGE AVENUE
                         LAS VEGAs, NEVADA 89148-1302




          To:
                Red Robin International, Inc.
                c/o Corporation Service Company
                112 North Curry Street
                Carson City, NV 89703
                                   Case Information

                                   A-20-814178-C | Christopher Bruun, Plaintiff(s) vs. Red Robin Gourmet Burgers,
                                   Inc., Defendant(s)

                                   Case Number                           Court             Judicial Officer
                                   A-20-814178-C
Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 295 of 297
                                                                         Department 9      Silva, Cristina D.
                                   File Date                             Case Type         Case Status
                                   04/27/2020                            Other Tort        Open




                                   Party

                                   Plaintiff                                               Active Attorneys 
                                   Bruun, Christopher                                      Lead Attorney
                                                                                           Kennedy, Dennis L.
                                                                                           Retained



                                                                                           Attorney
                                                                                           Williams, Paul
                                                                                           Retained




                                   Defendant
                                   Red Robin Gourmet Burgers, Inc.




                                   Defendant
                                   Red Robin International, Inc.




                                                                                                                    /
                                   Events and Hearings


                                           04/27/2020 Complaint 


                                                  Comment
                                                  Class Action Complaint


                                           04/27/2020 Initial Appearance Fee Disclosure 
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                                                  Comment
                                                  Initial Appearance Fee Disclosure (NRS Chapter 19)


                                           04/27/2020 Summons Electronically Issued - Service Pending 


                                                  Comment
                                                  Summons - Red Robin Gourmet Burgers, Inc.


                                           04/27/2020 Summons Electronically Issued - Service Pending 


                                                  Comment
                                                  Summons - Red Robin International, Inc.


                                           04/27/2020 Motion for Class Certification 


                                                  Comment
                                                  Plaintiff's Motion for Class Certification and Appointment of Class
                                                  Counsel


                                           04/28/2020 Clerk's Notice of Hearing 


                                                  Comment
                                                  Notice of Hearing


                                           04/28/2020 Demand for Jury Trial


                                           05/13/2020 Summons 


                                                  Comment
                                                  Summons - Red Robin Gourmet Burgers, Inc.



                                           06/08/2020 Motion 


                                           Judicial Officer
                                           Silva, Cristina D.

                                           Hearing Time
                                           3:00 AM

                                           Comment
                                           Plaintiff's Motion for Class Certification and Appointment of Class Counsel
                                                                                                                         /
                                   Financial
Case 2:20-cv-00903-JAD-BNW Document 1-3 Filed 05/19/20 Page 297 of 297




                                   Bruun, Christopher
                                                    Total Financial Assessment                                       $619.00
                                                    Total Payments and Credits                                       $619.00


                                      4/27/2020                          Transaction                                $270.00
                                                                         Assessment

                                      4/27/2020                          Efile         Receipt #     Bruun,        ($270.00)
                                                                         Payment       2020-22224-   Christopher
                                                                                       CCCLK

                                      4/27/2020                          Transaction                                $349.00
                                                                         Assessment

                                      4/27/2020                          Efile         Receipt #     Bruun,        ($349.00)
                                                                         Payment       2020-22277-   Christopher
                                                                                       CCCLK




                                                                                                                               /
